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 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS

 F. AVOIDANCE ACTIONS1

      Chapter 5 of the Bankruptcy Code sets forth several “avoiding powers” that the trustee,
 debtor-in-possession, or authorized estate representative can exercise to avoid prepetition
 transactions and return property to the estate for the benefit of all creditors. The Investigation
 focused specifically on transactions between the Debtors, on the one hand, and any of AFI,
 Cerberus, and Ally Bank, including any Affiliates or Subsidiaries of AFI, Cerberus, and Ally
 Bank, on the other hand.2

      Based on the facts set forth in Section V, the Examiner concludes that there are certain
 transactions that may be avoidable based on: (1) the Minnesota “Insider Preference” statute as
 made applicable through section 544(b) of the Bankruptcy Code; (2) preference actions under
 section 547 of the Bankruptcy Code; and (3) constructive fraudulent transfer actions under either
 section 544 or 548 of the Bankruptcy Code. The proper recovery for the Debtors’ Estates based
 on these avoidance actions would be governed by section 550 of the Bankruptcy Code.

      Set forth below is the Examiner’s analysis, as well as the Examiner’s conclusions, with
 respect to potential avoidance actions that could be brought by one or more of the Debtors’
 Estates. Section VII.F.1 discusses which, if any, liens may be set aside pursuant to the section
 544(a) strong-arm power. Section VII.F.2 discusses section 544 of the Bankruptcy Code,
 which permits an estate representative to access certain state law-based avoidance powers, and
 the choice of law principles that will determine which state’s law is likely to control various
 avoidance actions. Section VII.F.3 discusses certain “safe harbor” defenses to avoidance
 actions created by section 546 of the Bankruptcy Code, as well as a potential method of
 bypassing the safe harbor defenses regarding claims that arise under state avoidance law. The
 Examiner has determined that Minnesota substantive law, as well as Minnesota’s statute of
 limitations, is likely to control a number of avoidance actions, and Section VII.F.4 therefore
 discusses Minnesota’s “Insider Preference” statute, as well as transactions that may be
 vulnerable to avoidance under that statute. Section VII.F.5 discusses the preference avoidance
 power created by section 547 of the Bankruptcy Code. Section VII.F.6 discusses general
 fraudulent transfer law—whether actual or constructive and whether based on state law or
 section 548 of the Bankruptcy Code—and identifies potentially avoidable transactions.
 Section VII.F.7 addresses avoidance of a postpetition transfer pursuant to section 549. Finally,
 Section VII.F.8 discusses the ability of the Debtors’ Estates to recover avoided transfers
 pursuant to section 550 of the Bankruptcy Code.
 1   This Section discusses all transactions identified by the Examiner that arguably give rise to colorable
     avoidance claims, including those that the Examiner believes are unlikely to succeed. Given the volume of
     transactions covered by the Investigation, this Section only discusses transactions as to which the
     Investigation has revealed sufficient evidence to support a colorable avoidance claim.
 2   See Examiner Scope Approval Order, at 4. The Report does not analyze potential claims against other
     parties-in-interest or inter-Debtor claims.

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      1. Strong Arm Powers Of Bankruptcy Trustee Under Section 544(a) Of The Bankruptcy
         Code

      Section 544(a) of the Bankruptcy Code confers on the trustee in bankruptcy the status of
 a hypothetical judgment lien creditor.3 The trustee is treated as if it had extended credit to the
 debtor at the time of the bankruptcy filing and, at that moment, obtained a judicial lien on all
 property in which the debtor has any interest and that could be reached by a creditor.4
 Section 544(a) thus creates a “legal fiction that permits [a] trustee to assume the guise of a
 creditor with a judgment against the debtor.”5 “Under that guise, the trustee may invoke
 whatever remedies [are] provided by state law to judgment lien creditors to satisfy judgments
 against the debtor.”6

       The purpose of these “strong arm” powers under section 544(a) is to allow the
 bankruptcy trustee to cut off any secret or unperfected security interests on debtor property
 that would bind only the debtor, but not the debtor’s judgment creditor, who typically enjoys
 priority under state debtor and creditor laws (subject to any other validly perfected liens).7 The
 extent of the trustee’s priority and rights as a newly created 544(a) judgment creditor are
 determined by applicable state law.8 On the other side of the equation, section 544(a) allows
 the trustee to avoid defective security interests and relegate the attendant secured claims to the
 status of general unsecured claims.9

       As of the Petition Date, according to the Debtors’ stipulations in the AFI DIP Order, the
 aggregate principal amount outstanding: (1) under the A&R Secured Revolver Loan
 Agreement was at least $747 million; and (2) under the A&R Line of Credit Agreement was at
 least $380 million plus accrued and unpaid interest thereon, in each case.10

      According to the Debtors’ trial balance as of February 29, 2012, attached as Exhibit A to
 the AFI DIP Order, the Debtors stipulated (and no party to date has disputed) that: (1) the
 A&R Secured Revolver Loan Agreement is secured by at least $1.3 billion of assets;11 and
 (2) the A&R Line of Credit Agreement is secured by approximately $1.7 billion of assets.12
 Accordingly, assuming due and proper perfection, AFI appears to be substantially oversecured
 3    See Musso v. Ostashko, 468 F.3d 99, 104 (2d Cir. 2006) (citing 11 U.S.C. § 544(a)(1)).
 4    Id. (citing Robinson v. Howard Bank (In re Kors, Inc.), 819 F.2d 19, 22–23 (2d Cir. 1987)).
 5    Picard v. JPMorgan Chase & Co., 460 B.R. 84, 93 (S.D.N.Y. 2011) (quoting Zilkha Energy Co. v. Leighton,
      920 F.2d 1520, 1523 (10th Cir. 1990)).
 6    Id.
 7    Id.; see also Canney v. Merchs. Bank (In re Canney), 284 F.3d 362, 374 (2d Cir. 2002).
 8    See Musso, 468 F.3d at 104–05; In re Kors Inc., 819 F.2d at 22–23.
 9    See Neilson v. Chang (In re First T.D. & Inv., Inc.), 253 F.3d 520, 525 (9th Cir. 2001).
 10   AFI DIP Order, ¶ 5(b).
 11   See id. Ex. A. The trial balance also identified certain “Blanket Lien” assets of approximately $1.1 billion
      purportedly securing the A&R Secured Revolver Loan Agreement and the Junior Secured Notes. See id.
 12   See id.

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 with respect to its claims under the A&R Secured Revolver Loan Agreement and A&R Line
 of Credit Agreement.13 The Examiner did not undertake an independent collateral valuation
 exercise.

      AFI’s secured claims are neither secret nor undisclosed. Accordingly, the only relevant
 consideration is whether AFI’s liens are unperfected or otherwise invalid. The Examiner’s
 Professionals reviewed the UCC financing statements filed by AFI identifying ResCap LLC,
 GMAC Mortgage, RFC, and numerous other entities as debtors. The financing statements
 identify AFI or Wells Fargo Bank, N.A. (as agent on behalf of AFI), as secured party, with
 respect to the Secured Revolver Loan Agreement, A&R Secured Revolver Loan Agreement,
 the Initial Line of Credit Facility, the Second Line of Credit Facility, and the A&R Line of
 Credit Facility.14

       In connection with the Secured Revolver Loan Agreement, and contemporaneously with
 the closing of that transaction on June 4, 2008, AFI filed UCC financing statements covering
 “all assets” against ResCap LLC, RFC, GMAC Mortgage, and numerous other entities. In
 connection with the A&R Secured Revolver Loan Agreement, UCC financing statements were
 filed on January 8, 2010, nine days after the date of that closing.15

       In connection with the Initial Line of Credit Facility and the Second Line of Credit
 Facility, AFI filed UCC financing statements covering the assets specified by the related
 security agreements16 against ResCap LLC, RFC, GMAC Mortgage, and numerous other
 entities. Those financing statements were filed contemporaneously with the closing of those
 transactions on November 20, 2008 and June 1, 2009, respectively. AFI did not file additional
 UCC financing statements in connection with the A&R Line of Credit Facility, but was not
 required to do so because that agreement was simply an amendment and restatement of the
 previously perfected Initial Line of Credit Facility and the Second Line of Credit Facility.

     The Examiner concludes that AFI’s liens on assets that can be perfected by the filing of a
 UCC financing statement are perfected to such an extent as not to jeopardize AFI’s status as
 an oversecured creditor. Therefore, the use of section 544(a) would not yield any additional
 13   See id.; see also RFC and GMAC Mortgage AFI Line of Credit Monthly Borrowing Base Report, Reporting
      Period Ending May 13, 2012, dated May 31, 2012 [EXAM00221834]; AFI—ResCap Secured Revolver
      Borrowing Base Report, Reporting Period Ending May 13, 2012, dated May 31, 2012 [EXAM00221438].
 14   ResCap LLC, GMAC Mortgage, and RFC are each incorporated in Delaware. Accordingly, AFI’s UCC
      financing statements related to those entities are properly filed in Delaware. See UCC §§ 9-301, 9-307(e), 9-
      501.
 15   AFI was likely not required to file additional UCC financing statements in connection with the A&R Secured
      Revolver Loan Agreement because that agreement was simply an amendment and restatement of the Secured
      Revolver Loan Agreement. Accordingly, the brief delay in filing after the closing under the A&R Secured
      Revolver Loan Agreement does not appear to create any issues of delayed perfection.
 16   The security agreements that relate to the Initial Line of Credit Facility and the Second Line of Credit
      Facility are the Initial Line of Credit Security Agreement and the Second Line of Credit Security Agreement,
      respectively.

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 recoveries for general unsecured creditors because AFI is substantially oversecured on both
 the A&R Secured Revolver Loan Agreement and the A&R Line of Credit Agreement.17

      2. Invocation Of State Avoidance Law Under Section 544(b) Of The Bankruptcy Code

       Section 544(b) of the Bankruptcy Code serves as a conduit for state fraudulent transfer
 laws,18 “borrowing” such laws19 and applying them in bankruptcy cases provided certain
 criteria are met. Section 544(b) allows a trustee to stand in the shoes of an actual, existing
 unsecured creditor and to bring such state law claims that such actual creditor could bring.20
 Application of section 544(b) necessitates three distinct steps: (1) performing a choice of law
 analysis to determine what state’s law should be invoked by section 544; (2) establishing the
 existence of an actual unsecured creditor who, at the time of the bankruptcy filing, held a
 claim under state law and could have avoided the transfer at issue (also known as a “triggering
 creditor”); and (3) applying the relevant state law to determine if the transfer can be avoided.




 17   According to the Creditors’ Committee, there is no deadline in the AFI DIP Order for any party-in-interest to
      challenge the claims and liens of AFI. See Motion of the Official Committee of Unsecured Creditors for
      Entry of an Order Authorizing it to Prosecute and Settle Certain Claims on Behalf of the Debtors’ Estates
      [Docket No. 1546] at 11.
 18   Stalnaker v. DLC, Ltd. (In re DLC, Ltd.), 295 B.R. 593, 601 (B.A.P. 8th Cir. 2003) (noting that “section
      544(b) [acts] as a conduit to assert state law-based fraudulent conveyance actions in bankruptcy”).
 19   Le Café Creme, Ltd. v. Le Roux (In re Le Café Creme, Ltd.), 244 B.R. 221, 238 (Bankr. S.D.N.Y. 2000)
      (“Section 544(b) of the Bankruptcy Code ‘borrows’ applicable nonbankruptcy law which would be available
      to an unsecured creditor of the debtor . . . .”).
 20   Silverman v. Sound Around, Inc. (In re Allou Distribs., Inc.), 392 B.R. 24, 32 (Bankr. S.D.N.Y. 2008) (“Next,
      a trustee must show that the triggering creditor is also ‘a creditor holding an unsecured claim that is
      allowable under section 502 . . . .’”); Young v. Paramount Commc’ns Inc. (In re Wingspread Corp.), 178
      B.R. 938, 945 (Bankr. S.D.N.Y. 1995) (noting that “the trustee must show that at least one . . . unsecured
      creditor[ ] . . . holds an allowable claim, against whom the transfer . . . was invalid under applicable state or
      federal law”).

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       Because most states have adopted some version of either the Uniform Fraudulent
 Conveyance Act (the “UFCA”) or the Uniform Fraudulent Transfer Act (the “UFTA”),
 analysis of section 544 claims usually requires the application of one of those uniform laws, as
 modified by individual state legislatures and interpreted by judicial decisions.21 Here, as
 discussed below, the possible state laws that could apply include Delaware, Michigan,
 Minnesota, Pennsylvania, and New York. Delaware, Michigan, Minnesota, and Pennsylvania
 have all adopted the UFTA.22 In contrast, New York is one of the only states that still applies
 the UFCA,23 which is codified through New York’s Debtor and Creditor Law (the “NY
 DCL”).24 While the UFTA and the NY DCL are “substantially similar,”25 there are
 distinctions between the statutes that, as discussed below, can alter the outcome of fraudulent
 transfer litigation. Moreover, individual states’ codification of the UFTA can vary in
 important ways, particularly with respect to statutes of limitation. Given these variations, the
 ultimate determination of whether a particular transaction may be avoided may turn on which
 state’s law governs.


 21   Although there are various laws addressing fraudulent transfers, they share many similarities and, as such,
      case law interpreting one law is often used by courts in analyses of the other laws. See, e.g., Sharp Int’l Corp.
      v. State St. Bank & Trust Co. (In re Sharp Int’l Corp.), 403 F.3d 43, 55 (2d Cir. 2005) (citing HBE Leasing
      Corp. v. Frank, 48 F.3d 623, 634 n.8 (2d Cir. 1995)) (noting “New York’s policy in favor of national
      uniformity in UFCA law”); HBE Leasing Corp., 48 F.3d at 634 n.8 (2d Cir. 1995) (“In order to promote a
      uniform national interpretation of the UFCA, both this Circuit and the courts of New York have encouraged
      recourse to the case law of other jurisdictions.”); Tronox Inc. v. Anadarko Petrol. Corp. (In re Tronox Inc.),
      464 B.R. 606, 613 (Bankr. S.D.N.Y. 2012) (“Since the substantive provisions of state statutes under the
      Uniform Fraudulent Transfer Act and the earlier Uniform Fraudulent Conveyance Act are largely the same as
      § 548, a trustee’s reliance on state fraudulent conveyance provisions may only have the effect of extending
      the statute of limitations, as the federal limitations period is shorter than the period in most state laws.”);
      Nisselson v. Empyrean Inv. Fund, L.P. (In re Marketxt Holdings Corp.), 376 B.R. 390, 420, n.42 (Bankr.
      S.D.N.Y. 2007) (noting that “there is no dispute that Federal and State law are virtually identical as to their
      requirements for proving a constructive fraudulent conveyance”); Official Comm. of Asbestos Prop. Damage
      Claimants of W.R. Grace & Co. v. Sealed Air Corp. & Cryovac, Inc. (In re W.R. Grace & Co.), 281 B.R. 852,
      857–58 (Bankr. D. Del. 2002) (noting that interpreting case law applying the UFTA the court “must be
      guided also by cases interpreting other, similarly worded statutes” and that “[t]he insolvency element of the
      Bankruptcy Code’s constructive fraudulent conveyance section . . . is very close to the parallel provision in
      section 5 of the UFTA,” such that after “[m]aking due allowance for differences of purpose and context, the
      Court will be guided by whatever case law exists interpreting these statutes”). Exceptions to this general
      concept occur, of course, where the specific nuances of the laws differ (for example, with respect to statutes
      of limitations).
 22   See Delaware Uniform Fraudulent Transfer Act, DEL. CODE ANN. tit. 6 §§ 1301–12; MICH. COMP. LAWS §§
      566.31–.42; MINN. STAT. §§ 513.41–.51; Pennsylvania Uniform Fraudulent Transfers Act, 12 PA. CONS.
      STAT. ANN. §§ 5101–10. Unless an individual state’s adoption of the model UFTA contains a notable
      difference from the model UFTA, throughout this Section reference will be made to the model UFTA
      provisions as opposed to individual state statutes.
 23   N.Y. C.P.L.R. 270–81.
 24   N.Y. DEBT. & CRED. LAW §§ 273–75. Throughout this Section, relevant provisions will be referred to using
      their NY DCL designations as opposed to their model UFCA designations.
 25   Drenis v. Haligiannis, 452 F. Supp. 2d 418, 426 (S.D.N.Y. 2006).

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               a. Choice Of Law Principles As Applied To Claims Under Section 544(b) Of The
                  Bankruptcy Code

       Many of the transactions reviewed during the Investigation occurred outside the two-year
 look-back period contained in the federal fraudulent transfer statue.26 Therefore, an estate
 representative seeking to avoid such transactions will be required to rely on section 544(b) of
 the Bankruptcy Code and its invocation of applicable state law.27 To determine whether a
 transfer may be avoided under section 544(b), it is therefore necessary to determine which
 state’s law is the “applicable law” to the transfer at issue.28

      Although a representative of one or more of the Debtors’ estates could choose to bring an
 action under section 544(b) of the Bankruptcy Code in a number of possible venues,29 the
 Examiner believes that, in this case, such an action would likely be brought as an adversary
 proceeding in the Bankruptcy Court because the Bankruptcy Court’s choice of law rules
 would likely result in the application of law that would favor a number of potential causes of
 action.

       In Second Circuit jurisdictions, “bankruptcy courts confronting state law claims that do
 not implicate federal policy concerns should apply the choice-of-law rules of the forum
 state.”30 Accordingly, federal courts sitting in New York generally apply the choice of law
 rules of New York when deciding what law governs a claim under section 544(b).31 However,
 a minority of courts have departed from this approach, and instead applied federal common
 law choice of law principles, because federal courts “possess[] federal question jurisdiction
 over any claim based on section 544(b) of the Bankruptcy Code.”32 Because it is the majority
 rule, the Examiner believes that the Bankruptcy Court would likely apply New York choice of
 26   11 U.S.C. § 548(a)(1) (“The trustee may avoid any transfer . . . of an interest of the debtor in property, or any
      obligation . . . incurred by the debtor, that was made or incurred on or within 2 years before the date of the
      filing of the petition . . . .”).
 27   See U.S.C. § 544(b).
 28   See Official Comm. of Unsecured Creditors of Hydrogen, L.L.C. v. Blomen (In re Hydrogen), 431 B.R. 337,
      353 (Bankr. S.D.N.Y. 2010).
 29   See 28 U.S.C. § 1409(d).
 30   Bianco v. Erkins (In re Gaston & Snow), 243 F.3d 599, 601–02 (2d Cir. 2001); see also In re PSINet Inc.,
      268 B.R. 358, 376 (Bankr. S.D.N.Y. 2001) (“Where, as here, this Court’s subject matter jurisdiction is based
      on 28 U.S.C. § 1334, the Court applies, with respect to matters of state law, the conflicts of law principles of
      the forum state, i.e., the State of New York.”).
 31   See O’Toole v. Karnani (In re Trinsum Grp., Inc.), 460 B.R. 379, 389 (Bankr. S.D.N.Y. 2011) (“When
      performing a choice-of-law analysis, a court should follow the choice-of-law rules of the forum state.”)
      (citing In re Gaston & Snow, 243 F.3d at 607–08) .
 32   In re WorldCom, Inc., No. 02-13533, 2003 WL 23861928, at *40 (Bankr. S.D.N.Y. Oct. 31, 2003); In re Best
      Prods. Co., Inc., 168 B.R. 35, 51 (Bankr. S.D.N.Y. 1994), aff’d, 68 F.3d 26 (2d Cir. 1995) (citing
      Corporacion Venezolana de Fomento v. Vintero Sales Corp., 629 F.2d 786, 795 (2d Cir. 1980)); see also
      Koreag, Controle et Revision S.A. v. Refco F/X Assocs., Inc. (In re Koreag, Controle et Revision S.A.), 961
      F.2d 341, 350 (2d Cir. 1992).

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 law principles in this case. However, because the Bankruptcy Court could also reasonably
 adopt federal common law choice of law rules, the Examiner will address both New York and
 federal common law choice of law rules.

                   (1) New York Choice Of Law Rules Applied To Claims Under Section 544(b)

                        (a) Whether A Choice Of Law Agreement Governs

       New York choice of law rules would require the Bankruptcy Court to first determine
 whether an enforceable contractual choice of law provision governs the dispute at issue. As a
 general rule, “New York recognizes the right of contracting parties to agree to the choice-of-
 law.”33 However, “[u]nder New York law, a contractual choice-of-law provision governs only
 a cause of action sounding in contract, not one sounding in tort . . . unless the express
 language of the choice-of-law provision is sufficiently broad as to encompass the entire
 relationship between the contracting parties.”34 Fraudulent transfer or conveyance claims
 sound in tort, and are therefore not governed by contractual choice of law provisions unless
 such provisions are sufficiently broad to capture all conduct between the contracting parties.35

      Courts applying New York law are generally reluctant to read choice of law clauses with
 sufficient breadth to control torts related to an underlying contract.36 For example, a choice of
 law provision reading “[t]his Agreement shall be governed by, and construed in accordance
 with, the laws of the State of Delaware” has been held to be insufficiently broad to require
 application of Delaware law to fraudulent transfer claims arising from the agreement.37
 Nevertheless, in Roselink Investors, L.L.C. v. Shenkman, a virtually identical choice of law
 clause reading “[t]his Note shall be governed by and construed in accordance with the laws of
 the State of New York,” when combined with a broad forum selection clause, led one court to
 conclude that “under the forum selection clause in [the relevant contracts] . . . New York law




 33   Roselink Investors, L.L.C. v. Shenkman, 386 F. Supp. 2d 209, 225 (S.D.N.Y. 2004) (citing Turtur v.
      Rothschild Registry Int’l, Inc., 26 F.3d 304, 310 (2d Cir. 1994)).
 34   H.S.W. Enters., Inc. v. Woo Lae Oak, Inc., 171 F. Supp. 2d 135, 141 n.5 (Bankr. S.D.N.Y. 2001) (citing
      Lazard Freres & Co. v. Protective Life Ins. Co., 108 F.3d 1531, 1540 (2d Cir. 1997)); accord Turtur, 26 F.3d
      at 309–10; see also Fin. One Pub. Co. Ltd. v. Lehman Bros. Special Fin., Inc., 414 F.3d 325, 335 (2d Cir.
      2005) (citing Krock v. Lipsay, 97 F.3d 640, 645 (2d Cir. 1996); Twinlab Corp. v. Paulson, 724 N.Y.S.2d 496,
      496 (N.Y. App. Div. 2001)) (“Under New York law . . . tort claims are outside the scope of contractual
      choice-of-law provisions that specify what law governs construction of the terms of the contract . . . .
      Presumably a contractual choice-of-law clause could be drafted broadly enough to reach such tort claims.”).
 35   See Geron v. Robinson & Cole LLP, 476 B.R. 732, 737–38 (S.D.N.Y. 2012).
 36   Fin. One Pub. Co. Ltd., 414 F.3d at 335.
 37   See Drenis v. Haligiannis, 452 F. Supp. 2d 418, 425–26 (S.D.N.Y. 2006) (citing Knieriemen v. Bache Halsey
      Stuart Shields, Inc., 427 N.Y.S.2d 10 (N.Y. App. Div. 1980), overruled on other grounds, Rescildo v. R.H.
      Macy’s, 594 N.Y.S.2d 139 (N.Y. App. Div. 1993)).

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 [was] the applicable law . . . .” with respect to a fraudulent transfer claim.38 Roselink, however,
 is factually distinguishable from this case in that: (1) all creditors bringing the fraudulent
 conveyance claims in Roselink were parties to the agreements containing the applicable choice
 of law clause; (2) the fraudulent conveyance claim arose out of the contract that contained the
 choice of law clause; and (3) the action was not part of a larger bankruptcy case, and so did
 not directly affect the rights of other creditors who were non-parties to the choice of law
 agreement.
      Highlighting the importance of this distinction, a number of courts have held that “parties
 to a contractual conveyance cannot in their contract make a choice-of-law that binds creditors
 who allege they were defrauded by the conveyance.”39 As one court put it, a choice of law
 agreement “will not be regarded where it would operate to the detriment of strangers to the
 agreement, such as creditors or lienholders.”40 The Examiner believes that these cases are
 well-reasoned and persuasive because it is difficult to see why a contractual choice of law
 provision between two parties should govern the rights of a third party with respect to a
 fraudulent transfer claim. Based on the foregoing, the Examiner concludes that it is unlikely
 that a contractual choice of law provision would be found to govern fraudulent transfer or
 conveyance claims arising from a contract.

                        (b) Whether An Actual Conflict Of Law Exists Between New York Law And
                            The Laws Of Other Interested Jurisdictions

      If the Bankruptcy Court finds that a choice of law clause governs a particular claim, the
 analysis ends and the Bankruptcy Court will apply the agreed-upon law.41 However, if no
 applicable choice of law clause exists or the Bankruptcy Court concludes that a such a clause
 does not govern the claim at issue, “[t]he first step of New York’s choice-of-law rules is to



 38   Roselink, 386 F. Supp. 2d at 226 (citing Turtur, 26 F.3d at 310). The forum selection clause in Roselink
      reads:
         The parties hereby agree that any dispute which may arise between them arising out of or in
         connection with this Subscription Agreement shall be adjudicated before a court located in New
         York City and they hereby submit to the exclusive jurisdiction of the courts of the State of New
         York located in New York, New York and of the federal courts in the Southern District of New
         York with respect to any action or legal proceeding commenced by any party.
      Roselink, 386 F. Supp. 2d at 226.
 39   Green v. Zukerkorn (In re Zukerkorn), 484 B.R. 182, 200 (B.A.P. 9th Cir. 2012) (quoting Ferrari v. Barclays
      Bus. Credit (In re Morse Tool, Inc.), 108 B.R. 384, 386 (Bankr. D. Mass. 1989)); see also Kraken Invs. Ltd.
      v. Jacobs (In re Salander-O’Reilly Galleries, LLC), 475 B.R. 9, 32 (S.D.N.Y. 2012) (citing In re Salander-
      O’Reilly Galleries, 453 B.R. 106, 120 (Bankr. S.D.N.Y. 2011)).
 40   Marine Midland Bank v. Portnoy (In re Portnoy), 201 B.R. 685, 701 (Bankr. S.D.N.Y. 1996) (quoting Hong
      Kong & Shanghai Banking Corp., Ltd. v. HFH USA Corp., 805 F. Supp. 133, 140 (W.D.N.Y. 1992));
      Carlson v. Tandy Computer Leasing, 803 F.2d 391 (8th Cir. 1986); In re Morse Tool, Inc., 108 B.R. at 386.
 41   See Roselink, 386 F. Supp. 2d at 226 (citing Turtur, 26 F.3d at 310).

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 determine whether there is an actual conflict between the laws of the jurisdictions involved.”42
 In the absence of an actual conflict, New York law will apply.43
      In this case, jurisdictions that are potentially interested in one or more of the transactions
 investigated by the Examiner include Delaware,44 Michigan,45 Minnesota,46 New York,47 and
 Pennsylvania.48 As discussed in Section VI, the NY DCL is based on the UFCA. In contrast,
 the fraudulent transfer laws of Delaware, Michigan, Minnesota, and Pennsylvania are all
 based on the UFTA. Consequently, where a transaction has connections with jurisdictions
 other than New York, the Bankruptcy Court may need to determine whether an actual conflict
 exists between the specific provisions of the UFCA and the UFTA implicated by the dispute.49
      Where the issue in dispute “would turn out the same under both forums’ law . . . no true
 conflict exists.”50 Accordingly, if the litigants fail to present evidence of the difference
 between the laws of two potential forums, the Bankruptcy Court may conclude that no actual
 conflict exists.51 Similarly, if the parties were to stipulate that no actual conflict of law exists
 as to the issue in dispute, the Bankruptcy Court may acquiesce and apply the law of New
 York, the forum state.52 However, the parties need not show that a difference in law will
 42   Paradigm BioDevices, Inc. v. Viscogliosi Bros., LLC, 842 F. Supp. 2d 661, 665 (S.D.N.Y. 2012) (citing
      Drenis, 452 F. Supp. 2d at 426).
 43   See Paradigm BioDevices, 842 F. Supp. 2d at 665.
 44   AFI, GMAC Mortgage, ResCap, and RFC are all incorporated in or otherwise organized under the laws of
      Delaware.
 45   AFI’s principal place of business is located in Michigan.
 46   RFC’s principal place of business is located in Minnesota. ResCap’s principal place of business was located
      in Minnesota until at least March 10, 2012. According to the Debtors and AFI, ResCap’s principal place of
      business was relocated to New York on March 10, 2012.
 47   According to the First Day Affidavit, ResCap “maintains its headquarters at its New York office located at 1177
      Avenue of the Americas, New York, New York 10036.” First Day Affidavit, at 3. The Debtors further stated
      that “the New York office has served as the primary office for the senior executives and core management team
      of the largest operating Debtors—ResCap, Residential Funding Company LLC . . . and GMAC Mortgage,
      LLC.” Id.
 48   GMAC Mortgage’s principal place of business is in Pennsylvania.
 49   Whether a true conflict exists must be determined on a claim by claim basis. Thus, whether a court finds a
      true conflict between the laws of two jurisdictions will depend on the specific aspects of those laws
      implicated by a particular transaction. A court might thus reasonably find that no true conflict exists between
      the NY DCL and the UFTA of another state with respect to one type of fraudulent transfer claim, but find
      that a true conflict does exist with respect to another type of claim.
 50   Elgin Sweeper Co. v. Melson Inc., 884 F. Supp. 641, 648 (N.D.N.Y. 1994) (citing Howard v. Clifton
      Hydraulic Press Co., 830 F. Supp. 708, 712 (E.D.N.Y. 1993)).
 51   See Paradigm BioDevices, Inc. v. Viscogliosi Bros., LLC, 842 F. Supp. 2d 661, 665 n.1 (S.D.N.Y. 2012)
      (“[P]laintiff does not point to any specific differences between the UFTA and UFCA that show a conflict
      between Massachusetts’s UFTA and New York’s fraudulent conveyance statute to warrant the application of
      Massachusetts law to the fraudulent transfer claim in the present action.”).
 52   See, e.g., FCC v. NextWave Pers. Commc’ns, Inc. (In re NextWave Pers. Commc’ns, Inc.), 200 F.3d 43, 56
      n.13 (2d Cir. 1999).

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 definitely affect the dispute for the Bankruptcy Court to find that an actual conflict of law
 exists. Instead, an actual conflict of law exists so long as there are differences “that may
 eventually prove relevant to plaintiffs’ claims in [the] litigation.”53

      Although authority on the issue is not uniform, certain courts applying New York’s
 choice of law principles have found an actual conflict between the NY DCL and the UFTA.54
 As an example of an area where an actual conflict may exist, there are significant differences
 between the concept of “reasonably equivalent value” under the UFTA—which requires
 approximate equivalence between what is given and what is received by the debtor55—and the
 concept of “fair consideration” under the NY DCL—which requires “good faith” in addition
 to approximate equivalence between what is given and what is received by the debtor.56
 Where these statutory differences may be outcome-determinative, the Bankruptcy Court is
 likely to find an actual conflict of law.57

      Actual conflicts of law have also been found to exist with respect to intentional
 fraudulent transfer or conveyance claims.58 For example, under both the UFTA and the NY
 DCL, a transfer is potentially avoidable if the transferor acted with fraudulent intent.
 However, the UFTA provides a defense to transferees who either gave reasonably equivalent
 value or acted in good faith. In contrast, under the NY DCL, “every conveyance with actual
 intent to defraud present or future creditors is fraudulent, irrespective of transferee’s good
 faith (or lack thereof) or exchange of fair consideration.”59 Given that the recipient of an
 alleged intentional fraudulent transfer will often be in a position to assert a colorable argument
 of good faith or reasonably equivalent value, and the outcome-determinative nature of such an
 assertion, some courts have found a fundamental conflict between the UFTA and the NY DCL
 with respect to intentional fraud claims.60

      The Examiner concludes that it is likely that the Bankruptcy Court would find that an
 actual conflict exists between the NY DCL and the laws of the jurisdictions that employ the
 UFTA with respect to fraudulent conveyance or fraudulent transfer claims wherever the

 53   Drenis v. Haligiannis, 452 F. Supp. 2d 418, 426 (S.D.N.Y. 2006).
 54   See, e.g., O’Toole v. Karnani (In re Trinsum Grp., Inc.), 460 B.R. 379, 389–94 (Bankr. S.D.N.Y. 2011)
      (finding that a conflict requiring application of choice of law principles existed between the NY DCL and
      Delaware constructive fraudulent transfer law, and analyzing, among other things, differing treatment of
      claims against insiders in the two jurisdictions).
 55   See Viscount Air Servs., Inc. v. Cole (In re Viscount Air Servs., Inc.), 232 B.R. 416 (Bankr. D. Ariz. 1998)
      (“[R]easonably equivalent value ordinarily means ‘similar to fair market value.’”) (citing BFP v. Resolution
      Trust Corp., 511 U.S. 531, 545 (1994)).
 56   See N.Y. DEBT. & CRED. LAW § 272.
 57   See Drenis, 452 F. Supp. 2d at 426–27.
 58   See id.
 59   Id. (citing N.Y. DEBT. & CRED. LAW § 276).
 60   Id.

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 statutory differences would be outcome determinative. The Examiner notes that actual
 conflicts of law are likely to exist where a debtor transferred property to an insider either for
 less than market value or in satisfaction of an antecedent debt, or where the recipient of an
 alleged intentional fraudulent conveyance or transfer has a plausible basis for asserting a
 defense of good faith or the provision of reasonably equivalent value.
                         (c) The Jurisdiction With The Greatest Interest
      If the Bankruptcy Court were to find that an actual conflict of law exists with respect to a
 potential fraudulent transfer claim under section 544(b) of the Bankruptcy Code, it would
 “conduct[] an interest analysis, and appl[y] the law of the jurisdiction having the greatest
 interest in the litigation.”61 In deciding which jurisdiction has the greatest interest, the
 Bankruptcy Court would consider “(1) what are the significant contacts and in which
 jurisdiction are they located; and, (2) whether the purpose of the law is to regulate conduct or
 allocate loss.”62
      In determining which jurisdiction has the most significant contacts, the Bankruptcy Court
 would consider: (1) the domicile, residence, place of incorporation, and place of business of
 the parties; (2) the place of injury; and (3) the place of injury-causing contact.63
      However, “where . . . regulation of conduct is at issue, the state where the alleged tort
 took place has the greater interest.”64 Fraudulent conveyance laws are conduct-regulating
 rather than loss-allocating.65 Accordingly, when considering a fraudulent transfer action under
 section 544(b) of the Bankruptcy Code, the Bankruptcy Court would likely apply the law of
 the state where the alleged fraudulent transfer occurred.
 61   Geron v. Robinson & Cole LLP, 476 B.R. 732, 738 (S.D.N.Y. 2012) (quoting Istim, Inc. v. Chem. Bank, 581
      N.E.2d 1042 (N.Y. 1991) (quoting Schultz v. Boy Scouts of Am., Inc., 480 N.E.2d 679 (N.Y. 1985))) (internal
      quotation marks omitted); see also Krock v. Lipsay, 97 F.3d 640, 645 (2d Cir. 1996) (requiring the court to
      conduct an “interest analysis” to determine “the jurisdiction having the greatest interest in the litigation.”);
      Paradigm BioDevices, Inc. v. Viscogliosi Bros., LLC, 842 F. Supp. 2d 661, 665 (S.D.N.Y. 2012) (“If there is
      a conflict of law in tort actions, New York’s choice-of-law rules use an ‘interest analysis’ that applies the
      laws of the jurisdiction with the greatest interest in the application of its law ‘based on the occurrences within
      each jurisdiction, or contacts of the parties with each jurisdiction, that ‘relate to the purpose of the particular
      law in conflict.’”) (quoting Pension Comm. of Univ. of Montreal Pension Plan v. Banc. of Am. Secs., LLC,
      446 F. Supp. 2d 163, 192 (S.D.N.Y. 2006)); Official Comm. of Unsecured Creditors of Hydrogen, L.L.C. v.
      Blomen (In re Hydrogen), 431 B.R. 337, 353–54 (Bankr. S.D.N.Y. 2010).
 62   Padula v. Lilarn Props. Corp., 644 N.E.2d 1001 (N.Y. 1994) (citing Schultz, 480 N.E.2d at 684–85).
 63   In re Hydrogen, 431 B.R. at 353–54 (citations omitted).
 64   Geron, 476 B.R. at 738 (citing GFL Advantage Fund, Ltd. v. Colkitt, No. 03 Civ. 1256, 2003 WL 21459716,
      at *3 (S.D.N.Y. June 24, 2003)); see also Drenis v. Haligiannis, 452 F. Supp. 2d 418, 427 (S.D.N.Y. 2006)
      (“[T]he law of the jurisdiction where the tort occurred will generally apply because that jurisdiction has the
      greatest interest in regulating behavior within its borders.”) (quoting Pension Comm. of Univ. of Montreal
      Pension Plan, 446 F. Supp. 2d at 192 (quoting GlobalNet Financial.com, Inc. v. Frank Crystal & Co., Inc.,
      449 F.3d 377, 384 (2d Cir. 2006))).
 65   Roselink Investors, L.L.C. v. Shenkman, 386 F. Supp. 2d 209, 225 (S.D.N.Y. 2004) (“A fraudulent
      conveyance statute is conduct regulating rather than loss allocating.”) (quoting GFL Advantage, 2003 WL
      21459716, at *3).

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        In determining where a fraudulent transfer occurred:
                    a court’s “paramount” concern is the locus of the fraud, that is,
                    “the place where the injury was inflicted,” as opposed to the
                    place where the fraudulent act originated. The place in which
                    the injury is deemed to have occurred is “usually where the
                    plaintiff is located.”66
      Determining where the “plaintiff” is located for fraudulent transfer purposes is
 complicated by the fact that, in bankruptcy, the debtor’s estate, which is typically the nominal
 plaintiff, acts on behalf of the creditor body as a whole. As a result, the Bankruptcy Court may
 consider both the location of the transferor-debtor (based on its state of incorporation and
 principal place of business) and the locations of the debtor’s various creditors.67 However,
 where the transferor’s creditors are widely dispersed, their location will be given only limited
 weight.68 Additionally, little weight will be given to the transferor’s state of incorporation
 unless the transaction at issue has some other nexus with that state.69 Consequently, if the
 Bankruptcy Court were to find that: (1) an actual conflict of law exists between the NY DCL
 and the fraudulent transfer laws of other interested jurisdictions; (2) the transferor-debtor’s
 creditors are widely dispersed; (3) the transaction at issue is not otherwise linked to the
 transferor-debtor’s state of incorporation; and (4) no controlling choice of law agreement
 exists, it would likely apply the substantive law of the state in which the transferor-debtor’s
 principal place of business is located.
 66   Cromer Fin. Ltd. v. Berger, 137 F. Supp. 2d 452, 492 (S.D.N.Y. 2001); see also H.S.W. Enters., Inc. v. Woo
      Lae Oak, Inc., 171 F. Supp. 2d 135, 142 (S.D.N.Y. 2001) (citing La Luna Enters. v. CBS Corp., 74 F. Supp.
      2d 384, 389 (S.D.N.Y. 1999); Krock, 97 F.3d at 645) (“Although the law is somewhat unresolved on this
      point, New York courts consider the locus of a fraud to be the place where the injury was inflicted and not
      the place where the fraudulent act originated.”); RCA Corp v. Tucker, 696 F. Supp. 845, 856 (E.D.N.Y. 1988)
      (“The authorities are unanimous that in fraud cases where the wrongful acts occur in a state other than that in
      which the injury is suffered, the case is governed by the law of the state where the injury or economic loss is
      felt.”) (citing Indus. Consultants, Inc. v. H.S. Equities, Inc., 646 F.2d 746 (2d Cir. 1981); Sack v. Low, 478
      F.2d 360 (2d Cir. 1973); Maiden v. Biehl, 582 F. Supp. 1209 (S.D.N.Y. 1984); Posner v. Merrill Lynch,
      Pierce, Fenner & Smith, 469 F. Supp. 972, 979–80 (S.D.N.Y. 1979)) .
 67   See In re Hydrogen, 431 B.R. at 353–54; In re WorldCom, Inc., No. 02–13533, 2003 WL 23861928, at *40
      (Bankr. S.D.N.Y. Oct. 31, 2003) (citing In re Best Prods. Co., Inc., 168 B.R. 35, 51 (Bankr. S.D.N.Y. 1994),
      aff’d, 68 F.3d 26 (2d Cir. 1995)).
 68   See In re Hydrogen, 431 B.R. at 354 n.10.
 69   See Savage & Assocs., P.C. v. Mandl (In re Teligent, Inc.), 380 B.R. 324, 332 n.6 (Bankr. S.D.N.Y. 2008)
      (conducting an “interest analysis,” and holding the state of the debtor’s incorporation—Delaware—
      inapplicable to fraudulent transfer claim since the fraudulent transfer occurred in another jurisdiction);
      Faulkner v. Kornman (In re Heritage Org. L.L.C.), 413 B.R. 438, 462 (Bankr. N.D. Tex. 2009) (conducting a
      “most significant factor” choice of law analysis and holding Delaware fraudulent transfer law inapplicable
      because the “only connection the Trustee’s fraudulent transfer claims have to Delaware is that [transferor]
      and the [transferees] are Delaware entities”); Official Comm. of Asbestos Pers. Injury Claimants v. Sealed Air
      Corp. (In re W.R. Grace & Co.), 281 B.R. 852, 855 (Bankr. D. Del. 2002) (conducting choice of law analysis
      and holding Delaware fraudulent transfer law inapplicable because “Delaware’s only contact with this matter
      is that it is the state of incorporation of the transferee and the subsidiary that is the subject of this fraudulent
      transfer action”).

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      Based on a review of the Debtors’ schedules and the numerous claims and causes of
 action that have been asserted in this case, the Examiner concludes that the creditors of each
 of the relevant Debtors are widely dispersed. Where the remaining three conditions discussed
 above are satisfied, the Examiner concludes that it is likely that: (1) Minnesota’s substantive
 fraudulent transfer law would govern claims brought by the estates of, among others,
 ResCap70 and RFC; and (2) Pennsylvania’s substantive fraudulent transfer law would govern
 claims brought by the estate of GMAC Mortgage.

                        (d) The Internal Affairs Doctrine

       The internal affairs doctrine “recognizes that only one state should have the authority to
 regulate a corporation’s internal affairs—matters peculiar to the relationships among or
 between the corporation and its current officers, directors and shareholders—because
 otherwise a corporation could be faced with conflicting demands.”71 “However, in certain
 circumstances ‘application of the local law of some other state is required by reason of the
 overriding interest of that other state in the issue to be decided.’”72 As a result, “the New York
 Court of Appeals has rejected ‘any automatic application of the so-called ‘internal affairs’
 choice-of-law rule.’”73 Indeed, several courts have expressly declined to apply the internal
 affairs doctrine to fraudulent transfer or conveyance claims, even where the only aggrieved
 creditors were partners of the transferor-debtor.74 Accordingly, the Examiner concludes that
 the Bankruptcy Court is unlikely to apply the internal affairs doctrine to any of the potential
 fraudulent transfer or fraudulent conveyance actions discussed below.




 70   Because all of the state-law based claims and causes of action discussed below arose prior to March 2012,
      when the Debtors and AFI contend that ResCap’s principal place of business was shifted to New York, it is
      unnecessary for the Examiner to opine on whether that asserted shift in fact occurred.
 71   Edgar v. MITE Corp., 457 U.S. 624, 645 (1982).
 72   Drenis v. Haligiannis, 452 F. Supp. 2d 418, 427 (S.D.N.Y. 2006) (quoting Stephens v. Nat’l Distillers &
      Chem. Corp., No. 91 Civ. 2901, 1996 WL 271789, at *4 (S.D.N.Y. May 21, 1996) (quoting RESTATEMENT
      (SECOND) OF CONFLICT OF LAWS § 302 cmt. b (1971))).
 73   Drenis, 452 F. Supp. 2d at 427 (quoting Stephens, 1996 WL 271789, at *4 (quoting Greenspun v. Lindley,
      330 N.E.2d 79, 81 (N.Y.1975))).
 74   See Drenis, 452 F. Supp. 2d at 427; see also Goodman v. H.I.G. Capital, LLC (In re Gulf Fleet Holdings,
      Inc.), No. 11-50713, 2013 WL 13432751, at *7 (Bankr. W.D. La. Apr. 2, 2013) (citing In re Heritage Org.,
      413 B.R. at 463); Stanziale v. Dalmia (In re Allserve Sys. Corp.), 379 B.R. 69, 79–80 (Bankr. D.N.J. 2007)).

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                   (2) Federal Common Law Choice Of Law Analysis

      Federal common law choice of law rules require application of the “law of the
 jurisdiction with the most significant relationship to the transaction and to the parties.”75 This
 test appears to be indistinguishable from New York’s greatest interest test.76 Accordingly,
 federal common law choice of law analysis would only yield a different result than analysis
 under New York choice of law rules in instances where a court applying the New York rules
 finds no actual conflict between New York law and the laws of other potentially interested
 jurisdictions, in which case the choice of law issue would be moot by definition.

               b. Statutes Of Limitation And New York’s Borrowing Statute

      Courts in the Southern District of New York have applied New York’s choice of law
 rules to determine the applicable statute of limitations.77 Under New York’s “borrowing
 statute,” the Bankruptcy Court would apply the shorter of New York’s statute of limitations or
 that of the state in which the plaintiff resides.78 “When a bankruptcy trustee sues as a
 representative of the estate of the bankrupt corporation, it is the residency of the corporation
 which is applicable.”79 Residency in this context has generally been held to be a corporation’s
 or limited liability company’s principal place of business.80 In this instance, the applicable




 75   See In re Worldcom, Inc., No. 02-13533, 2003 WL 23861928, at *40 (Bankr. S.D.N.Y. Oct. 31, 2003) (citing
      In re Best Prods. Co., Inc., 168 B.R. 35, 51 (Bankr. S.D.N.Y. 1994), aff’d, 68 F.3d 26 (2d Cir. 1995)).
 76   See Kraken Invs. Ltd. v. Jacobs (In re Salander-O’Reilly Galleries, LLC), 475 B.R. 9, 31 (S.D.N.Y. 2012)
      (quoting Koreag, Controle et Revision S.A. v. Refco F/X Assocs., Inc. (In re Koreag, Controle et Revision
      S.A.), 961 F.2d 341, 350 (2d Cir. 1992)) (“I need not determine whether the Bankruptcy Court should have
      applied federal or New York choice-of-law rules because both apply ‘the law of the jurisdiction having the
      greatest interest in the litigation.’”).
 77   See, e.g., Official Comm. of Asbestos Claimants of G-I Holding, Inc. v. Heyman, 277 B.R. 20, 30 (S.D.N.Y.
      2002); Adelphia Commc’ns Corp. v. Bank of Am. N.A. (In re Adelphia Commc’ns Corp.), 365 B.R. 24, 57
      n.136 (Bankr. S.D.N.Y. 2007) (“Where, as here, the Court is exercising bankruptcy jurisdiction over state
      law claims under 28 U.S.C. § 1334(b), the court applies the choice of law rules of the forum state to
      determine the applicable statute of limitations.”). Where the claim asserted before the bankruptcy court is
      derived from another claim pending in an out of state non-bankruptcy proceeding commenced prior to the
      bankruptcy case, the court should apply the choice of law rules of the state in which the original claim was
      brought to determine the applicable statute of limitations. See Statek Corp. v. Dev. Specialists, Inc. (In re
      Coudert Bros. LLP), 673 F.3d 180, 182 (2d Cir. 2012).
 78   See In re Adelphia Commc’ns Corp., 365 B.R. at 57–58.
 79   Heyman, 277 B.R. at 30.
 80   See, e.g., id.; In re Adelphia Commc’ns Corp., 365 B.R. at 58 n.137.

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 jurisdiction may be Delaware,81 Michigan,82 Minnesota,83 New York,84 or Pennsylvania.85
 Thus, the Bankruptcy Court would compare the statute of limitations for fraudulent transfer or
 conveyance claims in New York against the statute of limitations of Michigan, Minnesota, or
 Pennsylvania, depending on which Debtor’s Estate was asserting such claims.86
      Delaware, Michigan, Minnesota, and Pennsylvania have all adopted the UFTA, which
 generally provides a four-year statute of limitations for general fraudulent transfer claims and
 one year for “Insider Preference” fraudulent transfer claims, which are unique to the UFTA.87
 Michigan, Minnesota, and Pennsylvania, however, have non-uniform statutes of limitation.
 Under Michigan law, general fraudulent transfer claims are subject to a six-year statute of
 limitations, while Insider Preference fraudulent transfer claims have a one-year statute of
 limitations.88 Under Minnesota law, all fraudulent transfer claims, including Insider Preference
 fraudulent transfer claims, have a six-year statute of limitations.89 Pennsylvania adopted the
 UFTA’s four-year statute of limitations for general fraudulent transfer claims.90 However,
 81   AFI, GMAC Mortgage, ResCap, and RFC are all incorporated in, or otherwise organized under the laws of,
      Delaware.
 82   AFI’s principal place of business is located in Michigan.
 83   RFC’s principal place of business is located in Minnesota. ResCap’s principal place of business was located
      in Minnesota until at least March 10, 2012. According to the Debtors and AFI, ResCap’s principal place of
      business was relocated to New York on March 10, 2012. Because residency under New York’s borrowing
      statute is measured as of the date on which a cause of action accrues, and all relevant transactions occurred
      prior to the alleged relocation of ResCap’s principal place of business, the Examiner concludes that it is
      unnecessary to determine whether ResCap relocated its principal place of business to New York in March
      2012.
 84   As noted above, ResCap and AFI assert that ResCap’s principal place of business was relocated to New York
      in March 2012. In the First Day Affidavit, the Debtors stated that ResCap “maintains its headquarters at its
      New York office located at 1177 Avenue of the Americas, New York, New York 10036.” First Day
      Affidavit, at 3. The Debtors further stated that “the New York office has served as the primary office for the
      senior executives and core management team of the largest operating Debtors—ResCap, Residential Funding
      Company LLC . . . and GMAC Mortgage, LLC.” Id.
 85   GMAC Mortgage’s principal place of business is in Pennsylvania.
 86   In Adelphia, the court decided to compare the statute of limitations of New York to the limitations period in
      Pennsylvania, where the Adelphia debtors resided. In coming to its decision, the court rejected the argument
      that it should compare the New York’s period to the limitations period in states where subsidiary debtors
      resided. 365 B.R. 24, 58 n.138 (Bankr. S.D.N.Y. 2007). “There are no allegations in the complaint that any
      Adelphia subsidiaries were under independent control, or directed by the Rigases or anyone else in different
      states.” Id.
 87   See UFTA § 9(a).
 88   See MICH. COMP. LAWS ANN. §§ 566.39, 600.5813, 600.5855.
 89   See MINN. STAT. ANN. § 541.05; see also Georgen-Running v. Grimlie (In re Grimlie), 439 B.R. 710, 720
      n.25 (B.A.P. 8th Cir. 2010) (citing MINN. STAT. ANN. §541.05(6)) (ruling, in the context of a fraudulent
      transfer action, that “[i]n Minnesota, cases involving fraud have a statute of limitations of six years”); In re
      Curry, 160 B.R. 813, 819 n.5 (Bankr. D. Minn. 1993) (noting that fraudulent conveyance actions under
      Minnesota’s Uniform Fraudulent Transfer Act have a statute of limitations of six years pursuant to §
      541.05(6)).
 90   See 12 PA. CONS. STAT. ANN. § 5109.

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 because Pennsylvania did not adopt the portion of the UFTA addressing Insider Preference
 fraudulent transfer claims, it also did not adopt the one-year statute of limitations for such
 claims.91 Instead, Pennsylvania generally applies a two-year statute of limitations to claims
 that sound in fraud, and that two-year statute would likely apply to Insider Preference claims
 in the event that such a claim could be brought under another state’s laws but subject to
 Pennsylvania’s statute of limitations.92 New York law applies a six-year statute of limitations
 to all fraudulent conveyance claims.93

       Under New York’s borrowing statute, the Examiner concludes that it is likely that the
 Bankruptcy Court would apply a four-year statute of limitations to general fraudulent transfer
 claims and a one-year statute of limitations to Insider Preference fraudulent transfer claims
 brought by the Estate of any Debtor that resides in Delaware. The Examiner concludes that it
 is likely that the Bankruptcy Court would apply a four-year statute of limitations to general
 fraudulent transfer claims and a two-year statute of limitations to Insider Preference fraudulent
 transfer claims brought by the Estate of any Debtor found to reside in Pennsylvania, including
 GMAC Mortgage. The Examiner concludes that it is likely that the Bankruptcy Court would
 apply a six-year statute of limitations to general fraudulent transfer claims and a one-year
 statute of limitations to Insider Preference fraudulent transfer claims brought by the Estate of
 any Debtor found to reside in Michigan. Finally, the Examiner concludes that the Bankruptcy
 Court would likely apply a six-year statute of limitations to any fraudulent transfer claims
 brought by the Estate of any Debtor found to reside in New York or Minnesota, including
 ResCap and RFC. Out of an abundance of caution, the Examiner will analyze all transactions
 that could potentially be challenged as fraudulent transfers if a six-year statute of limitations
 were applicable, even where the Examiner believes that a shorter statute of limitations is likely
 to apply. The Examiner will note which statute of limitations he believes is most likely to
 apply to each claim discussed in this Section.

               c. Triggering Creditors

      To commence an action under section 544(b) of the Bankruptcy Code, the trustee must
 identify a creditor or class of creditors holding an allowable claim as of the date of the
 commencement of the case with standing to avoid a transfer under state law to pursue a




 91   See 12 PA. CONS. STAT. ANN. §§ 5105, 5109.
 92   See 42 PA. CONS. STAT. ANN. § 5524(7). Such a result could occur if the Bankruptcy Court were to conclude
      that Minnesota had the most significant contacts with a transfer made by GMAC Mortgage (perhaps based on
      the fact that GMAC Mortgage and RFC transferred property as part of an integrated transaction and RFC’s
      involvement in the transfer predominated). The Bankruptcy Court would then apply Minnesota substantive
      law, but, because of the New York borrowing statute, would apply Pennsylvania’s statute of limitations to
      claims brought by GMAC Mortgage’s estate.
 93   See, e.g., Liberty Co. v. Boyle, 272 A.D.2d 380, 381 (N.Y. App. Div. 2000); see Bobash, Inc. v. Festinger,
      No. 03908/05, 2007 WL 969435, at *2 (N.Y. Sup. Ct. Mar. 30, 2007).

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 fraudulent transfer action under section 544(b).94 These “triggering creditors” do not need to
 exist at the time the action is filed, nor does the trustee need to identify a specific creditor by
 name.95 Furthermore, while a “triggering creditor” needs to hold a claim on both the date of
 the transfer and the petition date (i.e., be the same creditor), it does not need to hold the same
 claim, holding any qualifying claim on those two dates is sufficient.96 Once a transfer is
 voidable under section 544(b), the entire fraudulent transfer may be recovered for the benefit
 of all creditors, not just to the extent necessary to satisfy the individual creditor actually
 holding the avoidance claim.97 Because the trustee is “stepping into the shoes” of an actual
 unsecured creditor for purposes of section 544(b), the trustee “is subject to any defenses that
 could be asserted against the unsecured creditor.”98 As such, if a claim is time-barred against
 the “triggering creditor,” it would also be time-barred if asserted by the trustee.

       In this case, the Examiner concludes that the evidence supports the proposition that
 “triggering creditors” existed at each of the relevant Debtors at all relevant times. Triggering
 creditors for the ResCap Estates include, among others, holders of, and the indenture trustees
 for, the Unsecured Notes. Triggering creditors for the Estates of RFC and GMAC Mortgage
 include the holders of RMBS, who held repurchase claims at least as early as 2004.




 94   See 11 U.S.C. § 544(b); see also Silverman v. Sound Around, Inc. (In re Allou Distribs., Inc.) 392 B.R. 24, 31
      (Bankr. E.D.N.Y. 2008) (“In order for a trustee to maintain an action for avoidance of a fraudulent
      conveyance, the trustee must show that at least one of the present unsecured creditors of the estate holds an
      allowable claim, against whom the transfer or obligation was invalid under applicable state or federal law.”)
      (citing Young v. Paramount Commc’ns, Inc. (In re Wingspread Corp.), 178 B.R. 938, 945 (Bankr. S.D.N.Y.
      1995)).
 95   In re Bernard L. Madoff Inv. Secs. LLC, 445 B.R. 206, 234 (Bankr. S.D.N.Y. 2011) (noting that “simply
      pleading the existence of an unsecured creditor generally will suffice to satisfy” the trustee’s pleading
      requirements).
 96   In re Allou Distribs., Inc., 392 B.R. at 34 (noting that “a triggering creditor must be the same creditor on both
      the [t]ransfer [d]ate and the [p]etition [d]ate,” but does not need to hold the same claim on both these dates).
 97   This doctrine is commonly referred to as the doctrine of Moore v. Bay, because of the Supreme Court
      decision on which it is based. See Moore v. Bay (In re Estate of Sassard & Kimball, Inc.), 284 U.S. 4, 5
      (1931); see also Bankruptcy Reform Act of 1978, Pub. L. 95-598, 1978 U.S.C.C.A.N. (92 Stat. 2549) 5963,
      6328; Bankruptcy Reform Act of 1978, Pub. L. 95-598, 1978 U.S.C.C.A.N. (92 Stat. 2549) 5787, 5873
      (confirming that congressional intent was to retain the rule of that case); Tronox Inc. v. Anadarko Petrol.
      Corp. (In re Tronox Inc.) 464 B.R. 606, 616 (Bankr. S.D.N.Y. 2012) (“Section 544(b) of the Bankruptcy
      Code adopts the ruling of the Supreme Court in Moore v. Bay . . . where the Court allowed a trustee to avoid
      a fraudulent transfer without regard to the size of the claim of the creditor whose rights and powers the
      trustee was asserting, with the rights of the trustee ‘to be enforced for the benefit of the estate.’”).
 98   In re Allou Distribs., Inc., 392 B.R. at 34 (citing Belfance v. Bushey (In re Bushey), 201 B.R. 95, 100 (B.A.P.
      6th Cir. 1997)) (noting that “a trustee’s standing is ‘completely derivative of that of an actual unsecured
      creditor’” and that the trustee is therefore subject to any defenses that could have been asserted against that
      unsecured creditor); Hayes v. Palm Seedlings Partners (In re Agric. Research & Tech. Grp., Inc.), 916 F.2d
      528, 541 (9th Cir. 1990) (holding that trustee “stands in the overshoes of the debtor corporation’s unsecured
      creditors”).

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       3. Section 546 Safe Harbors

       Section 546 of the Bankruptcy Code establishes certain “safe harbor” defenses that
 prohibit avoidance of prepetition transfers on any theory, except claims of actual fraudulent
 transfer under section 548(a)(1)(A). If applicable, these safe harbors prohibit avoidance on any
 other type of claim brought under chapter 5 of the Bankruptcy Code, including claims brought
 by an estate representative under section 544(b) of the Bankruptcy Code. The defenses set
 forth in section 546 are in addition to certain affirmative defenses specific to the particular
 type of claim in question.99 This subsection addresses two relevant safe harbor defenses that
 apply generally to all avoidance actions (except actual fraudulent transfer claims) discussed in
 this Section.

                a. Settlement Payment Defense

      Section 546(e) of the Bankruptcy Code prohibits the avoidance, except pursuant to actual
 fraud under section 548(a)(1)(A) of the Bankruptcy Code, of transfers that are margin
 payments or settlement payments, as defined in section 741(8) of the Bankruptcy Code,100
 made by, to, or for the benefit of a commodity broker, forward contract merchant,
 stockbroker, financial institution, financial participant, or securities clearing agency.101 The
 purpose of section 546(e) is “to minimize the displacement caused in the commodities and
 securities markets in the event of a major bankruptcy affecting those industries.”102 If all of the



 99    For example, section 548’s “good faith transferee for value” defense has no application in an action to avoid
       a preferential transfer under section 547. See 11 U.S.C. § 548(c).
 100   Section 741(8) of the Bankruptcy Code provides that a “‘settlement payment’ means a preliminary settlement
       payment, a partial settlement payment, an interim settlement payment, a settlement payment on account, a
       final settlement payment, or any other similar payment commonly used in the securities trade.” Id. § 741(8).
 101   Section 546(e) provides in full as follows:
          Notwithstanding sections 544, 545, 547, 548(a)(1)(B), and 548(b) of this title, the trustee may not
          avoid a transfer that is a margin payment, as defined in section 101, 741, or 761 of this title, or
          settlement payment, as defined in section 101 or 741 of this title, made by or to (or for the benefit
          of) a commodity broker, forward contract merchant, stockbroker, financial institution, financial
          participant, or securities clearing agency, or that is a transfer made by or to (or for the benefit of) a
          commodity broker, forward contract merchant, stockbroker, financial institution, financial
          participant or securities clearing agency, in connection with a securities contract, as defined in
          section 741(7), commodity contract, as defined in section 761(4), or forward contract, that is made
          before the commencement of the case, except under section 548(a)(1)(A) of [the Bankruptcy
          Code].
       Id. § 546(e).
 102   Picard v. Katz, 462 B.R. 447, 452 (S.D.N.Y. 2011) (quoting Gredd v. Bear, Stearns Sec. Corp. (In re
       Manhattan Inv. Fund Ltd.), 310 B.R. 510, 513 (Bankr. S.D.N.Y. 2002)); see also Kaiser Steel Corp v.
       Charles Schwab & Co., Inc., 913 F.2d 846, 848 (10th Cir. 1990) (citation omitted) (stating that section
       546(e) is intended “to protect the nation’s financial markets from the instability caused by the reversal of
       settled securities transactions”).

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 elements of a section 546(e) safe harbor defense are satisfied, the defense is established and
 will be strictly applied, regardless of whether application of the defense in any particular
 instance is necessary to meet the goals of Congress.103

      Section 546(e) requires that three elements be satisfied for a challenged transfer to fall
 within the safe harbor. First, there must be a prepetition transfer.104 Second, the challenged
 transfer must have been made by, to, or for the benefit of a “financial institution,”105 a
 “financial participant,”106 or one of the other types of enumerated market participants.107
 Third, the transfer must either: (1) constitute a “margin payment” or a “settlement payment;”
 or (2) have been made in connection with a securities contract, commodity contract, or
 forward contract. With respect to this final element, the only types of transfers potentially
 implicated by the transactions analyzed in this Section are: (1) a settlement payment; and (2) a
 payment in connection with a securities contract.108

      The Examiner did not independently analyze whether AFI, ResCap, or RFC meet the
 requirements of a “financial participant” under the Bankruptcy Code, but the Examiner’s
 Counsel did request information on this point from both the Debtors and AFI.109 Neither party
 asserted that AFI, ResCap, or RFC qualifies as one of the market participants listed in section
 546(e). Accordingly, the Examiner proceeded with his analysis on the basis that none of


 103   Lehman Bros. Holdings Inc. v. JPMorgan Chase Bank, N.A. (In re Lehman Bros. Holding), 469 B.R. 415,
       436 (Bankr. S.D.N.Y. 2012) (“Consistent with its approach in Quebecor, the Court will strictly construe the
       plain meaning of section 546(e) in judging whether the claims set forth in the Amended Complaint are
       subject to the safe harbors of that section of the Bankruptcy Code.”).
 104   The Bankruptcy Code defines the term “transfer” to include: (1) the creation of a lien; (2) the retention of
       title as a security interest; (3) the foreclosure of a debtor’s equity of redemption, or (4) each mode, direct or
       indirect, absolute or conditional, voluntary or involuntary, of disposing of or parting with property or an
       interest in property. 11 U.S.C. § 101(54).
 105   The Bankruptcy Code defines a “financial institution” as “a Federal reserve bank, or an entity that is a
       commercial or savings bank . . . .” Id. § 101(22).
 106   The Bankruptcy Code’s definition of a “financial participant” is intended to protect major market
       participants—an entity may qualify as a financial participant only if it has at least $1 billion in notional
       principal value of derivative contracts or $100 million in gross mark-to-market positions (aggregated across
       all counterparties but excluding affiliates) at certain times and during certain periods specified by the
       Bankruptcy Code. See id. § 101(22A).
 107   Id. § 546(e).
 108   It does not appear that any of the transactions at issue constitute “margin payments.” See id. § 741(5)
       (defining margin payment as a “payment or deposit of cash, a security, or other property, that is commonly
       known in the securities trade as original margin, initial margin, maintenance margin, or variation margin, or
       as a mark-to-market payment, or that secures an obligation of a participant in a securities clearing agency.”);
       see also id. § 101(38) (similarly defining “margin payment” for purposes of the forward contract portions of
       the Bankruptcy Code). Similarly, none of the transactions appear to involve commodities or forward
       contracts. See id. § 761(4) (defining “commodity contract”); id. § 101(25) (defining “forward contract”).
 109   Although Ally Bank is a “financial institution,” AFI is not. See id. § 101(22).

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 ResCap, RFC, or AFI qualified as a “financial participant” and, accordingly, that none of those
 entities would qualify for the safe harbor protections of section 546(e) of the Bankruptcy Code.

      Assuming that AFI could establish that one or more of the transactions at issue involved
 a “financial participant,” the inquiry would then shift to whether the transfer at issue either:
 (1) qualifies as a settlement payment; or (2) was made in connection with a securities contract.

                     (1) Settlement Payment

        The Bankruptcy Code defines settlement payment, somewhat circuitously, as “a
 preliminary settlement payment, a partial settlement payment, an interim settlement payment,
 a settlement payment on account, a final settlement payment, or any other similar payment
 commonly used in the securities trade.”110 The last phrase of this definition, “commonly used
 in the securities trade,” limits only the words “other similar payment,” and therefore
 underscores the breadth of the settlement payment defense rather than substantively limiting
 it.111 Several circuit courts have agreed that “courts should interpret the definition, ‘in the
 context of the securities industry,’ as ‘the transfer of cash or securities made to complete [a]
 securities transaction.’”112 Additionally, the term “settlement payment” has been read as
 “‘extremely broad’ and intended to encompass most payments that can be considered
 settlement payments.”113

       In Enron Creditors Recovery Corp. v. Alfa, S.A.B. de C.V, the Second Circuit held that
 Enron’s early retirement of outstanding unsecured notes fell within the plain language of
 “settlement payment” and was thus protected from avoidance under section 546(e).114 Looking
 to the plain language of the relevant provisions, the Second Circuit explained that the
 “payments at issue were made to redeem commercial paper, which the Bankruptcy Code


 110   Id. § 741(8); see also id. § 101(51A) (similarly defining “settlement payment” for purposes of the forward
       contract portions of the Bankruptcy Code).
 111   See Enron Creditors Recovery Corp. v. Alfa, S.A.B. de C.V., 651 F.3d 329, 337 (2d Cir. 2011) (“[W]e hold
       that the phrase “commonly used in the securities industry” limits only the phrase immediately preceding it; it
       does not limit the other transactions that § 741(8) defines as settlement payments.”); see also QSI Holdings,
       Inc. v. Alford (In re QSI Holdings, Inc.), 571 F.3d 545, 549 (6th Cir. 2009) (emphasis omitted) (citation
       omitted) (characterizing the words “other similar payment commonly used in the securities trade” as “a
       catchall phrase intended to underscore the breadth of the § 546(e) exemption”).
 112   Enron, 651 F.3d at 334 (quoting Contemporary Indus. Corp. v. Frost, 564 F.3d 981, 985 (8th Cir. 2009)).
 113   Contemporary Indus. Corp., 564 F.3d at 985; see also Lowenschuss v. Resorts Int’l, Inc. (In re Resorts, Int’l,
       Inc.), 181 F.3d 505, 514–15 (3d Cir. 1999); Jonas v. Resolution Trust Corp. (In re Comark), 971 F.2d 322,
       326 (9th Cir. 1992); Kaiser Steel Corp. v. Charles Schwab & Co., 913 F.2d 846, 848 (10th Cir. 1990).
 114   651 F.3d at 335–36 (“We find no basis in the Bankruptcy Code or the relevant caselaw to interpret § 741(8)
       as excluding the redemption of debt securities.”); see also Official Comm. of Unsecured Creditors of
       Quebecor World (USA) Inc. v. Am. United Life Ins. Co. (In re Quebecor World (USA) Inc.), 480 B.R. 468,
       475–76 (S.D.N.Y. 2012) (holding that a prepetition payment made by the debtor to a financial institution
       acting as trustee for noteholders, to repurchase and cancel privately-placed promissory notes, qualified as a
       “settlement payment”).

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 defines as a security.”115 Accordingly the payments “constitute[d] the ‘transfer of cash . . .
 made to complete [a] securities transaction’ and [were] settlement payments . . . .”116 In so
 ruling, the Enron court rejected several limitations proposed by the debtor, including that the
 settlement payment safe harbor should: (1) only protect “common” securities transactions;
 (2) apply only to the purchase or sale of securities; and (3) require that the transfer involve a
 financial intermediary.117

      Courts interpreting the Enron decision have explained that its direction is “both
 uncomplicated and crystal clear.”118 These courts have refused to read into section 546(e)
 various limitations, including that: (1) the transfer must involve a formal settlement process
 using broker-dealers and clearing agencies to effect the exchange and payment;119 (2) the safe
 harbor should cover only legitimate (non-fraudulent) securities transactions;120 or (3) that the
 transfer be of a nature that, if avoided, would disrupt financial markets.121 In short, courts have
 adhered to the basic premise that “in the context of the securities industry, a settlement
 payment means simply the transfer of cash or securities made to complete a securities
 transaction.”122

                       (2) In Connection With A Securities Contract

       The term “securities contract” is defined in the Bankruptcy Code,123 and was expanded in
 the 2006 amendments to the Bankruptcy Code to include “any extension of credit for the
 clearance or settlement of securities transactions.”124 In relevant part, the Bankruptcy Code
 defines a securities contract to mean “a contract for the purchase, sale, or loan of a security, a
 certificate of deposit, a mortgage loan, a group or index of securities, certificates of deposit, or
 mortgage loans or interests therein . . . or option on any of the foregoing . . . .”125 The phrase
 “in connection with,” as used in section 546(e), “means that the transfer must be ‘related to’
 115   Enron, 651 F.3d at 339; see also 11 U.S.C. § 101(49) (defining securities to also include notes, bonds, stocks,
       debentures, etc.).
 116   Enron, 651 F.3d at 339.
 117   Id. at 335.
 118   In re Quebecor World, 453 B.R. at 215 (“The test has become quite simple and all-encompassing and does
       not lend itself easily to the formulation of nuanced exceptions.”); see also Secs. Investor Prot. Corp. v.
       Bernard L. Madoff Inv. Secs. LLC, 476 B.R. 715, 721 (S.D.N.Y. 2012) (“[W]hereas some courts in this
       Circuit have accepted [the argument that § 546(e)’s coverage should be limited to legitimate brokerage firms
       and transactions], in this Court’s view it cannot survive the broad and literal interpretation given § 546(e) in
       Enron.”).
 119   See In re Quebecor World, 480 B.R. at 476; AP Servs. LLP v. Silva, 483 B.R. 63, 68 (S.D.N.Y 2012).
 120   See Secs. Investor Prot. Corp., 476 B.R. at 721.
 121   See AP Servs., 483 B.R. at 70.
 122   See In re Quebecor World, 480 B.R. at 476.
 123   See 11 U.S.C. § 741(7) (defining “securities contract”).
 124   Id. § 741(7)(A)(v).
 125   Id. § 741(7).

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 the securities contract, commodity contract or forward contract at issue.”126 Unlike the
 settlement payments provision at issue in Enron, the securities contract provision of section
 546(e) has been read to require that the security contract at issue be “for the purchase, sale, or
 loan” of securities.127 Accordingly, there seems to be an open question about whether the
 “redemption” of outstanding notes would qualify for this safe harbor provision. At least one
 court avoided this question by explaining that a debtor’s acquisition and cancellation of its
 outstanding debt obligations was ultimately structured as a “purchase” (or “repurchase”).128

                b. Swap Payment Defense

     Section 546(g) of the Bankruptcy Code similarly prohibits avoidance of any payment
 “made by or to (or for the benefit of) a swap participant or financial participant, under or in
 connection with any swap agreement and that is made before the commencement of the case,
 except under section 548(a)(1)(A) of [the Bankruptcy Code].”129

       A defendant claiming the protection of a 546(g) safe harbor must prove that: (1) there is
 an agreement which is properly classified as a “swap agreement”; (2) the challenged transfer
 was made by, to, or for the benefit of a swap participant or financial participant; (3) the
 challenged transfer was made “under” or “in connection with” the swap agreement; and
 (4) the transfer occurred prior to the commencement of the bankruptcy case.

      The first inquiry with respect to any asserted section 546(g) defense is whether a “swap
 agreement” exists. The term “swap agreement” is defined broadly and generally means:

                     a bilateral agreement, frequently between a commercial entity
                     involved with commodities or subject to interest rate, currency
                     or equity price fluctuations and a financial intermediary,
                     whereby cash payments are exchanged periodically (or a lump
                     sum at termination) between the parties based upon changes in
                     the price of the underlying asset or index as determined by an
                     agreed-upon benchmark.130




 126   Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC (In re Madoff Sec.), No. 12 MC 115(JSR), 2013
       WL 1609154, at *9 (S.D.N.Y. Apr. 15, 2013) (citations omitted); see also Lehman Bros. Holdings Inc. v.
       JPMorgan Chase Bank, N.A. (In re Lehman Bros. Holding), 469 B.R. 415, 442 (Bankr. S.D.N.Y. 2012)
       (citation omitted) (“It is proper to construe the phrase ‘in connection with’ broadly to mean ‘related to.’”).
 127   In re Quebecor World, 480 B.R. at 479.
 128   Id.
 129   11 U.S.C. § 546(g).
 130   Nisselson v. Empyrean Inv. Fund, L.P. (In re MarketXT Holdings Corp.), 376 B.R. 390, 423 (Bankr.
       S.D.N.Y. 2007) (citations omitted).

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      Specific types of agreements recognized as swap agreements by the Bankruptcy Code
 include, among others:

                     any agreement, including the terms and conditions incorporated
                     by reference in such agreement, which is—

                     (I) an interest rate swap, option, future, or forward agreement,
                     including a rate floor, rate cap, rate collar, cross-currency rate
                     swap, and basis swap;

                     ...

                     (VI) a total return, credit spread or credit swap, option, future, or
                     forward agreement . . . .131

      Moreover, the Bankruptcy Code specifically provides that any similar types of
 agreements that become the subject of recurrent dealings in the market may, subject to certain
 conditions, be treated as swap agreements.132 The term swap agreement is thus expansive and
 malleable, and it can encompass a wide variety of transactions that allow parties to exchange
 future risk exposures.

      Once it has been established that a swap agreement exists, the next inquiry is whether the
 challenged transfer was made by, to, or for the benefit of a “swap participant” or a “financial
 participant.” Both terms are clearly defined by the Bankruptcy Code. A “swap participant”
 includes any “entity that, at any time before the filing of the petition, has an outstanding swap
 agreement with the debtor.”133 As set forth in Section VII.F.3.a, the term “financial
 participant” encompasses institutions with significant derivatives or mark-to-market positions
 with non-affiliated entities.134

      If a defendant can establish that: (1) a swap agreement exists; and (2) the challenged
 transfer was made by, to, or for the benefit of a swap participant or financial participant, it
 must then prove that the transfer occurred under or in connection with the swap agreement.135
 A transfer occurs “under” a swap agreement “when it is accomplished according to the
 131   See 11 U.S.C. § 101(53B)(A)(i)(I), (VI).
 132   See id. § 101(53B)(A)(ii).
 133   Id. § 101(53C).
 134   Id. § 101(22A).
 135   Prior to the effective date of the 2005 amendments to the Bankruptcy Code, a defendant asserting a section
       546(g) safe harbor defense was required to prove that the challenged transfer was made both under and in
       connection with a swap agreement. See Interbulk, Ltd. v. Louis Dreyfus Corp. (In re Interbulk, Ltd.), 240
       B.R. 195, 202 (Bankr. S.D.N.Y. 1999) (“The phrases ‘under,’ [and] ‘in connection with’ . . . are conjunctive
       phrases, so each element must be met for a transfer to be unavoidable as a swap.”). This phraseology was
       recognized as being inconsistent with the legislative history and likely intent of Congress, but it was
       nevertheless enforced accordingly to its unambiguous meaning. See id. at 202 n.10 (citation omitted). In 2005
       Congress amended section 546(g) to make the “under” and “in connection with” tests disjunctive and,
       therefore, alternative means of establishing a safe harbor defense. See 11 U.S.C. § 546(g).

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 method prescribed in the agreement itself.”136 Alternatively, a transfer occurs “in connection
 with” a swap agreement, regardless of whether the payment was according to the mechanism
 specified in the agreement, so long as the transfer was related to the agreement.137 The final
 element of the defense, which requires proof that the challenged transfer occurred “before the
 commencement of the case,” is self-explanatory.

                          c. The Tribune/Lyondell Workaround

      As described above, the section 546 safe harbor provisions broadly protect certain types
 of financial transactions from avoidance by an estate representative in bankruptcy. However,
 the safe harbors may be limited in an important respect—they purport only to limit avoidance
 actions brought under sections 544, 545, 547, 548(a)(1)(B), and 548(b) of the Bankruptcy
 Code.138 The UFCA and UFTA, however, do not contain safe harbor analogues.
 Consequently, creditors—who have direct standing to bring UFCA- or UFTA-based claims
 without resort to section 544 of the Bankruptcy Code—may seek to bring claims outside of
 bankruptcy that would be barred by the safe harbors within the bankruptcy context.

       Outside of bankruptcy, the UFTA and UFCA permit a creditor of an insolvent transferor
 to recover certain transfers from the recipient of those transfers.139 Once the transferor files for
 bankruptcy relief, the Bankruptcy Code prohibits creditors from commencing (or continuing
 to prosecute) such causes of action and vests in the trustee the exclusive right to pursue such
 causes of action for the benefit of all creditors of the debtor-transferor.140 Nevertheless, the
 filing of a bankruptcy petition does not extinguish creditors’ rights to pursue state law
 fraudulent transfer causes of action. Those rights are merely suspended in recognition of the
 trustee’s exclusive power under section 544 of the Bankruptcy Code to bring such actions on
 behalf of the estate for the benefit of all creditors. Pursuant to section 546(a) of the
 Bankruptcy Code, the trustee (or other estate representative) has until the later of two years
 from the petition date or one year after the trustee’s appointment or election (if such
 appointment or election occurs less than two years after the petition date) to commence




 136   In re Interbulk, Ltd., 240 B.R. at 202.
 137   Id. (“A natural reading of ‘in connection with’ suggests a broader meaning similar to ‘related to.’”).
 138   See 11 U.S.C. § 546(e), (f), (g).
 139   See UFCA §§ 9, 10; UFTA § 7.
 140   See, e.g., FDIC v. Hirsch (In re Colonial Realty Co.), 980 F.2d 125, 137 (2d Cir. 1992) (holding that a
       fraudulent conveyance action brought by a creditor was stayed); Romagosa v. Thomas (In re Van Diepan,
       P.A.), 236 F. App’x. 498, 501–02 (11th Cir. 2007) (stating that trustee has sole authority to prosecute
       fraudulent conveyance action); Neb. State Bank v. Jones, 846 F.2d 477, 478 (8th Cir. 1988) (finding that the
       Bankruptcy Code provides for the trustee to pursue a fraudulent conveyance cause of action under 11 U.S.C.
       §§ 548 and 544).

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 avoidance actions.141 If that period expires or the bankruptcy case is closed before the trustee
 brings a particular state law avoidance action, the right to bring such action reverts to
 individual creditors.142

      Accordingly, if an estate representative were to conclude that otherwise potentially
 valuable state law-based avoidance actions would be barred by the Bankruptcy Code’s safe
 harbor provisions if brought pursuant to section 544 of the Bankruptcy Code, it could either:
 (1) attempt to abandon those rights of action to creditors; or (2) simply allow its exclusive
 period for bringing such claims to lapse.

       In two recent major bankruptcy cases—In re Tribune Co. and In re Lyondell Chem.
 Co.—the debtors’ estates pursued the latter strategy, and in the Lyondell case (although not in
 the case of Tribune) the plan of reorganization created a creditors’ trusts to aggregate electing
 individual creditors’ state law fraudulent transfer claims for collective prosecution outside the
 bankruptcy case and with no participation by estate representatives. In both cases, the parties
 who are the targets of those causes of actions objected on several grounds, arguing, among
 other things, that: (1) the section 546 safe harbor defenses preempt state law avoidance rights
 after the filing of a bankruptcy petition to the extent that such rights are inconsistent with the
 safe harbor defenses; and (2) the creditors lack standing to pursue fraudulent transfer claims.
 In both cases, those issues remain sub judice.

      The Tribune/Lyondell safe harbor “workaround” may be relevant here because, as
 discussed below, although a close question, the Examiner concludes that it is more likely than
 not that the Bankruptcy Code’s safe harbor provisions could prevent the avoidance, in an
 action commenced in the Bankruptcy Court, of certain transactions that would likely
 otherwise be avoidable. Although evaluating the merits of the safe harbor workaround is
 beyond the scope of this Report, the Examiner nevertheless believes that the parties should
 recognize that the section 546 safe harbor defenses may not provide absolute protection to the
 recipients of transfers that are avoidable under state law.




 141   See 11 U.S.C. § 546(a).
 142   See Hatchett v. United States, 330 F.3d 875, 886 (6th Cir. 2003) (holding that creditors could commence
       state law avoidance actions after the closure of a bankruptcy case); Unisys Corp v. Dataware Prods., Inc.,
       848 F.2d 311, 314 (1st Cir. 1988) (allowing creditors to pursue fraudulent transfer claims after termination of
       the automatic stay); Kathy B. Enters., Inc. v. United States, 779 F.2d 1413, 1415 (9th Cir. 1986) (noting that
       the issue of whether the automatic stay precluded the IRS from collecting was not raised in the court below,
       but concluding that the IRS could pursue fraudulently conveyed assets, even if it did violate the automatic
       stay); FDIC v. Davis, 733 F.2d 1083, 1085 (4th Cir. 1984) (finding that once a bankruptcy case had been
       closed, creditors could pursue their state law fraudulent conveyance claims independently of the trustee).

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       4. Transfers Fraudulent As To Present Creditors Under Minn. Stat. § 513.45(b)

      This Section discusses Minnesota’s “Insider Preference” statute, codified at Minnesota
 Statutes section 513.45(b)143 as part of the Minnesota UFTA.144 Because the analysis of that
 statute implicates several specific or non-uniform aspects of Minnesota law, the Examiner
 retained Leonard, Street and Deinard Professional Association (“Leonard Street”) as his
 Special Minnesota Counsel. Leonard Street participated in the preparation of this Section and
 the analysis and conclusions contained herein have been reviewed by Leonard Street.145

                a. Overview

      In addition to the “classic” types of fraudulent transfer actions described in
 Section VII.F.6 of the Report, the UFTA contains a cause of action that allows a creditor to
 avoid certain transfers between a debtor and its insiders for antecedent debts. This “Insider
 Preference” cause of action—which is based upon, but differs in several important respects
 from, section 547 of the Bankruptcy Code—has been adopted by a majority of states
 (including Minnesota).146 It provides that:

                    A transfer made by a debtor is fraudulent as to a creditor whose
                    claim arose before the transfer was made if the transfer was
                    made to an insider for an antecedent debt, the debtor was
                    insolvent at that time, and the insider had reasonable cause to
                    believe that the debtor was insolvent.147

      A transfer is fraudulent under the Insider Preference statute if: (1) there exists a creditor
 of the transferor-debtor whose claim arose before the transfer; (2) the transfer was made to an
 insider of the debtor; (3) the transfer was made for an antecedent debt; (4) the debtor was
 insolvent at the time of the transfer; and (5) the insider had reasonable cause to believe the
 debtor was insolvent.148 The premise of this cause of action “is that an insolvent debtor is
 143   See MINN. STAT. ANN. § 513.45(b).
 144   See MINN. STAT. ANN. §§ 513.41–513.51.
 145   The Examiner’s retention of Leonard Street was approved by order of the Bankruptcy Court entered on
       April 29, 2013. See Order Authorizing the Employment and Retention of Leonard, Street and Deinard
       Professional Association as Special Minnesota Counsel to the Examiner Nunc Pro Tunc to April 15, 2013
       [Docket No. 3549].
 146   In all, 35 states and the District of Columbia have adopted the Insider Preference cause of action: Alabama,
       Arkansas, Colorado, Connecticut, Delaware, District of Columbia, Florida, Hawaii, Idaho, Illinois, Iowa,
       Kansas, Maine, Massachusetts, Michigan, Minnesota, Missouri, Montana, Nebraska, Nevada, New
       Hampshire, New Jersey, New Mexico, North Carolina, North Dakota, Ohio, Oklahoma, Oregon, Rhode
       Island, South Dakota, Texas, Utah, Vermont, Washington, West Virginia, and Wisconsin.
 147   MINN. STAT. ANN. § 513.45(b).
 148   Prairie Lakes Health Care Sys., Inc. v. Wookey, 583 N.W. 2d 405, 413 (S.D. 1998) (citing Alcan Bldg.
       Prods. v. Peoples, 124 Idaho 338, 859 P.2d 374, 376–77 (Ct. App. 1993)). Although Prairie Lakes
       interpreted South Dakota’s enactment of the UFTA, the substantive provisions of the statute that it analyzed
       and discussed were substantially identical to the model language adopted by Minnesota.

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 obliged to pay debts to creditors not related to him before paying those who are insiders.”149
 “This provision attempts to diminish the unfair advantage insiders sometimes possess when
 they are familiar with the debtor’s financial substance.”150 In essence, the cause of action
 subordinates insiders’ rights of payment from insolvent debtors on antecedent debts during the
 preference period.

      A plaintiff pursuing an Insider Preference cause of action bears the burden of proof on
 each element of the claim.151 A creditor that can establish every element may obtain, subject
 to certain defenses, “avoidance of the transfer or obligation to the extent necessary to satisfy
 the creditor’s claim . . . .”152 Moreover, as discussed above, pursuant to section 544(b) of the
 Bankruptcy Code, a trustee may assert a claim under applicable Insider Preference laws so
 long as there exists a “triggering” unsecured creditor who (a) had a claim predating the
 transfer the trustee wishes to challenge and (b) still has a claim on the petition date.153 As
 discussed in greater detail in Section VII.F.2.c and Section VII.F.7, if the trustee establishes
 that a transfer can be avoided under the UFTA as to one creditor, the transfer can be avoided
 in full and recovered for the benefit of all creditors of the transferor-debtor’s estate.154 As
 discussed in Section VII.F.2.c of the Report, this “triggering creditor” requirement is satisfied
 with respect to ResCap and its two principal subsidiaries, GMAC Mortgage and RFC.

                b. Statute Of Limitations

      Because of the similarity between the UFTA’s “Insider Preference” cause of action and
 section 547 of the Bankruptcy Code, state law Insider Preference actions are rarely litigated
 and have been characterized as “an underutilized tool in the creditors’ remedies’ toolbox.”155
 Indeed, because the UFTA’s “Insider Preference” cause of action is generally subject to a one-
 year statute of limitations,156 there is seldom any reason to bring such a claim in bankruptcy,


 149   UFTA, Prefatory Note, at 4.
 150   Prairie Lakes Health Care Sys., 583 N.W. 2d at 413.
 151   See First Res. Bank v. Rehbein, No. 12–206 (PAM/SER), 2013 WL 618164, at *1 (D. Minn. Feb 19, 2013)
       (“First Resource bears the burden to prove each element of [section 513.45(b)] to prevail on its contention
       that the transfer must be set aside.”).
 152   MINN. STAT. ANN. § 513.47(a)(1).
 153   See 11 U.S.C. § 544(b); Girard v. Michener (In re Michener), 217 B.R. 263, 270 (Bankr. D. Minn. 1998);
       Moratzka v. Clark (In re Metro. Cosmetic Reconstructive Surgery P.A.), 125 B.R. 556, 557 (Bankr. D. Minn.
       1991).
 154   See Bergquist v. Theisen (In re Theisen), 45 B.R. 122, 126–27 (Bankr. D. Minn. 1984).
 155   Cass S. Weil, Subsection 5(b) of the Uniform Fraudulent Transfers Act: An Underused Creditors’ Remedy?,
       Cass S. Weil, ABI Committee News. July 2009, www.abiworld.org/committees/newsleters/CFTF/
       vol6num2/5b.html.
 156   See UFTA § 9(c) (“A claim for relief cause of action with respect to a fraudulent transfer or obligation under
       this [Act] is extinguished unless action is brought: . . . (c) under Section 5(b), within one year after the
       transfer was made or the obligation was incurred.”).

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 where section 547 of the Bankruptcy Code also provides a one-year insider reach-back period
 and does not require proof that the insider-transferee “had reasonable cause to believe the
 debtor was insolvent.”157
      As discussed in Section VII.F.2.a, the Examiner has concluded that the Bankruptcy Court
 would likely apply substantive Minnesota law when determining whether certain of the
 transactions reviewed during the Investigation are avoidable as fraudulent transfers pursuant
 to section 544 of the Bankruptcy Code. In particular, the Examiner has concluded that
 Minnesota law is likely to govern fraudulent transfer claims, including Insider Preference
 fraudulent transfer claims, with respect to transactions in which ResCap or RFC was the
 debtor-transferor.
       Additionally, the Examiner has concluded that, under New York’s borrowing statute, the
 Bankruptcy Court would likely refer to the limitations periods provided by Minnesota law and
 New York law with respect to transactions in which ResCap or RFC was the debtor-transferor.
 Minnesota, unlike every other state that has adopted the UFTA, neither adopted section 9 of
 the UFTA—which establishes the statutes of limitation for claims thereunder—nor
 specifically provided an alternative statute of limitation.158 As a result, courts applying
 Minnesota’s fraudulent transfer statutes have applied either Minnesota’s statute of limitations
 for claims sounding in fraud159 or, in one case, Minnesota’s “catch-all” statute of limitations
 for statutory causes of action.160 Those statutes provide that:
                     [T]he following actions shall be commenced within six years:
                     ...
                     (2) upon a liability created by statute, other than those arise
                     upon a penalty or forfeiture or where a shorter period is
                     provided by section 541.07
                     ...
 157   See 11 U.S.C. § 547(b)(4)(B).
 158   See MINN. STAT. ANN. § 513.41–51.
 159   See, e.g., In re Curry, 160 B.R. 813, 819 n.5 (Bankr. D. Minn. 1993)) (noting that fraudulent conveyance
       actions under Minnesota’s Uniform Fraudulent Transfers Act have a statute of limitations of six years
       pursuant to § 541.05(6)); Georgen-Running v. Grimlie (In re Grimlie), 439 B.R. 710, 720 n.25 (8th Cir.
       B.A.P. 2010) (citing MINN. STAT. ANN. § 541.05(6)) (ruling, in the context of a fraudulent transfer action,
       that “[i]n Minnesota, cases involving fraud have a statute of limitations of six years.”); Bergquist v. Vista
       Dev., Inc. (In re Quality Pontiac Buick GMC Truck, Inc.), 222 B.R. 865, 868 n.6 (Bankr. D. Minn. 1998)
       (“The Minnesota UFTA does not contain its own statute of limitations. Its remedies thus are subject to the
       general statutes of limitation. MINN. STAT. § 541.05, subd. 1 provides, in pertinent part: . . . the following
       actions shall be commenced within six years: . . . (6) For relief on the ground of fraud, in which case the
       cause of action shall not be deemed to have accrued until the discovery by the aggrieved party of the facts
       constituting the fraud . . . .”).
 160   Finn v. Alliance Bank, No. 19HA–CV–11–2856, 2011 WL 5006458 (Minn. Dist. Ct., Aug. 16, 2011)
       (holding that a six-year statute of limitations, with no tolling for discovery, applied pursuant to MINN. STAT.
       ANN. § 541.05, subd. 1(2)).

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                     (6) for relief on the ground of fraud, in which case the cause of
                     action shall be deemed to have accrued until the discovery by
                     the aggrieved party of the facts constituting the fraud . . . .161

       Minnesota law thus provides, at a minimum, a six-year statute of limitations for causes of
 action under the Minnesota UFTA, including claims to avoid Insider Preferences. As set forth
 above, New York also applies a six-year statute of limitations for fraudulent transfer
 actions.162 Accordingly, under New York’s borrowing statute, the Bankruptcy Court would
 likely find that a six-year statute of limitations applies to actions under the Minnesota Insider
 Preference statute brought by the estates of ResCap or RFC.163 Once a bankruptcy petition is
 filed, section 546 of the Bankruptcy Code converts that statute of limitations into a six-year
 reach-back period from the petition date.164 As a result, every transaction between those
 Debtors and an insider of such Debtor as to which Minnesota fraudulent transfer law would
 apply and that occurred within six years of the Petition Date will be subject to an Insider
 Preference analysis and, if appropriate, avoided.165




 161   MINN. STAT. ANN. § 541.05, subd. 1 (emphasis added).
 162   See, e.g., Liberty Co. v. Boyle, 272 A.D.2d 380, 381 (N.Y. App. Div. 2000); see Bobash, Inc. v. Festinger,
       No. 03908/05, 2007 WL 969435, *3 (N.Y. Sup. Mar. 30, 2007).
 163   Notwithstanding the fact that the Minnesota Insider Preference statute is codified as part of Minnesota’s
       UFTA, it is possible that a New York court might conclude that the Insider Preference cause of action does
       not sound in fraud, and might therefore apply New York’s shorter three-year statute of limitations for
       statutory rights of actions. See N.Y. C.P.L.R. § 214(2). However, an estate representative could overcome
       this artificial limitation by commencing any suit requiring the longer limitations period in the United States
       District Court for the District of Minnesota. See 28 U.S.C. § 1409 (authorizing a trustee to commence suit
       under section 544(b) of the Bankruptcy Code in the United States District Court of any district in which a
       creditor could have brought the action in the absence of the bankruptcy case). A Minnesota court hearing an
       Insider Preference claim brought by the trustee of a debtor whose principal place of business was in
       Minnesota at the time the action accrued would likely apply Minnesota substantive law as well as
       Minnesota’s statute of limitations.
 164   See In re Bernard L. Madoff Inv. Sec. Inc., 445 B.R. 206, 231 (Bankr. S.D.N.Y. 2011) (“Although the New
       York statute of limitations for fraudulent conveyance actions allows a creditor to recover transfers made six
       years before the filing of the complaint, it is well established that once a bankruptcy petition is filed, section
       546(a) of the Code is triggered, allowing a trustee to recover transfers made six years before the petition
       date.”); O’Toole v. Karani (In re Trinsum Grp., Inc., 460 B.R. 379, 390 (Bankr. S.D.N.Y. 2011) (quoting In
       re Bernard L. Madoff Inv. Sec. Inc., 445 B.R. at 231) (same).
 165   Because a six-year reach-back period from the Petition Date is more than sufficient to reach all transfers that
       occurred on or after December 31, 2007, the date on which the Examiner has concluded that the evidence
       supports the proposition that ResCap and its principal subsidiaries became insolvent, there is no need to
       determine whether the reach-back period could be more than six years based upon the dates on which any
       allegedly fraudulent transfer was discovered.

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                c. Construction Of The Statute
      Interpretation of Minnesota statutes is a question of law166 and must begin with an
 examination of the language of the statute itself.167 “If the statute is plain and unambiguous, [a
 court must] apply the words of the statute according to their plain meaning and engage in no
 further construction.”168 “Where failure of expression rather than ambiguity of expression
 concerning the elements of the statutory standard is the vice of the enactment, courts are not
 free to substitute amendment for construction and thereby supply the omissions of the
 legislature.”169 Moreover, “the rules of construction forbid adding words or meaning to a
 statute that were intentionally or inadvertently left out.”170
      However, “[w]here the words of a law are not explicit, the intent of the legislature may
 be ascertained by considering other laws upon the same or similar subjects.”171 Thus, if the
 Bankruptcy Court were to find portions of the Minnesota Insider Preference statute
 ambiguous, it could consult section 547 of the Bankruptcy Code or Minnesota statutes (even
 on unrelated topics) using similar phrasing and terminology to discern the Minnesota
 legislature’s intent.172
       The United States Bankruptcy Court for the Southern District of New York recently
 discussed how these principles of statutory construction should be applied to the Minnesota
 Insider Preference statute in the Musicland Holding Corp. chapter 11 cases (“Musicland”).173
 In the decisions issued by the Musicland court to date,174 the primary issue was the proper
 interpretation of the “new value” defense provided under Minnesota law, which, as discussed
 in greater detail in Section VII.F.4.e.2, provides that a “transfer is not voidable under section
 513.45(b) . . . to the extent the insider gave new value to or for the benefit of the debtor after
 the transfer was made unless the new value was secured by a valid lien . . . .”175 Unlike section
 166   See Reiter v. Kiffmeyer, 721 N.W.2d 908, 910 (Minn. 2006) (citing Camacho v. Todd & Leiser Homes, 706
       N.W.2d 49, 53 (Minn. 2005)) (“We approach the construction of a statute as a question of law.”).
 167   See Reiter, 721 N.W.2d at 910 (citing Zurich Am. Ins. Co. v. Bjelland, 710 N.W.2d 64, 68 (Minn. 2006))
       (“We begin with the language of the statute, inquiring first whether the statute is ambiguous.”).
 168   Reiter, 721 N.W.2d at 910 (Minn. 2006) (citing Wynkoop v. Carpenter, 574 N.W.2d 422, 425 (Minn. 1998)).
 169   State v. Moseng, 95 N.W.2d 6, 11–12 (Minn. 1959) (cited in Responsible Pers. of Musicland Holding Corp.
       v. Best Buy Co. (In re Musicland Holding Corp.), 462 B.R. 66, 73 (Bankr. S.D.N.Y. 2011)).
 170   Genin v. 1996 Mercury Marquis, 622 N.W.2d 114, 117 (Minn. 2001) (cited in In re Musicland Holding
       Corp, 462 B.R. at 73).
 171   Shields v. Golestky (In re Butler), 552 N.W.2d 226, 231 (Minn. 1996).
 172   See In re Butler, 552 N.W.2d at 231.
 173   See In re Musicland Holding Corp., 462 B.R. at 73.
 174   The Musicland court recently completed a trial on the merits of a claim under Minn. Stat § 513.45(b) as well
       as multiple affirmative defenses to that claim. Post-trial briefing is underway.
 175   MINN. STAT. ANN. § 513.48(f)(1). The new value defense, along with all other potentially-applicable
       affirmative defenses, is discussed in detail in Section VII.F.4.e. The discussion of Musicland in this Section
       is included to illustrate the principles of statutory construction that a court would likely apply to any
       construction or interpretation issue arising under the Minnesota Insider Preference statute.

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 547(c)(4) of the Bankruptcy Code, the Minnesota Insider Preference statute does not, on its
 face, require that the new value “remain unpaid.”176

      Although the Minnesota Insider Preference statute contains no language suggesting that
 new value must remain unpaid, the plaintiff in Musicland argued that the Bankruptcy Court
 should nevertheless read that requirement into the defense so that the result under the
 Minnesota Insider Preference statute would be consistent with section 547(c)(4) of the
 Bankruptcy Code. As the plaintiff noted, and the Bankruptcy Court agreed, allowing the
 defendant to assert a new value defense while keeping payments received on account of the
 new value would “give[] double credit for the new value, and leave[] the estate
 unreplenished.”177 As the Bankruptcy Court further noted, this oddity was compounded by the
 fact that the Minnesota statute requires new value to be provided on an unsecured basis,
 presumably because of exactly the same concern regarding potential double counting of new
 value.178

      Despite the harm that such a result would cause to unsecured creditors, the Musicland
 court concluded that it could not impose a requirement that new value remain unpaid. As the
 court reasoned, “the Minnesota Act unambiguously excludes a limitation on the new value
 defense resulting from payment for the new value and the Court cannot rewrite the statute to
 add it.”179 In sum, where the Minnesota UFTA creates unexpected results by employing
 different phraseology than is used in the Bankruptcy Code, “[a]ny necessary fix resides with
 the Minnesota legislature.”180

      The Examiner agrees with the well-reasoned approach to interpretation of the Minnesota
 Insider Preference statute adopted in Musicland and concludes that the Bankruptcy Court
 would likely apply the same principles of statutory construction in this case and reject similar
 efforts to incorporate Bankruptcy Code-based requirements or defenses into the Minnesota
 Insider Preference statute where such requirements or defenses are otherwise unsupported by
 the text of the Minnesota statute. This is an important point because, as set forth below,
 application of the unambiguous meaning of the Minnesota Insider Preference statute creates
 results that may vary from the operation of section 547 of the Bankruptcy Code.
 176   As the Musicland court explained, “[s]aying that the new value must remain ‘unpaid’ is merely a shorthand
       method of describing § 547(c)(4)(B),” which provides that the “new value” defense is only available if “the
       debtor did not make an otherwise unavoidable transfer to or for the benefit of such creditor” on account of
       the new value. 462 B.R. at 71; see also 11 U.S.C § 547(c)(4)(B).
 177   In re Musicland Holding Corp., 462 B.R. at 71.
 178   Id. at 73; see also UFTA § 8 cmt. 6 (“If the insider receiving the preference thereafter extends new credit to
       the debtor but also takes security from the debtor, the injury to the other creditors resulting from the
       preference remains undiminished by the new credit. On the other hand, if a lien taken to secure the new credit
       is itself voidable by a judicial lien creditor of the debtor, the new value received by the debtor may
       appropriately be treated as unsecured and applied to reduce the liability of the insider for the preferential
       transfer.”).
 179   In re Musicland Holding Corp., 462 B.R. at 73 (citing Genin v. 1996 Mercury Marquis, 622 N.W.2d 114,
       117 (Minn. 2001); State v. Moseng, 95 N.W.2d 6, 11–12 (Minn. 1959)).
 180   In re Musicland Holding Corp., 462 B.R. at 73.

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                d. Elements Of The Minnesota Insider Preference Statute
                     (1) Pre-Existing Creditor
      As an initial matter, an estate representative seeking to avoid a transfer as an Insider
 Preference under the UFTA must establish the existence of an unsecured creditor whose claim
 predates the transfer.181 This element, which closely resembles the “triggering creditor”
 requirement of section 544(b) of the Bankruptcy Code, is essentially self-explanatory, except
 insofar as dispute may arise as to when a creditor’s claim arose.
         Under the UFTA:
                     “Claim” means a right to payment, whether or not the right is
                     reduced to judgment, liquidated, unliquidated, fixed, contingent,
                     matured, unmatured, disputed, undisputed, legal, equitable,
                     secured, or unsecured.182
       Courts determining when a claim arises for purposes of the Insider Preference statute
 have broadly construed this definition, finding, for example, that a claim on a guarantee arises
 the moment that the guarantee is executed (as opposed to when a default on the guaranteed
 obligation occurs or when a notice of default is served).183 Breach of contract claims arise at
 the time of the breach.184
      As set forth in section VII.F.2.c, the evidence supports the proposition that unsecured
 creditors existed continuously at each of the Debtors whose transfers would be governed by
 the Minnesota UFTA, including ResCap and RFC, from December 31, 2007, the date on
 which the Examiner has concluded the Debtors became insolvent, through the Petition Date.
 For example, the Unsecured Notes, which are unsecured obligations of ResCap, were issued
 beginning in 2005 and remain outstanding. RFC’s unsecured creditors consist of, among
 others, parties holding claims for breaches of representations and warranties under RMBS that
 were issued, and breached, as early as 2004.
 181   See Leonard v. Norman Vinitsky Residuary Trust (In re Jolly’s, Inc.), 188 B.R. 832, 846 (Bankr. D. Minn.
       1995) (citing Lippi v. City Bank, 955 F.2d 599, 606 (9th Cir. 1992); Kupetz v. Wolf, 845 F.2d 842, 849–850
       (9th Cir. 1988); In re Richmond Produce Co., Inc., 151 B.R. 1012, 1016 n.5 (N.D. Cal. 1993); In re Ohio
       Corrugating Co., 91 B.R. 430, 435 (Bankr. N.D. Ohio 1988)) (“To establish the bankruptcy estate’s standing
       under these provisions of the UFTA, a trustee must demonstrate that at least one creditor’s claim that existed
       as of the date of the transfer survived unsatisfied to the commencement of the bankruptcy case.”).
 182   MINN. STAT. ANN. § 513.41(3).
 183   See First Res. Bank v. Rehbein, No. 12–206 (PAM/SER), 2013 WL 618164, at *2 (D. Minn. Feb 19, 2013)
       (“Under the very broad definition of claim in the MFTA, Patriot had a claim against Myrna the minute she
       signed the guaranty. Thus, it didn’t matter whether there was a notice of default or a cure period; the claim
       arose the day she signed each guaranty. It might have been a contingent, unmatured claim, but for purposes
       of the MFTA, contingent, unmatured claims are claims nonetheless. First Resource is entitled to summary
       judgment on this element of its MFTA claim.”).
 184   See Parkhill v. Minn. Mut. Life Ins. Co., 174 F. Supp. 2d 951, 956 (D. Minn. 2000) (citing Levin v. C.O.M.B. Co.,
       441 N.W.2d 801, 803 (Minn. 1989)) (“A breach of contract action ‘accrue[s] at the time of the breach . . . .’”),
       aff’d, 286 F.3d 1051 (8th Cir. 2002).

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                     (2) Transfer To An Insider

      The second element of the Insider Preference statute, although simple on its face,
 requires the application of several statutory definitions. The result of these definitions is that,
 while AFI, Ally Bank, and GMAC CF are insiders of ResCap and all of its subsidiaries for
 purposes of the Minnesota UFTA, conveyances of the Debtors’ property to those insiders were
 not “transfers” (and are therefore outside the scope of the statute) to the extent the transferred
 property was encumbered by a validly perfected and unavoidable lien.

         Under the Minnesota UFTA:

                     “Transfer” means every mode, direct or indirect, absolute or
                     conditional, voluntary or involuntary, of disposing of or parting
                     with an asset or an interest in an asset, and includes payment of
                     money, release, lease, and creation of a lien or other
                     encumbrance.185

       Although similar to the definition of transfer under the Bankruptcy Code, the Minnesota
 UFTA’s definition contains an important limitation, which is incorporated through the
 statute’s definition of the word “asset.” “‘Asset’ means property of the debtor, but the term
 does not include . . . property to the extent it is encumbered by a valid lien . . . .”186 A “‘valid
 lien’ means a lien that is effective against the holder of a judicial lien subsequently obtained
 by legal or equitable process or proceedings.”187 Property is therefore not an “asset” and
 cannot be subject to a “transfer” within the meaning of the Minnesota UFTA to the extent it is
 encumbered by an unavoidable perfected lien.188

      This limitation on the term “asset” is itself limited—it only excludes property to the
 extent of a valid lien.189 Consequently, property that is worth more than the amount of any
 valid encumbering liens constitutes an asset to the extent of such excess. Alternatively, as one
 court construing the Minnesota UFTA has reasoned, “[u]nder the Uniform Commercial Code,
 a security interest in collateral is only enforceable against the debtor and third parties if value



 185   MINN. STAT. ANN. § 513.41(12). The Minnesota legislature carved-out certain conveyances to charitable
       organizations from the definition of transfer. See id. None of the transactions investigated by the Examiner
       involve conveyances to chartable organizations.
 186   MINN. STAT. ANN. § 513.41(2)(i).
 187   Id. § 513.41(13).
 188   See Clarinda Color LLC v. BW Acquisition Corp., No. 00–CV–722 JMR/FLN, 2004 WL 2862298, at *3 (D.
       Minn. June 14, 2004) (citing MINN. STAT. § 513.41(2)(i)); Ries v. Wintz Props., Inc. (In re Wintz Cos.), 230
       B.R. 848, 860 (B.A.P. 8th Cir. 1999); Lorenz Bus Serv., Inc. v. Richfield Bus Co., No. C2-02-56, 2002 WL
       2005468, *3 (Minn. Ct. App. Sept. 3, 2002)) (“[P]roperty is not an ‘asset’ under the statute to the extent it is
       encumbered by a valid lien.”).
 189   MINN. STAT. ANN. § 513.41(2)(i).

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 has been given.”190 Accordingly, “[t]o the extent the value of the property exceeds the value of
 the security interest, the excess is an ‘asset’ subject to the UFTA.”191
      Examples of actions that have been found to be transfers include, but are not limited to
 the granting of a lien,192 the release of claims193 and the cancellation of a contract.194
       The second part of the element—“to an insider”—is more straightforward. Insiders of a
 debtor corporation (including a limited liability company), include: (1) a director of the
 debtor; (2) an officer of the debtor; (3) a person in control of the debtor; (4) a partnership in
 which the debtor is a general partner; (5) a general partner of a partnership in which the debtor
 is a general partner; (6) a relative of a general partner, director, officer or person in control of
 the debtor;195 (7) an affiliate of the debtor; or (8) an insider of an affiliate of the debtor.196
 Moreover, this broad definition has been held to be illustrative rather than exhaustive.197
         The word affiliate is also broadly defined, and encompasses, among others:
                     (i) a person who directly or indirectly owns, controls, or holds
                     with power to vote, 20 percent or more of the outstanding voting
                     securities of the debtor, other than a person who holds the
                     securities,
                              (A) as a fiduciary or agent without sole discretionary
                              power to vote the securities; or
                              (B) solely to secure a debt, if the person has not
                              exercised the power to vote . . . .
                     (ii) a corporation 20 percent or more of whose outstanding
                     voting securities are directly or indirectly owned, controlled, or
 190   Clarinda Color LLC, 2004 WL 2862298, at *3 (citing MINN. STAT. § 336.9–203(b)(1)).
 191   Clarinda Color LLC, 2004 WL 2862298, at *3 (citing Preferred Funding, Inc. v. Jackson, 61 P.3d 939, 942
       (Or. App. 2003) (construing identically-worded Oregon statute)); see also Achille Bayart & CIE v. Crowe,
       238 F.3d 44, 47 (1st Cir. 2001) (“To recover under the Maine UFTA, a plaintiff must prove that there was
       some determinable amount of value in the assets of the debtor over and above the amount of the secured
       debt.”); PDVSA Petroleo S.A. v. Trigeant, Ltd., No. C-09-38, 2012 WL 3249531, at *9–10 (S.D. Tex. Aug. 7,
       2012) (holding foreclosure sale was transfer under Texas UFTA where property had liquidation value in
       excess of the lien).
 192   See Stoebner v. Ritchie Capital Mgmt., L.L.C. (In re Polaroid Corp.), 472 B.R. 22, 32 n.8 (Bankr. D. Minn.
       2012).
 193   Hedback v. Am. Family Mut. Ins. Co. (In re Mathews), 207 B.R. 631, 650 (Bankr. D. Minn. 2007).
 194   Shileds v. Goldestky (In re Butler), 552 N.W.2d 226, 234 (Minn. 1996).
 195   See MINN. STAT. ANN. § 513.41(7)(ii).
 196   See id. § 513.41(7)(iv).
 197   See Leonard v. Mylex Corp. (In re Northgate Computer Sys., Inc.), 240 B.R. 328, 362 (Bankr. D. Minn.
       1999) (describing the definitions of the term “insider” under MINN. STAT. § 513.41(7)(ii) and (iv) as “non-
       exclusive examples”).

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                     held with power to vote, by the debtor or a person who directly
                     or indirectly owns, controls, or holds with power to vote, 20
                     percent or more of the outstanding voting securities of the
                     debtor, other than a person who holds the securities.198
       Under these definitions, AFI is an “insider” of, among others, ResCap and RFC because
 it directly or indirectly owns 100% of their outstanding voting securities.199 Ally Bank and
 GMAC CF are also insiders of ResCap and RFC because they are indirectly wholly-owned by
 AFI, which in turn owns 100% of the Debtors’ voting securities.200
                     (3) For An Antecedent Debt
      As under section 547 of the Bankruptcy Code, a transfer may only be avoided under the
 Minnesota Insider Preference statute if the transfer was made for an antecedent debt.201 Because of
 the similarities between the Minnesota Insider Preference statute and section 547 of the
 Bankruptcy Code on this point, the only court that has meaningfully discussed the phrase
 “antecedent debt” under the Minnesota UFTA looked to well-established Bankruptcy Code-based
 precedents.202 In that case, the court observed that “[u]nder § 547, the meaning of ‘antecedent
 debt’ is straightforward: A debt is ‘antecedent’ if it is incurred before the transfer, period.”203
 Based on these precedents and the similarities between the Minnesota Insider Preference statute
 and section 547 of the Bankruptcy Code, the court concluded that the term “‘antecedent debt’ in §
 513. 45(b) likewise means nothing more than debt that exists before the transfer.”204
      However, other jurisdictions applying the UFTA have concluded that a transfer is not
 made for an “antecedent debt” if the debt in question was incurred relatively
 contemporaneously with the transfer at issue.205 Courts have reached this conclusion by
 198   MINN. STAT. ANN. § 513.41(1).
 199   See First Day Affidavit, Ex. 2-1.
 200   See First Day Affidavit, Ex. 2-1, 2-4.
 201   See MINN. STAT. ANN. § 513.45(b).
 202   See Elliot & Callan, Inc v. Crofton, 615 F. Supp. 2d 963, 968–69 (D. Minn. 2009). In Elliot & Callan, the
       United States District Court for the District of Minnesota construed the Minnesota UFTA’s definition of
       “antecedent debt,” but the Examiner is unaware of any meaningful guidance on this issue from the state
       courts of Minnesota.
 203   Id. at 969 (citing Velde v. Kirsch, 543 F.3d 469, 472 (8th Cir. 2008) (noting that it was undisputed that a
       check was a preferential transfer because it paid a “preexisting obligation”); Southmark Corp. v. Schulte
       Roth & Zabel (In re Southmark Corp.), 88 F.3d 311, 316 (5th Cir. 1996) (“A debt is antecedent if it is
       incurred before the transfer”); Lindquist v. Dorholt (In re Dorholt, Inc.), 224 F.3d 871, 873 (8th Cir. 2000)
       (finding the loan was “antecedent” to grant of security interest where, although company executed a security
       agreement on the same day as it received the loan, the security interest was not perfected until sixteen days
       later); 5 COLLIER ON BANKRUPTCY, ¶ 547.03 [4] (Lawrence P. King et al. eds., 15th ed. 2000)).
 204   Elliot & Callan, Inc., 615 F. Supp. 2d at 969.
 205   See Hasbro, Inc. v. Serafino, 37 F. Supp. 2d 94, 97 (D. Mass. 1999) (discussing statute identical to MINN.
       STAT. Ann. 513.45(b) and holding that mortgage granted at “essentially the same time” as loan did not cover
       antecedent debt); Truelove v. Buckley, 733 S.E.2d 499, 502 (Ga. Ct. App. 2012) (no preferential transfer
       where property transferred “at essentially the same time” after purchase).

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 looking to the equivalent of section 513.43(c) of the Minnesota statute, which reads: “[a]
 transfer is made for present value if the exchange between the debtor and the transferee is
 intended by them to be contemporaneous and is in fact substantially contemporaneous.”206
 Commentators on the uniform law have reached the same conclusion, stating:

                     Finally, to provide the rule necessary to the operation of the
                     section 5(b) preference rule, section 3(c) provides that a
                     disposition of property is made for a present value when the
                     parties intend that the exchange be contemporaneous and it is in
                     fact contemporaneous. As long as a transfer is in exchange for a
                     present value rather than an antecedent obligation, the insider
                     preference provision of the UFTA, section 5(b), will have no
                     application.207

      Although the issue has not been resolved as a matter of Minnesota law, and is therefore
 inherently uncertain and a close question, the Examiner concludes that it is more likely than
 not that the Bankruptcy Court, if called to interpret the Minnesota Insider Preference statute,
 would impose a “contemporaneous exchange” limitation when determining whether any given
 transaction occurred on account of an antecedent debt.

                     (4) Insolvency

      As under the Bankruptcy Code, a transfer is only avoidable under the Minnesota Insider
 Preference statute if the transferor-debtor was insolvent at the time of the transfer. For
 purposes of the Minnesota Insider Preference statute, a “debtor is insolvent if the sum of the
 debtor’s debts is greater than all of the debtor’s assets, at fair valuation.”208 Although the
 Balance Sheet Test is the only measure of insolvency under the Minnesota Insider Preference
 statute, a “debtor who is generally not paying debts as they become due is presumed to be
 insolvent.”209 As discussed in detail in Section VI.B and VI.E of the Report, the Examiner has
 concluded that the evidence supports the proposition that ResCap and its principal subsidiaries
 were insolvent under the Balance Sheet Test from December 31, 2007 through the Petition
 Date.

                     (5) Insider Had Reasonable Cause To Believe Debtor Was Insolvent

      Finally, unlike section 547 of the Bankruptcy Code, the Minnesota Insider Preference
 statute only permits avoidance of a transfer if “the insider had reasonable cause to believe that
 206   MINN. STAT. ANN. § 513.43(c).
 207   PETER A. ALCES, LAW OF FRAUDULENT TRANSFERS § 5:64 (2012).
 208   MINN. STAT. ANN. § 513.42(a). The statute further provides that “[d]ebts under this section do not include an
       obligation to the extent it is secured by a valid lien on property of the debtor not included as an asset.” Id. §
       513.42(e). The purpose of subsection (e) is to avoid “render[ing] a person insolvent . . . by counting as a debt
       an obligation secured by property of the debtor that is not counted as an asset. See UFTA § 2 cmt. 4.
 209   MINN. STAT. ANN. § 513.42(b).

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 the debtor was insolvent.”210 This requirement was adapted from section 547 of the
 Bankruptcy Code as it existed prior to 1984, which contained an identical requirement, and
 similar language from predecessor statutes dating back at least as far as the Bankruptcy Act of
 1867.211 An insider need not have actual knowledge of a debtor’s insolvency to have
 “reasonable cause to believe that the [debtor] is insolvent.”212 Moreover, a plaintiff need not
 demonstrate that the insider actually believed that the debtor was insolvent—only that the
 insider had reasonable cause to so believe.213 In judging whether an insider had reasonable
 cause to believe the debtor was insolvent, “[i]t is for the court to make a determination of the
 particular facts known, and to draw all inferences reasonably to be drawn from the mise-en-
 scene.”214

                     [A] creditor may be said to have reasonable cause to believe his
                     debtor to be insolvent when such a state of facts is brought to his
                     notice respecting the affairs and pecuniary condition of his
                     debtor, in a case like the present, as would lead a prudent
                     business man to the conclusion that he, the debtor, is unable to
                     meet his obligations as they mature in the ordinary course of
                     business.215

 210   Id.
 211   See, e.g., Buchanan v. Smith, 83 U.S. (1 Wall.) 277 (1872) (construing the meaning of the phrase “reasonable
       cause to believe that the debtor was insolvent” as used in the preference provisions of the Bankruptcy Act of
       1867); Britton v. Payne, 4 F.Cas. 183 (S.D.N.Y. 1874) (same). The 1984 Amendments to section 547 of the
       Bankruptcy Code eliminated the “reasonable cause to believe” element formerly included in that section.
 212   See Kravetz v. Joange Bldg. Corp., 341 F.2d 561, 563 (2d Cir. 1965) (“Knowledge of insolvency is not
       necessary, nor even actual belief thereof; all that is required is a reasonable cause to believe that the debtor
       was insolvent at the time of the preferential transfer.”); Fisher v. Aztec Mktg. Corp. (In re Nat’l Merritt Inc.),
       11 B.R. 102, 104 (S.D.N.Y. 1981) (“Actual knowledge, however, is not the controlling standard, for all that
       is required is reasonable cause to believe.”); Hudson Feather & Down Prods., Inc. v. B&B Assocs., Inc. (In re
       Hudson Feather & Down Prods., Inc.), 22 B.R. 247, 252 (Bankr. E.D.N.Y. 1982) (citation omitted)
       (“[K]nowledge of insolvency, or even actual belief, is unnecessary; all that is required is ‘reasonable cause to
       believe.’”); Beldock v. Faberge, Inc. (Matter of S & W Exps., Inc.), 16 B.R. 941, 948 (Bankr. S.D.N.Y. 1982)
       (citation omitted) (“Knowledge of insolvency is not necessary, nor even actual belief thereof; all that is
       required is reasonable cause to believe that the debtor was insolvent at the time of the preferential transfer.”);
       Herald Publ’g Co. v. Barberino, No. 93-0454680S, 1993 WL 498798, at *4 (Conn. Super. Oct. 27, 1993)
       (citing Levy v. Carter, Rice & Co., 136 Conn. 216, 219 (1949)) (“Reasonable cause to believe is not actual
       knowledge of the insolvency . . . .”).
 213   See In re Nat’l Merritt Inc., 11 B.R. at 104 (quoting In re O’Neill Enters., Inc., 359 F. Supp. 940 (W.D.
       Va.1973) (“It is the cause to believe and not the belief itself that is determinative . . . .”).
 214   In re Nat’l Merritt Inc., 11 B.R. at 104.
 215   Britton, 4 F. Cas. at 186; see also Buchanan, 83 U.S. (1 Wall.) at 308; Sharfman v. Tharpe & Co., 381 F.
       Supp. 1394, 1396 (S.D.N.Y. 1974) (“A creditor has reasonable cause to believe that a debtor is insolvent
       when such a state of facts is brought to the creditor’s notice, respecting the affairs and pecuniary condition of
       the debtor, as would lead a prudent business person to the conclusion that the debtor is insolvent”); Kravetz v.
       Joange Bldg. Corp., 341 F.2d 561, 563 (2d Cir. 1965); Robinson v. Commerical Bank of N. Am., 320 F.2d
       106, 107 (2d Cir. 1963).

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      Moreover, “where circumstances are such as would incite a man of ordinary prudence to
 make inquiry, the creditor is chargeable with notice of all facts which a reasonably diligent
 inquiry would have disclosed . . . .”216

       The Examiner concludes that the evidence supports the proposition that AFI likely had
 reasonable cause to believe that ResCap and its principal subsidiaries were insolvent no later
 than December 31, 2007—the date on which the Examiner has concluded that ResCap and its
 principal subsidiaries actually became insolvent under the Balance Sheet Test. As discussed in
 greater detail in Section III.G, ResCap and its subsidiaries suffered a steep financial decline
 during the second half of 2007, which ultimately resulted in the Debtors’ insolvency by year-
 end. The pertinent facts concerning the Debtors’ financial distress were well-known to AFI,
 and would have led a reasonably prudent person to conclude that the Debtors were insolvent
 or, at the very least, to undertake an investigation that would have revealed such insolvency.
 Moreover, as discussed in greater detail in Section III.G.3 of the Report, the evidence suggests
 that AFI actually believed ResCap was insolvent, or would imminently become insolvent, no
 later than the third quarter of 2007.

      For example, during the September 7, 2007 meeting of the ResCap Board, Rossi was
 nominated and elected as a Director of ResCap and Chairman of the ResCap Board, with the
 purpose of organizing a turnaround/restructuring for ResCap and its subsidiaries.217 During
 that meeting, ResCap’s outside counsel, Mayer Brown, gave a presentation on the fiduciary
 duties of directors of financially distressed companies.218 Numerous senior officers and
 directors of AFI attended that meeting, including Solomon (AFI General Counsel), Feldstein,
 de Molina, Khattri, Walker and Zukauckas (all AFI Directors), and Bossidy (Office of the AFI
 Chair).219 Solomon not only attended, but “participated in the discussion and commented on
 the duties owed by the directors to shareholders and creditors when a company reaches the
 zone of insolvency or becomes insolvent.”220 Following that presentation, the ResCap Board



 216   Baranow v. Gibraltar Factors Corp. (In re Hygrade Envelope Corp.), 366 F.2d 584, 586–87 (2d Cir. 1966)
       (citing Levy v. Weinberg & Holman, Inc., 20 F.2d 565, 567 (2d Cir. 1927); Pender v. Chatham Phx. Nat’l
       Bank & Trust Co., 58 F.2d 968, 970 (2d Cir. 1932); Margolis v. Gem Factors Corp., 201 F.2d 803, 805 (2d
       Cir. 1953); Robinson v. Commercial Bank of N. Am., 320 F.2d 106, 107–08 (2d Cir. 1963)); see also In re
       Nat’l Merritt Inc., 11 B.R. at 104 (citing Kravetz, 341 F.2d 561; Robinson, 320 F.2d 106.
 217   See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Sept. 7, 2007, at
       RC40005619 [RC40005558]; Memorandum, November MD Meeting—Follow-up Q&A for Associates,
       dated Nov. 14, 2007, at EXAM10125766 (“[AFI] and our shareholders have put into place a team that has
       turnaround experience and works well together.”).
 218   See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Sept. 7, 2007, at
       RC40005620–21 [RC40005558]; Mayer Brown Presentation on Fiduciary Duties of Directors and Related
       Legal Issues, dated Sept. 7, 2007, at RC40012709–20 [RC40012695].
 219   See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Sept. 7, 2007, at
       RC40005619 [RC40005558].
 220   Id. at RC40005620.

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 discussed, among other things, “the potential need for additional equity and strategic reasons
 supporting a capital injection in the near-term.”221 As a general rule, to which the Examiner
 sees no basis for exception here, knowledge of an officer or director of a Delaware
 corporation, such as AFI, is imputed to the corporation.222 Accordingly, even in the absence of
 additional information, the Examiner concludes the evidence supports the proposition that AFI
 likely had knowledge of facts that would have led a reasonably prudent person to inquire into
 ResCap’s solvency no later than September 7, 2007.

      AFI’s knowledge of ResCap’s financial difficulties was not limited to what it learned in
 meetings of the ResCap Board. As described in greater detail in Section VIII.A by late 2007
 AFI exercised close control over every major aspect of the Debtors’ operations. Under those
 circumstances, it is inconceivable that AFI was not aware of the Debtors’ financial state.

       Moreover, by November 2007 even the public was well aware of ResCap’s financial
 turmoil. On November 1, 2007, Moody’s downgraded ResCap’s senior debt to Baa1 with
 negative outlook, noting, among other things, that ResCap had suffered four consecutive
 quarterly losses and required a capital injection from AFI and observing that “[t]he business
 model that will return ResCap to adequate profitability is unclear.”223 On November 15, 2007,
 AFI CEO Feldstein emailed AFI COO de Molina observing that the “[m]arket has completely
 lost confidence in ResCap.”224 On November 19, 2007, Bloomberg published an article in
 which an independent bond analyst concluded that ResCap’s exposure to homebuilders could
 result in a bankruptcy filing in which recoveries “may be even lower than implied by current
 distressed levels.”225 Indeed, according to the article, “[t]he implied probability of default
 assumes funds would be worth 40 cents on the dollar in the event of bankruptcy.”226 AFI was
 aware of these concerns, given that Cohen, of Cerberus, forwarded the November 19
 Bloomberg article, without comment, to Tessler.227

 221   Id. at RC40005622.
 222   See Am. Int’l Grp., Inc. v. Greenberg (In re Am. Int’l Grp., Inc.), 976 A.2d 872, 883 n.25 (Del. Ch. 2009)
       (citing Teachers’ Ret. Sys. of La. v. Aidinoff, 900 A.2d 654, 671 n.23 (Del. Ch. 2006) (“It is the general rule
       that knowledge of an officer or director of a corporation will be imputed to the corporation.”); Albert v. Alex.
       Brown Mgmt. Servs., Inc., No. 762-N, 2005 WL 2130607, at *11 (Del. Ch. Aug. 26, 2005) (“Delaware law
       states the knowledge of an agent acquired while acting within the scope of his or her authority is imputed to
       the principal.”); 3 AM. JUR. 2D Agency § 273 (principals are generally bound by the knowledge of their
       agents)).
 223   Shannon D. Harrington, ResCap Credit Swaps Soar on Concern It May Default, BLOOMBERG, Nov. 15,
       2007. http://www.bloomberg.com/apps/news/?pid=newsarchive &sid=aTXFFjlPAPUk.
 224   See E-mail from E. Feldstein to A. de Molina (Nov. 15, 2007), at CCM00496802 [CCM00496800].
 225   See E-mail from S. Cohen to L. Tessler (Nov. 19, 2007) [CCM00176101], sending the article. See also
       Caroline Salas and Shannon D. Harrington, ResCap Investments May Lead to Bankruptcy, Gimme Credit
       Says, BLOOMBERG, Nov. 19, 2007.
 226   Caroline Salas and Shannon D. Harrington, ResCap Investments May Lead to Bankruptcy, Gimme Credit
       Says, BLOOMBERG, Nov. 19, 2007.
 227   See E-mail from S. Cohen to L. Tessler (Nov. 19, 2007) [CCM00176101].

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      By year end, ResCap required yet another capital injection from AFI, which came in the
 form of a contribution of $1.1 billion in face amount of bonds that AFI bought on the market
 for approximately $763 million.228 Even accounting for the gain ResCap experienced from this
 debt cancellation, ResCap experienced a quarterly loss of $921 million – its fifth consecutive
 quarterly loss.229
      Based on the above, as well as the other aspects of ResCap’s ongoing financial
 deterioration described in more detail in Section III.G, the Examiner concludes that the
 evidence supports the proposition that no later than December 31, 2007, and at all times after
 that date, AFI likely had reasonable cause to believe that ResCap and its principal subsidiaries
 were insolvent.
                e. Affirmative Defenses
                     (1) Good Faith Transferee (Minn. Stat. § 513.48(d))
         Minn. Stat. 513.48(d) provides that:
                     Notwithstanding the voidability of a transfer or an obligation
                     under sections 513.41 to 513.51, a good faith transferee or
                     obligee is entitled, to the extent of the value given the debtor for
                     the transfer or obligation, to
                     (1) a lien on or a right to retain any interest in the asset transferred;
                     (2) enforcement of any obligation incurred; or
                     (3) a reduction in the amount of the liability on the judgment.230
      Because satisfaction of an antecedent obligation constitutes “value” under the Minnesota
 UFTA,231 section 513.48(d) (a general defense to claims under the Minnesota UFTA and not
 specifically targeted at the Insider Preference statute) appears, at first glance, to provide a
 defense to Insider Preference claims so long as the insider takes in good faith. This would be a
 particularly odd result given that Minnesota UFTA section 513.48(f)(3), which is a defense
 specifically applicable to the Insider Preference statute, establishes a defense only where good
 faith is coupled with the transferee (1) providing present value to rehabilitate the debtor and
 (2) securing antecedent debt.232
      This apparent contradiction is resolved by the rule that “[k]nowledge of the facts
 rendering [a] transfer voidable [is] inconsistent with the good faith that is required of a
 228   See Section III.G.2.f.
 229   See Residential Capital, LLC, Current Report (Form 8-K) (Feb. 5, 2008), Ex. 99.1, at 1.
 230   MINN. STAT. ANN. § 513.48(d).
 231   See id. § 513.43(a) (“Value is given for a transfer or obligation if, in exchange for the transfer or obligation,
       property is transferred or an antecedent debt is secured or satisfied . . . .”).
 232   See id. § 513.48(f)(3).

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 protected transferee” for purposes of Minnesota UFTA section 513.45(d).233 Indeed, finding
 good faith to exist even where an insider received property with knowledge of the Debtors’
 insolvency would make both the Insider Preference statute itself and the specific defense to
 that statute provided by Minnesota UFTA section 513.48(f)(3) meaningless. Such a result
 would be inconsistent with the “elementary canon of construction that a statute should be
 interpreted so as not to render one part inoperative.”234 Consequently:

                    [a]n insider who receives property or an obligation from an
                    insolvent debtor as security for or in satisfaction of an
                    antecedent debt of the transferor or obligor is not a good faith
                    transferee or obligee if the insider has reasonable cause to
                    believe that the debtor was insolvent at the time the transfer was
                    made or the obligation was incurred.235

      In essence, an insider is not a good faith transferee for purposes of section 513.48(d) of
 the Minnesota UFTA if the insider receives a transfer that falls within the Insider Preference
 statute. The Examiner therefore concludes that it is unlikely that the “good faith transferee for
 value” defense provided by section 513.48(d) of the Minnesota statute is applicable to Insider
 Preference claims.

                    (2) New Value Under The Minnesota UFTA

      Minnesota UFTA section 513.48(f) provides three affirmative defenses that are
 specifically aimed at protecting certain transactions that would otherwise run afoul of the
 Minnesota Insider Preference statute. In each case, the burden of proving the defense rests
 with the party asserting it.236 The first of these defenses provides that a transfer is not
 avoidable as an Insider Preference “to the extent the insider gave new value to or for the




 233   UFTA § 2 cmt. 1.
 234   Colautti v. Franklin, 439 U.S. 379, 392 (1979) (citing United States v. Menasche, 348 U.S. 528, 538–39
       (1955)).
 235   UFTA § 8 cmt. 4.
 236   See Elliot & Callan, Inc. v. Crofton, 615 F. Supp. 2d 963, 971 (D. Minn. 2009) (stating, in the context of a
       defendant assert a “new value” defense that defendant “has the burden of proving this affirmative defense”);
       Prairie Lakes Health Care Sys., Inc. v. Wookey, 583 N.W. 2d 405, 414 (S.D. 1998) (stating that “the UFTA
       then authorizes three possible defenses to forestall avoidance” under the Insider Preference theory of
       avoidance and that “[t]he burden of qualifying for these falls to the one asserting them”).

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 benefit of the debtor after the transfer was made unless the new value was secured by a valid
 lien.”237 The party asserting the new value defense bears the burden of quantifying the new
 value received by the debtor.238

      In determining whether new value has been provided, it is first necessary to determine if
 “value” has been given at all. For purposes of the Minnesota UFTA, “[v]alue is given for a
 transfer or obligation if, in exchange for the transfer or obligation, property is transferred or an
 antecedent debt is secured or satisfied.”239 “‘[V]alue’ includes ‘property,’ which would
 obviously include . . . money . . . loaned or advanced . . . .”240 Satisfaction of an antecedent
 debt, whether through payment or forgiveness, likewise constitutes “value.”241

      After determining whether “value” has been provided, the court must determine whether
 that value is “new value” that can offset Insider Preference liability from prior transfers.
 Because Minnesota’s UFTA uses but does not define the term “new value,” the few courts that
 have interpreted the statute have looked to the Bankruptcy Code’s definition of new value for
 guidance.242 Under the Bankruptcy Code:

                     “new value” means money or money’s worth in goods, services,
                     or new credit, or release by a transferee of property previously
                     transferred to such transferee in a transaction that is neither void
                     nor voidable by the debtor or the trustee under any applicable
                     law, including proceeds of such property, but does not include
                     an obligation substituted for an existing obligation.243




 237   MINN. STAT. ANN. § 513.48(f)(1).
 238   See Lowrey v. U.P.G., Inc. (In re Robinson Bros. Drilling, Inc.), 877 F.2d 32, 34 (10th Cir. 1989) (citing In
       re Jet Fla. Sys., Inc., 861 F.2d 1555, 1559 (11th Cir. 1988)) (“While under In re George Rodman, Inc. the
       court will not inquire into the value of the liens released by Richardson . . . it is the defendants’ burden to
       prove with specificity that Richardson gave new value equivalent to the remainder of the debt not secured by
       these liens.”); Gray v. Chace (In re Bos. Publ’g Co.), 209 B.R. 157, 176 (Bankr. D. Mass. 1997) (“[I]t was
       incumbent upon Chace to quantify what he gave up at the time of the restructuring—full, or most likely,
       partial payment of his outstanding loans, as compared with what, if anything, he would receive.”); see also
       Creditors’ Comm. v. Spada (In re Spada), 903 F.2d 971, 976 (3d Cir. 1990) (quoting In re Jet Fla. Sys., Inc.,
       861 F.2d 1555, 1558 (11th Cir. 1988)) (“[A] party seeking the shelter of section 547(c)(1) must prove the
       specific measure of the new value given to the debtor in the exchange.”).
 239   Elliot & Callan, Inc., 615 F. Supp. 2d at 972 (quoting MINN. STAT. § 513.43(a)).
 240   Elliot & Callan, Inc., 615 F. Supp. 2d at 972.
 241   See MINN. STAT. ANN. § 513.43(a).
 242   See Elliot & Callan, Inc., 615 F. Supp. 2d at 972 (quoting 11 U.S.C. § 547(a)(2)) (“Similarly, under the
       section of the Bankruptcy Code on preferential transfers, ‘new value’ includes ‘money or money’s worth in
       goods, services, or new credit.’”).
 243   11 U.S.C. § 547(a)(2).

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      Accordingly, new value can include, among other things, loans, advances or infusions of
 cash or cash-equivalents.244

       In addition to infusions of cash or cash equivalents and extensions of new credit,
 forgiveness of antecedent debt may, under certain circumstances, qualify as “new value” for
 purposes of the Minnesota Insider Preference statute. There does not, however, appear to be a
 consensus regarding how such debt forgiveness should be evaluated. Even under section 547
 of the Bankruptcy Code, cases addressing new value in the context of debt forgiveness are
 sparse and inconsistent. As a general principle, the relevant inquiry is “whether the new value
 replenishes the estate.”245 Courts generally agree that forgiveness of fully secured debt or the
 outright release of a valid lien or security interest replenishes the estate and therefore
 constitutes “new value.”246 At the opposite end of the spectrum, “the forgiveness of an
 antecedent, highly contingent obligation does not qualify as ‘new value.’”247 For transactions
 involving the forgiveness of debt that fall between those poles—i.e., debt that is unsecured but
 that likely has significant recovery value in bankruptcy—the result is uncertain. Some courts
 have suggested that forgiveness of such a debt cannot constitute new value.248 Other decisions
 suggest that forgiveness of debt may constitute “new value,” but only to the extent of the




 244   See Elliot & Callan, Inc., 615 F. Supp. 2d at 972–73 (“The Court therefore concludes that, to the extent that
       Crofton made loans or advances to SCC after receiving transfers from SCC, those loans or advances are ‘new
       value’ that can offset previous transfers.”).
 245   Kroh Bros. Dev. Co. v. Cont’l Constr. Eng’rs (In re Kroh Bros. Dev. Co.), 930 F.2d 648, 652 (8th Cir. 1991).
 246   See Cocolat, Inc. v. Fisher Dev., Inc. (In re Cocolat, Inc.), 176 B.R. 540, 548 (Bankr. N.D. Cal.1995) (“The
       release of a lien enlarges the estate from the point of view of unsecured creditors. Thus, a payment made in
       exchange for the release of a lien of equal amount does not diminish the estate.”); see also UFTA § 8 cmt. 6
       (stating that the new value defense to the Insider Preference statute “is adapted from § 547(c)(4) of the
       Bankruptcy Code, which permits a preferred creditor to set off the amount of new value subsequently
       advanced against the recovery of a voidable preference by a trustee in bankruptcy to the debtor without
       security. The new value may consist not only of money, goods, or services delivered on unsecured credit but
       also of the release of a valid lien”).
 247   Jones v. Ryder Integrated Logistics, Inc. (In re Jotan, Inc.), 264 B.R. 735, 752 (Bankr. M.D. Fla. 2001).
 248   See, e.g., News Journal Co. v. Little Caesars of Del., Inc., No. CRIM.A.1999-04-241, 2000 WL 33653432, at
       *4 (Del. Ct. Com. PI. Oct. 20, 2000) (“LCE states in defense of the purchase that they gave ‘new value’ for
       the assets, as opposed to forgiveness of an antecedent debt.”).

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 actual value, rather than nominal value, of the debt forgiven.249 Still other decisions merely
 conclude that forgiveness of an unsecured debt (or an agreement to exchange unsecured debt
 for equity) “arguably” constitutes new value.250

      Based on a review of the pertinent authority, the Examiner concludes that the Bankruptcy
 Court would likely treat forgiveness of fully-secured debt owed by a Debtor—accompanied by
 a corresponding reduction in the value of liens on such Debtor’s assets—as a dollar-for-dollar
 extension of “new value.” The Examiner further concludes that the Bankruptcy Court would
 be unlikely to treat forgiveness of unsecured debt owed by a Debtor as a dollar-for-dollar
 extension of “new value.” Instead, the Examiner concludes that, although a close question, it
 is more likely than not that the Bankruptcy Court would treat forgiveness of unsecured debt
 owed by a Debtor as an extension of “new value” on a less than dollar-for-dollar basis and
 would impose on the party asserting the defense the burden of definitively quantifying the
 value received by the Debtor as a result of such debt forgiveness.251

      If a transfer meets all the requirements for “new value,” it must still overcome three
 hurdles before it can offset Insider Preference exposure. First, as with the similar “new value”
 defense afforded under section 547(c)(4) of the Bankruptcy Code, only unsecured new value
 (or new value secured by an unperfected or otherwise invalid lien) can offset Insider


 249   See In re Jotan, Inc., 264 B.R. at 752–53 (“The Court notes that it is likely that the proposed ‘new value’
       provided by Defendants was almost worthless. Evidence of hypothetical value does not satisfy the specific
       proof requirement of Jet Florida. Defendant proved that it surrendered $722,398.24 in hypothetical dollars in
       potential judgments against Debtors. But Defendant did not prove that it surrendered any real dollars of the
       sort Debtors paid it in exchange for its hypothetical sacrifice during the ninety days prior to the petition
       date.”).
 250   See Gray v. Chace (In re Bos. Publ’g Co.), 209 B.R. 157, 176 (Bankr. D. Mass. 1997) (citing Trans World
       Airlines, Inc. v. Travellers Int’l AG (In re Trans World Airlines, Inc.), 180 B.R. 389, 403 (Bankr. D. Del.
       1994); In re Cocolat, Inc., 176 B.R. at 548) (“[T]he Court finds that Chace arguably provided the Debtor
       with new value when he subordinated his debt to equity, as opposed to merely forbearing from collecting the
       obligations owed to him by the Debtor.”); see also Lowrey v. U.P.G., Inc. (In re Robinson Bros. Drilling,
       Inc.), 877 F.2d 32, 34 (10th Cir. 1989) (“The defendants argue that, in addition to the release of valid liens,
       Richardson transferred new value in the form of new credit and forgiveness of debt. However, the record is
       devoid of any evidence of new credit extended to Robinson Brothers, and the fact that Richardson may have
       promised to continue to do business with Robinson Brothers if it paid its bills is not new credit or new value
       to the estate.”).
 251   Given the inherent difficulties in proving value received by an insolvent debtor for having an unsecured debt
       forgiven, this requirement may, as a practical matter, be fatal to a creditor’s new value defense. See, e.g., In
       re Bos. Publ’g Co., 209 B.R. at 176 (noting that although creditor’s subordination of debt to equity arguably
       provided new value to debtor, new value defense failed because creditor did not quantify the extent of the
       new value received as a result of that subordination); In re Jotan, Inc., 264 B.R. at 752 (“Defendant did
       provide evidence of the maximum value of its proposed ‘new value’—$227,786.24 in ‘waived’ old balance
       plus about $494,612.00 for waiver of the new equipment obligation. However, these maximum values do not
       reflect the actual value of the ‘waiver’ of the old balance and of the waiver of the equipment purchase
       obligation in light of Debtors’ extremely strained financial condition at the execution of and during the term
       of the new agreement.”).

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 Preference liability.252 Second, new value under the Minnesota Insider Preference statute only
 flows backwards—it cannot offset contemporaneous transfers.253 Nor can new value offset
 later transfers.254 Third, new value must be provided to the debtor (or for the debtor’s benefit)
 by the same legal entity that is liable for the preferential transfer. “Third party” new value,
 even when provided by an entity closely related to, or controlled by, the entity that received
 the Insider Preference, cannot offset liability.255 This point was most clearly illustrated in the
 recent Musicland decision. In that case, Best Buy Co., Inc. was the recipient of a transfer that
 was allegedly avoidable under the Minnesota Insider Preference statute. Best Buy moved for
 summary judgment, arguing, among other things, that new value it had provided to the
 plaintiff through its wholly-owned subsidiary provided it with a defense. The court rejected
 that argument, holding that “Best Buy cannot base a subsequent new value defense on services
 provided by its affiliate . . . .”256 On the plaintiff’s subsequent motion for summary judgment
 on the same issue, the court largely confirmed its reasoning, noting that, except where
 “reverse veil piecing” is appropriate, third-party new value cannot be counted as new value.257

      Finally, despite the similarities between the “new value” defense under the Minnesota
 UFTA and the Bankruptcy Code, and the willingness of courts to look to section 547(c)(4) of
 the Bankruptcy Code in interpreting portions of the state law defense, critical differences
 exist. Most importantly, as described above, Minnesota UFTA’s “new value” defense does not
 require that the new value “remain unpaid” to be credited against past preferential transfers
 and courts have expressly refused to read that Bankruptcy Code-based concept into a statute

 252   Prairie Lakes Health Care Sys., Inc. v. Wookey, 583 N.W. 2d 405, 415 (S.D. 1998) (citing 11 U.S.C. §
       547(c)(4); UFTA § 8 cmt. 6.) (“This defense is an adaptation from the Bankruptcy Code § 547(c)(4) and like
       that provision its availability is limited to creditors who make unsecured advances.”).
 253   Prairie Lakes Health Care Sys., 583 N.W. 2d at 415 (“Moreover, the ‘new value’ must be made after, rather
       than contemporaneously with, the transfer. The note [defendant] gave was at the same time as the . . .
       transfer, thus the defense is unavailable.”).
 254   See Elliot & Callan, Inc. v. Crofton, 615 F. Supp. 2d 963, 973 (D. Minn. 2009) (“The loans and advances
       cannot, however, offset later transfers, as § 513.48(f) expressly requires that ‘new value’ be given ‘after the
       transfer was made.’”); see also Responsible Pers. of Musicland Holding Corp. v. Best Buy Co (In re
       Musicland Holding Corp.), 462 B.R. 66, 70 (Bankr. S.D.N.Y. 2011) (citing Mosier v. Ever-Fresh Food Co.
       (In re IRFM, Inc.), 52 F.3d 228, 231 (9th Cir. 1995)) (“The party relying on the defense must show that it
       gave unsecured new value after the preferential transfer.”).
 255   See In re Musicland Holding Corp., 462 B.R. at 74 (Bankr. S.D.N.Y. 2011) (“The Minnesota Act, like its
       bankruptcy analog, requires the transferee to provide the new value, i.e., third-party new value does not
       count.”).
 256   Id.
 257   See Responsible Pers. of Musicland Holding Corp. v. Best Buy Co. (In re Musicland Holding Corp.), No. 08–
       01203, 2012 WL 769473, at *3 (Bankr. S.D.N.Y. Mar. 7, 2012) (“Best Buy relies on the control test, used to
       determine whether the transferred property was ‘property of the debtor,’ to argue that a preferred creditor can
       rely on subsequent new value provided by a wholly-owned subsidiary it controls. Although there are very
       limited situations, discussed below, that permit a shareholder to disregard the corporate identity of a
       subsidiary to shield itself from liability, Best Buy has failed to satisfy those requirements or provide any
       support for its argument that a preferred creditor can utilize third-party new value . . . .”).

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 whose text does not support it.258 Accordingly, “new value” that is itself paid for through an
 unavoidable transfer may nevertheless offset preference exposure under the Minnesota Insider
 Preference statute.

                    (3) Ordinary Course Of Business (Minn. Stat § 513.48(f)(2))

      The second affirmative defense under the Minnesota Insider Preference statute provides
 that a transfer is not avoidable “if made in the ordinary course of business or financial affairs
 of the debtor and the insider . . . .”259 Like the new value defense, the “ordinary course”
 defense is derived from the Bankruptcy Code, albeit with important distinctions.260 The most
 obvious of these differences are that the “ordinary course” defense under the UFTA: (1) omits
 the requirement that the debt being repaid have been incurred in the ordinary course of
 business; and (2) does not protect payments made according to ordinary business terms.261
 Accordingly, under the UFTA, “only the parties’ prior dealings are examined to decide
 whether a transfer was made in the ordinary course . . . .”262 As explained in official comment
 to the UFTA:

                    Whether a transfer was in the “ordinary course” requires a
                    consideration of the pattern of payments or secured transactions
                    engaged in by the debtor and the insider prior to the transfer
                    challenged under § 5(b). The defense provided by paragraph
                    (2) is available, irrespective of whether the debtor or the insider
                    or both are engaged in business, but the prior conduct or practice
                    of both the debtor and the insider-transferee is relevant.263

      Because it is the parties’ history of dealings, rather than wider industry standards, that is
 controlling, “[c]ourts must engage in a ‘peculiarly factual’ analysis” to decide whether a




 258   In re Musicland Holding Corp., 462 B.R. at 73 (citing Genin v. 1996 Mercury Marquis, 622 N.W.2d 114,
       117 (Minn. 2001); State v. Moseng, 95 N.W.2d 6, 11–12 (Minn. 1959)) (“[T]he Minnesota Act
       unambiguously excludes a limitation on the new value defense resulting from payment for the new value, and
       the Court cannot rewrite the statute to add it.”); Elliot & Callan, Inc., 615 F. Supp. 2d at 973 (“The ‘new
       value’ provided by [defendant] in the form of loans or advances need not have remained unpaid in order to
       offset previous transfers.”).
 259   MINN. STAT. ANN. § 513.48(f)(2).
 260   See Prairie Lakes Health Care Sys., Inc. v. Wookey, 583 N.W. 2d 405, 415 (S.D. 1998) (citing 11 U.S.C. §
       547(c)(2)) (“Like the new value defense, § 8(f)(2) is also derived from the Bankruptcy Code.”).
 261   See Prairie Lakes Health Care Sys., 583 N.W. 2d at 415 (S.D. 1998) (citing 11 U.S.C. §§ 547(c)(2)(A), (C))
       (“Unlike the Bankruptcy Code, however, § 8(f)(2) does not require that the transfer be made in payment of a
       debt incurred in the ordinary course of business, or that it be made according to ordinary business terms.”).
 262   Prairie Lakes Health Care Sys., 583 N.W. 2d at 415.
 263   UFTA § 8 cmt. 6 (citations omitted).

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 transfer occurred in the ordinary course of business.264 As suggested by the comment to the
 UFTA above, “this means looking at the payment history to decide if a preferential transfer
 was made in the ordinary course.”265

      There are very few cases interpreting the “ordinary course” defense under the UFTA.
 Indeed, the only written decision applying Minnesota’s version of the defense known to the
 Examiner is designated as unpublished and not for citation.266 Because of this paucity of
 authority, courts applying that UFTA defense have typically looked to decisions interpreting
 the relevant portion of the Bankruptcy Code—11 U.S.C. § 547(c)(2)(A)—for guidance.267

      A court seeking to determine whether a challenged transfer falls within the protection
 afforded by the Bankruptcy Code’s “ordinary course as between the parties” defense may
 consider:

                     (1) the time the parties engaged in the type of dealing at issue,
                     (2) whether the subject transfer was for an amount more than
                     usually paid, (3) if the payment was tendered in a manner
                     different from previous payments, (4) whether there was unusual
                     action by either the debtor or the creditor to collect or pay on the
                     debt, and (5) whether the creditor did anything to gain an
                     advantage (such as gain additional security) in light of the
                     debtor’s deteriorating financial condition.268

      Before a court can properly evaluate these factors, however, the creditor asserting the
 defense must first establish a “baseline” of dealings between itself and the debtor-transferor.269
 In determining the proper baseline of dealings, courts look exclusively to the period prior to



 264   Prairie Lakes Health Care Sys., 583 N.W. 2d at 415 (citing Lovett v. St. Johnsbury Trucking, 931 F.2d 494,
       497 (8th Cir. 1991).
 265   Prairie Lakes Health Care Sys., 583 N.W. 2d at 415.
 266   See Thommes v. Thommes, No. A11-1591, 2012 WL 2368877, at *5 (Minn. Ct. App. June 25, 2012) (finding
       that interest-only payments followed by lump-sum principal payments when funds became available fell
       within ordinary course of business between debtor and insider when loan agreement provided for payment on
       such terms).
 267   Prairie Lakes Health Care Sys., 583 N.W. 2d at 415 (“Because there are so few reported cases interpreting
       the UFTA § 8(f)(2) defense and because this provision is derived from the Bankruptcy Code’s exception to
       avoidance in 11 U.S.C. § 547(c)(2), we explore bankruptcy decisions interpreting the latter provision for
       insight into the meaning of the concept of ordinary course of business or financial affairs.”).
 268   Id. at 416 (citing Sulmeyer v. Suzuki (In re Grand Chevrolet, Inc.), 25 F.3d 728, 732 (9th Cir.1994); Logan v.
       Basic Distrib. Corp. (In re Fred Hawes Org.), 957 F.2d 239, 244 (6th Cir. 1992)).
 269   See Womack v. Horob Livestock Inc. (In re Horob Livestock Inc.), 382 B.R. 459, 486 (Bankr. D. Mont. 2007)
       (quoting In re Healthcentral.com, 504 F.3d 775,790 (9th Cir. 2007)) (“First, the creditor must show a
       baseline of past practices between itself and the debtor.”).

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 the preference period.270 “Numerous decisions support the view that the historical baseline
 should be based on a time frame when the debtor was financially healthy.”271 As a result,
 under the Bankruptcy Code, “when the debtor-creditor relationship is of recent origin the
 industry norm becomes crucial because ‘there is no baseline against which to compare the pre-
 petition transfers at issue to confirm the parties would have reached the same terms absent the
 looming bankruptcy.’”272 However, unlike the Bankruptcy Code, the Minnesota Insider
 Preference statute does not permit the court to refer to wider industry norms in the absence of
 an established baseline of dealings between the parties.273 Accordingly, a creditor who cannot
 establish an appropriate baseline of dealings between the parties is unlikely to be able to
 prevail on an ordinary course of business defense.274

      The rule that creditors must establish a baseline of their own prior dealings that predates
 the preference period poses special challenges when applied in the context of the Minnesota
 Insider Preference statute.275 While the Bankruptcy Code contains a one-year reach-back
 period for preferential transfers to insiders, the Minnesota Insider Preference statute imposes a
 six-year limitations period, which, in bankruptcy, is converted to a six-year reach-back period.
 Accordingly, when applying the Minnesota Insider Preference statute, the Bankruptcy Court
 270   Advo-Sys., Inc. v. Maxway Corp., 37 F.3d 1044 (4th Cir. 1994) (quoting In re Tolona Pizza Prods. Corp., 3
       F.3d 1029, 1032 (7th Cir.1993)) (explaining that the ordinary course test is whether payments “conform to
       the norm established by the debtor and the creditor in the period before, preferably well before, the
       preference period”).
 271   In re Quebecor World (USA), Inc., No. 08-10152, 2013 WL 1741946, at *5 (Bankr. S.D.N.Y. Apr. 23, 2013)
       (citing Luper v. Columbia Gas of Ohio, Inc. (In re Carled, Inc.), 91 F.3d 811 (6th Cir. 1996); Fiber Lite
       Corp. v. Molded Acoustical Prods., Inc. (In re Molded Acoustical Prods., Inc.), 18 F.3d 217 (3rd Cir. 1994);
       Clark v. Baclor Real Estate Fin., Inc. (In re Meridith Hoffman Partners), 12 F.3d 1549 (10th Cir. 1993);
       Moltech Power Sys. v. Tooh Dineh Indus., Inc. (In re Moltech Power Sys. Inc.), 327 B.R. 675 (Bankr. N.D.
       Fla. 2005); Gonzales v. DPI Food Prod. Co. (In re Furrs Supermarkets, Inc.), 296 B.R. 33 (Bankr. D.N.M.
       2003)); see also Official Comm. of Unsecured Creditors of TOUSA, Inc. v. Citicorp N. Am., Inc. (In re
       TOUSA, Inc.), 422 B.R. 783, (Bankr. S.D. Fla. 2009) (citing Caillouet v. First Bank & Trust (In re Entringer
       Bakeries, Inc.), 368 B.R. 520, 532 (E.D. La. 2007); Hechinger Inv. Co. of Del., Inc. v. Universal Forest
       Prods., Inc. (In re Hechinger Inv. Co. of Del., Inc.), 489 F.3d 568, 578 (3d Cir. 2007); J.P. Fyfe, Inc. of Fla.
       v. Bradco Supply Corp., 891 F.2d 66 (3d Cir. 1989)) (finding that payments made on account of debt that was
       restructured on an emergency basis while the debtor was financially distressed were not in the ordinary
       course), aff’d, 680 F.3d 1298 (11th Cir. 2012).
 272   Advo-Sys., Inc., 37 F.3d at 1049–50 (quoting In re Molded Acoustical Prods., Inc., 18 F.3d at 226).
 273   See Prairie Lakes Health Care Sys., 583 N.W. 2d at 415 (“[O]nly the parties’ prior dealings are examined to
       decide whether a transfer was made in the ordinary course of the parties’ business affairs.”).
 274   See In re Horob Livestock Inc., 382 B.R. at 486 (citing Mordy v. Chemcarb, Inc. (In re Food Catering &
       Housing, Inc.), 971 F.2d 396, 398 (9th Cir. 1992)) (“Second the creditor must show that the relevant
       payments were ‘ordinary in relation to these past practices.’”).
 275   See Advo-Sys., Inc., 37 F.3d at 1049 (quoting In re Tolona Pizza Prods. Corp., 3 F.3d at 1032) (ordinary
       course test requires reference to baseline of dealings prior to the preference period); In re Quebecor World
       (USA), Inc., 2013 WL 1741946, at * (citing In re Carled, Inc., 91 F.3d 811; In re Molded Acoustical
       Products, Inc., 18 F.3d 217; In re Meridith Hoffman Partners, 12 F.3d 1549; In re Moltech Power Sys. Inc.,
       327 B.R. 675; In re Furrs Supermarkets, Inc., 296 B.R. 33) (holding that baseline of dealings must be based
       on the parties’ pattern of conduct during the period before the debtor became financially distressed).

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 could potentially look to the period before, and possibly well-before, that six-year reach-back
 period to evaluate the parties’ baseline of dealings. Even if the Bankruptcy Court were instead
 to look only to the period before the Debtors became financially distressed, it would be
 required to look to parties’ dealings before mid-2007 at the latest.

      Here, however, the parties’ course of dealings with respect to the transactions that may be
 subject to avoidance under Minnesota’s Insider Preference statute occurred entirely during the
 Insider Preference period and while the Debtors were insolvent. Indeed, the transactions at
 issue were all undertaken as a response to the Debtors’ financial distress.276 It therefore
 appears that there is no ordinary course “baseline of dealings” against which the transactions
 that may be challenged under the Minnesota Insider Preference statute can be compared.277

       Finding that payments on account of any of the transactions discussed below were made
 in the ordinary course of business would require a departure from the well-established rule
 that the Bankruptcy Court should look to the pre-preference period and pre-insolvency period
 in determining the parties’ baseline of dealings for purposes of an ordinary course of business
 defense under the Minnesota Insider Preference statute. Moreover, such a finding would
 require the Bankruptcy Court to overlook the Debtors’ chaotic financial situation through the
 entire reach-back period, the very condition that prompted most of the transactions under
 review.278 Accordingly, the Examiner concludes that the ordinary course of business defense
 under the Minnesota Insider Preference statute is unlikely to apply to any of the transactions
 discussed below.

                      (4) Good Faith Effort To Rehabilitate While Securing Present Value And
                          Antecedent Debt (Minn. Stat § 513.48(f)(3))

      Finally, a transfer may not be avoided under the Minnesota Insider Preference statute “if
 made pursuant to a good faith effort to rehabilitate the debtor and the transfer secured present
 value given for that purpose as well as an antecedent debt of the debtor.”279 This provision has
 no analogue in the Bankruptcy Code.280 Instead it “reflects a policy judgment that an insider
 who has previously extended credit to a debtor should not be deterred from extending further
 credit to the debtor in a good faith effort to save the debtor from a forced liquidation in
 bankruptcy or otherwise.”281

      The Examiner has been unable to locate a reported decision in which this “good faith
 effort to rehabilitate” defense was substantively analyzed, whether under Minnesota law or the
 276   See Section III.G.
 277   See, e.g., Section III.G.
 278   See, e.g., Section III.G.
 279   MINN. STAT. ANN. § 513.48(f)(3).
 280   See UFTA § 8 cmt. 6.
 281   Hill v. Gibson Dunn & Crutcher LLP (In re MS55, Inc.), 420 B.R. 806, 824 n.11 (Bankr. D. Colo. 2009)
       (quoting UFTA § 8 cmt. 6).

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 law of another state that has adopted the UFTA (although the Examiner expects that the
 forthcoming trial decision in Musicland will do so). As a result, the Examiner does not have
 the benefit of case precedent on which to make an assessment of the defense.

      The “good faith effort to rehabilitate” defense has three components.282 First, the
 transferee must undertake a good faith effort to rehabilitate the debtor. Second, the transferee
 must provide present value that is secured with the goal of achieving that rehabilitation.283
 Third, the debtor must grant the transferee a security interest with respect to an antecedent
 debt. If the first two elements of the defense are met, the preferential transfer embodied in the
 third element is excused.284 The defense may therefore be thought of as a carefully-
 circumscribed “contemporaneous new value” defense, as that term is used in the Bankruptcy
 Code.

      While the second and third elements of the defense are self-explanatory, the first—which
 requires a good faith effort to rehabilitate the debtor—is more challenging and requires that
 two questions be answered. First, what does the term “good faith” mean in the context of the
 Minnesota Insider Preference statute? Second, what does it mean to attempt to “rehabilitate” a
 debtor?

      Of these two inquiries, the first is the more straightforward: “good faith is determined
 according to an objective or ‘reasonable person’ standard, and not based on the subjective
 knowledge or belief of the transferee.”285 With respect to the “good faith effort to rehabilitate”
 defense, the term “good faith” modifies the phrase “effort to rehabilitate.” Accordingly, the
 Examiner concludes that a party likely engages in a “good faith” effort to rehabilitate a debtor
 when it takes action that constitutes an objectively reasonable effort to rehabilitate such
 debtor. Such reasonableness can be objectively measured by, among other things, “the amount
 of the present value given, the size of the antecedent debt secured, and the likelihood of
 success for the rehabilitative effort . . . .”286

      The second inquiry—the meaning of the word “rehabilitate”—can be resolved by
 principles of statutory construction. Minnesota courts have held that, “[w]here a statute is
 plain and unambiguous, [a court should] apply the words of the statute according to their plain
 282   See MINN. STAT. ANN. § 513.48(f)(3).
 283   “A transfer is made for present value if the exchange between the debtor and the transferee is intended by
       them to be contemporaneous and is in fact substantially contemporaneous.” MINN. STAT. ANN. § 513.43(c).
       Thus, the second element of the defense is satisfied if, contemporaneously with the other transfers
       contemplated by the defense, the debtor receives value on a secured basis.
 284   See MINN. STAT. ANN. § 513.48(f)(3).
 285   Roeder v. Lockwood (In re Lockwood Auto Grp., Inc.), 428 B.R. 629, 636 (Bankr. W.D. Pa. 2010); see also
       Armstrong v. Collins, Nos. 01-2437, 2010 WL 1141158, at *19 (S.D.N.Y. Mar. 24, 2010) (quoting Terry v.
       June, 432 F. Supp. 2d 635, 641 (W.D. Va. 2006) (“In order to establish the element of good faith, the
       transferee must prove that he received the transfer ‘in objective good faith.’”); Terry, 432 F. Supp. 2d at 641
       (same); Ameriserv Fin. Bank v. Commercebank, N.A., No. 07-1159, 2009 WL 890583, at *5 (W.D. Pa.
       Mar. 26, 2009).
 286   UFTA § 8 cmt. 6.

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 meaning and engage in no further construction.”287 When a statute uses a term but does not
 define it, both federal courts and Minnesota state courts will give the term its “ordinary” or
 “plain” meaning by examining its dictionary definition.288 The Examiner’s Professionals have
 reviewed a number of the dictionaries most commonly cited by the Supreme Court of the
 United States and the Supreme Court of Minnesota, which variously define the word
 “rehabilitate,” in a financial or business context, to mean:
                     To restore to a previous condition; to set up again in proper
                     condition.289
                     To restore to good condition, operation, or management, as a
                     bankrupt business.290
                     The process of reorganizing a debtor’s financial affairs—under
                     Chapter 11, 12, or 13 of the Bankruptcy Code—so that the
                     debtor may continue to exist as a financial entity, with creditors
                     satisfying their claims from the debtor’s future earnings.291
                     To restore to a state of solvency or efficiency.292
      While differing in their phraseology, these definitions have a common element—each
 requires more than maintenance of the status quo and the prevention of a debtor’s collapse
 into a forced liquidation. Instead, they require restoration to a proper condition, reorganization
 to allow an enterprise to survive and creditors to satisfy their claims from a debtor’s future
 earnings (as opposed to satisfying their claims from a liquidation of the debtor’s assets), or,
 most tellingly, a return to solvency.293
 287   Reiter v. Kiffmeyer, 721 N.W.2d 908, 910 (Minn. 2006) (citing Wynkoop v. Carpenter, 574 N.W.2d 422, 425
       (Minn. 1998)).
 288   See, e.g., Taniguchi v. Kan Pac. Saipan, Ltd., 132 S. Ct. 1997, 2002 (2012) (citing THE AMERICAN
       HERITAGE DICTIONARY, THE SCRIBNER–BANTAM ENGLISH DICTIONARY, THE RANDOM HOUSE
       DICTIONARY OF THE ENGLISH LANGUAGE, THE OXFORD ENGLISH DICTIONARY, CHAMBERS TWENTIETH
       CENTURY DICTIONARY, BLACK’S LAW DICTIONARY and WEBSTER’S THIRD NEW INTERNATIONAL
       DICTIONARY); Ransom v. FIA Card Servs., N.A., 131 S. Ct. 716, 724 (2011) (citing WEBSTER’S THIRD NEW
       INTERNATIONAL DICTIONARY, THE NEW OXFORD AMERICAN DICTIONARY and THE OXFORD ENGLISH
       DICTIONARY); State v. Hartmann, 700 N.W.2d 449, 453–54 (Minn. 2005) (citing WEBSTER’S DICTIONARY);
       Larson v. State, 790 N.W.2d 700, 703 (Minn. 2010) (citing THE AMERICAN HERITAGE DICTIONARY OF THE
       ENGLISH LANGUAGE and BLACK’S LAW DICTIONARY).
 289   OXFORD ENGLISH DICTIONARY 527 (James. A. H. Murray et al. eds., 2d ed. 1991).
 290   THE RANDOM HOUSE DICTIONARY OF THE ENGLISH LANGUAGE 1625 (Stuart Berg Flexner ed., 2d ed. 1987).
 291   BLACK’S LAW DICTIONARY 1399 (9th ed. 2009).
 292   WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 1914 (Philip Babcock Grove, Jr., et al. eds., 1993).
 293   Use of the word rehabilitate elsewhere in Minnesota law likewise suggests that an effort directed at a true
       restoration to financial health, rather than merely maintaining the status quo by preventing complete collapse,
       is required. See, e.g., Morgan Assocs., Inc. v. Midwest Mut. Ins. Co., 519 N.W.2d 499, 502 (Minn. Ct. App.
       1994) (“An attempt to rehabilitate [an insurance agency requires] a good faith effort by the insurance
       company to reach a mutual agreement with the agent on a written plan for rehabilitation.”).

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      The commentary to the model UFTA, however, arguably supports a lesser standard for
 “rehabilitate.” According to the drafters:

                     Paragraph (3) [the good faith rehabilitation defense] is new and
                     reflects a policy judgment that an insider who has previously
                     extended credit to a debtor should not be deterred from
                     extending further credit to the debtor in a good faith effort to
                     save the debtor from a forced liquidation in bankruptcy or
                     otherwise. A similar rationale has sustained the taking of
                     security from an insolvent debtor for an advance to enable the
                     debtor to stave off bankruptcy and extricate itself from financial
                     stringency.294

      One reading of this commentary is that any effort to avoid forced liquidation—even if
 that effort was not aimed at restoring the debtor to true financial health—may satisfy the
 “effort to rehabilitate” prong of the defense.

      Though a close question, the Examiner concludes it is more likely than not that the “good
 faith effort to rehabilitate” defense to the Minnesota Insider Preference statute requires the
 insider-transferee to prove that it engaged in a good-faith effort to restore the debtor to
 solvency. As an initial matter, the plain meaning of the word “rehabilitate,” as used in section
 513.48(f)(3) of the Minnesota statute, requires more than merely preventing a forced
 liquidation. Under Minnesota law, where the language of a statute is unambiguous, courts
 must apply the plain meaning of the statute regardless of whether extrinsic sources suggest a
 contrary legislative intent. Therefore, even if a court were to construe the model UFTA
 commentary as suggesting a lesser standard for “rehabilitate,” the ordinary meaning of that
 term would likely control. Moreover, the Examiner is skeptical that the drafters of the UFTA
 intended to depart from the ordinary usage of the term “rehabilitate.” In this regard, it bears
 noting that the drafters analogized to a case where the transfer at issue was intended to help
 the debtor “extricate itself from financial stringency.”295 Such language is consistent with the
 conclusion that “rehabilitate” requires an effort to restore a debtor to solvency.

                f. Whether A Transfer To A Secured Creditor Can Be Avoided

      Unlike section 547 of the Bankruptcy Code, the Minnesota Insider Preference statute
 does not require, as a condition for avoidance of a transfer, a showing that the recipient of the
 transfer received more that it would have received under the hypothetical chapter 7 test.296
 Instead, Minnesota law provides two specific protections for secured creditors. First, as
 294   UFTA § 8 cmt. 6 (emphasis added).
 295   UFTA § 8 cmt. 6. This language, combined with the clear statement that the premise of the Insider
       Preference statute “is that an insolvent debtor is obliged to pay debts to creditors not related to him before
       paying those who are insiders,” suggests that a circumspect reading of the rehabilitative effort defense is
       appropriate. Id. Prefatory Note, at 4.
 296   See 11 U.S.C. § 547(b)(5).

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 discussed above, a conveyance of a debtor’s property will not be regarded as a “transfer,” and
 thus cannot be the subject of any avoidance action under the Minnesota UFTA, if the property
 conveyed is subject to a valid lien and the value of the conveyed property does not exceed the
 value of that lien.297 Second, and irrelevant as to any of the transactions reviewed by the
 Examiner during the Investigation, a transfer that is the result of “enforcement of a security
 interest in compliance with article 9 of the Uniform Commercial Code” may not be avoided
 under the Minnesota UFTA, except as an actually fraudulent transfer.298 Between these two
 protections, the Minnesota Insider Preference statute leaves a significant gap—it provides no
 explicit protection to secured creditors who receive payments on account of secured
 obligations from a debtor’s unencumbered funds (or property).
      At least one court (not in Minnesota) has held that a payment to a secured creditor, even
 from unencumbered funds, may not be avoided under the Insider Preference provisions of the
 UFTA. In In re Maine Poly, Inc., the United States Bankruptcy Court for the District of Maine
 concluded that payments to a non-insider secured creditor, whose claim was guaranteed by an
 insider of the debtor, could not be recovered from the insider-guarantor as Insider Preferences
 under Maine’s UFTA.299 In that case, the debtor relied on a secured revolving line of credit for
 its working capital.300 After the debtor’s bankruptcy filing, the trustee sought to avoid a
 number of prepetition payments on the revolver as Insider Preferences under the Maine
 UFTA, arguing that the resulting reduction of the insider’s guarantee obligations effectively
 converted the payments into transfers to an insider.301 The court rejected this argument and
 noted that, because the lender was oversecured, the debtor’s payments merely decreased the
 value of its lien on the debtor’s assets and may have thereby benefitted creditors.302 Moreover,
 the court found that any benefit to the debtor’s insider was merely incidental to the
 payments.303 Accordingly, the court concluded that the payments did not “represent[] a
 ‘transfer’ to insiders” and therefore could not be avoided as an Insider Preference.304
      Despite its clear holding, the Examiner believes that Maine Poly is unlikely to be treated
 as particularly persuasive. First, Maine Poly is readily distinguishable in that, unlike the
 transactions in this case, Maine Poly did not involve a true conveyance to an insider. Instead,
 as the court noted, “[r]eduction of the defendant(s)’ guaranty liability was an incidental
 297   See MINN. STAT. ANN. §§ 513.41(2), 513.41(12); Clarinda Color LLC v. BW Acquisition Corp., No. 00-CV-
       722 JMR/FLN, 2004 WL 2862298, at *3 (D. Minn. June 14, 2004); Lorenzo Bus Serv., Inc. v. Richfield Bus
       Co., No. C2-02-56, 2002 WL 2005468, at *3–4 (Minn. Ct. App. Sept. 3, 2002); Knight v. Prod. Res. Grp.,
       LLC, No. Civ. 036443 (MJD/JGL), 2005 WL 1630523, at *4 (D. Minn. July 11, 2005).
 298   MINN. STAT. ANN. § 513.48(e)(2).
 299   Turner v. JPB Enters., Inc. (In re Maine Poly, Inc.), 317 B.R. 1, 13 (Bankr. D. Me. 2004). The Insider
       Preference provisions of the Maine UFTA are substantially identical to those of the Minnesota UFTA.
       Compare MINN. STAT. ANN. § 213.45(b), with ME. REV. STAT. ANN. 14 § 3576(2).
 300   See In re Maine Poly, 317 B.R. at 4.
 301   See id. at 5.
 302   See id. at 13.
 303   See id.
 304   Id.

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 consequence” of the transfer.305 Unlike section 547 of the Bankruptcy Code, the UFTA’s
 Insider Preference provisions are limited to transfers to an insider, rather than transfers to or
 for the benefit of a creditor.306 Thus, the transfers at issue in Maine Poly arguably did not even
 implicate the UFTA’s Insider Preference provision. The court could have properly reached its
 ultimate conclusion—that the payments to a third-party creditor under an insider-guaranteed
 credit agreement were not avoidable as Insider Preferences because they were not transfers to
 an insider—without addressing the fact that the revolver was fully secured.

      Second, and more important, Maine Poly’s rationale does not appear to be grounded in
 either the text of the statute or case law.307 As set forth above, the Bankruptcy Court for the
 Southern District of New York recently held that the Minnesota Insider Preference statute
 must be strictly construed where it is unambiguous, holding that “the Court cannot rewrite the
 statute to add” language excluded by the statute’s drafters.308 The Minnesota UFTA
 unambiguously fails to include language similar in effect to the “hypothetical liquidation test”
 contained in section 547 of the Bankruptcy Code. If Musicland is to be applied consistently,
 “[a]ny necessary fix resides with the Minnesota legislature.”309

     Accordingly, the Examiner concludes that it is likely that the Bankruptcy Court would
 not apply a hypothetical chapter 7 test in evaluating claims of avoidability under the
 Minnesota Insider Preference statute.




 305   Id.
 306   Compare UFTA § 5(b), with 11 U.S.C. § 547(b)(1).
 307   Maine Poly also appears to reach a result that would be contrary to the intent of the Minnesota legislature. As
       discussed above, under Minnesota law, “[t]he intention of the drafters of a uniform act becomes the
       legislative intent upon enactment.” Shields v. Goldetsky (In re Butler), 552 N.W.2d 226, 231 (Minn. 1996)
       (citing Layne-Minn. Co. v. Regents of the Univ. of Minn., 123 N.W.2d 371, 376 n.13 (Minn. 1963)).
       Accordingly, the Minnesota legislature’s intent “is that an insolvent debtor is obliged to pay debts to
       creditors not related to him before paying those who are insiders.” UFTA, Prefatory Note, at 4.
 308   Responsible Pers. of Musicland Holding Corp. v. Best Buy Co. (In re Musicland Holding Corp.), 462 B.R.
       66, 73 (Bankr. S.D.N.Y. 2011) (citing Genin v. 1996 Mercury Marquis, 622 N.W.2d 114, 117 (Minn. 2001);
       State v. Moseng, 95 N.W.2d 6, 11–12 (Minn. 1959)).
 309   In re Musicland Holding Corp., 462 B.R. at 73.

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                g. Transactions That Implicate Insider Preferential Transfer Law
      The following seven transactions or loan facilities310 implicate potential claims under
 Minnesota’s Insider Preference Statute: (1) the Secured Revolver Facility; (2) the A&R Line
 of Credit Facility; (3) the Secured MSR Facility; (4) the Servicing Advance Factoring Facility;
 (5) the Resort Finance Facility; (6) the 2008 Bank Transaction; and (7) the 2009 Bank
 Transaction.
      As set forth above, the Examiner has concluded that the evidence supports the
 propositions that the following prima facie elements of an Insider Preference claim are met
 with respect to each of those seven transactions: (1) the Debtor-transferor had a “triggering
 creditor”;311 (2) AFI (or the relevant AFI-affiliate transferee)312 is an insider of the Debtor-
 transferor;313 (3) the Debtor-transferor was insolvent at the time of transaction;314 and (4) AFI
 (or the relevant AFI-affiliate transferee) had reasonable cause to believe that the Debtor-
 transferor was insolvent at the time of transaction.315 The Examiner has also concluded that
 the hypothetical chapter 7 test is not relevant under the Minnesota Insider Preference
 statute.316 Thus, for the prima facie Insider Preference claim to be established, the only
 questions that need be answered on a transaction-by-transaction basis are: (1) whether the
 conveyance was “made for an antecedent debt”; and (2) whether what was conveyed was an
 “asset” of the Debtor-transferor that could be subject to a “transfer” within the meaning of the
 Minnesota UFTA.317
     Further, the Examiner has concluded that, except where otherwise noted, the safe harbor,
 good faith transferee, ordinary course, and good faith effort to rehabilitate defenses are not
 310   The Examiner also considered whether the ResMor Loan Facility and the BMMZ Repo Facility raise
       potentially-significant claims under the Minnesota Insider Preference statute. However, RFC only reported a
       payment of $563,000 in connection with the ResMor Loan Facility. See ResCap Interest Journal Entry
       Spreadsheet, at Tab Ally ResMor-2020200001 [EXAM00338636]; Residential Funding Company, LLC
       Consolidated Financial Statements as of and for the Years Ended December 31, 2008 and 2007, Mar. 25,
       2009, at 78 [EXAM00124988]. RFC only made payments of $332,000 and $1,448,756 in connection with the
       BMMZ Repo Facility. See Residential Funding Company, LLC, Consolidated Financial Statements as of and
       for the Years Ended December 31, 2011 and 2010, dated Mar. 28, 2012, at 61 [EXAM00232321]; ResCap
       Interest Journal Entry Spreadsheet [EXAM00338636] (see “Ally BMMZ-2020200025” worksheet); ResCap
       Interest Payable As of May 13, 2012 [EXAM00345973]. Given the de minimis nature of these payments and
       the potential defenses available to payments relating to the BMMZ Repo under section 546(f) of the
       Bankruptcy Code, the Report does not include a detailed analysis regarding these payments.
 311   See Section VII.F.4.d(1).
 312   GMAC CF, and not AFI, was the counterparty to RFC and GMAC Mortgage in the Servicing Advance
       Factoring Facility. GMAC CF, like AFI, is an insider of RFC. The evidence also supports the proposition that
       GMAC CF, as a wholly-owned subsidiary of AFI, had reasonable cause to believe that RFC was insolvent at
       the time of transfers.
 313   See Section VII.F.4.d(2).
 314   See Section VII.F.4.d(4).
 315   See Section VII.F.4.d(5).
 316   See Section VII.F.4.f.
 317   See MINN. STAT. § 513.45(b).

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 available to AFI in connection with the transfers described below for the reasons explained in
 Sections VII.F.3,318 VII.F.4.e(1), VII.F.4.e(3), and VII.F.4.e(4), respectively. Consequently,
 the Examiner has concluded that new value is the only affirmative defense that will generally
 be available to AFI in connection with Insider Preference claims concerning these seven
 transactions. Because the new value defense must be considered in the aggregate, rather than
 on a transaction-by-transaction basis, it is addressed separately in Section VII.F.4.h.
                     (1) 2008 Secured Revolver Facility
       The Investigation has uncovered potential Minnesota Insider Preference claims
 associated with the Secured Revolver Facility transaction, whereby RFC and GMAC
 Mortgage agreed to (i) become directly liable as borrowers under the $3.5 billion Secured
 Revolver Facility and (ii) secure the $3.5 billion Secured Revolver Facility with substantially
 all of their assets (the “2008 Secured Revolver Transaction”). Based on the analysis below, the
 Examiner concludes it is likely that certain of those Insider Preference claims would prevail.
                         (a) Background
     While the facts related to the Secured Revolver Facility are fully set forth in Section V.E
 and Appendix V.E.3, a brief summary is helpful to this analysis.
                              (i) 2005 Third Party Facilities
       On July 28, 2005, ResCap, as borrower, entered into three separate unsecured syndicated
 credit facilities with various financial institutions, as lenders, and with JPMorgan Chase as
 administrative agent (collectively, the “2005 Third Party Facilities”): (1) a $1.75 billion term loan
 facility that matured on July 28, 2008 (the “2005 Term Loan Facility”); (2) an $875 million three-
 year revolving credit facility (the “2005 Three-Year Revolver”); and (3) an $875 million 364-day
 revolving credit facility (the “2005 364-day Revolver”). The 2005 Third Party Facilities were
 guaranteed by RFC and GMAC Mortgage on an unsecured basis pursuant to a separate
 Subsidiary Guarantee Agreement entered into for each of the 2005 Third Party Facilities.
      The 2005 364-day Revolver was replaced twice, most recently on June 11, 2007 with a
 new $875 million unsecured 364-day revolver (the “2007 364-day Revolver”).319 The 2005
 Three-Year Revolver was also replaced on June 11, 2007 with a new $875 million unsecured
 three-year revolver (the “2007 Three-Year Revolver” and together with the 2007 364-day
 Revolver, the “2007 Revolvers”).320 No amounts were ever drawn under the 2007 Revolvers.
 318   The Examiner’s Counsel solicited information from AFI with respect to its potential eligibility to assert the
       settlement payment safe harbor defense provided by section 546(e) of the Bankruptcy Code. In its response
       to the Examiner’s Counsel, AFI did not assert the settlement payment defense as to any of the transactions or
       facilities reviewed in this Section. Accordingly, the Examiner has proceeded on the assumption that no
       settlement payment safe harbor defense is available to AFI (or its affiliates). Additionally, none of the
       transactions discussed in this Section involve swap agreements. Accordingly, the swap agreement safe harbor
       provided by section 546(g) of the Bankruptcy Code is irrelevant to this Section.
 319   See JPMorgan Chase 364-Day Facility [EXAM00344999]. As with the 2005 364-day Revolver, the 2007
       364-day Revolver was guaranteed by RFC and GMAC Mortgage. See id.
 320   As with the 2005 Third Party Facilities, the 2007 Revolvers were provided by unaffiliated third-party lenders.

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                             (ii) 2008 Secured Revolver Transaction

      On or around June 4, 2008, the 2005 Term Loan Facility was refinanced, and the 2007
 Revolvers were replaced, with a new $3.5 billion Secured Revolver Facility, under which AFI
 acted as lender. RFC and GMAC Mortgage, which were guarantors under the 2005 Term
 Loan Facility and the 2007 Revolvers, became direct borrowers, while ResCap, which had
 previously been a direct borrower, became a guarantor (along with various subsidiaries of
 ResCap). Although an integrated transaction, the 2008 Secured Revolver Transaction is most
 easily understood through its component transactions, each of which occurred on or around
 June 4, 2008:
          •    AFI acquired, by way of assignment from ResCap’s various third-party lenders,
               approximately $1.29 billion of the $1.75 billion principal amount of outstanding
               loans under the 2005 Term Loan Facility (the “$1.29 Billion AFI Term Loan”).321
          •    AFI, as lender, RFC and GMAC Mortgage, as borrowers, and ResCap and certain
               other subsidiaries of ResCap, as guarantors, entered into the Secured Revolver
               Facility.322
          •    The 2007 Revolvers were terminated.
          •    The $1.29 Billion AFI Term Loan, which was previously unsecured, was converted
               into a secured term loan under the Secured Revolver Facility.323
          •    RFC and GMAC Mortgage borrowed approximately $458 million under the Secured
               Revolver Facility to repay the remaining loans outstanding under the 2005 Term
               Loan Facility.324
          •    RFC and GMAC Mortgage borrowed $1.29 billion under the Secured Revolver
               Facility to fund the bond exchange described in Section V.E.3.325
          •    RFC and GMAC Mortgage borrowed approximately $457 million “to acquire other
               assets and for other working capital needs.”326

      Through these transactions, on or about June 4, 2008, RFC and GMACM borrowed the
 entire $3.5 billion available under Secured Revolver Facility, but retained no net proceeds
 from those borrowings.327
 321   See Master Assignment and Assumption Agreement, dated as of a date on or before June 6, 2008 among the
       Initial Lender and the Term Loan Lenders [ALLY_0043831].
 322   See Secured Revolver Loan Agreement [RC00024234].
 323   See id. § 2.01(c).
 324   Residential Capital, LLC, Current Report (Form 8-K) (June 3, 2008), Item 1.01.
 325   See Ally Revolver Use of Funds – June 2008 [EXAM00345926]; see also Residential Capital, LLC, Current
       Report (Form 8-K) (June 9, 2008), at 2; Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27,
       2009), at 100.
 326   Ally Revolver Use of Funds – June 2008 [EXAM00345926].
 327   In fact, it appears that, although technically borrowed by RFC and GMAC Mortgage, the loan proceeds were
       transferred directly to ResCap. See Ally Revolver Use of Funds – June 2008 [EXAM00345926].

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      According to ResCap’s SEC filings, on or about July 28, 2008—the date on which the
 $1.29 Billion AFI Term Loan portion of Secured Revolver Facility was due to mature—RFC
 and GMAC Mortgage drew approximately $1.29 billion under the Secured Revolver Facility
 to repay the $1.29 Billion AFI Term Loan.328 Such a draw should not have been possible
 under the terms of the Secured Revolver Credit Agreement because the Secured Revolver
 Facility was already fully drawn. Although the Examiner’s Financial Advisors discussed this
 apparent contradiction with the Debtors, they were unable to provide any explanation or
 documentation to resolve the issue.329 The Examiner therefore believes that the $1.29 Billion
 AFI Term Loan was informally converted into a regular borrowing under the Secured
 Revolver Facility when it otherwise would have matured.

                              (iii) Accounting For The 2008 Secured Revolver Transaction330

      Prior to November 2008, the Secured Revolver Facility remained on ResCap’s
 accounting records, and was not posted to the accounting records of RFC or GMAC
 Mortgage. Because of the complexity of the facility, including its varied collateral and
 advance rates across the two entities, ResCap accounting personnel first focused on the
 collateral reporting aspect and only at year-end 2008 did legal entity accounting become a
 consideration. On November 30, 2008, RFC and GMAC Mortgage each recorded its share of
 the amount outstanding on the Secured Revolver Facility in its respective accounting records,
 with a corresponding reduction in intercompany payables owed to ResCap. The allocation of
 the outstanding loan balance to each of RFC and GMAC Mortgage at the end of each month
 was calculated based on the collateral values remaining at each entity at month end (which are
 estimated to have been 90 percent to RFC and 10 percent to GMAC Mortgage).

                              (iv) The A&R Secured Revolver Loan Agreement

       On December 30, 2009, the parties to the Secured Revolver Facility executed the A&R
 Secured Revolver Loan Agreement, which converted $1.55 billion in then-outstanding
 revolving loans into term loans.331 The A&R Secured Revolver Loan Agreement had an initial
 maturity date of May 2010.332 That maturity date was extended several times through the
 Petition Date. As of the Petition Date, $747 million was outstanding under the A&R Secured
 Revolver Loan Agreement.333



 328   See Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 78.
 329   Based on oral discussions with Barbara Westman (ResCap’s Senior Director of Accounting Operations).
 330   The following details are based on oral discussions with Barbara Westman (ResCap’s Senior Director of
       Accounting Operations).
 331   See A&R Secured Revolver Loan Agreement [ALLY_0066146]. There were no other amounts outstanding
       on the Secured Revolver Facility as of that date. See id.
 332   See A&R Secured Revolver Loan Agreement [ALLY_0066146].
 333   See First Day Affidavit, at 26.

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                           (v) Summary Of Payments Pursuant To The Secured Revolver Facility
                               And The A&R Secured Revolver Loan Agreement

      The Secured Revolver Facility began with a fully-drawn amount owed of $3.5 billion as
 of June 4, 2008, and ended as the A&R Secured Revolver Loan Agreement with a balance of
 $747 million outstanding on the Petition Date, a difference of approximately $2.753 billion.
 The following payments were made pursuant to the Secured Revolver Facility:334




 334   Although RFC and GMAC Mortgage had the right to redraw amounts repaid under the Secured Revolver
       Facility, no such reborrowings occurred. Additionally, no amounts owing under the Secured Revolver
       Facility were forgiven.

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      In summary, RFC and GMAC Mortgage made the following payments on account of the
 Secured Revolver Facility between June 8, 2008 (the date on which the first payment under
 the Secured Revolver Facility was made) and the Petition Date: (1) $2,752,872,447 in
 principal; (2) an estimated $220,629,677 in interest; and (3) $18,556,000 in fees and costs.

      The Minnesota Insider Preference statute raises two separate questions with respect to the
 Secured Revolver Facility. First, are the liens granted for the benefit of AFI in connection with
 the conversion of the $1.29 Billion AFI Term Loan into a secured loan under the Secured
 Revolver Facility avoidable? Second, are the repayments made under the Secured Revolver
 Facility avoidable? Because these questions are analytically distinct, the Examiner will discuss
 them separately.

                        (b) Application of Minn. Stat. § 513.45(b) To The $1.29 Billion AFI Term
                            Loan

                            (i) Remaining Prima Facie Elements

      The Examiner concludes that ResCap’s and RFC’s transfer of the liens to AFI in
 connection with the conversion of the $1.29 Billion AFI Term Loan into a secured loan under
 the Secured Revolver Facility likely meets the remaining prima facie elements of an Insider
 Preference. The grant of a lien is a statutorily-defined “transfer.”335 Thus, ResCap and RFC
 engaged in “transfers” by granting liens on their assets in connection with the Secured
 Revolver Facility. Because the liens were granted on June 4, 2008 to secure the $1.29 Billion
 AFI Term Loan,336 which arose on July 28, 2005,337 the transfer was on account of an
 antecedent debt. Thus, ResCap’s and RFC’s respective grants of liens to AFI in connection
 with the $1.29 Billion AFI Term Loan are prima facie avoidable under the Minnesota Insider
 Preference statute.

                            (ii) Good Faith Effort To Rehabilitate

       As set forth in Section VII.F.4.d(4), the Minnesota UFTA provides an affirmative
 defense to an Insider Preference action for those transferees who can prove that: (1) it engaged
 in a good faith effort to rehabilitate the debtor-transferee; (2) the transfer secured present value
 given; and (3) the transfer secured an antecedent debt.338 Because the second and third
 elements of the defenses are easily addressed, the Examiner will begin his analysis with those
 issues.




 335   MINN. STAT. § 513.41(12).
 336   See Secured Revolver Loan Agreement, § 2.01(c) [RC00024234].
 337   See JPMorgan 2005 Term Loan Facility [EXAM00345163].
 338   See MINN. STAT. § 513.48(f)(3).

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                                  (A) The Transfer Also Secured Present Value Given
      The Examiner concludes that the evidence supports proposition that the Secured
 Revolver Facility secured present value given. “A transfer is made for present value if the
 exchange between the debtor and the transferee is intended by them to be contemporaneous
 and is in fact substantially contemporaneous.”339 “Value” includes, among other things,
 money loaned.340 The Examiner concludes that the evidence supports the proposition that the
 parties to the Secured Revolver Facility intended that ResCap’s and RFC’s grants of liens and
 AFI’s advances of new money thereunder would occur contemporaneously.341 The Examiner
 further concludes that the evidence supports the proposition that AFI did in fact advance
 approximately $2.2 billion of new money under the Secured Revolver Facility
 contemporaneously with receiving liens on ResCap’s and RFC’s assets.342
                                  (B) The Transfer Secured An Antecedent Debt
      The Examiner also concludes that the evidence supports the proposition that the Secured
 Revolver Facility secured an antecedent debt of ResCap and RFC. Upon execution of the
 Secured Revolver Credit Agreement, the $1.29 Billion AFI Term Loan, which was then
 unsecured, was converted into a loan under the Secured Revolver Facility subject to the liens
 created by the Secured Revolver Credit Agreement and its ancillary documents.343 As a result,
 the $1.29 Billion AFI Term Loan became a secured obligation of RFC, as borrower, and
 ResCap, as guarantor. ResCap’s and RFC’s debts with respect to the $1.29 Billion AFI Term
 Loan were antecedent to this grant of security—which occurred on June 4, 2008—because
 they arose on July 28, 2005 when the parties entered into the 2005 Term Loan Facility.344
                                  (C) The Transfer Was Not A Good Faith Effort To Rehabilitate
                                      ResCap Or RFC
      In assessing whether AFI’s actions with respect to the Secured Revolver Facility were a
 good faith effort to rehabilitate the debtor, the Bankruptcy Court would undertake an objective
 inquiry and would consider, among other things: (1) the amount of antecedent debt secured;
 339   MINN. STAT. § 513.43(c).
 340   See Elliot & Callan, Inc. v. Crofton, 615 F. Supp. 2d 963, 973 (D. Minn. 2009) (“‘Value’ includes ‘property,’
       which would obviously include the money that Crofton loaned or advanced to SCC.”).
 341   See Secured Revolver Loan Agreement, § 2.01(c) [RC00024234]; First Priority Security Agreement
       [RC00038119].
 342   See Ally Revolver Use of Funds – June 2008 [EXAM00345926].
 343   See Secured Revolver Loan Agreement, § 2.01(c) [RC00024234]; First Priority Security Agreement
       [RC00038119].
 344   Although RFC was only a guarantor under the 2005 Term Loan Facility, a debt on a guarantee arises the
       moment such guarantee is executed. See First Res. Bank v. Rehbein, No. 12–206 (PAM/SER), 2013 WL
       618164, at *2 (D. Minn. Feb. 19, 2013) (“Under the very broad definition of claim in the MFTA, Patriot had
       a claim against Myrna the minute she signed the guaranty. Thus, it didn’t matter whether there was a notice
       of default or a cure period; the claim arose the day she signed each guaranty. It might have been a contingent,
       unmatured claim, but for purposes of the MFTA, contingent, unmatured claims are claims nonetheless. First
       Resource is entitled to summary judgment on this element of its MFTA claim.”).

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 (2) the amount of present value provided to the Debtors; and (3) the likelihood that the
 challenged transfer would result in the successful rehabilitation of the Debtors.345 After
 undertaking such an objective analysis, the Examiner concludes that evidence does not
 support the proposition that AFI engaged in a good faith effort to rehabilitate ResCap or RFC
 in connection with the 2008 Secured Revolver Facility. The Examiner concludes that the
 evidence does not support the proposition that, on or about June 4, 2008, there existed any
 reasonable possibility that the parties’ entry into the Secured Revolver Facility, and the liens
 granted by ResCap and RFC (among others) thereunder, would lead to the Debtors’
 rehabilitation.346 Instead, the Examiner concludes that the evidence supports the proposition
 that ResCap’s and RFC’s financial failure was all but inevitable following their entry into the
 Secured Revolver Facility.

      Many of the facts and conclusions set forth in Section VI of the Report support the
 conclusion that ResCap and RFC could not be rehabilitated as the Examiner believes that term
 to be used in Minnesota UFTA section 513.48(f)(3). Several of the more salient points that
 have led the Examiner to conclude that it is not likely that this affirmative defense would
 succeed include: (1) the purpose for which the Secured Revolver Facility was provided;
 (2) ResCap’s financial condition and capital needs on or about June 4, 2008; and (3) the
 markets’ perception of ResCap’s default risk.

      First, while the Secured Revolver Facility was nominally intended to provide ResCap and
 its subsidiaries with needed liquidity, it did not do so. Instead, as noted above, the vast
 majority of the availability under the Secured Revolver Facility was used to: (1) refinance the
 maturing obligations under the 2005 Term Loan Facility; and (2) fund ResCap’s June 6, 2008
 bond exchange.347 As a result, the Debtors retained only approximately $457 million of the
 $3.5 billion “to acquire other assets and for other working capital purposes.”348

      Even after the Secured Revolver Facility was consummated, ResCap and RFC continued
 to be dependent on AFI to support their liquidity and capital needs through a series of asset
 sales, secured loans and capital contributions, and AFI arranged certain asset sales to affiliates
 to support the near term liquidity needs of ResCap and RFC. These included: (1) the Servicing
 Advance Factoring Agreement in June 2008; (2) the Excess Servicing Rights sale in July
 2008; (3) the Resort Finance Sale in July 2008; (4) the September 2008 Model Home Sale;
 and (5) the November 2008 ResMor Sale.349 AFI also provided additional secured loans to
 ResCap and RFC subsequent to the Secured Revolver Facility, including the Initial Line of


 345   See UFTA § 8 cmt. 6.
 346   As discussed in Section VII.F.4.d(4), although a close question, the Examiner believes that a “good faith
       effort to rehabilitate” a debtor, as that phrase is used in MINN. STAT. § 513.48(f)(3), requires an objectively
       reasonable effort to return the debtor to state of solvency or good operation.
 347   See Section VI.C.4.d.
 348   See Ally Revolver Use of Funds – June 2008 [EXAM00345926].
 349   See Exhibit VI.C.4.f(4)(c).

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 Credit in November 2008,350 and agreed to amend and extend existing borrowing facilities
 between AFI and ResCap subsequent to the Secured Revolver Facility because ResCap was
 unable to meet the terms and maturities of such facilities, most notably, the Secured MSR
 Facility in October 2008.351 AFI also provided ResCap with capital contributions in September
 2008 and again in December 2008, totaling $1.1 billion, each time to prevent ResCap from
 violating its TNW covenants.352
      ResCap and RFC continued to experience chronic liquidity stress in 2008353 and
 ResCap’s access to the capital markets remained impaired.354 As discussed in Section
 VI.C.4.d, ResCap’s existing third party secured financing providers had been reducing
 ResCap’s borrowing availability since June 2008, and ResCap’s advisors reported to the
 ResCap Board in December 2008 that ResCap was unable to borrow against its unencumbered
 assets from new or existing third party lenders. These liquidity concerns forced ResCap to
 consider various strategic alternatives, including a potential bankruptcy filing in June
 2008, September 2008, and December 2008.355
      Second, the deterioration of conditions in the housing and related finance markets that
 caused many mortgage companies to file for bankruptcy in 2007 continued through 2008.356
 These adverse market conditions adversely affected ResCap’s and RFC’s financial
 performance during this time. ResCap incurred a net loss of $2.7 billion for the six months
 ended June 30, 2008,357 which grew to $5.6 billion for the year ended December 31, 2008.358
 As discussed in Section VI.C.4.f(2), ResCap continued to revise its cash flow forecasts
 downward as 2008 progressed. In its June 16, 2008 executive liquidity report, ResCap
 projected $1.5 billion in liquidity shortfalls for the subsequent twelve months.359 ResCap’s and
 RFC’s continuing losses left them unable to service their debts from their dramatically
 reduced operations and income producing assets, leaving them dependent on AFI for
 continued support to meet liquidity and capital needs.360
 350   See Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 98; see also, Section
       VI.C.4.c(4).
 351   See Residential Capital, LLC, Current Report (Form 8-K) (Oct. 23, 2008).
 352   See Section VI.C.4.f(4)(b); Exhibit VI.C.4.f(4)(b)—2.
 353   See Section VI.C.4.c(4).
 354   See Section VI.C.4.d.
 355   See Int. of T. Pohl, Feb. 26, 2013, at 35:20–36:6; see also Minutes of an Executive Session of the Board of
       Directors of Residential Capital, LLC, Sept. 23, 2008, at RC40006865 [RC40006865]; Skadden and Lazard
       Project Scout Presentation, dated Oct. 2008, at EXAM20020826 [EXAM20020824]; Project Scout
       Presentation, dated Oct. 10, 2008, at EXAM10490752 [EXAM10490750].
 356   See Section VI.C.4.a.
 357   Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2008), at 4.
 358   Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 119.
 359   See GMAC ResCap Executive Liquidity Report, dated Jun. 16, 2008, at Tab Mon_ResCap_Revised
       [EXAM10055935].
 360   See ResCap Bond Exchange Accounting Assessment, dated Jul. 1, 2008, at ALLY_0242724
       [ALLY_0242723].

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      Third, contrary to any suggestion that the market perceived the June refinancing as
 potentially rehabilitating ResCap, the market’s views of ResCap worsened subsequent to the
 consummation of the Secured Revolver Facility. The marketplace considered ResCap to be at
 risk of imminent default on its debts in June 2008 as shown by the market prices for ResCap’s
 unsecured bonds and CDS. In particular, ResCap’s 6.5% bond due April 2013 was trading at
 54 percent of par on May 2, 2008, just prior to the May 5, 2008 announcement of the
 contemplated Secured Revolver Facility and the June 6, 2008 bond exchange offer.361 By
 June 4, 2008, the bond price had fallen to 47.5 percent of par.362 By June 30, 2008, the bond
 price had fallen further to 39 percent of par.363 CDS spreads for such bonds were 4,431 basis
 points on May 2, 2008, temporarily improved to 3,445 basis points on June 4, 2008, and then
 widened to 4,304 basis points by June 30, 2008 and 5,563 basis points by July 31, 2008.364 It
 was reported in June 2008 that ResCap’s “[c]redit-default swap prices [gave] ResCap a 100
 percent chance of default within the next five years, based on a JPMorgan model.”365
 Additionally, ResCap’s new secured bonds issued pursuant to the June 9, 2008 bond exchange
 were rated Caa2 and Caa3.366 Moody’s commented on June 16, 2008, that “ResCap has not
 proven it has a business model that can produce the required operating cash flow to ultimately
 service these obligations.”367
      In sum, regardless of AFI’s motivations for entering into the Secured Revolver Facility,
 the evidence does not support the proposition that the refinancing was an objectively
 reasonable effort to rehabilitate the Debtors. Instead, the evidence supports the proposition
 that the 2008 Secured Revolver merely postponed the Debtors’ bankruptcy while elevating
 AFI’s exposure with respect to the $1.29 Billion AFI Term Loan from an unsecured claim to a
 secured claim. Accordingly, the Examiner concludes that it is unlikely that AFI would prevail
 on a “good faith effort to rehabilitate” defense to avoidance of ResCap’s and RFC’s grant of
 liens with respect to the $1.29 Billion AFI Term Loan.
                             (iii) Conclusion With Respect To $1.29 Billion AFI Term Loan
      The Examiner concludes that ResCap’s and RFC’s transfer of liens to AFI to secure the
 $1.29 Billion AFI Term Loan likely meets the prima facie test for avoidance as an Insider
 Preference under Minnesota law. The Examiner further concludes that it is unlikely that AFI
 would prevail on a “good faith effort to rehabilitate” defense to avoidance of ResCap’s and
 RFC’s lien transfers with respect to the $1.29 Billion AFI Term Loan. Accordingly, the
 Examiner concludes that, except to the extent that AFI’s liability may be offset by new value,
 361   Pricing per Interactive Data Corporation.
 362   Id.
 363   Id.
 364   Pricing per Advantage Data, Inc.
 365   Ari Levy & Caroline Salas, GMAC’s $60 Billion Deal Loses Traction as Cash Burns (Update1), BLOOMBERG,
       Jun. 24, 2008, http://www.bloomberg.com/apps/news?pid=newsarchive&refer=home&sid=aFREd.COhlF4.
 366   Caroline Salas, GMAC Debt Downgraded One Level by Moody’s on ResCap (Update1), BLOOMBERG, Jun.
       16, 2008, http://www.bloomberg.com/apps/news?pid=newsarchive&refer=bond253&sid=aTFVUWpf2WSE.
 367   Id.

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 AFI’s liens with respect to the $1.29 Billion AFI Term Loan (as subsequently converted to or
 repaid with regular borrowings under the Secured Revolver Facility) would likely be avoided.

                        (c) Application Of Minn. Stat. § 513.45(b) To Repayments Of Amounts
                            Advanced Under The Secured Revolver Facility

                            (i) Remaining Prima Facie Elements

      The Examiner concludes that payments made by ResCap or RFC to AFI on account of
 amounts outstanding under the Secured Revolver Facility are unlikely to meet the remaining
 prima facie elements of an Insider Preference. First, the evidence supports the proposition that
 all repayments were made for antecedent debts—namely RFC’s primary obligation and
 ResCap’s guarantee obligation under the Secured Revolver Facility. ResCap’s and RFC’s
 obligations under the Secured Revolver Facility were incurred either in July 2005 (with
 respect to amounts owed under the $1.29 Billion AFI Term Loan portion of the Secured
 Revolver Facility)368 or on June 4, 2008 (with respect to amounts owed under the remainder of
 the Secured Revolver Facility).369 As shown on Exhibit VII.F.4.g(1)(a)(v) above, all payments
 made by ResCap and RFC with respect to amounts owed under the Secured Revolver Facility
 were made after those dates. Accordingly, the Examiner concludes that the evidence supports
 the proposition that such payments were made on account of antecedent debts.

      However, based on discussions with the Debtors’ accounting professionals, the Examiner
 concludes that the evidence supports the proposition that some or all of the funds used to
 repay the 2008 Secured Revolver were encumbered by valid liens.370 As a result, to the extent
 of any such liens, such repayments were not “transfers” of “assets” susceptible to avoidance
 under the Minnesota UFTA.371 Although the Debtors were unable to provide the Examiner
 with detailed accounting records showing that each payment of amounts owed under the
 Secured Revolver Facility was made from either cash collateral or traceable proceeds of
 collateral, the sample flow-of-funds entries provided by the Debtors were consistent with that
 conclusion.372 The terms of the Secured Revolver Credit Agreement likewise indicate that the
 Secured Revolver Facility was intended to be repaid from the net proceeds of collateral
 dispositions.373 Because a forensic examination of the Debtors’ accounting records is beyond
 the scope of the Investigation, the Examiner has not undertaken such an analysis to determine
 conclusively whether all amounts paid under the Secured Revolver Facility were cash
 collateral or the traceable proceeds of collateral sales. Nevertheless, the Examiner concludes
 that the evidence supports the proposition that some or all of the funds used to repay the

 368   See JPMorgan 2005 Term Loan Facility [EXAM00345163].
 369   See Secured Revolver Loan Agreement [RC00024234].
 370   Based on oral discussions with Barbara Westman (ResCap’s Senior Director of Accounting Operations).
 371   See MINN. STAT. ANN. § 513.41(2), (12).
 372   See AFI Revolver Flow of Funds Example [EXAM00345253].
 373   See Secured Revolver Loan Agreement, § 2.08(c) [RC00024234]

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 Secured Revolver Facility were encumbered by valid liens and that such repayments, to the
 extent of any such liens, were therefore not “transfers” of “assets” susceptible to avoidance
 under the Minnesota UFTA.374

                             (ii) Conclusion With Respect To Payments of Amounts Owed Under The
                                  Secured Revolver Facility

      The Examiner concludes that payments on account of the Secured Revolver Facility are
 unlikely to meet the prima facie test for avoidance as Insider Preferences to the extent that
 such payments were made from cash collateral or the traceable proceeds of collateral sales.375

                    (2) Line Of Credit Facilities

     While the facts of this transaction are fully set forth in Section V.E and Appendices
 V.E.5, V.E.7, and V.E.8, a brief summary is helpful to this analysis.

                        (a) Background

       On November 20, 2008, certain of ResCap’s subsidiaries, as borrowers, RFC and GMAC
 Mortgage, among others, as guarantors, and AFI, as lender, entered into the $430 million
 Initial Line of Credit Facility.376 To obtain additional liquidity for ResCap, on June 1, 2009,
 the parties entered into the $370 million Second Line of Credit Facility.377 These lines of
 credit served as parallel liquidity sources for the Debtors, and were only available when
 ResCap’s liquidity fell below designated threshold levels.378

       On December 30, 2009, RFC and GMAC Mortgage and certain of the other Debtors, as
 borrowers, ResCap, as a guarantor, and AFI, as agent and lender, entered into the secured
 A&R Line of Credit Facility, with an initial amount of $1.1 billion. The A&R Line of Credit
 Facility amended, restated, and consolidated under one agreement the terms and provisions of
 the Initial Line of Credit Agreement and the Second Line of Credit Agreement.379 As of the
 Petition Date, there was approximately $380 million outstanding under the A&R Line of
 Credit Facility.



 374   See MINN. STAT. ANN. § 513.41(2), (12).
 375   As explained above, to the extent that the cash used to make such payments was encumbered by a valid lien,
       such payments were not “transfers” of “assets” susceptible to avoidance under the Minnesota UFTA. See id..
 376   See Initial Line of Credit Agreement [ALLY_0023145].
 377   See Second Line of Credit Agreement [ALLY_0023953]. On June 12, 2009, availability under the Second
       Line of Credit Facility was increased from $370 million to $470 million. See Amendment No. 1 to the
       Second Line of Credit Agreement, dated June 12, 2009, §2.2(a) [ALLY_0026615].
 378   See Initial Line of Credit Agreement, § 2.03 [ALLY_0023145]; Second Line of Credit Agreement, § 2.03
       [ALLY_0023953].
 379   See A&R Line of Credit Agreement [ALLY_0240633].

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                  (b) Payments Pursuant To The A&R Line Of Credit Facility

     The following is a summary of payment and reborrowing activity under the A&R Line of
 Credit Facility:




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                        (c) Application

                             (i) Remaining Prima Facie Elements

       The Examiner concludes that payments made by ResCap or RFC to AFI on account of
 amounts outstanding under the A&R Line of Credit Facility likely meet the remaining prima
 facie elements of an Insider Preference.380 First, the evidence supports the proposition that all
 repayments were made for antecedent debts—namely RFC’s primary obligation and ResCap’s
 guarantee obligation under the A&R Line of Credit Facility. As shown on Exhibit
 VII.F.4.g(2)(b) above, the A&R Line of Credit Facility (and its predecessor facilities) was
 used as a typical revolving credit facility, with the borrowers first drawing money under the
 facility (thereby incurring a debt) and later repaying the money drawn, plus interest thereon
 (thereby satisfying that preexisting debt). Accordingly, the Examiner concludes that evidence
 supports the proposition that payments for amounts outstanding under the A&R Line of Credit
 Facility (and its predecessor facilities) were made on account of antecedent debts.

      Second, the Examiner concludes that the evidence supports the proposition that payments
 for amounts outstanding under the A&R Line of Credit Facility were “transfers” of “assets”
 within the meaning of the Minnesota UFTA. Based on discussions with the Debtors’
 accounting professionals, the Examiner understands that the cash used to pay amounts owed
 under the A&R Line of Credit Facility was not cash collateral or the traceable proceeds of
 collateral.381 Accordingly, and based on the information provided by the Debtors, the
 Examiner concludes that payments made by ResCap or RFC on account of the A&R Secured
 Line of Credit Facility (as well as its predecessor facilities, the Initial Line of Credit Facility
 and the Second Line of Credit Facility) meet the prima facie test for avoidance as Insider
 Preferences.

                        (d) Conclusion

       The Examiner concludes that the payments made by ResCap or RFC to AFI in respect of
 amounts outstanding under the A&R Line of Credit Facility likely meet the prima facie test
 for avoidance under the Minnesota Insider Preference statute. The Examiner further concludes
 that, except to the extent such amounts are protected by the new value defense, as set forth in
 Section VII.F.4.h, they are likely to be avoidable as Insider Preferences and recoverable under
 section 550 of the Bankruptcy Code.

       The Examiner notes that, because the A&R Line of Credit Facility and its predecessor
 facilities continuously revolved on a secured basis, literal application of the statute—which
 would seemingly call for avoidance of every payment made by ResCap or RFC while not
 acknowledging amounts reborrowed as new value—would lead to an absurd result in which
 380   As with payments made for amounts owed under the Secured Revolver Facility, payments on account of
       amounts owed under the A&R Line of Credit Facility (or its predecessor facilities) would not implicate the
       Minnesota Insider Preference statute to the extent that they were made by GMAC Mortgage. See Section
       VII.F.2.a.
 381   Based on oral discussions with Barbara Westman (ResCap’s Senior Director of Accounting Operations).

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 AFI’s Insider Preference liability with respect to the A&R Line of Credit Facility would vastly
 exceed the maximum amount available to be borrowed at any time under the facility.
 Although there is no case law or other authority on point, the Examiner concludes, after
 consultation with the Examiner’s Counsel and his Minnesota counsel, that such a result would
 not likely be upheld by the courts of Minnesota or any other court.

      The Examiner concludes that any court would instead likely resolve this issue in a way
 that comports with the premise of the statute, which is that an insolvent debtor should be
 obliged to pay debts to unrelated creditors before paying those who are insiders.382 With this
 purpose in mind, AFI’s Insider Preference liability for transfers that occurred prior to
 December 30, 2009 is likely to be completely offset by contributions of new value. The
 highest balance drawn on the A&R Line of Credit Facility after that date was approximately
 $1.03 billion, which occurred on February 23, 2011.383 Deducting from that amount the
 balance that remained unpaid on the Petition Date—approximately $380 million—would yield
 a total Insider Preference liability on the A&R Line of Credit Facility of $650 million (which
 could be further reduced by new value contributed by AFI after December 30, 2009).
 However, the Examiner notes that the particular manner in which a court would treat debt
 forgiveness for calculating Insider Preference liability in the context of a continuously
 revolving secured line of credit is uncertain. The Examiner stresses that a court could
 reasonably calculate AFI’s Insider Preference liability with respect to payments made on
 account of the A&R Line of Credit Facility in a variety of ways that would yield different
 results than those presented in this Report and its accompanying Exhibits.

                    (3) Secured MSR Facility

     While the facts of this transaction are fully set forth in Section V.E.2 and Appendix
 V.E.2, a brief summary is helpful to this analysis.

                        (a) Background

      On April 18, 2008, RFC and GMAC Mortgage entered into the Secured MSR Facility,
 whereby AFI agreed to provide a revolving loan in the initial amount of the lesser of $750
 million (which was later increased to $1.2 billion on June 2, 2008)384 or the then existing
 borrowing base.385 The Secured MSR Facility Collateral served as the borrowing base and
 included: (1) certain MSRs and the related Servicing Contracts; (2) certain pledged Fannie
 Mae, Freddie Mac and Ginnie Mae securities; and (3) certain pledged U.S. treasury
 securities.386 AFI forgave indebtedness under the Secured MSR Facility in an aggregate

 382   See UFTA Prefatory Note at 4.
 383   See Ally Financing Inc. Summary of Intercompany Balances with ResCap, dated May 28, 2012, at
       ALLY_0182812 [ALLY_0182793].
 384   Amendment No. 3 to the Secured MSR Facility, dated June 2, 2008 [RC00037692].
 385   Secured MSR Loan Agreement [RC00024114]; see Appendix V.E.2.b.
 386   Secured MSR Loan Agreement, Art. IV [RC00024114].

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 amount of over $1.1 billion from inception until the facility was terminated on December
 2009,387 when all remaining outstanding indebtedness thereunder (including accrued and
 unpaid interest) was forgiven.388

                        (b) Summary Of Payments Pursuant To The Secured MSR Facility

      RFC’s accounting records show that between April 2008 and December 2009, it paid
 approximately $213 million in principal and $26 million in interest under the Secured MSR
 Facility to AFI, for a total of $239 million.389 These payments are shown on Exhibit
 VII.F.4.g(3)(b) below.390




 387   See Exhibit V.E.2 (showing debt forgiveness amounts).
 388   Letter from GMAC Inc. Re: Forgiveness of Certain Indebtedness and Termination of MSR Facility (Dec. 30,
       2009), at 1–3 [ALLY_0353025].
 389   See AFI Intercompany Loan to ResCap – MSR 2008/09 Spreadsheet [ALLY_0401819]; ResCap Credit
       Facility Journal Entry Spreadsheet, at Tabs Ally MSR-2010000001, Ally MSR-23000005
       [EXAM00338635]; ResCap Interest Journal Entry Spreadsheet, at Tab Ally MSR-20202000
       [EXAM00338636]; Residential Funding Company, LLC, Consolidated Financial Statements for the Years
       Ended December 31, 2008 and 2007, dated Mar. 25, 2009, at 78 [EXAM00124988]; Residential Funding
       Company, LLC, Consolidated Financial Statements for the Years Ended December 31, 2009 and 2008, dated
       Mar. 19, 2010, at 78 [EXAM00124670]. As discussed in Section VII.F.4.g.(2) addressing the A&R Line of
       Credit Facility, because the Secured MSR Facility continuously revolved on a secured basis, literal
       application of the statute—which would seemingly call for avoidance of every payment made by RFC while
       not acknowledging amounts reborrowed as new value—would lead to an absurd result that would not likely
       be enforced by the courts of Minnesota or the Bankruptcy Court. Because all payments on the Secured MSR
       Facility were made before December 2009, any liability of AFI under the Minnesota Insider Preference
       statute is likely to be offset in any event by new value.
 390   See ResCap Credit Facility Journal Entry Spreadsheet, at Tabs Ally MSR-2010000001, Ally MSR-23000005
       [EXAM00338635]. As noted in Exhibit VII.F.4.g(3)(b), based on journal entries provided by ResCap, the
       Examiner’s Financial Advisors have identified the possibility that RFC did not make payments directly to
       AFI, but instead made them to GMAC Mortgage, which then passed them to AFI. If GMAC Mortgage did
       serve as an intermediary between RFC and AFI for such payments, GMAC Mortgage may—depending on
       the facts—be considered a mere conduit, as discussed further below in Section VII.F.8.a.(1). This would be
       the case if GMAC Mortgage did not exert dominion and control over the funds, with the right to use the
       funds for its own purposes. See Christy v. Alexander & Alexander of N.Y. Inc. (In re Finley, Kumble,
       Wagner, Heine, Underberg, Manley, Myerson & Casey), 130 F.3d 52, 57 (2d Cir. 1997) (citation omitted).
       The Examiner does not have facts sufficient to make a determination of this issue. Given that RFC was
       making payments to repay amounts loaned by AFI, it seems likely that GMAC Mortgage did not have
       dominion and control over such funds. For the purposes of the Report, the Examiner assumes that AFI is the
       initial transferee under Bankruptcy Code section 550(a)(1), and that any payments which satisfy the
       requirements of the Minnesota Insider Preference statute would be recoverable as against AFI.

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                        (c) Application

      The Examiner concludes that RFC’s repayments on the Secured MSR Facility likely fall
within the prima facie case for avoidance under the Minnesota Insider Preference statute.
Payments made to AFI in respect of amounts outstanding under the Secured MSR Facility were
transfers made for an antecedent debt—namely amounts drawn under the Secured MSR Facility.
The Investigation has not uncovered any evidence indicating that cash transferred to AFI in
satisfaction of amounts outstanding under the Secured MSR Facility was encumbered by valid
liens securing the obligations under the Secured MSR Facility.391 Accordingly, the Examiner
concludes that it is likely that payments made by RFC to AFI in respect of amounts outstanding
under the Secured MSR Facility between April 2008 and December 2009 meet the prima facie
test for avoidance under the Minnesota Insider Preference statute.


391   To the extent these payments were made from the traceable proceeds of collateral, such as the Servicing
      Contracts or pledged securities, in which AFI held a validly perfected and unavoidable lien, the payments would
      not be considered a “transfer” of an “asset,” and would not be avoidable. See MINN. STAT. ANN. § 513.41(2),
      (12).

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                         (d) Conclusion

      The Examiner concludes that it is likely that the payments of approximately $239 million
 made by RFC to AFI in respect of amounts outstanding under the Secured MSR Facility
 between April 2008 and December 2009 meet the prima facie test for avoidance under the
 Minnesota Insider Preference statute. However, as set forth in Section VII.F.4.h, the Examiner
 concludes that AFI’s Insider Preference liability with respect to such payments would likely
 be offset by AFI’s subsequent contributions of new value.

                     (4) Servicing Advance Factoring Facility

     While the facts of this transaction are fully set forth in Section V.E.4 and Appendix
 V.E.4, a brief summary is helpful to this analysis.

                         (a) Background

      On June 17, 2008, RFC and GMAC Mortgage,392 as sellers, and GMAC CF, as
 purchaser, entered into the Servicing Advance Factoring Facility. Unlike other credit facilities
 entered into with AFI, AFI required that the Servicing Advance Factoring Facility (which was
 entered into with GMAC CF) be structured as a “true sale” of receivables and not as a
 financing.393 GMAC CF committed to purchase receivables arising from Servicing Advances
 made by the Servicing Advance Factoring Sellers under certain designated Servicing
 Contracts, subject to a $600 million cap. Servicing Advances consisted of (1) P&I Advances
 (Servicing Advances relating to delinquent interest and/or principal); (2) T&I Advances
 (Servicing Advances relating to real estate taxes and/or hazard, flood or primary mortgage
 insurance premiums); and (3) Corporate Advances (Servicing Advances relating to
 preservation of properties, expenses for foreclosure actions and other expenses to maximize
 collateral value).394

                         (b) Summary Of Payments Pursuant To The Servicing Advance Factoring
                             Facility

      On at least three occasions, RFC and GMAC Mortgage transferred additional property to
 GMAC CF under the Servicing Advance Factoring Facility. First, according to AFI, the initial
 sale of receivables pursuant to the Servicing Advance Factoring Facility “included
 approximately $3.7 million worth of receivables that were . . . ineligible under the
 392   GMAC Mortgage’s transfers are unlikely to be subject to avoidance because, as discussed in section VII.F.2,
       the Examiner has concluded that Pennsylvania law would likely govern fraudulent transfer issues relating to
       GMAC Mortgage. Pennsylvania law, unlike Minnesota does not recognize an Insider Preference cause of
       action. With respect to the transfers described in this Section, it is unclear which entity actually made the
       transfers. For the purposes of this analysis, it is assumed that RFC made the transfers.
 393   Minutes of Meeting of the Board of Directors of Residential Capital, LLC, June 1, 2008, at RC40005752
       [RC40005652] (De Molina stated that AFI could commit to the “GMAC Factoring Facility so long as it
       could be structured as a ‘true sale’ rather than as a financing.”); see also Int. of B. Hall, Dec. 13, 2012, at
       130:8–131:17.
 394   Servicing Advance Factoring Agreement [ALLY_0041874]; see Appendix V.E.4.b.

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 Agreement.”395 By a letter dated June 20, 2008, GMAC CF agreed to reassign the ineligible
 receivables to RFC and GMAC Mortgage, as applicable, “as a one time accommodation” in
 exchange for an assignment of replacement securities of approximately the same value.396

      Second, by letter dated October 1, 2008, RFC informed GMAC CF that it, as well as
 GMAC Mortgage, had breached the terms Servicing Advance Factoring Facility by selling to
 GMAC CF ineligible receivables with an aggregate value of approximately $27 million.
 GMAC CF thereafter reassigned the ineligible receivables to RFC and GMAC Mortgage in
 exchange for a cash payment equal to the unpaid principal amount of the ineligible
 receivables.397 As noted in Section V.E.4, the Factoring Facility contained provisions
 commonly found in factoring transactions whereby the sellers had an obligation to repurchase
 receivables upon a breach of a representation pertaining to such purchased receivable.

       Third, by letter dated October 22, 2008, RFC and GMAC Mortgage informed GMAC CF
 that they had breached the terms of the Servicing Advance Factoring Facility by inadvertently
 selling to GMAC CF receivables that were not principal and interest receivables, and were
 thus ineligible receivables under the agreement. As a result of this breach of the Servicing
 Advance Factoring Facility, RFC and GMAC Mortgage thereafter paid GMAC CF $1.5
 million.398

      In total, RFC and GMAC Mortgage transferred cash and securities worth approximately
 $32 million to GMAC CF on account of obligations under the Servicing Advance Factoring
 Facility in the three transactions described above.399

                        (c) Application

      It is likely that the transfers made by RFC on account of its obligations under the
 Servicing Advance Factoring Facility meet the prima facie test for avoidance under the
 Minnesota Insider Preference statute. The transfers documented in RFC’s letters dated
 June 20, 2008, October 1, 2008 and October 22, 2008, were made for antecedent debts
 stemming from breaches of the Servicing Advance Factoring Facility.

      As noted above, jurisdictions applying the UFTA have concluded that a transfer is not
 made for an antecedent debt if the debt in question was incurred relatively contemporaneously
 with the transfer at issue. Here, certain receivables included in the sale to GMAC CF were
 identified as ineligible for purchase under the Servicing Advance Factoring Facility.
 Accordingly, within a short period of time these ineligible receivables were exchanged for
 cash or securities. While these transfers were made on short notice, it is likely that they would
 395   AFI Response to Examiner’s Information Request, dated Apr. 18, 2013, at 1.
 396   Id.
 397   See id.
 398   See id.
 399   See id.

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 still be considered to be made for an antecedent debt. Additionally, the property transferred
 was not subject to any liens, and would likely satisfy the definition of “assets.”400
 Accordingly, the Examiner concludes that it is likely that these transfers satisfy the prima
 facie elements of the Minnesota Insider Preference statute.

                          (d) Affirmative Defenses—New Value

      Two of the transfers described above were followed by the return of the ineligible
 receivables previously sold to GMAC CF.401 GMAC CF would have a new value defense to
 the avoidance of the transfers to the extent GMAC CF could establish that these ineligible
 receivables provided value. Although the Examiner’s Financial Advisors have attempted to
 determine the value of these receivables, they were unable to obtain sufficient information to
 do so. To the extent that GMAC CF (which would have the burden of proof on the affirmative
 defense of new value) could establish the value of the returned receivables, it would likely
 have the benefit of a new value defense.

                          (e) Conclusion

      The Examiner concludes that it is likely that the transfers made pursuant to the Servicing
 Advance Factoring Facility satisfy the prima facie elements for avoidance under the
 Minnesota Insider Preference statute. However, to the extent that GMAC CF could satisfy its
 burden of establishing the value of the ineligible receivables returned in connection with the
 June 20, 2008 and October 1, 2008 transfers, GMAC CF would have likely have a new value
 defense relating to those transfers. No such defense is available with respect to the October 22,
 2008 transfer of approximately $1.5 million, as this transfer was not followed by a return of
 receivables. Additionally, the new value discussed in Section VII.F.4.h is inapplicable, as
 GMAC CF would not have the benefit of a new value defense for new value contributed by
 AFI.

                     (5) Resort Finance Facility

     While the facts of this transaction are fully set forth in Section V.E.1 and Appendix
 V.E.1, a brief summary is helpful to this analysis.
 400   On June 17, 2008, concurrently with the execution of the Servicing Advance Factoring Agreement, AFI, as
       Lender Agent under the Secured Revolver Loan Agreement and First Priority Collateral Agent, entered into a
       release agreement with respect to the subject Servicing Advances with GMAC CF and the Servicing
       Advance Factoring Sellers, which provided that upon the purchase by GMAC CF of any Servicing Advances,
       AFI and the First Priority Collateral Agent agreed to an automatic release of all liens and security interests on
       the purchased Servicing Advances, which served as collateral securing the Secured Revolver Facility, the
       Senior Secured Notes and the Junior Secured Notes. Release Agreement with respect to the Servicer Advance
       receivables, dated June 17, 2008 [ALLY_0118954].
 401   The transfer related to the October 22, 2008 transfer does not appear to include a return of ineligible
       receivables by GMAC CF. See AFI Response to Examiner’s Information Request, dated Apr. 18, 2013.
       Instead, it is described as a purchase price adjustment. Id.

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                         (a) Background

      On February 21, 2008, RFC entered into the $750 million Resort Finance Facility with
 AFI. That facility was intended to serve as bridge financing while ResCap searched for a third
 party to purchase its resort finance business.402 The facility was secured and provided that
 repayment was to be made solely from collections on collateral, which consisted of certain
 loans made by RFC to developers in connection with resort financing transactions.403 These
 loans included certain: (1) eligible developer loans; (2) construction loans; and (3) loans
 extended to finance the sale of time shares.404 Upon the consummation of the Resort Finance
 Sale, the obligations of RFC under the Resort Finance Facility were transferred to, and
 assumed by, GMAC CF.405 The facility was thereafter repaid in full.406

                         (b) Summary Of Payments Pursuant To The Resort Finance Facility

    The only payment made by RFC to AFI under the Resort Finance Facility evidenced by
 RFC’s accounting records is an interest payment of $17.8 million made in 2008.407

                         (c) Application

      Further factual development is necessary to determine whether the interest payment made
 with respect to the Resort Finance Facility satisfies the prima facie elements for avoidance
 under the Minnesota Insider Preference statute. The questions that need to be resolved for the
 prima facie case to be established are whether RFC made a “transfer” of an “asset” and
 whether such transfer was made for an antecedent debt.

      For purposes of the Minnesota UFTA, conveyances of RFC’s property were not
 “transfers” of “assets” to the extent the transferred property was encumbered by a validly



 402   E-mail from S. Khattri (Feb. 12, 2008) [EXAM11309438].
 403   Resort Finance Agreement, § 2.7(f) [ALLY_0116311] (providing that all payments were to be made only
       from collateral proceeds, and only to the extent sufficient payment from such proceeds was received).
 404   Id., § 1.1 (definition of “Borrowing Base”).
 405   Asset Purchase Agreement between Residential Funding Company, LLC, GMAC Residential Funding of
       Canada Limited, and GMAC Commercial Finance LLC, dated July 2, 2008, § 2.2 [RC00024026].
 406   Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 11, 2009), at 56 (“On February 21, 2008, RFC
       entered into [the Resort Finance Facility] with GMAC, as a lender and as agent, to provide RFC with a
       revolving credit facility with a principal amount of up to $750.0 million. As part of the sale of the Resort
       Finance business to [GMAC CF] in the third quarter of 2008, the Resort Finance Facility was paid in full.”).
 407   Although ResCap did not provide monthly interest payment information, ResCap did confirm that payments
       were made on account of interest expense. As such, interest expense reported for 2008 was assumed to be
       equivalent to interest payments for that year. See Residential Funding Company, LLC, Consolidated
       Financial Statements for the Years Ended December 31, 2008 and 2007, dated Mar. 25, 2009, at 78
       [EXAM00124988].

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 perfected and unavoidable lien.408 Under a stand-alone pledge agreement,409 RFC pledged and
 granted to AFI a security interest in: (1) all its membership or other ownership interests in
 RFC Resort Funding, LLC; (2) certain scheduled loans; and (3) all collections relating to the
 collateral. AFI filed a UCC financing statement to perfect these interests.410 It is unclear,
 however, whether AFI maintained a validly perfected and unavoidable lien with respect to the
 collections.411

      The collections (in which AFI allegedly had a perfected security interest) were to be used
 to repay the Resort Finance Facility.412 If the collections were subject to a perfected security
 interest in favor of AFI, they would not constitute an “asset” for the purposes of the Minnesota
 UFTA. However, if AFI’s security interest in such collections was extinguished because the
 collections were commingled with RFC’s other cash, the interest payments made by RFC
 would likely satisfy the prima facie elements of the Minnesota Insider Preference Statute. The
 payment would be considered a transfer, made for an antecedent debt—namely draws under
 the Resort Finance Facility.

                         (d) Conclusion

      The Examiner is unable to reach a definitive conclusion with respect to application of the
 Minnesota Insider Preference statute to the payment made by RFC to AFI under the Resort
 Finance Facility based on the facts currently available. If it could be shown that AFI’s security
 interest in the collateral under the Resort Finance Facility was extinguished because the
 collections were commingled, it is likely that the prima facie elements of the Minnesota
 Insider Preference statute would be satisfied. However, as set forth in Section VII.F.4.h, the
 Examiner concludes that AFI’s Insider Preference liability with respect to such payments
 would likely be offset by AFI’s subsequent contributions of new value.



 408   See MINN. STAT. ANN. § 513.41(2), (12).
 409   Pledge Agreement among Residential Funding Company, LLC and GMAC LLC, dated Feb. 21, 2008
       [RC00036826].
 410   See UCC Financing Statement, dated Feb. 21, 2008, at ALLY_0116514 [ALLY_0116512].
 411   The Resort Finance Facility did not require establishment of deposit accounts to hold proceeds from the
       collections and under the terms of the Resort Finance Facility control agreements were not required with
       respect to existing deposit accounts of RFC. See Resort Finance Agreement [ALLY_0116311]. To the extent
       that RFC accepted payments with respect to the scheduled loans serving as collateral and placed those funds
       into an account where they were commingled with other funds, AFI’s perfected security interest in the
       collections may have been extinguished. See DEL. CODE ANN. tit. 6, § 9-315(a)(2), (b)(2) (security interests
       attach to proceeds of collateral, except to the extent that such proceeds are commingled and not identifiable
       by a method of tracing). The Examiner’s Financial Advisors have attempted to ascertain the mechanics of
       payments under the Resort Finance Facility, but have not been able to obtain adequate information to
       determine this issue.
 412   Resort Finance Agreement, § 2.7(f) [ALLY_0116311] (providing that all payments were to be made only
       from collateral proceeds, and only to the extent sufficient payment from such proceeds was received).

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                    (6) 2008 Bank Transaction413
      Before considering whether the 2008 Bank Transaction may be avoided pursuant to the
 Minnesota Insider Preference statute, this Section provides a brief summary of that
 transaction, which is described in more detail in Section V.A.1.b.
                         (a) Background
     Following the 2006 Bank Restructuring, ResCap’s mortgage banking operations and
 AFI’s automotive banking operations both resided within Ally Bank, which was directly held
 by IB Finance. IB Finance, in turn, was held jointly by ResCap LLC and AFI, with ResCap
 LLC holding two million non-voting IB Finance Class M Shares, and AFI holding two million
 IB Finance Class A shares. The IB Finance interests held by ResCap LLC and AFI entitled
 them to the economic rights in Ally Bank’s mortgage and automotive divisions, respectively.
      In March 2008, to address an imminent breach of ResCap’s TNW covenants, the ResCap
 Board approved the 2008 Bank Transaction. Pursuant thereto, AFI contributed to ResCap
 approximately $1.5 billion in ResCap bonds that AFI had purchased on the open market
 during the first quarter of 2008. In return, ResCap transferred to AFI ResCap Preferred
 Interests that were convertible, at AFI’s option, into IB Finance Preferred Interests at any time
 on or after January 1, 2009, as long as neither ResCap nor any of its significant subsidiaries
 was the subject of a bankruptcy proceeding on or before that date. If exercised, AFI’s
 conversion of the ResCap Preferred Interests into IB Finance Preferred Interests would reduce
 ResCap’s IB Finance Class M Shares on a unit-for-unit basis.
       The transaction was approved by the ResCap Board on March 28, 2008, and then
 modified on March 31, 2008 to permit it to occur in two separate tranches. The first tranche
 was exchanged on March 31, 2008, when AFI contributed to ResCap bonds with a face
 amount of approximately $1.2 billion and a reported FMV at the time of approximately
 $607.192 million. In return, ResCap provided AFI with 607,192 ResCap Preferred Interests.
 The second tranche was exchanged on June 3, 2008, when AFI contributed to ResCap bonds
 with a face amount of approximately $249 million and a reported FMV of $199.152 million.
 In return, ResCap provided AFI with an additional 199,152 ResCap Preferred Interests.
       In Section V.A.2.c(1), the Examiner concludes that the ResCap Preferred Interests had
 little to no value, given the Examiner’s conclusion that ResCap was insolvent, inadequately
 capitalized, and could not have reasonably believed it was able to pay its debts as they became
 due, both immediately before and after the 2008 Bank Transaction.414 Accordingly, the
 Examiner’s Professionals conclude that the true value transferred from ResCap in the 2008
 Bank Transaction was the right of AFI to convert the ResCap Preferred Interests into IB
 413   As explained more fully in Section V.A.1, the Ally Bank Transactions consist of three separate transactions:
       (1) the 2006 Bank Restructuring; (2) the 2008 Bank Transaction; and (3) the 2009 Bank Transaction.
       Because the Examiner has concluded that the evidence does not support the proposition that ResCap was
       insolvent at the time of the 2006 Bank Restructuring, only the 2008 Bank Transaction and the 2009 Bank
       Transaction are subject to possible claims under the Minnesota Insider Preference statute.
 414   See Section V.A.2.c(1).

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 Finance Preferred Interests.415 The Examiner’s Financial Advisors estimate that the value of the
 right to convert the ResCap Preferred Interests was approximately $403—504 million for the
 March tranche and approximately $168–210 million for the June tranche, for a combined total
 value of $571–714 million.416 The Examiner’s Financial Advisors determined that the bonds
 contributed by AFI to ResCap in March had a value of $595.1 million and the bonds contributed
 in June had a value of $246.3 million, for a total aggregate value of $841.4 million.417
                         (b) Application
      The Examiner concludes that the 2008 Bank Transaction likely satisfies the remaining
 prima facie elements for avoidance under the Minnesota Insider Preference statute. First, the
 Examiner concludes that the evidence supports the proposition that the ResCap Preferred
 Interests (and the conversion rights related thereto) conveyed to AFI as part of the 2008 Bank
 Transaction were “assets” of ResCap within the meaning of the Minnesota UFTA. The
 Investigation has not uncovered any evidence that such interests were encumbered by any
 validly perfected and unavoidable liens. Second, the Examiner concludes that the evidence
 supports the proposition that the transfers were made “for an antecedent debt” because the
 ResCap Preferred Interests were exchanged for ResCap’s then-existing unsecured debt, which
 AFI had purchased on the open market.418
                         (c) Conclusion
      The Examiner concludes that it is likely that the 2008 Bank Transaction satisfies the
 prima facie elements for avoidance under the Minnesota Insider Preference statute. However,
 the Examiner also concludes, for the reasons discussed in Section VII.F.4.h, that it is likely
 that a court would find that AFI’s potential Insider Preference liability for the 2008 Bank
 Transaction should be offset (in part or in full) by new value that AFI provided to ResCap.
                    (7) 2009 Bank Transaction
      Before considering whether the 2009 Bank Transaction may be avoided pursuant to the
 Minnesota Insider Preference statute, this Section provides a brief summary of that
 transaction, which is described in more detail in Section V.A.1.c.
                         (a) Background
       In the fall of 2008, ResCap continued to experience ongoing liquidity and TNW
 difficulties. The ResCap and AFI Boards considered several initiatives throughout the end of
 415   See Section V.A.2.c(2).
 416   See Section V.A.2.c(2).
 417   In connection with the 2008 Bank Transaction, ResCap also received a right to redeem the ResCap Preferred
       Interests and/or the IB Finance Interests at par, thereby regaining its full economic interest in Ally Bank.
       However, as explained in Section V.A.2.c(5)(a), the Examiner’s Financial Advisors did not attribute value to
       this right because of its speculative nature and ResCap’s likely inability to obtain the funds needed to make
       the redemption.
 418   See Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
       Capital, LLC, Mar. 24, 2008, at MELZER.008985 [MELZER.008984].

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 2008 to ease these problems, and ResCap eventually resolved to sell its remaining interest in
 IB Finance to AFI. At the time of the transaction, ResCap LLC’s remaining IB Finance Class
 M Shares appear to have been subject to the liens of AFI and the Senior and Junior Secured
 Notes.419

      On January 30, 2009, AFI exercised its option to convert the ResCap Preferred Interests
 it had acquired in the 2008 Bank Transaction into an equal number of IB Finance Preferred
 Interests. This conversion reduced ResCap’s two million IB Finance Class M Shares by
 806,344 (leaving 1,193,656). Contemporaneously with the conversion, AFI purchased
 ResCap’s remaining IB Finance Class M Shares. As consideration for the purchase, AFI
 contributed to ResCap Senior Secured Notes with a face amount of approximately $830.5
 million and a then-reported FMV of approximately $608.5 million.420 In connection with the
 closing of the 2009 Bank Transaction, the IB Finance Class M Shares were released from the
 liens of AFI and the Senior and Junior Secured Notes.421

      The Examiner’s Financial Advisors estimate that the value transferred from ResCap in
 the 2009 Bank Transaction (ResCap’s remaining IB Finance Class M Shares) was
 approximately $107–218 million.422 The Examiner’s Financial Advisors estimate that the
 value of the bonds received by ResCap in the 2009 Bank Transaction was approximately $600
 million.423

 419   See Membership Interest Purchase Agreement, dated Jan. 30, 2009, § 3.2 at ALLY_0031031
       [ALLY_0031012] (indicating that such liens would be released as of the closing of the 2009 Bank
       Transaction); Consent and Direction to Release Collateral, dated Jan. 30, 2009, at ALLY_0031153–56
       [ALLY_0031012] (contemplating the release of AFI’s liens); Letter from T. Hamzehpour, Regarding Senior
       Secured Notes Collateral (Jan. 30, 2009), at ALLY_0031205–06 [ALLY_0031012] (concluding that ResCap
       had properly requested the release of the Senior Secured Notes’ liens on the IB Finance Class M Shares);
       Letter from T. Hamzehpour, Regarding Junior Secured Notes Collateral (Jan. 30, 2009), at ALLY_0031207–
       08 [ALLY_0031012] (concluding that ResCap had properly requested the release of the Junior Secured
       Notes’ liens on the IB Finance Class M Shares).
 420   While AFI previously contemplated that its forgiveness of ResCap debt on September 30, 2008 and
       December 31, 2008 would be credited toward its purchase price of ResCap’s remaining interest in IB
       Finance, the debt forgiveness does not appear to have been included as consideration in the final sale terms.
       See Section V.A.1.c(2).
 421   See Membership Interest Purchase Agreement, dated Jan. 30, 2009, § 3.2 at ALLY_0031031
       [ALLY_0031012] (providing that, as of January 30, 2009, ResCap was the “owner of all right, title and
       interest (record and beneficial) in and to the [IB Finance Class M Shares], free an clear of any Lien, other
       than . . . Liens securing the [AFI] Revolver, the Second Lien Notes and the Third Lien Notes (which Liens
       will be released as of the Closing Date)”) (emphasis added); UCC Financing Statement Amendment
       No. 2009-0326311, dated Jan. 30, 2009, at ALLY_0031218 [ALLY_0031012] (releasing AFI’s liens on the
       IB Finance Class M Shares); Officer’s Certificate, dated Jan. 30, 2009, at ALLY_0031187–94
       [ALLY_0031012] (requesting release of the IB Finance Class M Shares from the liens of the Senior Secured
       Notes); Officer’s Certificate, dated Jan. 30, 2009, at ALLY_0031195–98 [ALLY_0031012] (requesting
       release of the IB Finance Class M Shares from the liens of the Junior Secured Notes).
 422   See Section V.A.2.d.
 423   See Section V.A.2.d.

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                         (b) Application
      The Examiner concludes that the 2009 Bank Transaction is unlikely to satisfy the
 remaining prima facie elements for avoidance under the Minnesota Insider Preference statute.
 The Examiner concludes that the evidence supports the proposition that, up until the time of
 the transfer, ResCap’s interest in IB Finance was encumbered by liens in favor of AFI, the
 holders of the Senior Secured Notes, and the holders of the Junior Secured Notes and was
 unavailable to satisfy the claims of unsecured creditors.424 The Examiner therefore concludes
 that the evidence supports the proposition that the IB Finance Class M Shares did not
 constitute an “asset” that could be the subject of a “transfer” within the meaning of the
 Minnesota UFTA.425
                         (c) Conclusion
       The Examiner concludes that it is unlikely that the 2009 Bank Transaction could be
 avoided pursuant to the Minnesota Insider Preference statute. The IB Finance Class M Shares
 were encumbered up until the time of the transfer by the liens of AFI and the Senior and
 Junior Secured Notes. Accordingly, the IB Finance Class M Shares were not an “asset” that
 could be the subject of a “transfer” for purposes of the Minnesota UFTA. Even if a court were
 to find the 2009 Bank Transaction avoidable, however, the Examiner also concludes for the
 reasons discussed in Section VII.F.4.h, that it is likely that a court would find that AFI’s
 potential Insider Preference liability for the 2009 Bank Transaction should be offset (in part or
 in full) by new value that AFI provided to ResCap.
                    (8) Miscellaneous Additions To Collateral Packages
      The Examiner has also identified a number of instances in which one or more of the
 Debtors granted liens in favor of AFI on additional property to further secure their obligations
 under one or more of the secured financing facilities described above during the period in
 which the evidence supports the propositions that: (1) the Debtors were insolvent; and (2) AFI
 had reasonable cause to believe that the Debtors were insolvent. As discussed above, the
 granting of a lien is a statutorily-defined “transfer” for purposes of the Minnesota UFTA.426
 424   See UCC Financing Statement Amendment No. 2009-0326311, dated Jan. 30, 2009, at ALLY_0031218
       [ALLY_0031012] (releasing AFI’s liens on the IB Finance Class M Shares); UCC Financing Statement
       Amendment No. 2009-0326287, dated Jan. 30, 2009, at ALLY_0031216 [ALLY_0031012] (releasing from
       the Senior Secured Notes’ collateral the IB Finance Class M Shares); UCC Financing Statement Amendment
       No. 2009-0326303, dated Jan. 30, 2009, at ALLY_0031217 [ALLY_0031012] (releasing from the Junior
       Secured Notes’ collateral the IB Finance Class M Shares). The Examiner did not independently verify the
       validity and/or extent of these liens.
 425   See MINN. STAT. ANN. § 513.41(2), (12). If the liens on the IB Finance Class M Shares were for any reason
       determined to be invalid, the Examiner concludes that it is likely that the 2009 Bank Transaction would be
       avoidable pursuant to the Minnesota Insider Preference Statute. In addition to satisfying the prima facie
       elements discussed above, the transfer of the IB Finance Class M Shares was made in exchange for a
       contribution of ResCap’s second lien notes, thus satisfying the antecedent debt requirement. See Residential
       Capital, LLC, Current Report (Form 8-K) (Feb. 3, 2009), Item 1.01; see also Certificate of Forgiveness of
       Indebtedness of Residential Capital, LLC, dated Jan. 30, 2009, at ALLY_0031136–39 [ALLY_0031012].
 426   See MINN. STAT. ANN. § 513.41(12).

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The Examiner concludes that all such additional lien transfers, to the extent made by ResCap or
RFC, meet the prima facie test for avoidance under the Minnesota Insider Preference statute. The
Examiner further concludes that no affirmative defense—except for new value, which is
discussed in Section VII.F.4.—is likely to apply with respect to such transfers. The additional
lien transfers that the Examiner has identified as avoidable Insider Preferences are as follows:427




427   Given the variety of collateral implicated by these transactions, and the lack of clarity as to the value, or even
      the owner of much of that collateral, the Examiner has not attempted to identify the specific assets that were
      subjected to these additional liens or to quantify the value of such assets.

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                h. Availability Of The New Value Defense

                    (1) General Overview

      The Examiner considered the ability of AFI to assert a new value defense to offset
 otherwise avoidable Insider Preferences made by ResCap or RFC to AFI. AFI would have an
 affirmative defense to the extent AFI provided unsecured new value to or for the benefit of
 ResCap or RFC after the avoidable transfer was made.

      In Section VII.F.4.g, the Examiner has identified several transactions where transfers
 were made by ResCap and by RFC, respectively, to AFI that are likely subject to avoidance
 under the Minnesota Insider Preference statute. These transactions include: (1) the Secured
 Revolver Facility transaction; (2) the A&R Line of Credit Facility transaction; (3) the 2008
 Bank Transaction; (4) the 2009 Bank Transaction; (5) the Secured MSR Facility transaction;
 and (6) the Resort Finance Facility transaction. AFI could use the new value defense provided
 by section 513.48(f) of the Minnesota statute to offset these preferential transfers to the extent
 AFI provided new value to ResCap or RFC, respectively, following receipt of the preferential
 transfers.428 However, new value cannot be used to offset contemporaneous or subsequent
 preferential transfers.429

      Exhibit VII.F.4.h(1)—1 identifies significant transfers of value from AFI to or for the
 benefit of ResCap that took place from 2008 through 2012. These transfers took several forms,
 including cash contributions, debt forgiveness, and asset contributions. Subject to the
 “valuation-related” caveats discussed below, it appears that AFI may have provided as much
 as $2.6 billion of new value to ResCap through these transfers. All of these transfers occurred
 from March 2008 through December 2009. In December 2009 alone, AFI contributed assets
 valued by the Debtors at $916 million to ResCap, mainly in the form of a cash contribution.
 Because new value can only offset preferential transactions that occurred before the
 contribution, AFI will have at least this amount (subject to the “valuation-related” caveats
 discussed below) to offset any avoidable ResCap transfers that took place prior to December
 2009.




 428   See MINN. STAT. ANN. § 513.48(f)(1).
 429   See Elliot & Callan, Inc. v. Crofton, 615 F. Supp. 2d 963, 973 (D. Minn. 2009); see also Responsible Pers. of
       Musicland Holding Corp. v. Best Buy Co. (In re Musicland Holding Corp.), 462 B.R. 66, 70 (Bankr.
       S.D.N.Y. 2011) (citing Mosier v. Ever-Fresh Food Co. (In re IRFM, Inc.), 52 F.3d 228, 231 (9th Cir. 1995)).

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     Exhibit VII.F.4.h(1)—2 identifies significant transfers of value from AFI to or for the
benefit of RFC that took place from 2008 through 2012. These transfers took several forms,
including debt forgiveness and asset contributions. Subject to the “valuation-related” caveats
discussed below, it appears that AFI may have provided as much as $2.4 billion of new value to
or for the benefit of RFC through these transfers. Almost all of these transfers occurred from
March 2008 through December 2009. In December 2009 alone, AFI contributed assets valued by
the Debtors at $1.8 billion to RFC, mainly in the form of the contribution of the HFS Portfolio.
Because new value can only offset preferential transactions that occurred prior to the
contribution, AFI will have at least this amount (subject to the “valuation-related” caveats
discussed below) to offset any avoidable RFC transfers that took place prior to December 2009.
After 2009, AFI provided new value to RFC on two other occasions: in December 2011 and
January 2012, AFI forgave secured debt of approximately $116 million owed by RFC.




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                   (2) New Value Defense Is Debtor-Specific

     As described in Section VII.F.4.e(2), the new value defense is only available to offset
avoidable payments made by a debtor to the extent such debtor, and not an affiliate of the debtor,
is the recipient of the new value.430 As a result, AFI will not be entitled to offset preferential
payments made by RFC using new value that was provided to or for the benefit of ResCap, and
vice versa. Simply put, to invoke the new value defense AFI will have to show that it provided
new value to or for the benefit of the specific Debtor that made the avoidable transfer in
question. It is important therefore to distinguish between new value provided by AFI to or for the
benefit of ResCap and new value provided by AFI to or for the benefit of RFC.

     Exhibit VII.F.4.h(1)—1 does this and shows that AFI’s transfers to ResCap may have had a
total value of as much as $2.6 billion (subject to the “valuation-related” caveats discussed
below). AFI’s transfers to ResCap are comprised of contributions of ResCap secured and
unsecured notes, cash, and intercompany receivables. Exhibit VII.F.4.h(1)—2 further shows that
AFI’s transfers to RFC may have had a total value of as much as $2.4 billion (subject to the
“valuation-related” caveats discussed below). AFI’s transfers to RFC are comprised of debt
forgiveness by AFI under the Secured MSR Facility and the A&R Line of Credit Facility, the
contribution of the HFS Portfolio, and the release of affiliate payables.

      Notably, certain of the contributions made by AFI to RFC may have passed through ResCap.
For example, the HFS Portfolio, valued by the Debtors at $1.4 billion (subject to the “valuation-
related” caveats discussed below), was contributed by AFI to RFC through a chain of holding


430   See MINN. STAT. ANN. § 513.48(f)(1).

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 companies, including ResCap.431 The fact that new value may have passed through ResCap to
 RFC would not invalidate the new value defense so long as ResCap was merely a conduit or an
 intermediary, or if it can be shown that the contribution to ResCap was for RFC’s benefit.432

       To successfully offset the avoidable transfers from RFC where AFI later contributed new
 value that passed through ResCap to RFC, AFI must show that ResCap was a mere conduit,
 meaning that ResCap never acquired an interest in the property, or that the contribution to
 ResCap (to the extent it did not flow through to RFC) was nevertheless made for RFC’s
 benefit.433 In this case, for example, AFI’s contribution of the HFS Portfolio to RFC passed
 through ResCap and other affiliates. The contribution was clearly made to RFC, not to ResCap
 or any of the other affiliates, because the ResCap Board accepted the contribution and
 approved the further contribution of the HFS Portfolio down a chain of entities to RFC in one
 resolution.434 The ResCap Board stated in the resolution that it was “necessary and desirable”
 to contribute the HFS Portfolio down the chain of holding companies to RFC.435 Accordingly,
 AFI would be considered to have provided new value to or for the benefit of RFC to the extent
 of the actual value of the HFS Portfolio (which may differ from the $1.4 billion value ascribed
 to it by the Debtors) even though AFI’s contribution to RFC was indirect.

      In contrast, if AFI were to fail to meet its burden to establish that ResCap was a mere
 conduit with respect to other contributions by AFI ostensibly to RFC or that such
 contributions were not really made for RFC’s benefit, such contributions would not constitute
 new value from AFI to RFC that could offset RFC’s preferential transfers.
 431   There may have been other instances where transfers from AFI to RFC may have passed through ResCap.
       For example, on December 30, 2009, the AFI Board approved AFI’s “capital contribution to ResCap, and
       ResCap’s contribution to RFC (through sequential contributions to, and by, intermediate subsidiaries).”
       Unanimous Consent To Action of the GMAC Board of Directors, dated Dec. 30, 2009, at ALLY_0169105
       [ALLY_0169104] (AFI Board approval was required pursuant to the Reservation of Authorities of the
       Board.). It is not clear as to what specific transfer this board resolution refers.
 432   The Examiner is not aware of any case law addressing whether a contribution passing through affiliates
       would be considered new value provided by the defendant under the Minnesota Insider Preference statute.
       Nevertheless, there is considerable case law considering whether property that transfers through a debtor to
       an affiliate is property of the estate under the federal bankruptcy law. The new value defense to the Insider
       Preference statute is adapted from section 547(c)(4) of the Bankruptcy Code. See UFTA § 8 cmt. 6. As
       described above, if the Bankruptcy Court were to find portions of the Minnesota Insider Preference statute
       ambiguous, it could consult section 547 of the Bankruptcy Code and relevant authorities thereunder in order
       to discern the Minnesota legislature’s intent. See Section VII.F.4.c; see also Shields v. Goldetsky (In re
       Butler), 552 N.W.2d 226, 231 (Minn. 1996).
 433   See, e.g., City of Springfield v. Ostrander (In re Lan Tamers, Inc.), 329 F.3d 204, 210 (1st Cir. 2003) (“The
       plain text of § 541(d) excludes property from the estate where the bankrupt entity is only a delivery vehicle
       and lacks any equitable interest in the property it delivers.”); T & B Scottdale Contractors, Inc. v. United
       States, 866 F.2d 1372, 1376 (11th Cir. 1989) (when the debtor held funds that were to be paid out to certain
       individuals, the debtor was simply an intermediary and the funds were not property of the estate); see also
       MINN. STAT. ANN. § 513.48(f)(1).
 434   See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29, 2009, at RC40006359–
       60 [RC40005949].
 435   Id. at RC40006360.

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                     (3) Potential New Value

      The Examiner identified and investigated significant contributions made from AFI to
 ResCap and RFC from March 2008 through the Petition Date. As noted above, the
 transactions analyzed include contributions in the form of: (1) cash; (2) secured and unsecured
 notes; (3) debt forgiveness under the A&R Line of Credit Facility; (4) debt forgiveness under
 the Secured MSR Facility; (5) forgiveness of miscellaneous payables owed; and (6) other
 assets, such as the HFS Portfolio and an intercompany receivable.

                         (a) Cash

      AFI contributed $600 million of the cash on December 30, 2009 to help ResCap comply
 with its TNW covenants.436 This cash contribution constitutes new value to ResCap on a
 dollar-for-dollar basis.437

                         (b) Debt Forgiveness

      AFI forgave substantial amounts of ResCap debt and RFC debt from 2008 through 2011.
 There are four categories of debt that were forgiven: (a) ResCap secured and unsecured notes,
 (b) borrowings under the Secured MSR Facility (under which RFC was a borrower),
 (c) drawings under the A&R Line of Credit Facility, and (d) affiliate payables. As discussed in
 Section VII.F.4.e(2), forgiveness of antecedent debt may, under certain circumstances,
 constitute new value for purposes of the Minnesota Insider Preference statute. Courts
 generally treat the forgiveness of fully secured debt as new value on a dollar-for-dollar
 basis.438 On the other hand, there is little guidance on how to value debt forgiveness when it
 involves unsecured debt or under-secured debt. Courts generally are reluctant to treat the
 436   See Residential Capital, LLC, Consolidated Financial Statements for the Years Ended Dec. 31, 2009 and
       2008, dated Feb. 26, 2010, at 100 [EXAM00124455]. For a detailed summary of ResCap’s difficulties in
       complying with its TNW covenants and its reliance on contributions from AFI throughout 2009, see Sections
       III.I.1–3.
 437   Certain parties have suggested that cash contributed by AFI to ResCap would not qualify as new value
       because it purportedly would be captured by the blanket lien in favor of AFI and would only enhance AFI’s
       collateral package. The Examiner does not find this argument persuasive. Putting aside the issue of whether
       cash contributions from AFI became subject to a perfected lien in favor of AFI, the fact that the cash itself
       may be pledged as collateral once contributed does not appear to implicate the statutory exception that
       excludes new value only if “the new value was secured by a valid lien.” See MINN. STAT. ANN. §
       513.48(f)(1) (emphasis added). Based on the statutory language, the exception clearly applies to the
       circumstance where the recipient of an avoidable transfer subsequently extends credit on a secured basis. The
       Examiner has been unable to find any case law or other legal support suggesting that the statutory exception
       would apply to other forms of new value. Moreover, a strong argument exists that cash contributed to
       ResCap, even if part of AFI’s collateral package, “replenishes” the estate if AFI were deemed to be
       oversecured (which no party appears to dispute). See Kroh Bros. Dev. Co. v. Cont’l Constr. Eng’rs (In re
       Kroh Bros. Dev. Co.), 930 F.2d 648, 652 (8th Cir. 1991) (stating that the relevant inquiry in determining
       whether a transfer provides new value is “whether the new value replenishes the estate”).
 438   See, e.g., Cocolat, Inc. v. Fisher Dev., Inc. (In re Cocolat, Inc.), 176 B.R. 540, 548 (Bankr. N.D. Cal.1995);
       see also UFTA § 8 cmt. 6 (1984).

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 forgiveness of unsecured debt or under-secured debt as new value on a dollar-for-dollar
 basis,439 if at all,440 and the party asserting the affirmative defense bears the burden of proving
 the amount of new value that it provided through such debt forgiveness.441

                              (i) Secured And Unsecured Notes

      AFI contributed ResCap secured and unsecured notes to ResCap for retirement
 throughout 2008 and 2009. ResCap reported these transfers in its financial statements as
 capital contributions in the amounts of AFI’s cost basis in the notes. Exhibit VII.F.4.h(1)—1,
 above, uses the amounts reported in ResCap’s financial statements (recognizing that there may
 be significant valuation issues) in describing the amounts of new value that AFI may have
 provided.

      Beginning in the fourth quarter of 2007, and continuing into 2008, AFI purchased
 ResCap unsecured notes at deep discounts in the open market.442 According to ResCap’s
 financial statements, AFI contributed approximately $218 million of these unsecured notes to
 ResCap from March 2008 through September 2008 to enable ResCap to maintain compliance
 with its TNW covenants.443 In December 2008, AFI completed a private exchange and cash
 tender offer for the acquisition of ResCap secured and unsecured notes.444 On December 31,
 2008, ResCap continued to face liquidity concerns and, as a result, AFI contributed
 approximately $220 million of unsecured notes to ResCap to prevent ResCap from breaching
 its TNW covenants.445
 439   See, e.g., Jones v. Ryder Integrated Logistics, Inc. (In re Jotan, Inc.), 264 B.R. 735, 752–53 (Bankr. M.D.
       Fla. 2001).
 440   See Gray v. Chace (In re Bos. Publ’g Co.), 209 B.R. 157, 176 (Bankr. D. Mass. 1997) (citing Trans World
       Airlines, Inc. v. Travellers Int’l AG (In re Trans World Airlines, Inc.), 180 B.R. 389, 403 (Bankr. D. Del.
       1994) and In re Cocolat, Inc., 176 B.R. at 548); see also Lowrey v. U.P.G., Inc. (In re Robinson Bros.
       Drilling, Inc.), 877 F.2d 32, 34 (10th Cir. 1989).
 441   See In re Robinson Bros. Drilling, Inc., 877 F.2d at 34 (“While . . . the court will not inquire into the value of
       the liens released by Richardson . . . it is the defendants’ burden to prove with specificity that Richardson
       gave new value equivalent to the remainder of the debt not secured by these liens.” (citing Jet Fla., Inc. v.
       Am. Airlines, Inc. (In re Jet Fla. Sys., Inc.), 861 F.2d 1555, 1559 (11th Cir. 1988))); In re Bos. Publ’g Co.,
       209 B.R. at 176 (“[I]t was incumbent upon Chace to quantify what he gave up at the time of the
       restructuring—full, or most likely, partial payment of his outstanding loans, as compared with what, if
       anything, he would receive on his resulting equity investment.”); see also Creditors’ Comm. v. Spada (In re
       Spada), 903 F.2d 971, 976 (3d Cir. 1990) (“[A] party seeking the shelter of section 547(c)(1) must prove the
       specific measure of the new value given to the debtor in the exchange.” (quoting In re Jet Fla. Sys., Inc., 861
       F.2d at 1558)).
 442   See Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at 40.
 443   See id. at 7; Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2008), at 7; Residential
       Capital, LLC, Quarterly Report (Form 10-Q) (May 8, 2008), at 7, 48. For a more detailed summary of
       ResCap’s difficulties in complying with its TNW covenants and its reliance on contributions from AFI
       throughout 2008, see Sections III.G.3, III.H.3–5.
 444   See Residential Capital, LLC, Annual Report (Form 10-K/A) (Aug. 25, 2009), at 89.
 445   See id.

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      During 2009, AFI contributed approximately $1.185 billion of the secured and unsecured
 notes it acquired in the December 2008 private exchange and cash tender offer to ResCap to
 help ResCap comply with its TNW covenants.446 All of the bonds contributed by AFI in 2009
 were either Junior Secured Notes or senior unsecured notes.447 The total amount of secured
 debt that AFI contributed was $1.150 billion, and the total amount of unsecured debt that AFI
 contributed was $35 million.448 The secured debt, however, was significantly under-secured
 due to the existence of higher priority liens on the collateral.449 Accordingly, all of the
 $1.622 billion in notes contributed by AFI to ResCap during 2008 and 2009 was either
 unsecured or significantly under-secured.450
     A court may not value these note contributions on a cost basis because the notes were
 unsecured or significantly under-secured. Given the lack of judicial guidance, it is unclear
 what “new value,” if any, is attributable to this debt forgiveness. Again, AFI would bear the
 burden of substantiating the amount of new value if it were to raise the affirmative defense.
                             (ii) Secured MSR Facility
      During 2008 and 2009, AFI forgave outstanding debt owed by RFC under the Secured
 MSR Facility. RFC had borrowed from AFI under the Secured MSR Facility, which was
 secured by the Secured MSR Facility Collateral and guaranteed on a full recourse basis by
 ResCap.451 AFI forgave a total of approximately $659 million of RFC’s outstanding debt and
 interest under the Secured MSR Facility from September 2008 through December 2009 to
 help ResCap comply with its consolidated TNW covenants.452 The Examiner concludes that
 446   See Residential Capital, LLC, Consolidated Financial Statements for the Years Ended Dec. 31, 2009 and
       2008, dated Feb. 26, 2010, at 100–101 [EXAM00124455]. For a more detailed summary of ResCap’s
       difficulties in complying with its TNW covenants and its reliance on contributions from AFI throughout
       2009, see Sections III.I.1–3.
 447   See Residential Capital, LLC, Consolidated Financial Statements for the Years Ended Dec. 31, 2009 and
       2008, dated Feb. 26, 2010, at 100–01 [EXAM00124455].
 448   See id. at 9.
 449   See Residential Capital, LLC, Consolidated Financial Statements for the Years Ended Dec. 31, 2009 and
       2008, dated Feb. 26, 2010, at 38 [EXAM00124455]; Secured Revolver Facility Borrowing Base Report,
       dated Jan. 19, 2009 [EXAM00221203].
 450   Notably, all of the Junior Secured Notes were guaranteed by RFC and GMAC Mortgage. The law is unclear on
       how new value should be allocated among affiliates where the debt that is forgiven was guaranteed by an
       affiliate. AFI would have to prove how much new value, if any, should be allocated to the guarantors. For
       illustrative purposes, all new value has been allocated to ResCap, as the borrower under the Junior Secured
       Notes.
 451   Secured MSR Loan Agreement, § 4.01 [RC00024114]; Guarantee by Residential Capital, LLC, for Secured
       MSR Facility, dated Apr. 18, 2008, § 3 [RC00037568].
 452   See AFI Intercompany Loan to ResCap – MSR 2008/09 Spreadsheet, at Tab Summary [ALLY_0401819]
       (providing the aggregate amounts of RFC and GMAC Mortgage debts under the facility that were forgiven);
       AFI Affiliate Debt Journal Entries, at Tab ALLY MSR-2010000001 [EXAM00338635] (providing the
       amounts of RFC debts under the facility that were forgiven); Minutes of a Special Meeting of the Board of
       Residential Capital, LLC, Oct. 1, 2008, at RC40005875 [RC40005652] (describing recent contributions in
       the form of debt forgiveness that satisfied ResCap’s TNW covenants and immediate cash needs).

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 this debt forgiveness constituted new value to RFC and, perhaps, ResCap as well as guarantor,
 on a dollar-for-dollar basis because the debt was fully secured. The affirmative defense to
 avoidance of a preferential transfer under the Minnesota Insider Preference statute applies
 only to new value provided by the insider to the specific debtor that made the avoidable
 transfer in question. As noted above, the law is unclear on how new value should be allocated
 among affiliates where the debt that is forgiven was guaranteed by an affiliate. Because AFI
 bears the burden of quantifying new value, AFI would have to prove how much new value
 should be allocated to each of ResCap and RFC.

                            (iii) A&R Line Of Credit Facility

      On December 30, 2011, AFI forgave $109 million of the outstanding balance of the A&R
 Line of Credit Facility, under which RFC and GMAC Mortgage were both liable.453 ResCap
 and several of its affiliates guaranteed RFC’s and GMAC Mortgage’s obligations under the
 A&R Line of Credit Facility.454 It appears that $44 million of the $109 million in debt
 forgiveness was allocated to RFC for purposes of the affiliates’ financial statements based on
 AFI’s journal entries.455 Because the forgiven debt was fully secured, this debt forgiveness
 constitutes new value to RFC on a dollar-for-dollar basis to the extent that it was allocated to
 RFC (as opposed to GMAC Mortgage, ResCap, or the other guarantors). This new value,
 however, presents the same difficulties discussed above regarding the allocation of new value
 between borrowers and guarantors, and the Investigation has not uncovered evidence
 regarding the methodology used by AFI or the Debtors in allocating the debt forgiveness
 among RFC, GMAC Mortgage, ResCap, and the other guarantors. As a result, the Examiner is
 unable to quantify the allocation of new value attributable to RFC and ResCap, respectively.

      On January 30, 2012, AFI forgave another $196.5 million of the outstanding balance on
 the A&R Line of Credit Facility.456 $72 million of the $196.5 million in debt forgiveness was
 allocated to RFC for purposes of the affiliates’ financial statements.457 A portion of the $196.5
 million in debt forgiveness was subject to the March 14 Earmark Agreement under which the
 amounts forgiven were required to be used to fund the payment of obligations (including
 obligations for which AFI, ResCap, RFC, and GMAC Mortgage were jointly liable) owed to


 453   See Residential Capital, LLC, Consolidated Financial Statements for the Years Ended Dec. 31, 2011 and
       2010, at 38–39 [EXAM00215221].
 454   A&R Line of Credit Agreement, § 11.01 [ALLY_0240633]
 455   See AFI Affiliate Debt Journal Entries, Tab ALLY LOC-2010000001 [EXAM00338635].
 456   See Residential Capital, LLC, Consolidated Financial Statements for the Years Ended Dec. 31, 2011 and
       2010, at 38–39 [EXAM00215221].
 457   See Residential Funding Company, LLC, Consolidated Financial Statements for the Years Ended
       December 31, 2011 and 2010, dated Mar. 28, 2012, at 11, 61 [RC00032246] (stating that on January 30,
       2012, RFC “recognized a capital contribution . . . of $72.3 million, and a corresponding reduction in our
       borrowings under the [A&R Line of Credit Agreement]”); AFI Affiliate Debt Journal Entries, at Tab ALLY
       LOC-2010000001 [EXAM00338635]; Memorandum, Significant Transaction: Mortgage Fine, Waivers and
       Debt Forgiveness, dated Feb. 2012, at EXAM00220159–60 [EXAM00220147].

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 the U.S. government pursuant to the DOJ/AG Consent Judgment.458 However, the evidence
 reveals that only the debt forgiveness allocated to GMAC Mortgage was used to fund the
 payment of the government settlement because GMAC Mortgage remitted the full fine of
 $109,628,425 to an escrow account created pursuant to the DOJ/AG Consent Judgment on
 March 14, 2012.459 There is no evidence that any of the debt forgiveness allocated to RFC was
 used to fund the payment of the government settlement or any other obligation for which AFI
 was liable.460 The Examiner therefore concludes that it is likely that the $72 million of debt
 forgiveness in favor of RFC would constitute new value.461 For a more detailed discussion of
 the uses of the $196.5 million in debt forgiveness and the application of the earmarking
 doctrine in the consideration of preferential transfers, see Section VII.F.5.c(1).
                             (iv) Affiliate Payables
       On December 30, 2009, AFI released a $195 million payable owed to it by RFC on
 account of management fees.462 This release is equivalent to the forgiveness of an unsecured
 debt. As discussed above, it is unclear how much new value, if any, a court would attribute to
 the release of the payable. The full amount of the payable in Exhibit VII.F.4.h(1)—2 is used
 for illustrative purposes only.
       In addition, ResCap appears to have received $19.1 million from AFI as a result of a tax
 settlement between the two parties in September 2008.463 The Investigation has not uncovered
 any information regarding the tax settlement, including the tax liabilities or tax refunds to
 which the settlement pertained. The Investigation revealed evidence in which the tax
 settlement was considered to be a capital contribution by AFI to ResCap,464 but also revealed
 evidence from 2008 in which the tax settlement was not considered to be a capital contribution
 because the tax settlement was “not part of GMAC’s initiative to support ResCap.”465 If the
 458   See Earmark Agreement, ¶¶ 1–4 [ALLY_0000001] (“ResCap reaffirms and agrees that $109,628,425.00 of
       the liquidity provided by AFI pursuant to the January 30 Letter Agreement will be used solely to fund the
       Direct Payment Settlement Amount . . . .”).
 459   See E-mail from C. Dondzila (Mar. 15, 2012) [EXAM11004487]; ResCap Liquidity Update: A Presentation
       for the ResCap Board of Directors, dated Mar. 23, 2012, at RC40020491 [RC40020488]; Special Examiner
       Presentation: DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220908 [EXAM00220897]; ResCap
       Consolidating Financial Statements—2012, dated Oct. 29, 2012 [ALLY_0244598] (showing GMAC
       Mortgage remitted the actual funds).
 460   For a more detailed discussion of the allocation of liability under the DOJ/AG Consent Judgment and the
       payments made and actions taken by each legal entity in accordance with the settlement, see Section
       V.C.1.d–g.
 461   See Kroh Bros. Dev. Co. v. Cont’l Constr. Eng’rs (In re Kroh Bros. Dev. Co.), 930 F.2d 648, 652 (8th Cir.
       1991) (stating that the relevant inquiry in determining whether a transfer provides new value is “whether the
       new value replenishes the estate”).
 462   See Residential Funding Company, LLC, Consolidated Financial Statements for the Years Ended Dec. 31,
       2009 and 2008, dated Mar. 19, 2010, at 79 [EXAM00124670].
 463   See Capital Contributions to ResCap Legal Entity as of Jan. 31, 2012 [ALLY_PEO_0075634].
 464   See, e.g., id.
 465   ResCap Capital Contributions from AFI for Year Ended Dec. 31, 2008, at tab GMAC contributions
       [ALLY_0327055].

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 tax settlement was a payment to ResCap on account of an intercompany receivable on
 ResCap’s books, then the $19.1 million would not constitute new value because the payment
 merely converted a receivable into cash without replenishing the estate.466 On the other hand,
 if the tax settlement does constitute a real contribution to ResCap, it would be akin to the
 forgiveness of an unsecured debt. As a result, it is unclear how much new value, if any, a court
 would attribute to ResCap on account of the tax settlement.
                         (c) Asset Contributions
      On December 30, 2009, AFI contributed assets to RFC and ResCap to prevent ResCap
 from breaching its consolidated TNW covenants. The contributed assets consisted of the HFS
 Portfolio and certain intercompany receivables. These contributions may have provided new
 value to RFC and ResCap.
                             (i) HFS Portfolio
      According to RFC’s financial statements, AFI contributed the HFS Portfolio with a book
 value of approximately $1.436 billion to RFC on December 30, 2009.467 As discussed in
 Section VII.F.4.h(4), AFI transferred the HFS Portfolio to RFC through a series of
 contributions to holding companies, including ResCap, which acted as mere conduits.468 The
 HFS Portfolio, therefore, constitutes new value for RFC. The book value of the HFS Portfolio
 is shown in Exhibit VII.F.4.h(1)—2, but AFI would bear the burden of proving that the book
 value used by RFC was consistent with the actual market value of the HFS Portfolio at the
 time of contribution.
                             (ii) Intercompany Receivables
       According to ResCap’s financial statements AFI contributed certain intercompany
 receivables in the amount of $316 million to ResCap on December 30, 2009.469 The
 Investigation has not uncovered more specifics about these intercompany receivables,
 including which affiliate(s) had the obligation(s) to pay the receivables, or how the receivables
 were valued for purposes of financial reporting. The amount of new value attributable to an
 intercompany receivable may depend, in part, on the likelihood of the receivable being
 satisfied.470 If the possibility that a receivable will be satisfied is highly contingent, the
 466   See In re Kroh Bros. Dev., 930 F.2d at 652.
 467   See Residential Funding Company, LLC, Consolidated Financial Statements for the Years Ended Dec. 31,
       2009 and 2008, dated Mar. 19, 2010, at 79 [EXAM00124670].
 468   See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 29, 2009, at RC40006359–
       60 [RC40005949] (resolving that ResCap initially accepts the contribution of the HFS Portfolio from AFI,
       through GMAC Mortgage Group, LLC, and that it then “necessary and desirable” to contribute it down the
       chain of entities to RFC).
 469   See Residential Capital, LLC, Consolidated Financial Statements for the Years Ended Dec. 31, 2009 and
       2008, dated Feb. 26, 2010, at 100 [EXAM00124455].
 470   See, e.g., Jones v. Ryder Integrated Logistics, Inc. (In re Jotan, Inc.), 264 B.R. 735, 752–53 (Bankr. M.D.
       Fla. 2001); News Journal Co. v. Little Caesars of Del., Inc., No. CRIM.A.1999-04-241, 2000 WL 33653432,
       at *4 (Del. Com. Pl. Oct. 20, 2000).

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contribution of such intercompany receivables may be of little or no value. It is therefore
uncertain how much new value, if any, a court would attribute to the contribution of the
intercompany receivables. Exhibit VII.F.4.h(1)—1 shows a value of $316 million, which is the
amount set forth in ResCap’s financial statements. AFI would bear the burden of proving that
this reflects an accurate valuation of the intercompany receivables at the time of contribution.

               (4) Applying New Value to Avoidable Transfers

    As described in Section VII.F.4.g, the Examiner has concluded that the following transactions
may give rise to transfers to AFI that are avoidable as Insider Preference payments:




     As described above, to offset new value against an avoidable preferential transfer, the new
value must have been received by the transferor: (1) after the avoidable transfer; and (2) from the
transferee (i.e., new value provided by a third party is not valid). Exhibit VII.F.4.h(4) above
shows that only avoidable transfers made by ResCap relate to the 2008 Bank Transaction, while
the rest of the avoidable transfers were made by RFC.

     As set forth in Exhibit VII.F.4.h(4), the Examiner has concluded that AFI received transfers
from ResCap that are likely avoidable under the Minnesota Inside Preference Statute in an
amount of up to $714 million. The latest of these transfers occurred in June 2008. With respect
to new value provided by AFI to ResCap, Exhibit VII.F.4.h(1)—1 shows that ResCap received
as much as $2.6 billion in new value from AFI, with approximately $2.4 billion received after
June 2008. Therefore, to the extent that AFI would be able to substantiate the amounts of new
value set forth in Exhibit VII.F.4.h(1)—1, which amounts AFI would have the burden of
establishing, the new value would appear to be sufficient to offset all of the avoidable
preferential transfers by ResCap to AFI.


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      As set forth in Exhibit VII.F.4.h(4), the Examiner has concluded that AFI received
 transfers from RFC that are likely avoidable under the Minnesota Inside Preference Statute in
 an amount of up to $2.2 billion. Of this amount, $1.55 billion in transfers were made prior to
 the December 30, 2009, and $650 million in transfers were made after December 30, 2009.
 With respect to new value provided by AFI to RFC, Exhibit VII.F.4.h(1)—2 shows that RFC
 received as much as $2.4 billion in new value from AFI, with $1.79 billion received in
 December 2009. The amount of new value received just in December 2009 is sufficient to
 offset all of the preferential transfers made prior to that time. With respect to the period after
 December 30, 2009, it appears that AFI would have approximately $116 million of new value
 to offset the portion of the $650 million in avoidable transfers that was made prior to RFC’s
 receipt of new value. In sum, the Examiner concludes that, to the extent that AFI would be
 able to substantiate the amounts of new value set forth in Exhibit VII.F.4.h(1)—2, which
 amounts AFI would have the burden of establishing, the new value would appear to be
 sufficient to offset all but $534 million of the avoidable preferential transfers by RFC to AFI.

       5. Preferential Transfers Under Bankruptcy Code Section 547

               a. Overview Of Elements

      “A preference is a transfer that enables a creditor to receive payment of a greater
 percentage of his claim against the debtor than he would have received if the transfer had not
 been made and he had participated in the distribution of the assets of the bankrupt
 estate.”471 Preferential transfer claims may be brought under section 547 of the Bankruptcy
 Code or under section 544 of the Bankruptcy Code, implementing state preferential transfer
 laws, as discussed in Section VII.F.4. Claims under section 547 do not implicate choice-of-
 law issues, as courts apply the governing federal law of the circuit in which it sits, here the
 Second Circuit.

                    (1) Section 547 Of The Bankruptcy Code

      Under section 547 of the Bankruptcy Code, an estate representative may avoid any
 transfer of an interest of the debtor in property if five conditions are satisfied and unless one of
 the defined affirmative defenses is applicable. Section 547 provides that a trustee or debtor-in-
 possession may avoid as a preference any transfer of an interest of the debtor in property
 made:

         •   to or for the benefit of a creditor;

         •   for or on account of an antecedent debt;

         •   while the debtor was insolvent;

         •   on or within ninety days of the petition date or up to one year before the petition date if such
             creditor was an insider at the time of the transfer; and
 471   Bankruptcy Reform Act of 1978, Pub. L. No. 95-598, 1978 U.S.C.C.A.N. (92 Stat. 2546) 5963, 6138.

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         •    that enables such creditor to receive more than such creditor would receive if:

               •   the case was a chapter 7 case;

               •   the transfer had not been made; and

               •   such creditor received payment of such debt to the extent provided by the Bankruptcy
                   Code.472

     The estate representative has the burden of proving each of these elements by a
 preponderance of evidence. A transfer is not avoidable as a preference unless every element is
 proven.473

                        (2) Elements Of A Preference Claim

                           (a) Transfer Of An Interest Of The Debtor In Property

      As a threshold matter, only a “transfer of an interest of the debtor in property”474 is
 subject to possible avoidance under section 547. The Bankruptcy Code defines “transfer”475 as
 “(A) the creation of a lien; (B) the retention of title as a security interest; (C) the foreclosure of
 a debtor’s equity of redemption; or (D) each mode, direct or indirect, absolute or conditional,
 voluntary or involuntary, of disposing of or parting with—(i) property; or (ii) an interest in
 property.”476 This definition should be viewed in the broadest sense possible.477 “Transfer of
 possession, custody or control fall within” this definition.478 Federal law determines what
 constitutes a “transfer” for purposes of section 547, and also when such transfer is
 complete.479

      Property is broadly construed to include “all legal or equitable interests of the debtor in
 property as of the commencement of the case.”480 In other words, “property of the debtor”
 includes property that would have been available for distribution to creditors had it not been
 472   11 U.S.C. § 547(b); Cadle Co. v. Mangan (In re Flanagan), 503 F.3d 171, 180 (2d Cir. 2007).
 473   11 U.S.C. § 547(g) (“[T]he trustee has the burden of proving the avoidability of a transfer under subsection
       (b) of this section.”); In re Flanagan, 503 F.3d at 180 (providing that the burden rests on the trustee “to
       establish each of [the] elements by a preponderance of the evidence”).
 474   11 U.S.C. § 547(b).
 475   Section 101 defines a “transfer” to include “each mode, direct, or indirect, absolute or conditional, voluntary
       or involuntary, of disposing of or parting with—(i) property or (ii) with an interest in property.” Id. §
       101(54)(D).
 476   Id. § 101(54).
 477   Act of July 14, 1978, Pub. L. 95-598, 1978 U.S.C.C.A.N. (92 Stat. 2549) 5787.
 478   Le Café Creme, Ltd. v. Le Roux (In re Le Café Creme, Ltd.), 244 B.R. 221, 233 (Bankr. S.D.N.Y. 2000).
 479   Barnhill v. Johnson, 503 U.S. 393, 397 (1992).
 480   11 U.S.C. § 541(a)(1).

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 transferred before the commencement of the bankruptcy case.481 In the absence of controlling
 federal law, what constitutes “property” is determined by state law.482

                          (b) To Or For The Benefit Of A Creditor

      Under section 547(b)(1) a transfer is avoidable only if it was to or for the benefit of a
 creditor.483 There is no requirement that the benefit which accrues to a creditor be direct.
 Indeed, transfers that result in indirect benefits to creditors can be avoided as preferences.484

      The Bankruptcy Code defines “creditor” in broad terms to include any “entity that has a
 claim against the debtor that arose at the time of or before the order for relief concerning the
 debtor.”485 “Claim” is in turn broadly defined as:

                       (A) right to payment, whether or not such right is reduced to
                       judgment, liquidated, unliquidated, fixed, contingent, matured,
                       unmatured, disputed, undisputed, legal, equitable, secured, or
                       unsecured; or (B) right to an equitable remedy for breach of
                       performance if such breach gives rise to a right to payment,
                       whether or not such right to an equitable remedy is reduced to
                       judgment, fixed, contingent, matured, unmatured, disputed,
                       undisputed, secured, or unsecured.486




 481   See Begier v. IRS, 496 U.S. 53, 58 (1990).
 482   Barnhill, 503 U.S. at 398 (citing McKenzie v. Irving Trust Co., 323 U.S. 365, 369–70 (1945)) (“In the
       absence of any controlling federal law, ‘property’ and ‘interests in property’ are creatures of state law.”);
       Butner v. United States, 440 U.S. 48, 54 (1979) (“Congress has generally left the determination of property
       rights in the assets of a bankrupt’s estate to state law.”).
 483   11 U.S.C. § 547(b)(1).
 484   Nat’l Bank of Newport v. Nat’l Herkimer Cnty. Bank, 225 U.S. 178, 184 (1912) (“To constitute a preference,
       it is not necessary that the transfer be made directly to the creditor. It may be made to another for his
       benefit.”); Am. Universal Ins. Co. v. Dunlap (In re Microwave Prods. of Am., Inc.), 118 B.R. 566 (Bankr.
       W.D. Tenn. 1990) (holding that a transfer which benefits a creditor indirectly may still constitute a
       preference under 11 U.S.C. § 547(b)).
 485   The Bankruptcy Code’s full definition of “creditor” is as follows:
            (A) entity that has a claim against the debtor that arose at the time of or before the order for relief
            concerning the debtor;
            (B) entity that has a claim against the estate of a kind specified in section 348(d), 502(f), 502(g),
            502(h) or 502(i) of this title; or
            (C) entity that has a community claim.
       11 U.S.C. § 101(10).
 486   Id. § 101(5).

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 Even the United States government, if it is determined to otherwise be a creditor of the debtor,
 is not immune from preference actions brought by the trustee in bankruptcy.487

                         (c) On Account Of An Antecedent Debt

        A transfer can be avoided as a preference only if it was made on account of an antecedent
 debt,488 that is, if the debt was incurred before the alleged preferential transfer.489

                         (d) While Debtor Was Insolvent

       Under section 547(b)(3) a transfer is avoidable only if it was made while the debtor was
 insolvent.490 With respect to a corporation or limited liability corporation (such as ResCap,
 GMAC Mortgage or RFC), “insolvent” is defined in the Bankruptcy Code as a “financial
 condition such that the sum of an entity’s debts is greater than all of the entity’s property, at a
 fair valuation, exclusive of . . . property transferred, concealed, or removed with intent to
 hinder, delay, or defraud [the] entity’s creditors.”491 This definition of insolvency is the same
 for preference actions under section 547 and fraudulent conveyance actions under section
 548.492 Under the Bankruptcy Code, there is a rebuttable presumption that a debtor is
 “insolvent on and during the 90 days immediately preceding the date of the filing of the
 petition.”493

                         (e) Transfers Made Within Ninety Days Or One Year

      Section 547(b)(4) requires that the transfer to be avoided have been made within ninety
 days before the petition date or, if the transfer was made to an insider, within one year before
 the petition date.494

      The Bankruptcy Code provides for a one year look-back period, instead of the otherwise
 applicable ninety-day look-back period, if the creditor who received the allegedly preferential
 487   See In re Husher, 131 B.R. 550, 552–53 (E.D.N.Y. 1991) (noting that Congress has waived the government’s
       sovereign immunity with respect to preference actions brought under section 547 of the Bankruptcy Code by
       the operation of section 106(c) of the Bankruptcy Code).
 488   11 U.S.C. § 547(b)(2).
 489   See Breeden v. L.I. Bridge Fund, L.L.C. (In re the Bennett Funding Grp., Inc.) 220 B.R. 739, 742 (B.A.P. 2d
       Cir. 1998) (noting that “‘an antecedent debt’ is a pre-existing debt that was incurred when the debtor
       previously obtained a property interest in the consideration provided by the creditor that gave rise to the
       debt”).
 490   11 U.S.C. § 547(b)(3).
 491   Id. § 101(32)(A); accord Statutory Comm. of Unsecured Creditors on behalf of Iridium Operating LLC v.
       Motorola, Inc. (In re Iridium Operating LLC), 373 B.R. 283, 344 (Bankr. S.D.N.Y. 2007).
 492   See Official Comm. of Former Partners v. Brennan (In re Labrum & Doak, LLP), 227 B.R. 383, 387 (Bankr.
       E.D. Pa. 1998). For a more complete discussion of the tests for determining insolvency, see Section VI.B.
 493   11 U.S.C. § 547(f); see, e.g., In re Iridium Operating LLC, 373 B.R. at 343; Jacobs v. Matrix Capital Bank
       (In re AppOnline.com, Inc.), 315 B.R. 259, 281–82 (Bankr. E.D.N.Y. 2004).
 494   11 U.S.C. § 547(b)(4).

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 transfer was an “insider” at the time of such transfer.495 The term “insider” is defined in the
 Bankruptcy Code to include directors, officers, and any other person in control of the
 debtor.496 However, this definition of “insider” is not exhaustive and, as such, courts have
 been left “to define the limits of non-statutory insider status.”497 To determine whether a
 person is a non-statutory insider, courts perform a fact-intensive analysis on a case-by-case
 basis.498 In performing this analysis, courts consider the following two factors: “(1) the
 closeness of the relationship between the debtor and the transferee, and (2) whether the
 transactions between the transferee and the debtor were conducted at arm’s length.”499 In
 making this determination, courts examine the relevant facts at hand, including:
                        (1) [w]hether the loan made to the debtor was documented (e.g.,
                        promissory note, mortgage, and specified repayment terms);
                        (2) [w]hether the loans were made on an unsecured basis and
                        without inquiring into the debtor’s ability to repay the loans;
                        (3) [w]hether the transferee knew that the debtor was insolvent
                        at the time the debtor made the loans or recorded the security
                        agreements; (4) [w]hether there were numerous loans between
                        the parties; (5) [w]hether there were any strings attached as to
                        how the debtor could use loan proceeds; (6) [w]hether the loans
                        were commercially motivated; (7) [w]hether the transferee had
                        an ability to control or influence the debtor; (8) [w]hether there
                        was a personal, business, or professional relationship between
                        the transferee and the debtor allowing the transferee to gain an
 495   Id. § 547(b)(4)(B).
 496   Section 101 of the Bankruptcy Code defines an “insider” as, in pertinent part:
       . . . (B) if the debtor is a corporation –
             (i) director of the debtor;
             (ii) officer of the debtor;
             (iii) person in control of the debtor;
             (iv) partnership in which the debtor is a general partner;
             (v) general partner of the debtor; or
             (vi) relative of a general partner, director, officer or person in control of the debtor;
       (E) affiliate, or insider of an affiliate as if such affiliate were the debtor; and
       (F) managing agent of the debtor.
       Id. § 101(31).
 497   Hirsch v. Tarricone (In re A. Tarricone, Inc.), 286 B.R. 256, 262 (Bankr. S.D.N.Y. 2002).
 498   Id.
 499   Id.; see also Le Café Creme, Ltd. v. Le Roux (In re Café Creme, Ltd.), 244 B.R. 221, 233 (Bankr. S.D.N.Y.
       2000) (citing In re F & S Cent. Mfg., Corp., 53 B.R. 842, 848 (Bankr. E.D.N.Y.1985)) (noting that “[a]
       creditor who does not deal at arms length with the debtor but who has a special relationship with the debtor
       through which it can compel payment of its debt, has sufficient control over the debtor to be deemed an
       insider”).

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                     advantage such as that attributable simply to affinity;
                     (9) [w]hether the transferee had authority to make business
                     decisions for the debtor; (10) [w]hether there is evidence of a
                     desire to treat the transferee differently from all other general
                     unsecured creditors; and (11) [w]hether there was an agreement
                     among the parties to share profits and losses from business
                     transactions.500

       As explained in greater detail in Section VII.F.8, the Bankruptcy Code separates the
 concepts of avoidance and recovery. Section 550 of the Bankruptcy Code governs affirmative
 recovery beyond avoidance in situations where the estate representative seeks to recover the
 property transferred by the avoidable transaction or the value of such property. Prior to 1994,
 a line of cases, led by the Seventh Circuit’s decision in Levit v. Ingersoll Rand Financial
 Corp. (In re Deprizio Constr. Co.),501 permitted estate representatives to recover payments
 made to non-insiders a full year prior to the bankruptcy filing, in situations where an insider
 benefitted from the transfer in some way.502 Subsequent amendments to the Bankruptcy Code,
 through changes to section 547 and 550, explicitly corrected the “DePrizio problem” and
 clarified that the ninety-day look-back period applies to non-insiders.503 But DePrizio’s
 general rule that transferees and entities for whose benefit the transfer was made are equally
 liable under section 550 for recoveries of avoidable transfers remains undisturbed by these
 statutory amendments.504




 500   Schreiber v. Stephenson (In re Emerson), 235 B.R. 702, 707 (Bankr. D. N.H. 1999) (citations omitted); see
       also In re Café Creme, Ltd., 244 B.R. at 233 (citing In re F & S Cent. Mfg., Corp., 53 B.R. at 848) (noting
       that “[a] creditor who does not deal at arms length with the debtor but who has a special relationship with the
       debtor through which it can compel payment of its debt, has sufficient control over the debtor to be deemed
       an insider”).
 501   874 F.2d 1186 (7th Cir. 1989).
 502   See id. at 1195–96 (7th Cir. 1989) (holding both (1) that a one-year statutory look-back period could apply to
       non-insiders where the insider benefitted in some way from the transfer to the non-insider and (2) that the
       liability of the transferee and the entity “for whose benefit” the transfer was made is coextensive, and that
       “[a] single payment therefore is one ‘transfer,’ no matter how many persons gain thereby”).
 503   See 140 Cong. Rec. H10767 (daily ed. Oct. 4, 1994) (noting that the addition of new section 550(c)
       “overrules the Deprizio line of cases and clarifies that non-insider transferees should not be subject to the
       preference provisions of the Bankruptcy Code beyond the 90-day statutory period”); Bankruptcy Abuse
       Prevention and Consumer Protection Act of 2005, 2005 U.S.C.C.A.N. 88.
 504   See, e.g., Official Comm. of Unsecured Creditors of 360networks (USA) Inc. v. U.S. Relocation Servs., Inc.
       (In re 360networks (USA) Inc.), 338 B.R. 194, 207 n.15 (Bankr. S.D.N.Y. 2005) (“However, both
       amendments relate to the applicable preference period and do not otherwise affect the general rule of
       coextensive liability between transferees and entities for whose benefit the transfer was made.”).

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      AFI and Ally Bank are insiders of the Debtors. AFI was ResCap’s parent company and
 sole shareholder at all relevant times and therefore is an “insider.”505 Ally Bank, another
 wholly-owned subsidiary of AFI, was also an affiliate of the Debtors at all relevant times and
 therefore is an “insider.”506

       There is no presumption of insolvency outside of the ninety-day period preceding the
 petition date, and the burden is therefore on the trustee to establish the debtor’s insolvency on
 the date of the transfer by a preponderance of the evidence in an insider preference case where
 the challenged transfer took place more than ninety days before the petition date.507

                          (f) Hypothetical Chapter 7 Test

      Finally, section 547(b)(5) requires that a transfer must enable a creditor to receive more
 than it would have received in a chapter 7 liquidation had the challenged transfer not been
 made.508 This provision is often referred to as the “hypothetical chapter 7 test” and is
 considered the most important element of the preference analysis “because it determines
 whether the defendant received more than other similarly classified claimants would in a
 hypothetical Chapter 7 distribution.”509 While all other elements of a preference pursuant to


 505   11 U.S.C. § 101(31)(B)(iii) (defining “person in control of the debtor” as a statutory insider); First Day
       Affidavit at 1, n.1.
 506   11 U.S.C. § 101(31)(E) (defining “affiliate” as a statutory insider); id. § 101(2)(B) (defining “affiliate” as a
       “corporation 20 percent or more of whose outstanding voting securities are directly or indirectly owned,
       controlled or held with power to vote . . . by an entity that directly or indirectly owns, controls or holds with
       power to vote, 20 percent or more of the outstanding voting securities of the debtor . . . ”); First Day
       Affidavit, at 8 (“The Debtors are affiliated with Ally Bank, which is an indirect wholly owned subsidiary of
       AFI.”).
 507   See, e.g., Pryor v. Zerbo (In re Zerbo), 397 B.R. 642, 657 (Bankr. E.D.N.Y. 2008) (noting that “[s]ection
       547(f) creates a presumption that the Debtor was insolvent, but that presumption applies only to the ninety
       (90) days preceding the petition date”); Pummill v. McGivern (In re Am. Eagle Coatings, Inc.), 353 B.R. 656,
       669 (Bankr. W.D. Mo. 2006); Roblin Indus., Inc. v. Ford Motor Co. (In re Roblin Indus., Inc.), 78 F.3d 30,
       34 (2d Cir. 1996) (noting that the trustee bears the burden of proving insolvency by a preponderance of the
       evidence).
 508   11 U.S.C. § 547(b)(5); Tese-Milner v. Edidin & Assocs. (In re Operations N.Y. LLC), No. 12-01783, 2013
       WL 1187879, at *13 (Bankr. S.D.N.Y. Mar. 21, 2013) (noting that the hypothetical chapter 7 test “essentially
       imposes an improvement of position test, and the plaintiff must plead facts showing that there are creditors in
       the same class that would receive less than 100% of their claims from the bankruptcy state”); Savage &
       Assocs., P.C. v. Mandl (In re Teligent Inc.), 380 B.R. 324, 339 (Bankr. S.D.N.Y. 2008) (“The proponent must
       construct a hypothetical chapter 7 case, and determine the percentage distribution that the defendant would
       have received on the petition date.”); Aspen Data Graphics, Inc. v. Boulton (In re Aspen Data Graphics,
       Inc.), 109 B.R. 677, 681 (Bankr. E.D. Pa. 1990) (noting that “to prove this element the trustee merely has to
       show that the creditors would receive less . . . in liquidation”).
 509   See McGoldrick v. Juice Farms, Inc. (In re Ludford Fruit Prods., Inc.), 99 B.R. 18, 22 (Bankr. C.D. Cal.
       1989); cf. Pereira v. Summit Bank, No. 94-1565, 2001 WL 563730, at *15 (S.D.N.Y. May 23, 2001) (citing 5
       COLLIER ON BANKRUPTCY ¶ 547.03[7] (Lawrence P. King et al. eds., 15th ed. 2000)) (noting that the
       hypothetical chapter 7 test is “a central element of the preference section”).

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 section 547(b) are determined as of the time the transfer was made, a determination that a
 creditor received more than it would have received in liquidation is measured “as of the time
 of filing the petition.”510

      Under this sub-section, “the court must focus on the relative distribution between classes
 as well as the amount that will be received by the members of the class of which the preferee
 is a member.”511 It is generally acknowledged that, unless creditors would receive a full
 payout, “any unsecured creditor who receives a payment during the preference period is in a
 position to receive more than it would have received under a Chapter 7 liquidation.”512 In
 contrast, payments to a fully secured creditor are generally not preferential under section
 547.513

      In short, when a plaintiff brings a section 547 preference claim, the court is required to
 determine (1) “what a targeted creditor would have received if the” challenged transfer had
 not been made and “the estate had been liquidated and distributed to the creditors as provided




 510   Hassett v. Goetzmann (In re CIS Corp.), 195 B.R. 251, 262 (Bankr. S.D.N.Y. 1996) (“Thus, the [section]
       547(b)(5) analysis is to be made as of the time the Debtor filed its bankruptcy petition.”); see, e.g., Falcon
       Creditor Trust v. First Ins. Funding (In re Falcon Prods., Inc.), 381 B.R. 543, 547 (B.A.P. 8th Cir. 2008)
       (noting that “Supreme Court precedent requires that the hypothetical liquidation test be conducted as of the
       petition date”).
 511   Bankruptcy Reform Act of 1978, Pub. L. 95-598, 1978 U.S.C.C.A.N. (92 Stat. 2549) 5963, 6328; Bankruptcy
       Reform Act of 1978, Pub. L. 95-598, 1978 U.S.C.C.A.N. (92 Stat. 2549) 5787, 5873.
 512   Velde v. Reinhardt, 366 B.R. 894, 898 (D. Minn. 2007); see also Jacobs v. Matrix Capital Bank (In re
       AppOnline.com, Inc.), 315 B.R. 259, 281 (Bankr. E.D.N.Y. 2004) (quoting Elliott v. Frontier Props. (In re
       Lewis W. Shurtleff, Inc.), 778 F.2d 1416 (9th Cir. 1986)) (noting that “as long as the distribution in
       bankruptcy is less than one-hundred percent, any payment ‘on account’ to an unsecured creditor during the
       preference period will enable that creditor to receive more than he would have received in liquidation had the
       payment not been made”).
 513   Buchwald Capital Advisors, LLC v. Metl-Span I., Ltd. (In re Pameco Corp.), 356 B.R. 327, 336 (Bankr.
       S.D.N.Y. 2006) (“Generally, a prepetition transfer to a fully secured creditor will not be considered
       preferential because such creditor would be paid in full in a hypothetical chapter 7 liquidation as a result of
       realization on its claim.”); see also Batlan v. TransAmerica Commercial Fin. Corp. (In re Smith’s Home
       Furnishings, Inc.), 265 F.3d 959, 964, 969 (9th Cir. 2001); Comm. of Creditors Holding Unsecured Claims v.
       Koch Oil Co. (In re Powerine Oil Co.), 59 F.3d 969, 972 (9th Cir. 1995); Ray v. City Bank & Trust Co. (In re
       C-L Cartage Co.), 899 F.2d 1490, 1493 (6th Cir. 1990); Velde v. Kirsch, 366 B.R. 902, 906 n.4 (D. Minn.
       2007), aff’d, 543 F.3d 469 (8th Cir. 2008); Savage Assocs., P.C. v. Cnty. of Fairfax, Va. (In re Teligent, Inc.),
       2006 WL 1030417, *3 (Bankr. S.D.N.Y. Apr. 13, 2006).
       Section VII.F.4 discusses whether a court applying the Minnesota Insider Preference statute would apply a
       hypothetical chapter 7 test even though the Minnesota UFTA does not contain any provision comparable to
       Bankruptcy Code section 547(b)(5).

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 in chapter 7 on the date that the bankruptcy petition was filed,” and (2) “whether the creditor
 in question received more than that amount” taking into account the challenged transfer.514

                b. Overview Of Defenses

      There are several affirmative defenses to preferential transfer allegations that are
 provided by the Bankruptcy Code or that have been developed through judicial rulings. Only
 the defenses that are relevant to the transactions covered by the Investigation are discussed in
 this Section. The defendant has the burden of proving these affirmative defenses by a
 preponderance of the evidence.515

                    (1) Contemporaneous New Value

       Under section 547(c)(1), a trustee may not avoid a transfer to the extent it was:
 (1) intended by the debtor and the transferee to be a contemporaneous exchange for new value
 given to the debtor; and (2) in fact a substantially contemporaneous exchange.516

        Section 547(a)(2) defines “new value” as

                    money or money’s worth in goods, services, or new credit or
                    release by a transferee of property previously transferred to such
                    transferee in a transaction that is neither void nor voidable by
                    the debtor or the trustee under any applicable law, including
                    proceeds of such property, but does not include an obligation
                    substituted for an existing obligation.517




 514   Gouveia v. Cahillane (In re Cahillane), 408 B.R. 175, 210 (Bankr. N.D. Ind. 2009); see also In re Superior
       Toy & Mfg. Co., Inc., 78 F.3d 1169, 1171 (7th Cir. 1996); Neuger v. United States (In re Tenna Corp.), 801
       F.2d 819, 822 (6th Cir. 1986); 4 COLLIER ON BANKRUPTCY, ¶ 547.08, at 547–45 (Lawrence P. King et al.
       eds., 15th ed. 1995); cf. Savage & Assocs., P.C. v. Mandl (In re Teligent Inc.), 380 B.R. 324, 339 (Bankr.
       S.D.N.Y. 2008) (“The proponent must construct a hypothetical chapter 7 case, and determine the percentage
       distribution that the defendant would have received on the petition date.”).
 515   11 U.S.C. § 547(g); Lawson v. Ford Motor Co. (In re Roblin Indus., Inc.), 78 F.3d 30, 39 (2d Cir. 1996).
 516   11 U.S.C. § 547(c)(1); see also Official Comm. of Unsecured Creditors of 360networks (USA) Inc. v. U.S.
       Relocation Services, Inc. (In re 360networks (USA) Inc.), 338 B.R. 194, 204 (Bankr. S.D.N.Y. 2005).
 517   11 U.S.C. § 547(a)(2).

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 The determination of “new value” is a question of fact.518 There is no requirement that the new
 value provided to the debtor be made by the defendant; value provided by a third party is
 sufficient.519

      The second element of the defense requires a determination of whether the parties
 intended a contemporaneous exchange for new value.520 Intent is a question of fact and may
 be proved by circumstantial objective evidence, including the terms in any documents or
 memoranda between the parties.521

      Finally, the contemporaneous new value defense will only be available to a defendant if
 the challenged transfer and the provision of new value were actually made at substantially the
 same time. Whether a transfer is substantially contemporaneous requires a “case-by-case



 518   In re Rustia, 20 B.R. 131 (Bankr. S.D.N.Y. 1982); In re Duffy, 3 B.R. 263 (Bankr. S.D.N.Y. 1980).
 519   See In re 360networks (USA) Inc., 338 B.R. at 205. This rule differs from the new value defense under the
       Minnesota Insider Preference statute and from the subsequent new value defense of section 547(c)(4), neither
       of which generally recognizes value provided by a third party in applying those defenses. This distinction
       arises from the varying language of the statutes. Section 547(c)(4) requires that “such creditor” (i.e., the
       creditor that received the possibly preferential transfer) gives new value, 11 U.S.C. § 547(c)(4), and the
       Minnesota UFTA similarly provides that a transfer is not avoidable “to the extent the insider gave new
       value.” MINN. STAT. ANN. § 513.48(f)(1). These sections therefore require that the creditor/insider that is the
       target of the preferential transfer allegation give new value in order for the affirmative defense to apply. In
       contrast, section 547(c)(1) merely requires that a transfer be intended by the debtor and creditor to be a
       contemporaneous exchange for new value and that such transfer actually be a substantially contemporaneous
       exchange, but includes no requirement that the new value come from the defendant-creditor itself. 11 U.S.C.
       § 547(c)(1).
 520   Buchwald Capital Advisors, LLC v. Metl-Span I., Ltd. (In re Pameco Corp.), 356 B.R. 327, 338 (Bankr.
       S.D.N.Y. 2006) (noting that the Bankruptcy Code requires that both the debtor and the transferee intended
       the transfer to be contemporaneous); In re 360networks (USA) Inc., 338 B.R. at 207 (noting that the relevant
       intent is that of the debtor and either (1) the entity to whom the transfer was made or (2) the entity for whose
       benefit such transfer was made); see, e.g., Hechinger Inv. Co. of Del., Inc. v. Universal Forest Prods., Inc.
       (In re Hechinger Inv. Co.), 489 F.3d 568, 574 (3d. Cir. 2007); Official Plan Comm. v. Expeditors Int’l of
       Wash., Inc. (In re Gateway Pac. Corp.), 153 F.3d 915, 918 (8th Cir. 1998); Sulmeyer v. Suzuki (In re Grand
       Chevrolet, Inc.), 25 F.3d 728, 733 (9th Cir. 1994); Tyler v. Swiss Am. Sec., Inc. (In re Lewellyn & Co., Inc.),
       929 F.2d 424, 428 (8th Cir. 1991); Silverman Consulting, Inc. v. Canfor Wood Prods. Mktg. (In re Payless
       Cashways, Inc.), 306 B.R. 243, 248 (B.A.P. 8th Cir. 2004), aff’d, 394 F.3d 1082 (8th Cir. 2005); Feltman v.
       City Nat’l Bank of Fla. (In re Sophisticated Commc’ns., Inc.), 369 B.R. 689, 703 (Bankr. S.D. Fla. 2007).
 521   In re 360networks (USA) Inc., 338 B.R. at 209; see, e.g., In re Lewellyn & Co., Inc., 929 F.2d at 427 (“The
       existence of intent, contemporaneousness, and new value are questions of fact.”); Ray v. Sec. Mut. Fin. Corp.
       (In re Arnett), 731 F.2d 358, 360 (6th Cir. 1984); In re Payless Cashways, Inc., 306 B.R. at 249 (“Since
       parties rarely testify as to their intent, courts look to the circumstances surrounding each situation.”); Eide v.
       U.S. (In re Quade), 108 B.R. 681, 683 (Bankr. N.D. Iowa 1989); see also In re Gateway Pac. Corp., 153 F.3d
       at 918; Schnittjer v. Pickens (In re Pickens), 2008 WL 63251, *2 (Bankr. N.D. Iowa Jan. 3, 2008); Tomsis v.
       Sales Consultants of Bos, Inc. (In re Salience Assocs., Inc.), 371 B.R. 578, 587 (Bankr. D. Mass. 2007);
       Ganton Techs., LLC v. Chemtool, Inc. (In re Intermet Corp.), 372 B.R. 358, 365–66 (Bankr. E.D. Mich.
       2007).

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 inquiry into all relevant circumstances,”522 including the length of delay, the reasons for any
 delays, and industry standards.523 “Courts have consistently held that payments on account of
 an antecedent debt are not contemporaneous exchanges” for new value.524
                     (2) Ordinary Course Of Business
      Section 547(c)(2) of the Bankruptcy Code provides an “ordinary course” affirmative
 defense to the avoidance of facially preferential transfers. A transfer that satisfies all of the
 elements of a preference is nevertheless unavoidable if:
                     (1) the transfer was in payment of a debt incurred by the debtor
                     in the ordinary course of business or financial affairs of the
                     debtor and the transferee; and (2) such transfer was (a) made in
                     the ordinary course of business or financial affairs of the debtor
                     and the transferee, or (b) made according to ordinary business
                     terms.525
 The Bankruptcy Code does not define “ordinary course of business”; however, courts have
 looked to the legislative history which states that this section is designed to “leave undisturbed
 normal financial relations.”526
      If the defendant can establish that the debtor incurred the antecedent debt in the ordinary
 course of business, it must then establish that the debtor paid that debt in the ordinary course
 as well. When determining whether a transfer was made in the ordinary course of business, the
 bankruptcy court will undertake an objective analysis (i.e., whether the transfer was “made in
 522   In re 360networks (USA) Inc., 338 B.R. at 209 (quoting Pine Top Ins. Co. v. Bank of Am. Natl. Trust & Sav.
       Assoc., 969 F.2d 321, 328 (7th Cir.1992)) (noting that “the modifier ‘substantial’ makes clear that
       contemporaneity is a flexible concept which requires a case-by-case inquiry into all relevant circumstances”).
 523   See Telecash Indus., Inc. v. Universal Assets (In re Telecash Indus., Inc.), 104 B.R. 401, 403–04 (Bankr. D.
       Utah 1989) (noting issue of contemporaneous exchange is “a question of fact”); Gropper v. Samuel Kunstler
       Textiles, Inc. (In re Fabric Buys of Jericho, Inc.), 22 B.R. 1013, 1016 (Bankr. S.D.N.Y. 1989) (finding that
       over ninety days is not contemporaneous); Jahn v. First Tenn. Bank (In re Burnette), 14 B.R. 795, 803
       (Bankr. E.D. Tenn. 1981) (finding twenty days is contemporaneous); see also Pine Top Ins. Co., 969 F.2d at
       328; Moser v. JP Morgan Chase Bank, N.A. (In re Brown), 375 B.R. 348, 354 (Bankr. E.D. Tex. 2007); Kerst
       v. Wray State Bank (In re Kerst), 347 B.R. 418, 426 (Bankr. D. Colo. 2006).
 524   In re 360networks (USA) Inc., 338 B.R. at 205 (citing Sapir v. Keener Lumber Co. (In re Ajayem Lumber
       Corp.), 143 B.R. 347, 352 (Bankr. S.D.N.Y.1992)) (finding that transfer intended by the parties to be for or
       on account of antecedent debt was not a contemporaneous exchange for new value given to the debtor).
 525   11 U.S.C. § 547(c)(2).
 526   Bankruptcy Reform Act of 1978, Pub. L. 95-598, 1978 U.S.C.C.A.N. (92 Stat. 2549) 5963, 6329 (stating that
       the purpose of this defense “is to leave undisturbed normal financial relations, because it does not detract
       from the general policy of the preference section to discourage unusual action by either the debtor or [its]
       creditors during the debtor’s slide into bankruptcy”); Lawson v. Ford Motor Co. (In re Roblin Indus., Inc.),
       78 F.3d 30, 41 (2d Cir. 1996); see also Courtney v. Octopi, Inc. (In re Colonial Discount Corp.), 807 F.2d
       594, 600 (7th Cir. 1986) (“The purpose of the ordinary course of business exception is to ensure that normal
       commercial transactions are not caught in the net of the trustee’s avoidance powers.”); Marathon Oil Co. v.
       Flatau (In re Craig Oil Co.), 785 F.2d 1563, 1566 (11th Cir. 1986).

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 the ordinary course of business or financial affairs of the debtor and the transferee”) and a
 subjective analysis (i.e., whether the transfer was “made according to ordinary business
 terms”).527 Because these two tests are disjunctive, satisfying either prong is sufficient to
 shield a payment from avoidance (so long as the underlying debt was incurred in the ordinary
 course).528

      Although the ordinary course defense has generated a substantial volume of case law
 defining its scope and limits, the Examiner does not believe this defense is even arguably
 relevant to the three transfers discussed in Section VII.F.5.c and, accordingly, the Report does
 not include an encyclopedic exposition of that body of law.

                     (3) Subsequent New Value

       Under section 547(c)(4), a trustee cannot avoid the transfer if the transferee can show
 that, after having received the transfer, it gave new value to the debtor on an unsecured
 basis.529 This affirmative defense recognizes that the “new value” provided by the transferee
 essentially repays the earlier preferential transfer and therefore offsets the harm done to the
 debtor’s other creditors.530 To prevail on this defense the transferee must prove that: (1) it
 extended new value to the debtor after receiving a preference; (2) the new value was
 unsecured; and (3) such new value remains unpaid.531

                     (4) Earmarking

      The earmarking doctrine is not set forth in the Bankruptcy Code but rather is a judge-
 made equitable exception532 that prohibits the avoidance of a transfer otherwise avoidable as a
 preference if: (1) a new lender agrees to advance funds to a debtor on the condition that the
 527   11 U.S.C. § 547(c)(2).
 528   For bankruptcy cases filed prior to October 17, 2005, the ordinary course of business defense required
       establishing that the payment was objectively in the ordinary course, as measured against the industry
       standard. However, for cases filed after Congress’s 2005 amendments to the Bankruptcy Code became
       effective, satisfaction of either the subjective or objective prongs of the test is sufficient. See Cellmark Paper,
       Inc. v. Ames Merch. Corp. (In re Ames Dep’t Stores, Inc.), 470 B.R. 280, 284 n.5 (S.D.N.Y. 2012) (“As the
       Bankruptcy Court noted, section 547(c)(2) of the Bankruptcy Code was amended by the Bankruptcy Abuse
       Prevention and Consumer Protection Act of 2005 . . . In the amended version of section 547(c)(2), a creditor
       need only prove, in addition to the first element, that either the second or third element are met, rather than
       both.”) (citations omitted).
 529   11 U.S.C. § 547(c)(4).
 530   Savage & Assocs., P.C. v. Level(3) Commc’ns (In re Teligent, Inc.), 315 B.R. 308, 315 (Bankr. S.D.N.Y.
       2004) (quoting Kroh Bros. Dev. Co. v. Cont’l Constr. Eng’r, Inc. (In re Kroh Bros. Dev. Co.), 930 F.2d 648,
       652 (8th Cir. 1991)) (“Accordingly, ‘the relevant inquiry under section 547(c)(4) is whether the new value
       replenishes the estate.’”).
 531   In re Teligent, Inc., 315 B.R. at 315 (“A transferee, may, under § 547(c)(4), offset a preferential transfer to
       the extent he gave the debtor ‘new value’ after the date of the transfer, and the ‘new value’ remains unpaid.”)
       (citations omitted); Bruno Mach. Corp. v. Troy Die Cutting Co., LLC (In re Bruno Mach. Corp.), 435 B.R.
       819, 847 (Bankr. N.D.N.Y. 2010).
 532   In re Maxwell Newspapers, Inc., 151 B.R. 63 (Bankr. S.D.N.Y. 1993).

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 debtor use funds to pay a specified antecedent debt; (2) the parties perform the agreement
 according to its terms; and (3) the transaction, when viewed as a whole, does not diminish the
 debtor’s estate.533 The specifics of this defense will be addressed below where applicable.

                c. Transactions That Implicate Bankruptcy Code Section 547

                    (1) March 2012 Payments Made Pursuant To The FRB/FDIC Settlement And
                        The DOJ/AG Settlement

                         (a) Background

      As described in detail in Section V.C, GMAC Mortgage ultimately paid the full fine of
 approximately $109.6 million pursuant to the DOJ/AG Consent Judgment on March 14,
 2012.534 This payment to the government appears to meet all of the conditions of a preferential
 transfer: (1) it was a transfer of GMAC Mortgage’s interest in property for the benefit of the
 government on account of its antecedent obligations under the DOJ/AG Consent Judgment;535
 (2) GMAC Mortgage was insolvent at the time of the transfer;536 (3) the transfer was made
 within ninety days of the filing date of the Debtors’ bankruptcy petitions; and (4) the
 government would have received less than the full payment if the payment had not been made
 and it had received a distribution as an unsecured creditor in a hypothetical chapter 7
 liquidation of GMAC Mortgage.537 However, as noted in Section V.C, the Examiner Scope
 Approval Order specifically limited the scope of the Investigation in this regard “to the
 propriety of the allocation of obligations as among the Debtors and AFI under the [FRB/FDIC
 Consent Order], [DOJ/AG Consent Judgment], and [CMP].”538

      Consistent with the limitations of the Examiner Scope Approval Order, the Examiner has
 analyzed whether GMAC Mortgage could assert that the March 2012 payment made to the
 government is avoidable under section 547 and is recoverable from AFI as “the entity for




 533   See Cadle Co. v. Mangan (In re Flanagan), 503 F.3d 171, 184–85 (2d Cir. 2007) (citing McCuskey v. Nat’l
       Bank of Waterloo (In re Bohlen Enters.)), 859 F.2d 561, 566 (8th Cir. 1988); Kaler v. Cnty. First Nat’l Bank
       (In re Heitkamp), 137 F.3d 1087, 1088–89 (8th Cir. 1998).
 534   See E-mail from C. Dondzila (Mar. 15, 2013) [EXAM11004487]; ResCap Consolidating Financial
       Statements—2012, dated Oct. 29, 2012 [ALLY_0244598].
 535   See DOJ/AG Earmark and Indemnification Agreement, dated Mar. 9, 2012 [ALLY_0001865].
 536   See Section VI.B for the Examiner’s analysis and conclusions as to ResCap’s solvency.
 537   The payment at issue here was not a payment on a tax claim that would have priority under section 507(a)(8)
       of the Bankruptcy Code. Tax priority claims are senior to the claims of the Debtors’ general unsecured
       creditors for purposes of the hypothetical chapter 7 test.
 538   Examiner Scope Approval Order, at 4 n.2.

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 whose benefit such transfer was made” under Bankruptcy Code section 550 (the Examiner
 does not consider any such claims that could be made against the government).539 This Section
 analyzes that potential claim.540
                            (b) Analysis
                               (i) AFI As Co-Obligor On The $109.6 Million Payment
      As noted in Section V.C, the DOJ/AG Consent Judgment provides by its terms that
 ResCap, AFI, and GMAC Mortgage (as the collective “Defendant” under the DOJ/AG
 Consent Judgment) shall collectively pay the $109.6 million hard dollar payment.541 The DOJ/
 AG Consent Judgment also provides that the terms of the exhibits attached to the judgment
 shall govern in the event of a conflict between the judgment and the exhibits.542 Exhibit I of
 the DOJ/AG Consent Judgment, in turn, provides that ResCap, GMAC Mortgage, and RFC
 shall pay the $109.6 million hard dollar payment but is silent as to AFI’s payment
 obligation.543 But the exhibit specifically provides that the parties agreed to this payment “[i]n
 recognition of . . . the agreements of AFI with respect to the payment of settlement funds in
 the event [ResCap, GMAC Mortgage, and RFC] do not perform certain obligations”544 and
 539   11 U.S.C. § 550(a)(1). Notably, AFI and the government contemplated the possibility that these payments
       would be preferential transfers, as evidenced by the DOJ/AG Earmark and Indemnification Agreement, dated
       Mar. 9, 2012 [ALLY_0001865], which indemnifies the U.S. government and certain states from any
       payments required to be made as a result of a chapter 5 avoidance actions.
 540   In any action to recover the March 2012 payment, sovereign immunity, nondischargeablity or some other
       government-specific defense may be asserted in an effort to defeat the underlying preference claim (as
       against the government) and prevent recovery. Although the merits of potential preference claims against the
       government and defenses against those claims are not within the scope of the Investigation, it does not appear
       to the Examiner that meritorious defenses exist given: (1) section 106(a) of the Bankruptcy Code, which
       provides that, among other things, sovereign immunity is abrogated as to a governmental unit (defined in
       section 101(27) of the Bankruptcy Code to include the United States and any State) with respect to claims
       asserted under section 547; and (2) the substantial body of law addressing preference suits against the States.
       See, e.g., 11 U.S.C. § 106(a); Cent. Va. Cmty. College v. Katz, 546 U.S. 356 (2006) (holding that, inter alia,
       sovereign immunity does not protect States from preference avoidance and recovery); Murray v. Withrow (In
       re PM-II Assocs., Inc.), 100 B.R. 94 (Bankr. S.D. Ohio 1989) (holding that a preferential transfer action
       seeking recovery of civil penalties paid to the State of Ohio (pursuant to a consent judgment settling claims
       related to violations of Ohio state law) would not be barred by sovereign immunity because, in part, of an
       earlier codification of section 106 of the Bankruptcy Code); State Comp. Ins. Fund v. Zamora (In re
       Silverman), 616 F.3d 1001 (9th Cir. 2010); Reynolds v. Dixie Nissan (In re Car Renovators), 946 F.2d 780
       (11th Cir. 1991); Babitzke v. Mantelli (In re Mantelli), 149 B.R. 154 (B.A.P. 9th Cir. 1993) (holding that
       nondischargeability is not a relevant issue with respect to the hypothetical chapter 7 test and that collection
       with respect to a nondischargeable debt can still be compelled even if a transfer is avoided as a preference).
       However, if the initial transfer to the government is subject to a meritorious defense, AFI would not be liable
       for the March 2012 payment under section 550 because there would be no underlying avoidable transfer.
 541   DOJ/AG Consent Judgment, ¶ 3. The judgment specifically states that “Defendant” shall pay the settlement
       amount, id. ¶ 3, and defines “Defendant” as ResCap, AFI, and GMAC Mortgage, collectively, id. at 1.
 542   Id. ¶ 19.
 543   Id. Ex. I ¶ 1.
 544   Id. Ex. I, at 1.

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 with the understanding that, pursuant to the terms of the DOJ/AG Earmark and Indemnification
 Agreement, AFI agreed to indemnify the United States government from any payments required
 to be made as a result of chapter 5 avoidance actions directed against the government.545
 Although the documentation is not as clear as the documentation of the CMP Order,546 these
 provisions read together support the proposition that ResCap, GMAC Mortgage, RFC, and AFI
 were all financially liable to the government for the payments, with ResCap, GMAC Mortgage,
 and RFC required to make the payments in the first instance. There are also consistent extrinsic
 indications that the DOJ and AGs viewed AFI as responsible for the relief provided in the
 DOJ/AG Consent Judgment in the event that ResCap could not pay.547

       The March 14 Earmark Agreement, agreed to by AFI and ResCap, provides that
 “pursuant to the Consent Judgment, ResCap is required to pay” the $109.6 million hard dollar
 payment. Although AFI could contend that this statement is an acknowledgement by ResCap
 of its sole responsibility for making these payments, the Examiner concludes that the evidence
 (in this case, the DOJ/AG Consent Judgment itself) supports the proposition that AFI was
 liable to the government along with ResCap, GMAC Mortgage, and RFC.

      An examination of what would happen in a hypothetical chapter 7 liquidation of ResCap
 and its subsidiaries illustrates this point. If ResCap and its subsidiaries had filed for
 bankruptcy prior to making the $109.6 million payment to the government, the government
 would have enforced the payment against AFI (as “Defendant” obligated to make the
 payments provided for in paragraph 3 of the DOJ/AG Consent Judgment) and AFI, in turn,
 would have asserted a claim for that amount in the hypothetical chapter 7 liquidation.
 Although AFI and ResCap apparently agreed between themselves that ResCap and its
 subsidiaries would make the hard dollar payment, that agreement did not change the
 obligations of AFI to the government under the DOJ/AG Consent Judgment.

      The Examiner therefore concludes that the evidence supports the proposition that AFI
 was liable, together with ResCap, RFC, and GMAC Mortgage, for the $109.6 million hard
 dollar payment and that AFI therefore received a benefit in the amount of $109.6 million from
 the payment made by GMAC Mortgage.

                             (ii) AFI As Beneficiary Of DOJ/AG Settlement Release

      Even if AFI were not liable for the $109.6 million hard dollar payment, it would still
 have received a benefit from that payment because AFI received a release as a result of
 GMAC Mortgage’s payment. The DOJ/AG Consent Judgment by its terms provides for a
 release of AFI from certain claims and remedies assertable by the DOJ and the state AGs in
 545   Id. Ex. I, at 1–12.
 546   CMP Order, ¶ 1 (explicitly providing that AFI, ResCap and GMAC Mortgage and its subsidiaries are jointly
       and severally responsible for the $207 million CMP).
 547   See Int. of J. Pensabene, Jan. 9, 2013, at 189:8–190:2 (noting that in discussions regarding the DOJ/AG
       Settlement “the discussion with the government about the [hard dollar] amount was just whether or not [AFI]
       would be a party to the settlement” and that the government “insisted” that AFI be a party “because of
       concern’s about ResCap’s ability to pay the fine”).

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 consideration for, in part, the payment of the $109.6 million hard dollar payment.548
 Regardless of whether AFI was co-liable for the hard dollar payment, AFI indisputably
 received a benefit from that payment in the form of a release from any potential civil or
 administrative claims arising from conduct that occurred prior to the settlement agreement.549

      While not exactly on-point, the decision of the U.S. Bankruptcy Court for the Northern
 District of Texas in Carolyn’s Kitchen v. Cybergenics Corp.550 is instructive. In Carolyn’s
 Kitchen, the debtor made prepetition payments to a creditor on account of a settlement
 agreement for which a non-debtor party was also a co-obligor and then sought to avoid these
 transfers as preferential payments under Bankruptcy Code section 547. After examining the
 transaction, the bankruptcy court held that the Debtor’s payment of $122,500 on account of
 the settlement agreement was a preferential transfer.551 The bankruptcy court also held that the
 non-debtor party that was a “co-maker” of the settlement obligations was “an entity for whose
 benefit such transfer was made within the meaning of §550(a)(1) and is jointly and severally
 liable with [the recipient of the avoidable transfer] for such . . . payment subject to the
 limitation of a single satisfaction set forth in §550(c).”552 While the Carolyn’s Kitchen case
 does not provide a substantive analysis of this issue, it does indicate that there is authority to
 hold a co-obligor under a settlement agreement responsible for the full value of preferential
 transfers made pursuant to that settlement agreement.

                             (iii) Recovery From AFI Under Section 550

       The evidence therefore supports the proposition that AFI was an “entity for whose
 benefit” the avoidable $109.6 million transfer was made, whether or not it was financially
 liable to make the payment.553

     Because: (1) the Examiner concludes that the evidence supports the proposition that AFI
 was liable to the government along with ResCap, GMAC Mortgage, and RFC; (2) the
 Examiner concludes that the evidence supports the proposition that AFI received a direct,
 548   DOJ/AG Consent Judgment, ¶¶ 9–10, Ex. G, H. The consideration set forth in the DOJ/AG Consent
       Judgment for this release also includes the $200 million in consumer relief that was ultimately provided by
       ResCap and its subsidiaries. Pursuant to the terms set forth in Ex. I of the DOJ/AG Consent Judgment, AFI
       agreed to provide this $200 million in consumer relief to the extent that ResCap, GMAC Mortgage, and RFC
       did not perform such obligations. Id. Ex. I ¶ 3.
 549   Id. Ex. G, H. These releases were effective upon payment of the $109.6 million “Direct Payment Settlement
       Amount.” Id. Ex. I, ¶ 3.c.
 550   209 B.R. 204 (Bankr. N.D. Tex. 1997).
 551   Id. at 208.
 552   Id. at 209.
 553   As fully explained in Section V.C.1(f), AFI did believe that there was some benefit to the release that it
       received under the DOJ/AG Settlement, but ultimately determined that there was no “good mechanism” to
       determine an appropriate fair value of the release. See, e.g., DOJ/AG Settlement—Allocation Scenarios,
       dated Feb. 13, 2012 [EXAM10999353] (attached to E-mail from H. McKay (Feb. 13, 2012)
       [EXAM10999352]); Int. of D. DeBrunner, Apr. 18, 2013, at 77:17–24, 81:20–82:8.

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 ascertainable, and quantifiable benefit commensurate with the full amount of the value
 transferred by being relieved of its obligations to make the $109.6 million payment in the
 event ResCap and its subsidiaries did not make the payment; (3) there is authority to suggest
 that a co-obligor under a settlement agreement is an “entity for whose benefit” a payment
 under that settlement agreement is made; (4) whether or not AFI was liable to make the
 payment, AFI received a benefit from GMAC Mortgage’s transfer of the $109.6 million by
 obtaining a release from certain claims and remedies assertable by the DOJ and the state AGs;
 and (5) an entity for whose benefit an avoidable transfer was made would be jointly and
 severally liable with the recipient of an avoided transfer in a recovery action under section 550
 of the Bankruptcy Code, the Examiner concludes it is likely that a preference claim under
 section 550 of the Bankruptcy Code against AFI for $109.6 million would prevail.

                             (iv) Effect Of The March 14 Earmark Agreement And AFI’s $196.5
                                  Million Debt Forgiveness

      If faced with the argument that all or a portion of the $109.6 million payment is
 recoverable against it under section 550, AFI would likely argue that the March 14 Earmark
 Agreement, clarifying the January 30 Letter Agreement, invokes the protection of the
 “earmarking doctrine” and would prevent AFI from being held responsible for this transfer. If
 the earmarking doctrine does apply, the funds transferred by GMAC Mortgage were never
 part of GMAC Mortgage’s assets and therefore do not meet the threshold requirements of
 section 547 of the Bankruptcy Code.554 The earmarking doctrine is a judicially-crafted
 doctrine that focuses on the requirement that a preferential transfer must be a transfer “of an
 interest of the debtor in property” and recognizes that, “where a third party lends money to the
 debtor for the specific purposes of paying a selected creditor,” no transfer of the debtor’s
 property has occurred because such transferred funds were “earmarked.”555

      Pursuant to the terms of the January 30 Letter Agreement, AFI agreed to forgive $196.5
 million of indebtedness under the A&R Line of Credit Agreement, under which RFC and
 GMAC Mortgage were borrowers and ResCap and certain other affiliates were guarantors. As
 explained in Section V.E, the A&R Line of Credit Agreement was entered into on
 December 30, 2009 by amending, restating, and consolidating the Initial Line of Credit
 Agreement and the Second Line of Credit Agreement. These secured revolver facilities were
 designed to provide ResCap and its subsidiaries with additional liquidity.




 554   See, e.g., Chase Manhattan Mort. Corp. v. Shapiro (In re Lee), 530 F.3d 458, 468 (6th Cir. 2008) (“The
       earmarking doctrine, then, is a judicially-created defense that may be invoked by a defendant to a preference
       action in an attempt to negate § 547(b)’s threshold requirement—a transfer of an interest of the debtor in
       property.”).
 555   See, e.g, Cadle Co. v. Mangan (In re Flanagan), 503 F. 3d 171, 184 (2d Cir. 2007).

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      On January 30, 2012, AFI forgave the $196.5 million of indebtedness as set forth in the
 January 30 Letter Agreement.556 ResCap then allocated $124.2 million of this forgiveness to
 GMAC Mortgage and the remaining $72.3 million of forgiveness to RFC.557 GMAC Mortgage
 then took advantage of this additional availability under the A&R Line of Credit Agreement to
 borrow $112 million, of which $109.6 million was paid to the government on March 14,
 2012.558

      The March 14 Earmark Agreement provides that ResCap “reaffirms and agrees” that:
 (1) the debt forgiveness provided by AFI was to allow ResCap to make the $109.6 million
 hard dollar payment; (2) without the debt forgiveness provided by AFI, ResCap would be
 unable to make the $109.6 million hard dollar payment; (3) $109.6 million of the liquidity
 provided by the $196.4 million debt forgiveness will be used solely to fund the $109.6 million
 hard dollar payment; and (4) AFI’s provision of capital support and ResCap’s use of that
 capital support “viewed as a whole, does not result in any additional debt obligations or other
 diminution of ResCap.”559

     In the classic earmarking case, a third party makes a loan to a debtor specifically to
 enable that debtor to satisfy the claim of a designated creditor. As Collier’s notes:

                    Under the “earmarking doctrine,” funds provided to a debtor for
                    the purpose of paying a specific indebtedness may not be
                    recoverable as a preference from the creditor to which they are
                    paid, on the premise that the property “transferred” in such a
                    situation was never property of the debtor and so the transfer did
                    not disadvantage other creditors. One creditor has been
                    substituted for another; Thus when new funds are provided by
                    the new creditor to or for the benefit of the debtor for the
                    purpose of paying the obligation owed to the older creditor, the
                    funds are said to be “earmarked” and the payment is held not to
                    be a voidable preference.560

      To determine if the earmarking doctrine should apply, courts have developed a three-part
 test which examines: (1) whether there is an agreement between the new lender and the debtor
 556   See GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and
       2010 (Mar. 28, 2012), at 11, 69 [RC00032177] (stating that on January 30, 2012 GMAC Mortgage
       “recognized a capital contribution . . . of $124.2 million, and a corresponding reduction in borrowings under
       the [A&R Line of Credit Agreement]”); Residential Funding Company, LLC Consolidated Financial
       Statements for the Years Ended December 31, 2011 and 2010 (Mar. 28, 2012), at 11, 61 [RC00032246]
       (stating that on January 30, 2012, RFC “recognized a capital contribution . . . of $72.3 million, and a
       corresponding reduction in our borrowings under the [A&R Line of Credit Agreement]”).
 557   Memorandum, Significant Transaction Memo: General Information and Transaction Description Re
       Mortgage Fine, Waivers and Debt Forgiveness, dated Feb. 2012, at EXAM00220160 [EXAM00220147].
 558   See ResCap Daily Liquidity Rollforward, dated Mar. 14, 2012 [EXAM00010050].
 559   March 14 Earmark Agreement, ¶ 1–4.
 560   5 COLLIER ON BANKRUPTCY, ¶ 547.03[2][a] (Alan N. Resnick & Henry J. Sommer eds., 16th ed.).

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 that the new funds will be used to pay a specified antecedent debt; (2) whether that agreement
 was performed according to its terms; and (3) whether the transaction viewed as a whole
 (including the transfer in of the new funds and the transfer out to the old creditor) does not
 result in any diminution of the estate.561 Notably, “the doctrine will only protect a transfer
 from avoidance to the extent it did not diminish the debtor’s estate.”562 “[W]here a debtor
 replaces an unsecured obligation with a secured obligation, the payment is voidable to the
 extent of the collateral transferred by the debtor.”563 In other words, where a debtor offers its
 own property as collateral for the loan that is allegedly subject to the earmarking doctrine, the
 debtor has “transferred an interest in its property and therefore the earmarking defense is not
 available.”564

       The Examiner concludes that the transaction described above does not satisfy the
 requirements for invoking the earmarking doctrine in favor of AFI. GMAC Mortgage paid an
 unsecured obligation owed to the government by drawing down $112 million on its pre-
 existing secured loan agreement, $109.6 million of which was then used to pay the fine.565
 This draw was made under the A&R Line of Credit Agreement and accompanying A&R Line
 of Credit Security Agreement, which granted a lien in favor of AFI over specified collateral to
 the extent that any obligations under the A&R Line of Credit Agreement remain
 outstanding.566 The obligations, including the obligations arising from this draw, were secured
 by the liens on GMAC Mortgage’s assets granted under the A&R Line of Credit Security
 Agreement.567 As discussed in Section VI.F.1, the collateral securing the A&R Line of Credit
 Facility was worth more than the outstanding amount of that obligation, i.e., the facility was
 oversecured. Given that GMAC Mortgage therefore exchanged an unsecured obligation for a
 secured obligation, the Examiner concludes that the evidence does not support the proposition
 that the earmarking doctrine would apply to this transaction.

                              (v) Limitation On Recovery To The Value Received By AFI

     AFI may seek to limit its liability for the full $109.6 million based on the argument that it
 was not jointly and severally obligated on the DOJ/AG Consent Judgment and/or that it did
 561   See, e.g, Cadle Co. v. Mangan (In re Flanagan), 503 F. 3d 171, 184–85 (2d Cir. 2007) (citing McCuskey v.
       Nat’l Bank of Waterloo (In re Bohlen Enters.), 859 F.2d 561, 566 (8th Cir. 1988)).
 562   In re Flanagan, 503 F. 3d at 185 (citing Glinka v. Bank of Vt. (In re Kelton Motors, Inc.), 97 F.3d 22, 28 (2d
       Cir. 1996)).
 563   In re Flanagan, 503 F. 3d at 185–86 (citing In re Kelton Motors, Inc., 97 F.3d at 28).
 564   In re Kelton Motors, Inc., 97 F.3d at 29.
 565   The total amount that GMAC Mortgage drew down was actually $112 million, which draw occurred on
       March 14, 2012 (the same day of the payment to the government) and was tied to the payment of the hard
       dollar fine under the DOJ/AG Consent Judgment. See ResCap Daily Liquidity Rollforward, dated Mar. 14,
       2012 [EXAM00010050].
 566   A&R Line of Credit Security Agreement, ¶ 2 [EXAM00110733].
 567   At the time of this draw, it is clear that the A&R Line of Credit Agreement was oversecured. See A&R Line
       of Credit Agreement Monthly Borrowing Base Report for the Reporting Period Ending on Mar, 31, 2012,
       dated Apr. 16, 2012 [EXAM00221830].

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 not receive the entire benefit from the payment in question. This argument would likely rest
 on: (1) an assertion that the terms of the DOJ/AG Consent Judgment and its accompanying
 exhibits were unclear and therefore do not make AFI liable for the hard dollar payment;
 (2) the agreement by ResCap and its subsidiaries to make the payment; and (3) the fact that
 some courts have held that transfer beneficiary liability “should be limited to the value of the
 benefit actually received” by such entity.568

       The Examiner has concluded that the evidence supports the proposition that AFI was
 jointly liable to the government for the $109,628,425 hard dollar payment. Even if this
 conclusion is incorrect, there is a body of case law holding that section 550(a)(1) of the
 Bankruptcy Code permits an avoided transfer to be recovered from either the initial transferee
 or the entity for whose benefit such transfer was made and that such liability is
 “coextensive.”569 The Examiner therefore concludes it is unlikely that an effort by AFI to limit
 the amount of its liability for this transfer would prevail.

                              (vi) Other Possible Defenses

      AFI may assert that one or more of the affirmative defenses found in section 547(c)
 should apply to prevent avoidance and recovery. The Examiner concludes it is unlikely that
 the ordinary course defense of section 547(c)(2) would be applicable here because the
 payment on account of the DOJ/AG Settlement was a one-time transaction and was incurred
 and paid under extraordinary circumstances.570

      AFI may argue that this transfer should be protected by the new value defenses contained
 in section 547(c)(1) because the transfer of the $109.6 million payment provided GMAC
 Mortgage with a release from its obligations under the DOJ/AG Consent Judgment. This
 argument has been rejected by courts on the basis that “settlement agreements which require


 568   Terry v. Meredith (In re Stephen S. Meredith, CPA, P.C.), 367 B.R. 558, 562 (E.D. Va. 2007).
 569   Official Comm. of Unsecured Creditors of 360networks (USA) Inc. v. U.S. Relocation Servs., Inc. (In re
       360networks (USA) Inc.), 338 B.R. 194, 207 (Bankr. S.D.N.Y. 2005) (“[Section 550] provides that a transfer
       that is avoided under § 547 can be recovered from either the initial transferee or the entity ‘for whose benefit
       such transfer was made.’ The liability of these two parties is coextensive.”); see also Section VII.F.8.
 570   See Official Comm. of Unsecured Creditors of Enron Corp. v. Martin (In re Enron Creditors Recovery
       Corp.), 376 B.R. 442, 462 (Bankr. S.D.N.Y. 2007) (“[F]or a ‘first time’ transfer to qualify for application of
       the defense [in 11 U.S.C. § 547(c)(2)], it should be of a type that could have been a ‘recurring, customary
       trade transaction had the parties continued their business relationship—not a single isolated transaction that
       would never have been repeated in any case.”); Durant’s Rental Ctr., Inc. v. United Truck Leasing, Inc. (In re
       Durant’s Rental Ctr., Inc.), 116 B.R. 362, 365 (Bankr. D. Conn. 1990) (finding that the parties’ settlement
       “was a one time, non-recurring transaction outside of the ordinary course of their business” because 11
       U.S.C. § 547(c)(2) is not meant to protect “one time payments in settlement of contractual claims”);
       Intercontinental Publ’ns, Inc. v. Perry (In re Intercontinental Publ’ns, Inc.), 131 B.R. 544, (Bankr. D. Conn.
       1991) (finding that severance and attorney’s fee payment to former editor-in-chief of magazine resulting
       from publisher’s violation of employment contract was not a “recurring” transaction within the meaning of
       11 U.S.C. § 547(c)(2)).

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 expenditures by the debtor without tangible enhancement of the estate rarely provide new
 value of the sort contemplated by § 547(a)(2).”571 Or, in the words of the Seventh Circuit:

                     [A] payment is not a preference unless the debtor is insolvent
                     and the creditor receives more than he would have otherwise
                     received. Therefore, in a preference situation a release is likely
                     to be worthless to other creditors. The release does not free up
                     any assets for other creditors because the debtor could not have
                     paid the preferred claim anyway. All the payment for the
                     settlement and release does is deplete the debtor’s estate at the
                     other creditors’ expense, frustrating Congress’s intent to
                     promote fair distribution among creditors.572

 Given this authority, the Examiner concludes it is unlikely that a defense based on new value
 provided to GMAC Mortgage as a result of a release from the judgment would succeed.

      Finally, the Examiner also concludes it is unlikely that an argument that AFI provided
 contemporaneous new value under section 547(c)(1) by forgiving a portion of GMAC
 Mortgage’s indebtedness under the A&R Line of Credit Agreement on January 30, 2012
 would prevail. Even if the debt forgiveness is assumed to be contemporaneous (a matter that is
 not self-evident), GMAC Mortgage had to re-borrow the entire amount needed to pay the fine
 under the A&R Line of Credit Agreement,573 thereby eliminating any new value arguably
 provided by the January 30, 2012 debt forgiveness.574

       AFI may also argue that it provided some form of subsequent new value to GMAC
 Mortgage and that the $109.6 million payment would therefore be protected by section
 547(c)(1) or 547(c)(4) of the Bankruptcy Code. However, as set forth in Section VII.F.4, the
 last possible new value provided by AFI to GMAC Mortgage occurred on January 30, 2012,
 when AFI forgave $196.5 million of indebtedness under the A&R Line of Credit
 571   Phx. Rest. Grp, Inc. v. Fuller, Fuller & Assocs., P.A. (In re Phx. Rest. Grp., Inc.), 316 B.R. 671, 680 (Bankr.
       M.D. Tenn. 2004); see also Carolyn’s Kitchen, Inc. v. Cybergenics Corp. (In re Carolyn’s Kitchen, Inc.), 209
       B.R. 204 (Bankr. N.D. Tex. 1997); Bioplasty, Inc. v. First Trust Nat’l Ass’n (In re Bioplasty, Inc.), 155 B.R.
       495 (Bankr. D. Minn. 1993).
 572   Energy Co-op., Inc. v. SOCAP Int’l, Ltd. (In re Energy Co-op., Inc.), 832 F.2d 997, 1003–04 (7th Cir. 1987).
 573   The total amount that GMAC Mortgage drew down was actually $112 million, which draw occurred on
       March 14, 2012 (the same day of the payment to the government) and was tied to the payment of the hard
       dollar fine under the DOJ/AG Consent Judgment. See ResCap Daily Liquidity Rollforward, dated Mar. 14,
       2012 [EXAM00010050].
 574   See GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and
       2010 (Mar. 28, 2012), at 11, 69 [RC00032177] (stating that on January 30, 2012 GMAC Mortgage
       “recognized a capital contribution . . . of $124.2 million, and a corresponding reduction in borrowings under
       the [A&R Line of Credit Agreement]”); Residential Funding Company, LLC Consolidated Financial
       Statements for the Years Ended December 31, 2011 and 2010 (Mar. 28, 2012), at 11, 61 [RC00032246]
       (stating that on January 30, 2012, RFC “recognized a capital contribution . . . of $72.3 million, and a
       corresponding reduction in our borrowings under the [A&R Line of Credit Agreement]”).

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 Agreement.575 Given that the debt forgiveness occurred fifteen days before GMAC
 Mortgage’s payment of the $109.6 million, it does not qualify as a subsequent infusion of new
 value.576

                        (c) Conclusion577

       The Examiner concludes that it is likely that the $109.6 million payment made by GMAC
 Mortgage to the government on March 14, 2012 on account of the obligations under the DOJ/
 AG Consent Judgment would be avoidable as a preferential transfer under section 547 and that
 the payment would be recoverable from AFI under section 550 as an entity for whose benefit
 the transfer was made.

                    (2) March 2012 Payments Made To Ally Bank Pursuant To The MMLPSA And
                        Pipeline Swap

                        (a) Background

      As set forth in greater detail in Section V.B, the Examiner has concluded that revenues
 on loans brokered by GMAC Mortgage were likely improperly allocated to Ally Bank for the
 period between January 1, 2009 and May 2012, when the MMLPSA and the Pipeline Swap
 were terminated. That allocation appears to have been in breach of GMAC Mortgage’s and
 Ally Bank’s agreement, as documented in the MMLPSA and the Pipeline Swap, that all
 revenues (except net carry) from the GMAC Mortgage-brokered loans would be payable to
 GMAC Mortgage. Section V.B sets forth in detail the facts underlying this issue and, in
 Section V.B, the Examiner concludes that GMAC Mortgage likely would succeed on a
 contractual claim that the allocation of revenues (to GMAC Mortgage) from January 1, 2009
 to July 31, 2009 were proper and that GMAC Mortgage is entitled to payment of the revenues
 thereafter misallocated to the Bank. Accordingly, the preference issue discussed in this
 Section would be moot if, as the Examiner has concluded is likely, such a contractual claim by
 GMAC Mortgage were to prevail and would be relevant only if (contrary to the Examiner’s
 conclusion) such a contractual claim were not to prevail.

      As discussed in greater detail in Section V.B, GMAC Mortgage did in the first instance
 receive revenues for the period between January 1, 2009 and July 31, 2009, with Ally Bank
 earning only net interest carry during that period. In early 2012, Ally Bank demanded that
 ResCap pay to Ally Bank the funds received by GMAC Mortgage during the first half of 2009
 575   See ResCap 2011 Financial Statements, at 39 [EXAM00122651]. Only $124.2 million of this total
       forgiveness was allocated to GMAC Mortgage. See GMAC Mortgage, LLC Consolidated Financial
       Statements for the Years Ended December 31, 2011 and 2010 (Mar. 28, 2012), at 11, 69 [RC00032177].
 576   See Eisenberg v. O. Censor & Co., (In re Baumgold Bros.), 103 B.R. 436, 439 (Bankr. S.D.N.Y. 1989) (“[A]
       preferential transfer may be set off only against new value advanced after the preference was received.”).
 577   As noted in Section VII.F.3 above, because fraudulent transfer issues related to GMAC Mortgage are likely
       governed by Pennsylvania law and Pennsylvania (unlike Minnesota) has not adopted an Insider Preference
       avoidance statute, there are no alternative state law preference recovery issues that need to be analyzed
       regarding this transaction.

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 (plus interest). On March 27, 2012, at Ally Bank’s demand,578 GMAC Mortgage paid $51.4
 million to Ally Bank for what the parties noted was a reimbursement of revenues and
 expenses that was allegedly owed to Ally Bank for the period between January 1, 2009 and
 July 31, 2009. At the same time, contingent on GMAC Mortgage’s payment to Ally Bank,
 AFI forgave an equivalent amount of intercompany debt owed by GMAC Mortgage to AFI.
                         (b) Analysis
       The Examiner concludes that it is likely that GMAC Mortgage’s $51.4 million payment to
 Ally Bank meets the prima facie elements of a preferential transfer: (1) it was a transfer of
 GMAC Mortgage’s interest in property (cash) to and for the benefit of Ally Bank to satisfy
 amounts owed pursuant to the MMLPSA and the Pipeline Swap (antecedent debts); (2) GMAC
 Mortgage was insolvent at the time of the transfer; (3) the transfer was made within ninety days
 of the filing date of the Debtors’ bankruptcy petitions; and (4) Ally Bank would have received
 less than the full $51.4 million under the hypothetical chapter 7 liquidation test.
                         (c) Possible Defenses
     Even though it is likely that GMAC Mortgage could establish a prima facie case that its
 March 27 payment of $51.4 million to Ally Bank was an avoidable preference, the Examiner
 nonetheless concludes that it is likely that Ally Bank could establish, pursuant to section
 546(g) of the Bankruptcy Code, a valid safe harbor defense to avoidance of that payment.
      As set forth above, section 546(g) precludes avoidance of a transfer, except pursuant to
 section 548(a)(1)(A) of the Bankruptcy Code, if: (1) a swap agreement exists; (2) the
 challenged transfer was made by, to or for the benefit of a swap or financial participant;
 (3) the challenged transfer was made “under” or “in connection with” the swap agreement;
 and (4) the transfer occurred prior to the commencement of the bankruptcy case.579 The
 Examiner concludes that GMAC Mortgage’s March 27, 2012 payment to Ally Bank likely
 meets all of these criteria.
     First, the Pipeline Swap falls squarely within the definition of a “swap agreement.”580 It
 was documented under an International Swaps and Derivatives Association (“ISDA”) Master
 Agreement—Multicurrency-Cross Border (1992 form) and related Schedule,581 and was
 578   The ordinary course defense of section 547(c)(2) is not applicable here. Payments made as a result of unusual
       economic pressure or debt collection practices do not fall within the “ordinary course of business.” See, e.g.,
       Buchwald Capital Advisors, LLC v. Metl-Span I., Ltd. (In re Pameco Corp.), 356 B.R. 327, 340 (Bankr.
       S.D.N.Y. 2006).
 579   See 11 U.S.C. § 546(g).
 580   See 11 U.S.C. § 101(53B).
 581   2004 Pipeline Swap [ALLY_0041583]; 2004 Pipeline Swap Schedule [ALLY_0041808]. The Pipeline Swap
       was amended several times and eventually was documented under a 2002 ISDA Master Agreement, dated as
       of April 1, 2011, an Amended and Restated Schedule to the 2002 ISDA Master Agreement, dated as of
       April 1, 2011, and an ISDA Credit Support Annex to the Schedule to the Master Agreement, dated as of
       April 1, 2011. The April 2002 ISDA Master Agreement, Amended and Restated Schedule and Credit Support
       Annex also applied to the MSR Swap. There were separate confirmations for the Pipeline Swap and the MSR
       Swap.

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 designed to hedge the Bank from any changes in the fair market value of loans (generally
 because of market interest rate changes) between “rate lock” and “funding” of the loans.582
 The definition of “swap agreement” is very broad,583 and includes “an interest rate swap,
 option, future, or forward agreement.”584
       Second, Ally Bank, the recipient of the transfer, is a “swap participant” because it had an
 outstanding swap agreement—namely the Pipeline Swap—with GMAC Mortgage prior to the
 Petition Date.585
       Third, although the payment does not appear to have been made “under” the Pipeline
 Swap, as it was not “accomplished according to the method prescribed in the agreement
 itself,”586 it nevertheless occurred “in connection with” the Pipeline Swap. As discussed more in
 Section V.B.5, GMAC Mortgage and Ally Bank did not account for mortgage loans sold from
 Ally Bank to GMAC Mortgage in strict compliance with the terms of the MMLPSA and
 Pipeline Swap, but the net effect was to get to the same economic result.587 Had GMAC
 Mortgage and Ally Bank accounted for the transfer of funds strictly in accordance with the
 terms of the agreements, the amount “repaid” by GMAC Mortgage to Ally Bank in March 2012
 would have been with respect to funds owing “under” the Pipeline Swap. As discussed in more
 detail in Section V.B.6.b, it was the combined effect of the 2008 MMLPSA and the Pipeline
 Swap by which GMAC Mortgage purchased loans from Ally Bank and funds relating to those
 loans flowed between the two parties with respect to those loans. At a minimum, therefore, the
 funds paid by GMAC Mortgage to the Bank were “in connection with” the Pipeline Swap.588
      Fourth, the payment occurred on March 27, 2012, before the Petition Date. With this, all
 four elements of the section 546(g) defense are present, and the Examiner concludes that it is
 likely that Ally Bank would prevail on a defense that the entire payment is not subject to
 avoidance under section 547 of the Bankruptcy Code by reason of the safe harbor defense.589
 582   See Section V.B.4 for more information on the Pipeline Swap.
 583   See Hutson v. E.I. DuPont de Nemours & Co. (In re Nat’l Gas Distrib., LLC), 556 F.3d 247, 253 (4th Cir.
       2009) (“With the 2005 Amendments to the Bankruptcy Code, adopted in the Bankruptcy Abuse Prevention
       and Consumer Protection Act of 2005, Pub. L. No. 109-8, 119 Stat. 23 (2005) . . . Congress substantially
       expanded the protections it had given to financial derivatives participants and transactions by expanding the
       definition of ‘swap participants’ and ‘swap agreements’ that are exempted from the automatic stay and from
       trustees’ avoidance powers.”).
 584   11 U.S.C. § 101(53B)(A)(i)(I).
 585   See id. § 101(53C).
 586   Interbulk, Ltd v. Louis Dreyfus Corp. (In re Interbulk, Ltd.), 240 B.R. 195, 202 (Bankr. S.D.N.Y. 1999).
 587   See Section V.B.5. Note that reaching the same economic result under the MMLPSA and Pipeline Swap
       requires an assumption that the Pipeline Swap is to include the period from funding to sale, and to include
       originated loans, as discussed in more detail in Section V.B.
 588   See Casa de Cambio Majapara S.A. de C.V. v. Wachovia Bank, N.A. (In re Casa de Cambio Majapara S.V.
       de C.V.), 390 B.R. 595, 598–99 (Bankr. N.D. Ill. 2008) (noting that section 546(g) only requires “that the
       transfer be ‘under or in connection with any swap agreement,’” and that the court’s analysis does not end
       simply because the payments were not “under” the swap agreement).
 589   11 U.S.C. § 546(g).

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                        (d) Conclusion590
      The Examiner concludes that is unlikely that a preferential transfer claim related to the
 March 2012 payments to Ally Bank Pursuant to the MMLPSA and Pipeline Swap would
 prevail.
                    (3) May 2012, Loan Modification Reimbursement Payments
                        (a) Background
       As described more fully in Section V.C, on May 10 and 11, 2012, GMAC Mortgage
 made multiple payments, totaling approximately $48.4 million,591 to Ally Bank pursuant to the
 January 30 Letter Agreement and the terms of the A&R Servicing Agreement’s AG Menu
 Matrix.592 Under the A&R Servicing Agreement, GMAC Mortgage was permitted to modify
 certain Ally Bank loans to a greater extent than it was permitted to under the Original
 Servicing Agreement. However, GMAC Mortgage was required to indemnify Ally Bank for
 loss incurred as a result of such loan modifications to the extent such modifications exceeded
 those permitted under the Original Servicing Agreement.
                        (b) Analysis
      The Examiner concludes that it is likely that an action to avoid the May 10 and 11, 2012
 payments as preferential transfers would prevail. First, the Examiner concludes that the
 evidence supports the propositions that Ally Bank, for whose benefits the payments were
 made, was a creditor of GMAC Mortgage and that the payments were made on account of an
 antecedent debt. Although the A&R Servicing Agreement was not executed until after the
 May 10 and 11, 2012 payments were made, the Examiner concludes that GMAC Mortgage
 was likely nevertheless required to make the payments at issue by the terms of the January 30
 Letter Agreement, which bound GMAC Mortgage to comply with the A&R Servicing
 Agreement.593 Indeed, Jim Young, Chief Financial Executive for Ally Bank, specifically
 rejected the notion that the fact that GMAC Mortgage had not yet signed the A&R Servicing
 Agreement limited GMAC Mortgage’s responsibility to pay, stating that “[o]nce they
 [(meaning GMAC Mortgage)] have performed the principal reductions in line with the
 [January 30 Letter Agreement], they owe [Ally Bank] the money.”594 Further, the transfers
 590   As noted in Section VII.F.2 above, because fraudulent transfer issues related to GMAC Mortgage are likely
       governed by Pennsylvania law, and Pennsylvania (unlike Minnesota) has not adopted an Insider Preference
       avoidance statute, there are no alternative state law preference recovery issues that need to be analyzed
       regarding this transaction.
 591   As noted in Exhibit V.C.1.d(4)(b)(iii)(A), GMAC Mortgage ultimately paid $96.8 million pursuant to the
       January 30 Letter Agreement and the A&R Servicing Agreement. Only the $48.4 million discussed here was
       paid prepetition and therefore is the subject of this analysis.
 592   The May 10, 2012 payment totaled $45 million and the May 11, 2012 payment totaled $3.4 million. See
       Exhibit V.C.1.d(4)(b)(iii)(A).
 593   See Section V.C.2.e.
 594   E-mail from J. Young to H. Benton, B. Yastine, C. Evans, D. Shevsky, and P. Murray (May 7, 2013), at
       EXAM20272697 [EXAM20272696] (discussing Ally Bank’s right to immediate payment under the
       Amended Subservicing Agreement).

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 occurred well within the preference period, occurring only days before the Petition Date.
 Finally, the Examiner concludes that these payments enabled Ally Bank to receive more than
 it would have received under the hypothetical chapter 7 test.595
                         (c) Possible Defenses
      The Investigation has not uncovered any potential preference defenses that would apply
 to these payments.596 In particular, the Examiner concludes it is likely that any argument that
 these payments were contemporaneous exchanges for new value would fail. These payments
 were not made to secure any “new value” attributable to Ally Bank’s agreement to enter into
 the A&R Servicing Agreement on May 11, 2012, but rather were payments of a debt incurred
 in accordance with the January 30 Letter Agreement.597 The evidence supports this
 proposition. Ally Bank’s invoices for these payments stated that the payments related to “loan
 modification activities performed by GMAC Mortgage, LLC as sub-servicer, prior to
 April 30, 2012 and in connection with the DOJ/State AG Settlement.”598 Barbara Yastine, the
 CEO of Ally Bank, stated in an e-mail to Thomas Marano that “[u]nder the terms of the
 [January 30 Letter Agreement], ResCap committed to reimbursing [Ally] Bank for DOJ
 modifications as a condition to doing such modifications . . . .”599 She further expressly stated
 the payments were not related to the A&R Servicing Agreement, noting that “tying
 reimbursement to the new servicing agreement puts ResCap in breach of the January 30
 [Letter] Agreement.”600 Marano replied to Yastine in a letter on May 9, 2012: “[Ally] Bank
 authorized the use of its portfolio for modifications . . . . This was done . . . on the condition
 that [Ally] Bank would be reimbursed for its losses consistent with the language in the
 [January 30 Letter Agreement] . . . .”601 Finally, the parties expressly set out their
 understanding in a May 11, 2012 agreement, which specified that “[t]he parties acknowledge
 595   E-mail from H. Benton to J. Young, B. Yastine et al. (May 7, 2012), at EXAM20272697 [EXAM20272696]
       (stating that he spoke to Ray Schrock and that Ray indicated “[b]etter to have the money and fight over a
       preference than have an unsecured claim”).
 596   As noted above, the last possible subsequent new value provided by AFI to GMAC Mortgage occurred on
       January 30, 2012 when it forgave indebtedness under the A&R Line of Credit Agreement. Given that this
       debt forgiveness occurred over two months before GMAC Mortgage’s payment to Ally Bank, it does not
       qualify as subsequent new value. See, e.g., Eisenberg v. O. Censor & Co., Inc. (In re Baumgold Bros., Inc.),
       103 B.R. 436, 439 (Bankr. S.D.N.Y. 1989) (“[A] preferential transfer may be set off only against new value
       advanced after the preference was received.”). Furthermore, the ordinary course defense of section 547(c)(2)
       is not applicable here. Payments made as a result of unusual economic pressure or debt collection practices
       do not fall within the “ordinary course of business.” See, e.g., Buchwald Capital Advisors, LLC v. Metl-Span
       I., Ltd. (In re Pameco Corp.), 356 B.R. 327, 340 (Bankr. S.D.N.Y. 2006). As fully set forth in Section
       V.C.2.e, such pressure occurred here.
 597   See Section V.C.2.e.
 598   See Invoice from Ally Bank to ResCap (May 9, 2012) [ALLY_0196290]; Invoice from Ally Bank to ResCap
       (May 10, 2012) [ALLY_0196308]; see also E-mail from J. Pensabene (May 9, 2012) [ALLY_0196286]
       (“The money will be transferred first thing tomorrow.”).
 599   E-Mail from B. Yastine to T. Marano (May 8, 2012), at ALLY_0182249 [ALLY_0182247].
 600   Id.
 601   Letter from T. Marano to B. Yastine (May 9, 2012), at EXAM20208564 [EXAM20208564].

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 that [the loan modifications performed] are conditioned on full reimbursement to Ally Bank of
 all losses in accordance with the [January 30 Letter Agreement].”602 The parties did not intend
 for these payments to be contemporaneous exchanges for any value attributable to Ally
 Bank’s entry into the A&R Servicing Agreement on May 11, 2012.

      Nor did Ally Bank provide contemporaneous new value to GMAC Mortgage by
 permitting GMAC Mortgage to modify Ally Bank’s loans in order to comply with the DOJ/
 AG Settlement. While GMAC Mortgage may have received value from its ability to modify
 Ally Bank’s loans through compliance with the government settlements (and, as noted above,
 new value provided under section 547(c)(1) does not need to come from the transferor), there
 is simply no evidence that the value GMAC Mortgage received was contemporaneous with
 the payments made on May 10 and 11. In fact, the evidence indicates that Ally Bank believed
 these payments were on behalf of value that Ally Bank had already provided to GMAC
 Mortgage.603 As the Seventh Circuit has explained:

                    To insist that “new value” be “new” is not reading an additional
                    requirement into the statutory definition. . . . Congress intended
                    the definition of “new value” to codify the principle of
                    consideration from contract law. That familiar principle requires
                    “consideration” to be something that the promisor is not already
                    obliged to give to the promisee (that is, something additional or
                    new); the “[p]erformance of a legal duty owed to a promisor . . .
                    is not consideration.”604

     The continued compliance by Ally Bank with its obligation to permit GMAC Mortgage
 to modify its loan portfolio in exchange for reimbursement in accordance with the parties’
 January 30 agreement is not new value. Payments made by GMAC Mortgage for debts owed
 under the parties’ agreement would be on account of antecedent debts and would therefore by




 602   Agreement for AG Settlement          Loan Modifications      For April 2012, dated May 11, 2012
       [ALLY_PEO_0087335].
 603   See E-mail from B. Yastine to T. Marano (May 8, 2012), at ALLY_0182249 [ALLY_0182247]; Invoice
       from Ally Bank to ResCap (May 9, 2012) [ALLY_0196290] (stating that the invoices were for “loan
       modification activities performed by GMAC Mortgage, LLC as sub-servicer, prior to April 30, 2012 and in
       connection with the DOJ/State AG Settlement”); Invoice from Ally Bank to ResCap (May 10, 2012)
       [ALLY_0196308] (same).
 604   Gouveia v. RDI Grp. (In re Globe Bldg. Materials, Inc.), 484 F.3d 946, 949 (7th Cir. 2007) (citing In re
       Spada, 903 F.2d 971, 976 (3d Cir. 1990); RESTATEMENT (SECOND) OF CONTRACTS § 73). Globe Building
       was distinguished by Ames Merchandising Corp. v. Revere Mills Inc. (In re Ames Department Stores, Inc.)
       on the grounds that its holding would not apply to contracts where the provision of goods came
       simultaneously with or shortly after payments were wired by allegedly preferential transferee. No. 01-42217,
       2010 WL 2403104 (Bankr. S.D.N.Y. June 10, 2010). This distinction is not applicable here, where the
       alleged value was provided by Ally Bank on January 30 and payments were not made until May.

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 definition not be contemporaneous exchanges for new value.605 Given all of these facts, the
 Examiner concludes it is unlikely that the payments totaling $48.4 million made by GMAC
 Mortgage to Ally Bank would be protected under the contemporaneous exchange for new
 value defense.

                        (d) Conclusion

     Based on the above analysis, the Examiner concludes it is likely that a claim under
 Bankruptcy Code section 547 challenging GMAC Mortgage’s May 2012 payments to Ally
 Bank pursuant to the January 30 Letter Agreement and the terms of the A&R Servicing
 Agreement’s AG Menu Matrix in the amount of approximately $48.4 million would prevail.

       6. Fraudulent Transfers

      Transfers made or obligations incurred by a debtor may be avoided if the transfer or
 incurrence was either actually or constructively fraudulent. Actual fraudulent transfer claims
 require a showing that the transferor made the transfer with the actual intent to hinder, delay,
 or defraud its creditors. In contrast, constructive fraudulent transfer claims do not require
 proof of actual fraudulent intent, but rather a showing that: (1) the transferor did not receive
 reasonably equivalent value for the transfer; and (2) at the time of the transfer the transferor
 was suffering from one or more statutorily-defined forms of financial distress. Section VI
 contains both a detailed discussion of the tests for financial distress under the relevant statutes,
 as well as the Examiner’s specific conclusions as to periods during which ResCap and its
 principal subsidiaries were and remained financially distressed within the meaning of each of
 those statutory tests. In a bankruptcy case, fraudulent transfer claims may be brought under
 both section 548 of the Bankruptcy Code, which codifies federal fraudulent conveyance law,
 and section 544 of the Bankruptcy Code, which enables a representative of a debtor’s estate to
 invoke state fraudulent transfer laws.

                a. Actual Fraudulent Transfers

                    (1) Section 548(a)(1)(A): Intentional Fraudulent Transfers Under Federal Law

      The Bankruptcy Code recognizes a federal cause of action based on intentional or actual
 fraud. Section 548(a)(1)(A) provides that a debtor’s transfer of an interest in its property or the
 incurrence of an obligation, within two years before the date of its bankruptcy petition, may be
 avoided if the debtor “made such transfer or incurred such obligation with actual intent to




 605   “A payment made on account of an antecedent debt is not a contemporaneous exchange.” Buchwald Capital
       Advisors LLC v. Metl-Span I., Ltd. (In re Pameco Corp.), 356 B.R. 327, 338 (Bankr. S.D.N.Y. 2006) (citing
       In re 360networks (USA) Inc., 338 B.R. 194, 206 (Bankr. S.D.N.Y. 2005); Sapir v. Keener Lumber Co., Inc.
       (In re Ajayem Lumber Corp.), 143 B.R. 347, 352 (Bankr. S.D.N.Y. 1992); In re Alpex Computer Corp., 60
       B.R. 315, 319 (Bankr. D. Colo. 1986)).

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 hinder, delay or defraud” its creditors.606 Because these elements are disjunctive, a finding of
 any one of the proscribed states of intent would satisfy the statutory requirement. Furthermore,
 the impermissible intent need not be directed towards any specific creditor; a general intent
 directed at the debtor’s present or future creditors is sufficient.607 There is no requirement that
 the trustee prove insolvency, either before or after the challenged transaction, in order to avoid
 a transaction as an intentional fraudulent transfer.
      Although it is generally the intent of the debtor-transferor (and not that of the transferee)
 that is relevant in assessing actual fraudulent intent,608 the intent of the transferee can be
 imputed to the debtor where—as here with AFI and ResCap—the transferee is an insider of
 the debtor or otherwise “is in a position to control the disposition of property of the debtor.”609
 606   11 U.S.C. § 548(a)(1)(A). Section 548(a)(1)(A) reads, in relevant part, as follows:
       (a)(1) The trustee may avoid any transfer (including any transfer to or for the benefit of an insider under an
       employment contract) of an interest of the debtor in property, or any obligation (including any obligation to or
       for the benefit of an insider under an employment contract) incurred by the debtor, that was made or incurred
       on or within 2 years before the date of the filing of the petition, if the debtor voluntarily or involuntarily—
            (A) made such transfer or incurred such obligation with actual intent to hinder, delay, or defraud
            any entity to which the debtor was or became, on or after the date that such transfer was made or
            such obligation was incurred, indebted . . . .
 607   See, e.g., Bayou Accredited Fund, LLC v. Redwood Growth Partners, L.P. (In re Bayou Grp., LLC), 396 B.R.
       810, 826 (Bankr. S.D.N.Y. 2008) (“[A] plaintiff need not prove that the debtor intended to hinder, delay or
       defraud the transferee or any other particular creditor.”), rev’d on other grounds, 439 B.R. 284 (S.D.N.Y.
       2010).
 608   See, e.g., Lippe v Bairnco Corp., 249 F. Supp. 2d 357, 374 (S.D.N.Y. 2003) (analyzing actual fraudulent intent
       under New York’s Debtor and Creditor Law, which contains “hinder, delay, or defraud” language similar to that
       in section 548(a)(1)(A) of the Bankruptcy Code); Silverman v. Actrade Capital, Inc. (In re Actrade Fin. Techs.
       Ltd.), 337 B.R. 791, 808 (Bankr. S.D.N.Y. 2005) (“Cases under § 548(a)(1)(A) indicate that it is the intent of the
       transferor and not the transferee that is relevant for purposes of pleading a claim for intentional fraudulent
       conveyance under the Bankruptcy Code.”) (citations omitted); Gredd v. Bear Stearns Sec. Corp. (In re
       Manhattan Inv. Fund Ltd.), 310 B.R. 500, 505 (Bankr. S.D.N.Y. 2002) (“The operative requirement for a
       transfer to be avoided under this section is the debtor’s actual fraudulent intent.”); Picard v. Estate of Stanley
       Chais (In re Bernard L. Madoff Inv. Sec. LLC), 445 B.R. 206, 220 (Bankr. S.D.N.Y. 2011) (noting that, to
       adequately plead an actual fraud claim, the complaint must state with particularity the factual circumstances
       constituting fraud under Federal Rule of Civil Procedure 9(b) and that “[u]nder the [Bankruptcy Code], the
       trustee must show such intent on the part of the debtor-transferor.” (citing Andrew Velez Constr., Inc. v. Consol.
       Edison Co. of N.Y., Inc. (In re Andrew Velez Constr., Inc.), 373 B.R. 262, 269 (Bankr. S.D.N.Y. 2007)); 5
       COLLIER ON BANKRUPTCY ¶ 548.04 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.) (“Section
       548(a)(1)(A) does not contain any reference to the state of mind or knowledge of the transferee. The only
       inquiry concerning actual intent that matters is that of the debtor: whether the debtor causing the transfer or
       incurring the obligation intended to hinder, delay or defraud its creditor. As a result, ‘for the purposes of
       avoidance pursuant to § 548 the transferee’s good faith or lack of it does not matter.’”) (footnotes omitted).
 609   In re Andrew Velez Constr., Inc., 373 B.R. at 269–70 (noting that “imputation of the transferee’s intent to the
       transferor [is] justified . . . where the person or entity exercising control over the disposition of the debtor’s
       property stands in a position to do so by reason of a relationship of ownership, executive office or other
       insider role”) (citing Jackson v. Mishkin (In re Adler, Coleman Clearing Corp.), 263 B.R. 406, 447–49
       (S.D.N.Y. 2001)); Krol v. Wilcek (In re H. King & Assocs.), 295 B.R. 246, 283 (Bankr. N.D. Ill. 2003)
       (“Where the transferee is an insider of the debtor and is in a position to control the disposition of property of
       the debtor, the transferee’s intent is imputed to the debtor.”).

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      Generally, an intentional fraudulent transfer requires that the transferor engage in some
 form of wrongdoing that is related to the transfer or obligation that the trustee seeks to
 avoid.610 But the bad conduct need not rise to the level of tortious fraud to be avoidable as an
 actual fraudulent transfer.611 For example, “a general scheme or plan to strip the debtor of its
 assets that does not have the primary purpose of defrauding creditors has been held to support
 a finding of fraudulent intent.”612

      When dealing with a corporate debtor, courts will examine the knowledge and intent of
 the debtor’s directors, officers, and other agents.613 This “fundamental principal of agency”
 dictates “that the misconduct of [agents] within the scope of their employment will normally
 be imputed to the corporation.”614 In situations involving fraud, courts impute the fraud of an
 officer to a corporation when the officer commits the fraud: (1) in the course of his
 employment; and (2) for the benefit of the corporation.615
 610   See, e.g., In re Actrade Fin. Techs., Ltd., 337 B.R. at 809 (noting that intentional fraudulent conveyance
       claims are concerned with situations “where there is a knowing intent on the part of the defendant to damage
       creditors” and that “although [In re Sharp Int’l Corp.] only directly addressed pleading under [New York’s
       Debtor and Creditor Law], there is no reason why its reasoning” that the fraud must be related to the
       transaction that the trustee seeks to avoid “should not be applicable to claims of intentional fraudulent
       conveyance under the Bankruptcy Code as well”) (citing Sharp Int’l Corp. v. State St. Bank & Trust Co. (In
       re Sharp Int’l Corp.), 403 F.3d 43, 56 (2d Cir. 2005). “However, the intentional fraudulent conveyance
       claims fails for the independent reason that Sharp inadequately alleges fraud with respect to the transaction
       that Sharp seeks to void, i.e., Sharp’s $12.25 million payment to State Street.” In re Sharp Int’l Corp., 403
       F.3d at 56.
 611   Plotkin v. Pomona Valley Imps. (In re Cohen), 199 B.R. 709, 716 (B.A.P. 9th Cir. 1996) (noting, with respect
       to actual fraudulent transfers under the Bankruptcy Code and the UFTA, that “[f]raud, in the sense of morally
       culpable conduct, need not be present in either category of fraudulent transfer. An actually fraudulent transfer
       could, in principle, occur without genuine fraud.”); Christian Bros. High Sch. Endowment v. Bayou No
       Leverage Fund (In re Bayou Grp., LLC), 439 B.R. 284, 304–05 (S.D.N.Y. 2010) (evaluating actual
       fraudulent transfer claims asserted under the Bankruptcy Code).
 612   Adelphia Commc’ns Corp. v. Bank of Am., N.A., (In re Adelphia Commc’ns Corp.), 365 B.R. 24, 35 (Bankr.
       S.D.N.Y. 2007) (citing Wieboldt Stores, Inc. v. Schottenstein, 94 B.R. 488, 504 (N.D. Ill. 1988)); see
       Responsible Pers. of Musicland Holding Corp. v. Best Buy Co. (In re Musicland Holding Corp.), 398 B.R.
       761, 774 (Bankr. S.D.N.Y. 2008) (“A strong inference of fraudulent intent ‘may be established either (a) by
       alleging facts to show that defendants had both motive and opportunity to commit fraud, or (b) by alleging
       facts that constitute strong circumstantial evidence of conscious misbehavior or recklessness.’”) (citing
       Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d Cir. 1994)).
 613   Baker v. Latham Sparrowbush Assocs., 72 F.3d 246, 255 (2d Cir. 1995) (“The knowledge of a director,
       officer, sole shareholder or controlling person of a corporation is imputable to that corporation.”) (citations
       omitted) (internal quotation marks omitted).
 614   Bankr. Servs., Inc. v. Ernst & Young (In re CBI Holding Co.), 529 F.3d 432, 448 (2d Cir. 2008) (also noting
       that this tenet is “based on the presumption that an agent will normally discharge his duty to disclose to his
       principal all the material facts coming to his knowledge with reference to the subject of his agency and thus
       any misconduct engaged in by a manager is with—at least—his corporation’s tacit consent.”) (citations
       omitted).
 615   See, e.g., McNamara v. PFS (In re Pers. & Bus. Ins. Agency), 334 F.3d 239, 242–43 (3d Cir. 2003) (citations
       omitted).

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      Actual intent is a difficult element to prove616 because evidence of a transferor’s state of
 mind is often difficult to unearth.617 Therefore, to assist in determining whether actual intent
 exists, courts examine “the circumstances surrounding the transfer”618 to look for common
 indicia or “badges of fraud,”619 including:

          •    The lack, or inadequacy, of consideration;

          •    A close relationship between the parties;620

          •    The retention of possession, benefit, or use of the property in question;

          •    The financial condition of the party that made the transfer or obligation both before
               and after the transaction in question;

          •    The existence or cumulative effect of a pattern or series of transactions or course of
               conduct after the incurring of debt, onset of financial difficulties, or pendency, or
               threat of suits by creditors; and

          •    The general chronology of the events and transactions under inquiry.621



 616   The plaintiff has the burden of showing that the transfer was made with actual fraudulent intent, and must do
       so under the clear and convincing standard. See Mendelsohn v. Jacobwitz (In re Jacobs), 394 B.R. 646, 661
       (Bankr. E.D.N.Y. 2008).
 617   “Persons whose intention it is to shield their assets from creditor attack while continuing to derive the
       equitable benefit of those assets rarely announce their purpose. Instead, if their intention is to be known, it
       must be gleaned from inferences drawn from a course of conduct.” Sacklow v. Vecchione (In re Vecchione),
       407 F. Supp. 609, 615 (E.D.N.Y. 1982) (citing In re Saphire, 139 F.2d 34, 35 (2d Cir. 1943)).
 618   Brown v. Third Nat’l Bank (In re Sherman), 67 F.3d 1348, 1353 (8th Cir. 1995) (“Because proof of actual
       intent to hinder, delay or defraud creditors may rarely be established by direct evidence, courts infer
       fraudulent intent from the circumstances surrounding the transfer.”) (citations omitted).
 619   Id.; Roeder v. Lockwood (In re Lockwood Auto Grp., Inc.), 450 B.R. 557, 571 (Bankr. W.D. Pa. 2011) (“The
       use of badges of fraud in this regard is done in recognition of the fact that it is often difficult to adduce direct
       evidence of fraud. The theory is that badges of fraud represent circumstances that so frequently accompany
       fraudulent transfers that their very presence may give rise to an inference of intent.”) (citations omitted).
 620   Kipperman v. Onex Corp., 411 B.R. 805, 854–59 (N.D. Ga. 2009).
 621   Le Café Créme, Ltd. v. Roux (In re Le Café Créme, Ltd.), 244 B.R. 221, 239 (Bankr. S.D.N.Y. 2000) (citing
       Salomon v. Kaiser (In re Kaiser), 722 F.2d 1574, 1582 (2d Cir. 1983)); see also Kelly v. Armstrong, 206 F.3d
       794, 798 (8th Cir. 2000) (noting badges of fraud may also include: “(1) actual or threatened litigation against
       the debtor; (2) a transfer of all or substantially all of the debtor’s property; (3) insolvency on the part of the
       debtor; (4) a special relationship between the debtor and the transferee; and (5) retention of the property by
       the debtor after the transfer”) (citations omitted) (internal quotation marks omitted); Lippe v. Bairnco Corp.,
       249 F. Supp. 2d 357, 374–75 (S.D.N.Y. 2003); Pereira v. Grecogas Ltd. (In re Saba Enters., Inc.), 421 B.R.
       626, 643 (Bankr. S.D.N.Y. 2009) (listing, among the badges of fraud, “secrecy, haste, or unusualness of the
       transaction”). The “badges” apply to proving both intent to defraud, as well as intent to hinder or delay. See,
       e.g., Adamson v. Bernier (In re Bernier), 282 B.R. 773, 781–82 (Bankr. D. Del. 2002).

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      A trustee does not need to show all of these badges of fraud to prove fraudulent intent,
 though the presence of a single badge is generally not sufficient.622 The presence of multiple
 badges may constitute “conclusive evidence of an actual intent to defraud”623 and, depending
 on the context of the alleged fraudulent conduct, certain badges of fraud will carry more
 weight.624 Courts have also held that a legitimate business purpose can negate an inference of
 actual fraudulent intent caused by the presence of several badges of fraud and other indicia.625

                     (2) Intentional Fraudulent Transfers Under The UFTA

      In addition to federal law causes of action under section 548(a)(1)(A) of the Bankruptcy
 Code, an estate representative may also use Bankruptcy Code section 544(b) to pursue claims
 of intentional fraudulent transfer arising under applicable state law. As noted in Section
 VII.F.3, the potential jurisdictions with interests in the transactions reviewed by the Examiner
 include Delaware, Pennsylvania, Michigan, Minnesota, and New York.626 Delaware,
 Pennsylvania, Michigan, and Minnesota have all adopted some form of the UFTA.

      The UFTA provides for a cause of action based on intentional fraud “if the debtor made
 the transfer or incurred the obligation . . . with actual intent to hinder, delay or defraud any
 creditor of the debtor.”627 The UFTA explicitly states that a court determining actual intent
 may consider, among other factors, whether:

                     (1) the transfer or obligation was to an insider; (2) the debtor
                     retained possession or control of the property transferred after
                     the transfer; (3) the transfer or obligation was disclosed or
 622   In re Sherman, 67 F.3d at 1354 (“The presence of a single badge of fraud is not sufficient to establish actual
       fraudulent intent . . . .” (citing Max Sugarman Funeral Home, Inc. v. A.D.B. Investors, 926 F.2d 1248, 1254–
       55 (1st Cir. 1991). “The presence of a single badge of fraud may spur mere suspicion; the confluence of
       several can constitute conclusive evidence of an actual intent to defraud, absent ‘significantly clear’ evidence
       of a legitimate supervening purpose.” Max Sugarman Funeral Home, Inc., 926 F.2d at 1254–55.
 623   Picard v. Taylor (In re Park South Sec., LLC), 326 B.R. 505, 518 (Bankr. S.D.N.Y. 2005) (noting that
       “absent ‘significantly clear’ evidence of a legitimate supervening purpose” the “confluence of several
       [badges of fraud] can constitute conclusive evidence of an actual intent to defraud” (citing Max Sugarman
       Funeral Home, Inc., 926 F.2d at 1254–55)).
 624   MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 934–35 (S.D.N.Y.
       1995) (deciding actual fraud under New York state law and noting that “[d]expending on the context, badges
       of fraud will vary in significance, though the presence of multiple indicia will increase the strength of the
       inference”).
 625   ASARCO LLC v. Ams. Mining Corp., 396 B.R. 278, 391–93 (S.D. Tex. 2008) (noting that “even though Plaintiff
       proved that AMC had the requisite [actual fraudulent] intent, AMC may still prevail on this claim if it can prove
       that there was a legitimate supervening purpose for the transaction” but ultimately determining that “even
       though there was a legitimate business purpose for the transfer,” the other aspects of the transaction had no
       legitimate business purpose and thus the inference of actual fraud was not rebutted (citing Kelly, 206 F.3d at
       801); In re Harris, Case No. 02-05803, 2003 WL 23096966, at *2 (Bankr. D. Del. Dec. 30, 2003)).
 626   As discussed in Section VII.F.3.a above, the Examiner concludes that it is unlikely that New York law would
       apply to any of the transactions reviewed in this section.
 627   UFTA § 4(a)(1).

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                     concealed; (4) before the transfer was made or obligation was
                     incurred, the debtor had been sued or threatened with suit;
                     (5) the transfer was of substantially all the debtor’s assets;
                     (6) the debtor absconded; (7) the debtor removed or concealed
                     assets; (8) the value of the consideration received by the debtor
                     was reasonably equivalent to the value of the asset transferred or
                     the amount of the obligation incurred; (9) the debtor was
                     insolvent or became insolvent shortly after the transfer was
                     made or the obligation was incurred; (10) the transfer occurred
                     shortly before or shortly after a substantial debt was incurred;
                     and (11) the debtor transferred the essential assets of the
                     business to a lienor who transferred the assets to an insider of
                     the debtor.628

      The commentary to the model UFTA also states that when considering the factors set
 forth in section 4(b), “a court should evaluate all the relevant circumstances involving a
 challenged transfer or obligation. Thus the court may appropriately take into account all
 indicia negativing as well as those suggesting fraud.”629

       Under Pennsylvania law,630 actual fraudulent transfer claims are extinguished unless an
 action is brought “within four years after the transfer was made or the obligation was incurred
 or, if later, within one year after the transfer or obligation was or could reasonably have been
 discovered by the claimant.”631 Under Minnesota law, actual fraudulent transfer claims have a
 six-year statute of limitations.632 Although Minnesota’s six-year statute of limitations for fraud
 claims runs from discovery, the applicability of the discovery rule is not relevant in this case
 because all of the transfers in question happened within six years before the Petition Date.




 628   Id. § 4(b).
 629   Id. § 4(b) cmt. 6.
 630   As discussed in Section VII.F.3.a above, the Examiner concludes that either Pennsylvania or Minnesota law
       would apply to the transactions reviewed in this section.
 631   12 PA. CONS. STAT. ANN. § 5109.
 632   See MINN. STAT. ANN. § 541.05(6) (noting that actions for relief on the ground of fraud shall be commenced
       within six years and that such an action “shall not be deemed to have accrued until the discovery by the
       aggrieved party of the facts constituting fraud”); see also Georgen-Running v. Grimlie (In re Grimlie), 439
       B.R. 710, 720 n.25 (B.A.P. 8th Cir. 2010) (ruling, in the context of a fraudulent transfer action, that “[i]n
       Minnesota, cases involving fraud have a statute of limitations of six years”) (citing §541.05(6)); In re Curry,
       160 B.R. 813, 819 n.5 (Bankr. D. Minn. 1993)) (noting that fraudulent conveyance actions under Minnesota’s
       UFTA have a statute of limitations of six years pursuant to § 541.05(6)).

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                 b. Constructive Fraudulent Transfers

                     (1) Section 548(a)((1)(B): Constructive Fraudulent Transfers Under Federal
                         Law

       Bankruptcy Code section 548(a)(1)(B) empowers a bankruptcy trustee to avoid a
 transfer633 or obligation incurred within two years of the petition date if: (1) the debtor
 received less than a reasonably equivalent value in exchange for the transfer or obligation; and
 (2) the debtor: (a) was insolvent on the date of the transfer or obligation or became insolvent
 as a result of the transfer or obligation; (b) was left with unreasonably small capital to carry on
 its business or a contemplated transaction; or (c) intended to incur, or believed it would incur,
 debts beyond its ability to pay as debts matured.634

                     (2) Bankruptcy Code Section 544(b): Constructive Fraudulent Transfers Under
                         UFTA

      Section 544(b) of the Bankruptcy Code permits the trustee or estate representative to
 “step into the shoes” of an actual unsecured creditor with standing to seek the avoidance of a
 transfer under applicable state fraudulent transfer laws.635 Section 544(b) functionally
 integrates relevant applicable state fraudulent transfer law into the Bankruptcy Code. To assert
 a claim under section 544(b), the trustee or estate representative must prove that: (1) there was
 a transfer of an interest of the debtor in property; (2) there actually exists an unsecured
 creditor holding an allowable claim; and (3) applicable law allows that unsecured creditor to
 void the transfer.

      In such a case, the trustee or estate representative could invoke section 4(2) of the
 UFTA,636 which provides that transfers are fraudulent as to both present and future creditors if
 the debtor made the transfer or incurred the obligation: (1) without receiving reasonably
 633   Pursuant to section 101(54) of the Bankruptcy Code, the term “transfer” means—
       A. the creation of a lien;
       B. the retention of title as a security interest;
       C. the foreclosure of a debtor’s equity of redemption; or
       D. each mode, direct or indirect, absolute or conditional, voluntary or involuntary, of disposing of or
       parting with—
            (i) property; or
            (ii) an interest in property.
 634   See 11 U.S.C. § 548(a)(1)(B). A separate test, not relevant to the Report, allows for the avoidance of transfers
       for less than reasonably equivalent value if the debtor made such transfer to or for the benefit of an insider
       under an employment contract and outside of the ordinary course of business.
 635   See id. § 544(b) (the ability to avoid “any transfer of an interest of the debtor in property . . . that is voidable
       under applicable law by a creditor holding an unsecured claim that is allowable under [section 502 of the
       Bankruptcy Code].”).
 636   Minnesota and Pennsylvania have largely adopted verbatim section 4 of the model UFTA. See MINN. STAT.
       ANN. § 513.44; 12 PA. CONS. STAT. ANN. § 5104.

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 equivalent value in exchange for the transfer or obligation; and (2) the debtor (a) “was
 engaged or was about to engage in a business or a transaction for which the remaining assets
 of the debtor were unreasonably small in relation to the business or transaction”; or
 (b) “intended to incur, or believed or reasonably should have believed that” it would incur,
 debts beyond its ability to pay as they became due.637 The trustee or estate representative
 could also invoke section 5(a) of the UFTA,638 which provides that transfers are fraudulent as
 to present creditors if the debtor did not receive reasonably equivalent value in exchange for
 the transfer or obligation and the transfer or obligation was made or incurred while the debtor
 was insolvent or where the debtor became insolvent as a result of the transfer or obligation.639

                c. Reasonably Equivalent Value For Constructive Fraudulent Transfer Purposes

                    (1) Definitions Of Reasonably Equivalent Value

      Section 548(a)(1)(B) of the Bankruptcy Code requires that the trustee prove by a
 preponderance of the evidence640 that the debtor did not receive “reasonably equivalent value”
 in exchange for the challenged transfer or obligation. Section 548(d)(2) of the Bankruptcy
 Code defines “value” as “property, or satisfaction or securing of a present or antecedent debt
 of the debtor, but does not include an unperformed promise to furnish support to the debtor or
 to a relative of the debtor.”641 The Bankruptcy Code does not define when value is
 “reasonably equivalent,” leaving such determination to the courts. In analyzing “reasonably
 equivalent value,” courts determine “the value of the consideration exchanged between the
 parties at the time of the conveyance or incurrence of debt which is challenged.”642

                    In determining whether the value received by one party is so
                    disproportionately small as to constitute a lack of fair
                    consideration, the “court need not strive for mathematical
                    precision” but must “keep the equitable purposes of the statute
                    firmly in mind, recognizing that any significant disparity



 637   See MINN. STAT. ANN. § 513.44; 12 PA. CONS. STAT. ANN. § 5104.
 638   Minnesota and Pennsylvania have adopted section 5(a) of the model UFTA nearly verbatim. See MINN.
       STAT. ANN. § 513.45; 12 PA. CONS. STAT. ANN. § 5105.
 639   As explained in Section VII.F.2.c, once a transfer is voidable under section 544(b), the entire fraudulent
       transfer may be recovered for the benefit of all creditors, not just to the extent necessary to satisfy the
       individual creditor actually holding the avoidance claim.
 640   Togut v. RBC Dain Correspondent Servs. (In re S.W. Bach & Co.), 435 B.R. 866, 875 (Bankr. S.D.N.Y.
       2010) (burden on movant to demonstrate the elements of a constructive fraudulent transfer claim by
       preponderance of evidence).
 641   11 U.S.C. § 548(d)(2)(A).
 642   Liquidation Trust v. Daimler AG (In re Old Carco LLC), No. 11-5279-BK, 2013 WL 335993, at *1 (2d Cir.
       Jan. 30, 2013) (citing In re NextWave Pers. Commc’ns, Inc., 200 F.3d 43, 56 (2d Cir. 1999)) (emphasis
       omitted) (internal quotation marks omitted) (citations omitted).

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                     between the value received and the obligation assumed . . . will
                     have significantly harmed the innocent creditors of that
                     [party].”643
      Like the Bankruptcy Code, the UFTA recognizes a claim for a constructive fraudulent
 transfer when a debtor transfers assets for less than “reasonably equivalent value” at a time
 when it is in one or more of the states of financial distress defined in the UFTA. The concept
 of “reasonably equivalent value” in section 548 of the Bankruptcy Code and the UFTA are
 identical, and courts considering whether “reasonably equivalent value” has been provided in
 transactions subject to avoidance under the UFTA may look to cases decided under section
 548 of the Bankruptcy Code for guidance on reasonably equivalent value issues.644
                     (2) Determining Whether Value Was Reasonably Equivalent To What The
                         Debtor Transferred
      Whether reasonably equivalent value was received is normally a question of fact,645 and
 valuation factors will turn “on the case-specific circumstances surrounding the debtor’s
 decision to enter into the challenged transaction.”646 Courts look to, among other things:
 643   In re Old Carco LLC, 2013 WL 335993, at *1 (citing Rubin v. Mfrs. Hanover Trust Co., 661 F.2d 979, 994
       (2d Cir. 1981) (discussing § 67(d) of the Bankruptcy Act of 1898, predecessor to § 548 of the Bankruptcy
       Code)).
 644   See, e.g., Cardiello v. Casale (In re Phillips Grp., Inc.), 382 B.R. 876, 887 (Bankr. W.D. Pa. 2008) (noting
       that, because the phrase “reasonably equivalent value” as used in the Pennsylvania UFTA is patterned after
       Bankruptcy Code section 548(a) “we may look to interpretations of the phrase as it appears in the latter to
       understand its use in the former”); Chorches v. Fleet Mortg. Corp. (In re Fitzgerald), 255 B.R. 807, 812 n.14
       (Bankr. D. Conn. 2000) (“The UFTA . . . concept of ‘reasonably equivalent value’ is identical to the
       Section 548(a)(1)(B) concept of ‘reasonably equivalent value.’”) (citing Leibowitz v. Parkway Bank & Trust
       Co. (In re Image Worldwide, Ltd.), 139 F.3d 574, 577 (7th Cir. 1998)); Leonard v. Mylex Corp. (In re
       Northgate Computer Sys., Inc.), 240 B.R. 328, 366–67 (Bankr. D. Minn. 1999) (noting that the Minnesota
       UFTA contains a nearly identical provision to the Bankruptcy Code’s constructive fraudulent transfer
       provision and “because of the near-identity of the statutory elements and the inherently-factual nature of the
       primary issue, the analysis under the federal-law analog is applicable here and no further discussion is
       warranted”).
 645   Tex. Truck Ins. Agency, Inc. v. Cure (In re Dunham), 110 F.3d 286, 288–89 (5th Cir. 1997); Jacoway v.
       Anderson (In re Ozark Rest. Equip. Co.), 850 F.2d 342, 344 (8th Cir. 1988); Klein v. Tabatchnick, 610 F.2d
       1043, 1047 (2d Cir. 1979) (“Fairness of consideration is generally a question of fact.”) (citations omitted);
       Alberts v. HCA Inc. (In re Greater Se. Cmty. Hosp. Corp. I), Bankr. No. 02-02250, 2008 WL 2037592, *8
       (Bankr. D.C. May 12, 2008); Daley v. Chang (In re Joy Recovery Tech. Corp.), 286 B.R. 54, 75 (Bankr. N.D.
       Ill. 2002); In re Northgate Computer Sys., Inc., 240 B.R. at 365. But see In re Old Carco, 2013 WL 335993
       (concluding as a matter of law that the plaintiff in a fraudulent transfer suit failed to plausibly allege that the
       debtor received less than reasonably equivalent value).
 646   Lowe v. B.R.B. Enters., Ltd. (In re Calvillo), 263 B.R. 214, 220 (W.D. Tex. 2000); see, e.g., Lindquist v. JNG
       Corp. (In re Lindell), 334 B.R. 249, 255 (Bankr. D. Minn. 2005) (“There is no bright line rule used to
       determine when reasonably equivalent value is given.”); Weaver v. Kellogg, 216 B.R. 563, 574 (S.D. Tex.
       1997) (examining reasonably equivalent value under the Bankruptcy Code and Texas state law and noting
       that defendants do not need to prove “a dollar-for-dollar exchange in order to show” that reasonably
       equivalent value was received) (citing Bulter Aviation Int’l, Inc. v. Whyte (In re Fairchild Aircraft Corp.), 6
       F.3d 1119 (5th Cir. 1993)).

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 (1) whether the value of what was transferred is equal to the value of what was received;
 (2) the market value of what was transferred and received; (3) whether the transaction took
 place at arm’s length; and (4) the good faith of the transferee.647 The inquiry of whether
 reasonably equivalent value was received “is fundamentally one of common sense, measured
 against market reality.”648
      Reasonable, not exact, equivalence is all that is required.649 In In re Calvillo, the
 bankruptcy court noted “[t]here is no set minimum percentage or monetary amount necessary”
 for a court to find that the debtor received reasonably equivalent value.650 In evaluating
 whether reasonably equivalent value has been given to a debtor, a court must compare the
 benefits the debtor received as a result of the transaction against the obligations the debtor
 incurred in exchange.651 Both direct and indirect benefits may be considered,652 though
 generally courts will not recognize “indirect benefits” unless they are “fairly concrete.”653
                          (a) Direct Benefits
      Section 548(d)(2)(A) of the Bankruptcy Code and section 3(a) of the UFTA both
 explicitly provide that the satisfaction or securing of an antecedent debt constitutes value.654
 647   See Barber v. Golden Seed Co., 129 F.3d 382, 387 (7th Cir. 1997); Mellon Bank v. Official Comm. of
       Unsecured Creditors of R.M.L., Inc. (In re R.M.L. Inc.), 92 F.3d 139, 149 (3d Cir. 1996).
 648   In re Northgate Computer Sys., Inc., 240 B.R. at 365; accord Sullivan v. Schultz (In re Schultz), 368 B.R.
       832, 836 (Bankr. D. Minn. 2007) (citing In re Northgate Computer Sys., Inc., 240 B.R. at 365); In re Lindell,
       334 B.R. at 256 (same).
 649   See In re Fairchild Aircraft Corp., 6 F.3d at 1125–26; Rubin v. Mfrs. Hanover Trust Co., 661 F.2d 979, 994
       (2d Cir. 1981); Waste Mgmt., Inc. v. Danis Indus. Corp., No. 3:00cv256, 2009 WL 347773 at *21 (S.D. Ohio
       Feb. 10, 2009); In re Calvillo, 263 B.R. at 220; MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport
       Servs. Co., 910 F. Supp. 913, 937 (S.D.N.Y. 1995); Coan v. Fleet Credit Card Servs., Inc. (In re Guerrerra),
       225 B.R. 32, 36 (Bankr. D. Conn. 1998) (“It is not necessary that there be ‘mathematical precision’ or a
       ‘penny-for-penny’ exchange . . . .”) (citing Rubin, 661 F.2d at 994); Murphy v. Meritor Savings Bank (In re
       O’Day Corp.), 126 B.R. 370, 393 (Bankr. D. Mass. 1991).
 650   In re Calvillo, 263 B.R. at 220.
 651   Mellon Bank, N.A. v. Metro Commc’ns, Inc., 945 F.2d 635, 647 (3d Cir. 1991).
 652   HBE Leasing Corp. v. Frank, 48 F.3d 623, 638 (2d Cir. 1995) (holding that “under the well established
       doctrine of Rubin, the fact that the consideration initially goes to third parties may be disregarded to the
       extent that the debtor indirectly receives a benefit from the entire transaction”); Rubin, 661 F.2d at 993
       (decided under the Bankruptcy Act and recognizing that indirect benefits can constitute reasonably
       equivalent value but also noting that the lower court had failed to “quantify the indirect benefits” provided to
       the debtor and therefore a determination of whether fair consideration (the Bankruptcy Act’s measure of
       value) had been provided was impossible); see Pension Transfer Corp. v. Beneficiaries Under the Third
       Amendment to Fruehauf Trailer Corp. Ret. Plan No. 003 (In re Fruehauf Trailer Corp.), 444 F.3d 203, 212
       (3d Cir. 2006); Mellon Bank, N.A., 945 F.2d at 646; 5 COLLIER ON BANKRUPTCY ¶ 548.05 (Alan N.
       Resnick & Henry J. Sommer eds., 16th ed.) (noting that a finding of reasonably equivalent value in such
       circumstances “requires the indirect benefit to be reasonably certain and quantifiable”) (footnote omitted).
 653   Silverman v. Paul’s Landmark, Inc. (In re Nirvana Rest., Inc.), 337 B.R. 495, 502 (Bankr. S.D.N.Y. 2006).
       (citing Leibowitz v. Parkway Bank & Trust Co. (In re Image Worldwide Ltd.), 139 F.3d 574, 578 (7th Cir.
       1997)).
 654   11 U.S.C. § 548(d)(2)(A); UFTA § 3(a).

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 Indeed, for fraudulent transfer purposes (as distinct from preferences under Bankruptcy Code
 section 547 and the Insider Preference statute contained in the UFTA), a debtor receives
 dollar-for-dollar value for the reduction of its debt, even where it is insolvent and the payment
 in full of one creditor could disadvantage remaining creditors,655 provided the debt reduction
 equals the value of the asset transferred, and the debt reduction occurs at or about the time of
 the transfer.656 In contrast, courts have consistently held that corporate dividends and the
 redemption of equity interests are not transfers for reasonably equivalent value or fair
 consideration.657




 655   See Lisle v. John Wiley & Sons, Inc. (In re Wilkinson), 196 F. App’x 337, 343 (6th Cir. 2006). In Wilkinson,
       the debtor, while insolvent, paid $1 million to a publisher on behalf of a bookstore in which the debtor owned
       a majority interest. Id. at 339. In exchange, the bookstore reduced by $1 million the debt owed to it by the
       debtor. Id. The court held that, as appropriately measured on the date of the transfer, the debtor received
       reasonably equivalent value for its transfer to the publisher through the dollar-for-dollar debt reduction, and
       that the debtor’s net worth was unaffected by the transfer. Id. at 343.
 656   See, e.g., Butler Aviation Int’l, Inc. v. Whyte (In re Fairchild Aircraft Corp.), 6 F.3d 1119, 1126 (5th Cir.
       1993); Walker v. Sonafi Pasteur (In re Aphton Corp.), 423 B.R. 76, 89 (Bankr. D. Del. 2010) (noting that
       “when a transfer is made to pay an antecedent debt, the transfer may not be set aside as constructively
       fraudulent”); see also Pardo v. Gonzaba (In re APF Co.), 308 B.R. 183, 187 (Bankr. D. Del. 2004)
       (dismissing constructive fraud claim, holding “the payments made on the promissory note were made for
       value—satisfaction of an antecedent debt”); Sierra Invs., LLC v. SHC, Inc. (In re SHC, Inc.), 329 B.R. 438,
       445–46 (Bankr. D. Del. 2005); Stalnaker v. Gratton (In re Rosen Auto Leasing, Inc.), 346 B.R. 798, 805
       (B.A.P. 8th Cir. 2006); B.Z. Corp. v. Cont’l Bank, N.A. (In re B.Z. Corp.), 34 B.R. 546, 548 (Bankr. E.D. Pa.
       1983) (“The loan payments made [by the debtor] are not avoidable since under § 548(d)(2)(A) the payments
       were made for value, i.e., ‘the satisfaction of . . . antecedent debt . . . .’”) (internal quotation marks omitted).
 657   See, e.g., Fisher v. Hamilton (In re Teknek, LLC), 343 B.R. 850, 861 (Bankr. N.D. Ill. 2006) (noting that a
       dividend is “not a transfer in exchange for reasonably equivalent value”); Fid. Bond & Mortg. Co. v. Brand
       (In re Fid. Bond & Mortg. Co.), 340 B.R. 266, 286–88 (Bankr. E.D. Pa. 2006) (holding that debtor did not
       receive reasonably equivalent value for a dividend after noting that “[o]ther courts have held that a dividend
       or reduction in capital through the purchase of stock adds no value for creditors”); see also Brandt v. Hicks,
       Muse & Co. (In re Healthco Int’l, Inc.), 195 B.R. 971, 980 (Bankr. D. Mass. 1996) (distributions in
       termination of stock interests, by their very nature, are not for consideration).

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                         (b) Indirect Benefits

      Courts have concluded that, under certain circumstances, indirect benefits can provide
 reasonably equivalent value,658 as long as the value received is reasonably equivalent to what
 the debtor parted with in the challenged transaction.659 This requirement has been interpreted
 to mean that any indirect benefit, to constitute reasonably equivalent value, must be concrete
 and quantifiable.660 The burden is on the party claiming to have delivered value to quantify
 such value.661 However, there is disagreement among courts about how precise the

 658   See, e.g., Mellon Bank, N.A. v. Metro Commc’ns, Inc., 945 F.2d 635, 647 (3d Cir. 1991) (noting that the
       “strong synergy” created by the affiliation of the target-debtor and its acquirer in a leveraged buyout
       provided value and enabled the debtor to “establish[           ] a permanent relationship with a production
       company with highly sophisticated equipment and an experienced and reputable production and technical
       staff,” thus allowing for the apparent creation of “a stronger and more profitable combination.”); Mellon
       Bank, N.A. v. Official Comm. of Unsecured Creditors of R.M.L., Inc. (In re R.M.L., Inc.), 92 F.3d 139, 149–
       50 (3d Cir. 1996) (recognizing that the ability to access credit may constitute an indirect benefit for purposes
       of the reasonably equivalent value calculus, but nevertheless finding that the debtor’s purported ability to
       obtain credit was not reasonably equivalent to the fees paid to the lender because the anticipated future
       financing was so contingent on a number of improbable events that the likelihood of the debtor ever realizing
       the actual benefits of the financing was minimal); Marquis Prods., Inc. v. Conquest Carpet Mills, Inc. (In re
       Marquis Prods., Inc.), 150 B.R. 487, 491 (Bankr. D. Me. 1993) (“Indirect benefits can arise in a variety of
       circumstances in the parent/subsidiary context. For instance, a subsidiary which guarantees a parent’s debt
       may benefit indirectly by securing a future sale, or by improving its public image through consummating a
       large transaction.”).
 659   Mellon Bank N.A., 945 F.2d at 646–47; see HBE Leasing Corp. v. Frank, 48 F.3d 623, 638–39 (2d Cir.
       1995); see Official Comm. of Unsecured Creditors of Hechinger Inv. Co. of De. Inc. v. Fleet Retail Fin. Grp.
       (In re Hechinger Inv. Co. of Del.), 274 B.R. 71, 82 (D. Del. 2002); Collegeville/Imagineering, L.P. v. L.J.
       Liff & Assocs., Ltd. (In re Collegeville/Imagineering, L.P.), No. 95-1619, 1999 WL 33220041 at *7 (D. Del.
       1999).
 660   In re Wilkinson, 196 F. App’x at 342 (noting that some courts have held that once it has been established that
       an indirect benefit exists, the burden of demonstrating and quantifying such benefit shifts to the defendant
       and that “[t]he burden of showing that the benefit is concrete and quantifiable can be challenging in a case
       where the alleged benefit is goodwill, corporate synergy, a business opportunity, the continuation of a
       business relationship, or some other intangible benefit”) (citing Fid. Bond & Mortg. Co. v. Brand (In re Fid.
       Bond & Mortg. Co.), 340 B.R. 266, 287 (Bankr. E.D. Pa. 2006)); Henshaw v. Field (In re Henshaw), 485
       B.R. 412, 422 (D. Haw. 2013) (“Although the court may determine ‘value’ based on both direct and indirect
       benefits received, the value of the benefit must be tangible and quantifiable.”).
 661   Braunstein v. Walsh (In re Rowanoak Corp.), 344 F.3d 126, 131–33 (1st Cir. 2003) (“[O]nce the Trustee
       establishes his prima facie case, he need not affirmatively disprove every other potential theory.”) (affirming
       bankruptcy court’s finding third-party transfers fraudulent in absence of documentation of loan); First Nat’l
       Bank in Anoka v. Minn. Utility Contracting, Inc. (In re Minn. Utility Contracting, Inc.), 110 B.R. 414, 419
       (D.Minn.1990) (holding that once a trustee has established that consideration for the transfer passed to a third
       party, the burden of demonstrating and quantifying reasonably equivalent value for the transfer shifts to the
       creditor); Leonard v. First Commercial Mortg. Co. (In re Circuit Alliance, Inc.), 228 B.R. 225, 231 (Bankr.
       D. Minn. 1998) (when trustee establishes transfer was made on account of third party’s debt or obligation,
       burden shifts to defendant to demonstrate debtor received benefit that was “tangible, of concrete economic
       value, and reasonably equivalent to what the debtor gave up”); 5 COLLIER ON BANKRUPTCY ¶ 548.05 (Alan
       N. Resnick & Henry J. Sommer eds., 16th ed.) (noting that if an indirect benefit can be quantified then “the
       transferee bears the burden of establishing that quantification”) (footnote omitted).

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 defendant’s quantification must be, with some courts holding that value must be quantified
 with “reasonable precision”662 and with other courts noting that even intangible benefits that
 are “incapable of precise measurement” can confer value.663

                d. Transactions That Potentially Implicate Fraudulent Transfer Laws

      Several of the transactions reviewed by the Examiner implicate potential constructive or
 actual fraudulent transfer claims. Because fraudulent transfer claims related to the Debtors’
 tax sharing arrangements and other tax-related issues are inextricably intertwined with the
 complex facts surrounding those arrangements, fraudulent transfer issues relating to those
 matters are not discussed in this Section but are instead presented in Section VII.K. With that
 exception, this Section analyzes and presents the Examiner’s conclusions as to each of the
 fraudulent transfer claims reviewed by the Examiner.

      To determine which state law would be available to challenge certain transactions, the
 Examiner performed the choice-of-law analysis set forth in Section VII.F.2 above. Based on
 that analysis, the Examiner concludes that fraudulent transfer claims brought on behalf of the
 estate of ResCap or RFC would likely be governed by Minnesota law, and fraudulent transfer
 claims brought on behalf of the estate of GMAC Mortgage would likely be governed by




 662   Blixseth v. Kirschner (In re Yellowstone Mountain Club, LLC), 436 B.R. 598, 666 (Bankr. D. Mont. 2010)
       (evaluating claims under Montana’s state fraudulent transfer law and noting that the burden of proof on a
       defendant in a fraudulent transfer action is to show that any indirect benefits were tangible and concrete, and
       to quantify their value with reasonable precision) (citations omitted).
 663   See Mellon Bank, N.A., 945 F.2d at 646–47; see also In re R.M.L., Inc., 92 F.3d at 151 (“Significantly, the
       court in Metro Communications, Inc., went on to discover several potential, intangible benefits, that,
       although incapable of precise measurement, conferred value on Metro despite their failure to materialize.”).

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 Pennsylvania law. Courts in both Minnesota664 and Pennsylvania665 have held that each state’s
 version of the UFTA with respect to actual and constructive fraudulent transfer claims is
 substantially the same as Bankruptcy Code section 548 and that the statutes should be treated
 as in pari materia. Because each of the transactions identified below occurred outside of the
 Bankruptcy Code’s two-year look-back period,666 the Examiner analyzes each of the
 transactions below under the relevant state’s UFTA (made applicable through section 544(b)).




 664   Many cases have noted that the fraudulent transfer provisions of Minnesota’s UFTA are substantially the
       same as the Bankruptcy Code and have ruled on Minnesota fraudulent transfer claims using the guidance
       from Bankruptcy Code cases. See, e.g., Kaler v. Craig (In re Craig), 144 F.3d 587, 593 (8th Cir. 1998)
       (outlining that Congress intended to bring federal bankruptcy law of fraudulent transfers into conformity with
       analogous state law); Brown v. Third Nat’l Bank (In re Sherman), 67 F.3d 1348, 1353–54 (8th Cir. 1995);
       Stoebner v. Ritchie Capital Mgmt., LLC (In re Polaroid Corp.), 472 B.R. 22, 55 (Bankr. D. Minn. 2012)
       (“The Minnesota enactment of the Uniform Fraudulent Transfer Act has a provision that is functionally
       identical to § 548(a)(1)(A), Minn.Stat. § 513.44(a)(1). In the Eighth Circuit, corollary provisions in the
       federal and state law that address intentionally-fraudulent transfers receive the same construction and
       application.”) (citing In re Graven, 936 F.2d 378, 383 (8th Cir. 1991) (Uniform Fraudulent Conveyance Act
       and § 548(a)(1) use “the same standard”)); Stoebner, 472 B.R. at 34 (“Whether styled under 11 U.S.C. §
       548(a)(1) or under a state-law analog (here Minn. Stat. § 513.44(a)(1)) . . . .”); Leonard v. Mylex Corp. (In re
       Northgate Computer Sys., Inc.), 240 B.R. 328, 361 n.45 (Bankr. D. Minn. 1999) (“In recent years, the
       [Eighth] Circuit has given a uniform construction to the law of actually-fraudulent transfers under state
       statute and the Bankruptcy Code.”) (citations omitted).
 665   Pennsylvanian courts have consistently held that the fraudulent transfer provisions of Pennsylvania’s UFTA
       “mirror” those of the Bankruptcy Code and have looked to cases interpreting the Bankruptcy Code as
       authoritative on issues of law arising under the Pennsylvania UFTA. See, e.g., Image Masters, Inc. v. Chase
       Home Fin., No. 10-1141, 2013 WL 878832, at *6 (E.D. Pa. Mar. 11, 2013) (analyzing case law
       interchangeably for claims asserted under the Bankruptcy Code and the Pennsylvania UFTA); Bohm v. Titus
       (In re Titus), 467 B.R. 592, 616 (Bankr. W.D. Pa. 2012) (applying other states’ versions of the UFTA and the
       Bankruptcy Code, since all the statutes were “similarly worded to and similarly construed with” the relevant
       Pennsylvania UFTA provisions of 12 Pa. C.S.A. § 5104) (citations omitted); Cardiello v. Casale (In re
       Phillips Grp., Inc.), 382 B.R. 876, 887 (Bankr. W.D. Pa. 2008) (noting that, because the phrase “reasonably
       equivalent value” as used in the Pennsylvania UFTA is patterned after Bankruptcy Code section 548(a) “we
       may look to interpretations of the phrase as it appears in the latter to understand its use in the former”); Bohm
       v. Dolata (In re Dolata), 306 B.R. 97, 115 (Bankr. W.D. Pa. 2004) (noting that, to the extent the language of
       the statutes parallels each other, the fraudulent transfer provisions of the Bankruptcy Code and the
       Pennsylvania UFTA should be construed consistently with each other); Satriale v. Key Bank USA, N.A. (In re
       Burry), 309 B.R. 130, 134 (Bankr. E.D. Pa. 2004) (noting that the Bankruptcy Code and the Pennsylvania
       UFTA “mirror each other in terms of causes of action” related to both constructive and actual fraud)
       (footnotes omitted).
 666   11 U.S.C. § 548(a)(1) (“The trustee may avoid any transfer . . . of an interest of the debtor in property, or any
       obligation . . . incurred by the debtor, that was made or incurred on or within 2 years before the date of the
       filing of the petition . . . .”).

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                     (1) 2006 Bank Restructuring
      The Creditors’ Committee asserts that there are potential constructive and intentional
 fraudulent transfer claims relating to the Ally Bank Transactions.667 The Examiner has analyzed
 these matters and concludes it is unlikely that these fraudulent transfer claims would prevail.
      As discussed in Section V.A.1.a, effective November 20, 2006, and before ResCap
 became financially distressed under any of the applicable statutory tests, ResCap transferred:
 (1) $360 million in cash and debt to IB Finance; and (2) 100% of the equity of Old GMAC
 Bank. In exchange, ResCap received: (1) the value of a de-linked credit rating (an indirect
 benefit); and (2) two million IB Finance Class M Shares. Section V.A.2.b contains the
 Examiner’s detailed analysis and conclusion that the evidence supports the proposition that
 ResCap did not receive reasonably equivalent value in the 2006 Bank Restructuring.668
                          (a) Actual Fraudulent Transfer Analysis
                               (i) Badges Of Fraud Present In The 2006 Bank Restructuring
      An actual fraudulent transfer claim relating to the 2006 Bank Restructuring would likely
 be governed by Minnesota’s version of the UFTA, as incorporated by Bankruptcy Code
 section 544(b).669 Minnesota courts often look to cases decided under the Bankruptcy Code as
 well as the Minnesota UFTA,670 which sets forth a non-exclusive list of certain badges of
 fraud that, if present in a “confluence,” can provide a rebuttable presumption of the debtor’s
 intent to defraud.671 The following two badges of fraud are present in the 2006 Bank
 Restructuring:
                     (1) the transfer or obligation was to an insider; . . . [and] (8) the
                     value of the consideration received by the debtor was not
                     reasonably equivalent to the value of the asset transferred or the
                     amount of the obligation incurred.672
 667   Committee’s Motion for Entry of an Order Authorizing It to Prosecute and Settle Certain Claims on Behalf
       of the Debtors’ Estates [Docket No. 3412] at 37, ¶ 63.
 668   For a full analysis of this issue, see Section V.A.2.b.
 669   See Section VII.F.3.
 670   MINN. STAT. ANN. § 513.44 (a)(1). The Eighth Circuit, which includes Minnesota, has concluded that law of
       actual fraudulent transfers under the UFTA and the Bankruptcy Code is identical. See Graven v. Fink (In re
       Graven), 936 F.2d 378, 383 (8th Cir. 1991); Kaler v. Craig (In re Craig), 144 F.3d 587, 593 (8th Cir. 1998);
       see also Hedback v. Am. Family Mut. Ins. Co. (In re Mathews), 207 B.R. 631, 646 n.24 (D. Minn. 1997)
       (noting that the Eighth Circuit gives identical construction to the language “with actual intent to hinder,
       delay, or defraud creditors” regardless of whether it is interpreting state fraudulent transfer laws or the
       Bankruptcy Code) (citations omitted).
 671   Kelly v. Armstrong, 206 F.3d 794, 798 (8th Cir. 2000) (examining actual fraudulent transfer claims under
       section 548 of the Bankruptcy Code and stating that “[i]f there is a confluence of the ‘badges of fraud,’ then
       the Trustee is entitled to a presumption of fraudulent intent. To overcome a presumption, a ‘legitimate
       supervening purpose’ for the transfers must be shown by the bankrupt”).
 672   MINN. STAT. ANN. § 513.44(b).

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      First, as shown in Section VII.F.3, AFI is an “insider” of ResCap.673 Second, as shown in
 Section V.A.2.b, the Examiner has concluded that ResCap did not receive reasonably
 equivalent value in the 2006 Bank Restructuring.

                              (ii) Evidence Suggesting An Absence Of Fraud In The 2006 Bank
                                   Restructuring

       There is no bright-line rule regarding the number of badges of fraud that must be present
 for fraudulent intent to be found, but courts have generally held that “several” badges of fraud
 need to be present to raise the presumption of actual fraudulent intent.674 The Eighth Circuit
 has held that once the party seeking to avoid a transfer as actually fraudulent establishes a
 confluence of several badges of fraud it is entitled to a presumption of fraudulent intent.675




 673   A transfer to an insider, without further evidence of fraud, is insufficient to find an actual fraudulent transfer
       occurred. For example, in the case of Kipperman v. Onex Corp., 411 B.R. 805, 854–59 (N.D. Ga. 2009), the
       district court addressed whether an actual fraudulent transfer had occurred. Plaintiff pointed to the fact that
       the transferee was an “affiliate” of the debtor as evidence of a badge of fraud supporting the actual fraud
       allegation. Id. at 854. The district court held that the transferee was “an ‘affiliate’ of and thus an ‘insider’
       with respect to the Debtors” and that the transferee benefitted from the allegedly fraudulent transfer “in the
       form of management fees, an ownership interest in the Debtors, and potential tax credits.” Id. at 854, 856.
       “Because the court finds that the [transfers] were made to benefit the [transferees], the court finds that the
       transfers were made ‘for the benefit of insiders’ and satisfy this badge of fraud.” Id. However, because the
       plaintiffs were unable to establish any other badges of fraud, the district court granted summary judgment for
       the transferees on the issue of actual fraud. Id. at 854–59.
 674   See, e.g., Glassman v. O’Brian (In re Valley Bldg. & Const. Corp.), 435 B.R. 276, 286 (Bankr. E.D. Pa.
       2010) (interpreting Pennsylvania’s UFTA and noting that “[a] ‘goodly’ number of these factors or badges of
       fraud must be proven to support a claim of actual fraud”) (citing Provident Life & Accident Ins. Co. v. Gen.
       Syndicators of Am., Managers, Inc., Nos. CIV.A 97-3135, 95-19102DAS, 1997 WL 587288, at *5 (E.D. Pa.
       Sept. 8, 1997)); Kipperman, 411 B.R. at 853–54 (“‘While a single badge of fraud may only create a
       suspicious circumstance and may not constitute the requisite fraud to set aside a conveyance . . . several of
       them when considered together may afford a basis to infer fraud.’”) (citing Gen. Trading, Inc. v. Yale
       Materials Handling Corp., 119 F.3d 1485, 1498–99 (11th Cir. 1997) (applying Florida’s UFTA)); Silverman
       v. Actrade Capital, Inc. (In re Actrade Fin. Techs. Ltd.), 337 B.R. 791, 809 (Bankr. S.D.N.Y. 2005) (noting
       that “the existence of several badges of fraud can constitute clear and convincing evidence of actual intent”).
       At least one court has held outright that “[a]s a matter of law, a finding of fraudulent intent cannot properly
       be inferred from the existence of just one ‘badge of fraud.’” See Ingalls v. SMTC Corp. (In re SMT Mfg. of
       Tex.), 421 B.R. 251, 300 (Bankr. W.D. Tex. 2009) (citations omitted). While one court has stated that the
       existence of insolvency and lack of fair consideration alone could justify a finding of fraudulent intent due to
       the importance of these two factors, that court ultimately ruled that a transfer was actually fraudulent where
       nearly all of the badges of fraud were present. Liebersohn v. Zisholtz (In re Martin’s Aquarium, Inc.), 225
       B.R. 868, 876 (Bankr. E.D. Pa. 1998).
 675   Kelly, 141 F.3d 799, 802 (8th Cir. 1998).

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      Just as there are badges of fraud, courts and the UFTA commentary note that certain
 contrary facts may serve to negate or counter any suggestion of fraudulent intent. For
 example, the court in Lippe v. Bairnco Corp.676 stated:

                     [T]he flip side of [the] badges of fraud is that their absence—or
                     evidence that fair consideration was paid, the parties dealt at
                     arm’s-length, the transferor was solvent, the transfer was not
                     questionable or suspicious, the transfer was made openly, or the
                     transferor did not retain control—would constitute evidence that
                     there was no intent to defraud.677

       Although Lippe involved the New York Debtor and Creditor Law rather than the
 UFTA,678 courts have made it clear that analysis of these issues proceeds in a very similar
 manner regardless of which statute is being applied. For example, the court in MFS/Sun Life
 Trust-High Yield Series v. Van Dusen Airport Services Co.679 examined actual fraudulent
 transfer claims from a leveraged buy-out transaction that arose under the fraudulent
 conveyance statutes of New York, Minnesota, and Delaware and determined that the laws of
 these three states were similar and had the same origin, and therefore performed one combined
 analysis of the actual fraudulent transfer claims at issue.680 In addition to this authority, the
 commentary to the model UFTA also states that a court “may appropriately take into account
 all indicia negativing as well as those suggesting fraud.”681

      Several facts relating to the 2006 Bank Restructuring weigh against a finding of actual
 intent. An important fact is that ResCap was not financially distressed under any of the
 statutory tests at the time of or after giving effect to the 2006 Bank Restructuring.682 As the




 676   249 F. Supp. 2d 357, 375 (S.D.N.Y. 2003) (examining actual fraud issues under the New York Debtor and
       Creditor Law).
 677   Id.
 678   Id.
 679   910 F. Supp. 913 (S.D.N.Y. 1995).
 680   Id. at 933–34 (noting that the laws of New York, Minnesota and Delaware “trace their origins to the ‘statute
       of 13 Elizabeth,’ enacted by the English Parliament in 1571” and that the “laws of Minnesota and Delaware
       are similar” to the actual fraudulent transfer law of New York). In examining the circumstances surrounding
       the transaction, the District Court determined that even though several badges of fraud were present actual
       intent was not present. Id. at 935–36. In making that determination, the District Court noted several badges of
       fraud that were missing, including a lack of secrecy surrounding the transaction. Id. at 935 (“The transaction
       was not secretive, nor was it structured in some manner unusual for an LBO.”).
 681   UFTA § 4(b) cmt. 6.
 682   See Section VI.

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 court noted in Allstate Insurance Co. v. Countrywide Financial Corp.,683 insolvency is one of
 the “most compelling” badges of fraud.684

      The Minnesota UFTA also lists as a valid consideration whether “the transfer or
 obligation was disclosed or concealed.”685 Here, the 2006 Bank Restructuring686 was publicly
 disclosed through SEC filings as early as April 2006, with updates regarding the transaction
 disclosed throughout 2006.687 Courts have treated disclosure as a relevant fact weighing
 against a finding of actual intent. For example, in Leonard v. Mylex Corp. (In re Northgate
 Computer Sys., Inc.), the court determined that, under section 548(a)(1) of the Bankruptcy
 Code, there was no basis for an intentional fraudulent transfer claim because, in part, there
 was no evidence of “conceal[ment] [of] the payments from any party that might be interested
 in them.”688 The court analyzed various other factors, ultimately determining that the only
 applicable badge of fraud was the debtor’s “mounting insolvency,” which, standing alone, was
 insufficient to establish an intentional fraudulent transfer.

      The terms of the 2006 Bank Restructuring were disclosed and ResCap’s creditors, and
 the credit markets in general, did not consider the transaction to be alarming. The only bond
 rating changes that occurred during the three months before and after the 2006 Bank
 Restructuring was that, in November 2006, after the 2006 Bank Restructuring, both S&P and
 Fitch raised their rating on ResCap’s senior debt from BBB- to BBB. ResCap’s unsecured
 bonds traded at or near par following the announcement of the 2006 Bank Restructuring. The
 following Exhibit, detailing activity with respect to ResCap’s 6.5% bonds maturing on
 April 17, 2013, illustrates this point:689
 683   842 F. Supp. 2d 1216 (C.D. Cal. 2012). This case involved the actual fraudulent transfer provisions of the
       Illinois UFTA, which is similar to the Minnesota UFTA. Compare MINN. STAT. ANN. § 544.44(a)(1), with
       740 ILL. COMP. STAT. ANN. 160/5(a)(1).
 684   Id. at 1224 (“Though solvency and adequacy of consideration are only two of the eleven statutorily
       enumerated badges of fraud, they are among the most compelling . . . .”).
 685   MINN. STAT. ANN. § 513.44(b)(3).
 686   Even though there was a failure to disclose alternative structures considered with respect to the 2006 Bank
       Restructuring, which may have other implications as fully analyzed in Section VII.L.1, that does not change
       the fact that the terms of the actually consummated deal were publicly disclosed.
 687   See Residential Capital Corporation, Current Report (Form 8-K) (Apr. 3, 2006); Residential Capital
       Corporation, Quarterly Report (Form 10-Q) (Aug. 8, 2006), at 10; Residential Capital, LLC, Quarterly
       Report (Form 10-Q) (Nov. 7, 2006), at 11; Residential Capital, LLC, Current Report (Form 8-K) (Nov. 27,
       2006).
 688   240 B.R. 328, 360–62 (D. Minn. 1999). The court also found that actual fraud was not made out under
       section 513.44(a)(1) under Minnesota law because it contains a “nearly identical” provision to section
       548(a)(1) of the Bankruptcy Code. Id. at 366; see also Felker v. McGhan Med. Corp. (In re Minn. Breast
       Implant Litig.), 36 F. Supp. 2d 863, 882 (D. Minn. 1998) (noting that the public disclosure of the sale of a
       business argued against an actual fraudulent intent).
 689   An analysis was performed of the historical pricing trends of ResCap’s 6.5% bond maturing on April 17,
       2013. See Section VI.B.4.a.

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     Spreads for CDS on which ResCap was the reference entity also showed little movement in
response to the news of the 2006 Bank Restructuring, as the following exhibit shows:




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      The cases that mention disclosure of a transaction’s terms as a relevant factor suggesting
 an absence of actual intent to hinder, delay, or defraud creditors do not explain exactly why
 disclosure is inconsistent with fraudulent intent. But, as a matter of common sense and logic,
 one of the purposes and effects of disclosure is to permit creditors to invoke their legal
 remedies if they believe a transaction has harmed them, and/or to sell (or purchase CDS
 protection against) their debt positions if they believe the transaction left their obligor
 significantly weakened. The fact that neither litigation, nor a decline in ResCap’s bond pricing
 or unsecured debt ratings, nor an increase in the cost of CDS protection on ResCap
 obligations, followed the announcement of the 2006 Bank Restructuring suggests that
 ResCap’s creditors did not view the transaction as harmful.

      A review of the other relevant considerations set forth in the Minnesota UFTA reveals
 that the 2006 Bank Restructuring shows many signs negating actual fraud: (1) there is no
 evidence that ResCap retained possession or control of the property transferred; (2) there is no
 evidence that ResCap was sued or threatened with suit prior to the transfers; (3) the transfers
 were not of substantially all of ResCap’s assets; (4) ResCap did not “abscond” following the
 transfer; and (5) there is no indication that ResCap removed or concealed assets.690

       The Examiner also concludes that the evidence supports the proposition that there was a
 legitimate business purpose for the 2006 Bank Restructuring.691 As fully explained in Section
 V.A.1.a(1), the 2006 Bank Restructuring was necessary to allow the Cerberus deal to close.
 The Cerberus transaction provided substantial benefits to ResCap, including allowing ResCap
 to avoid a potential credit rating downgrade.

                              (iii) Conclusion

     Based on the totality of the facts and circumstances presented by the Investigation, the
 Examiner concludes it is unlikely that actual fraudulent transfer claims related to the 2006
 Bank Restructuring would prevail.




 690   MINN. STAT. ANN. § 513.44(b).
 691   Kelly v. Armstrong, 206 F.3d 794, 798 (8th Cir. 2000) (examining actual fraudulent transfer claims under
       section 548 of the Bankruptcy Code and stating that “[i]f there is a confluence of the ‘badges of fraud,’ then
       the Trustee is entitled to a presumption of fraudulent intent. To overcome a presumption, a ‘legitimate
       supervening purpose’ for the transfers must be shown by the bankrupt”) (citations omitted); ASARCO LLC v.
       Ams. Mining Corp., 396 B.R. 278, 391–93 (S.D. Tex. 2008) (noting that “even though Plaintiff proved that
       AMC had the requisite [actual fraudulent] intent, AMC may still prevail on this claim if it can prove that
       there was a legitimate supervening purpose for the transaction” but ultimately determining that “even though
       there was a legitimate business purpose for the transfer” the other aspects of the transaction had no legitimate
       business purpose and thus the inference of actual fraud was not rebutted) (citing Kelly, 206 F.3d at 801);
       Burtch v. Harris (In re Harris), Nos. 02-10938, 02-05803, 2003 WL 23096966, at *2 (Bankr. D. Del. Dec.
       30, 2003).

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                         (b) Constructive Fraudulent Transfer Analysis
      Because ResCap was not financially distressed within the meaning of any applicable
 fraudulent transfer statutes at the time of this transaction,692 the Examiner concludes that a
 plaintiff would be unable to establish a prima facie case for a constructive fraudulent transfer
 claim.
                     (2) 2008 Secured Revolver Transaction
      The facts relating to the 2008 Secured Revolver Transaction are fully set forth in Section
 V.E.3 and are also briefly summarized in Section VII.F.4.h above. For purposes of a
 fraudulent transfer analysis of the 2008 Secured Revolver Transaction, it is necessary to
 identify the transfers made and obligations incurred by RFC and GMAC Mortgage693 and then
 to assess the difference in the direct and indirect value received in exchange.694
      RFC and GMAC Mortgage incurred secured obligations for the entire $3.5 billion
 Secured Revolver Facility.695 In exchange for these secured obligations, RFC and GMAC
 Mortgage received: (1) a release of their obligations as guarantors under the $1.75 billion
 2005 Term Loan Facility; (2) a release of their obligations as guarantors under the undrawn
 $1.75 billion 2007 Revolvers (which facilities were never drawn); (3) a release of their
 guarantees of $1.29 billion of bonds (those bonds were retired as a result of the June 6, 2008
 bond exchange); and (4) an offset of at least $2.43 billion of intercompany debt owed by RFC
 and GMAC Mortgage to ResCap.696
 692   For a full analysis of the Debtors’ financial condition during relevant periods, see Section VI.
 693   Because ResCap received reasonably equivalent value in this transaction through receipt of the loan proceeds
       (in exchange for its obligations as guarantor), an extended constructive fraudulent transfer analysis with
       respect to ResCap’s potential claims is not necessary.
 694   The Examiner concludes that it is likely that the Bankruptcy Court would apply Minnesota (as to RFC) or
       Pennsylvania (as to GMAC Mortgage) law to fraudulent transfer issues arising from the 2008 Secured
       Revolver Transaction based on the analysis set forth in Section VII.F.3.a above. Because the transaction
       occurred outside the Bankruptcy Code’s two-year reach-back period, section 548(a)(1)(B) of the Bankruptcy
       Code is not applicable. See 11 U.S.C. § 548(a)(1).
 695   As noted above, many transfers occurred in connection with the 2008 Secured Revolver Transaction,
       including RFC and GMAC Mortgage’s grant of security interests on a second- and third-lien basis over
       substantially all of their assets as guarantors under the Senior Secured Notes and the Junior Secured Notes.
       Consistent with the scope of the Investigation, this analysis focuses on potential fraudulent transfer claims
       associated with transfers to or for the benefit of or obligations incurred to, or for the benefit of, AFI,
       Cerberus, and their respective affiliates.
 696   As discussed below, ResCap recorded the Secured Revolver Transaction in its accounting records in June
       2008, but did not record any indebtedness arising from the Secured Revolver Transaction in RFC’s or
       GMAC Mortgage’s accounting records until November 30, 2008, after which the accounting records
       allocated the outstanding indebtedness under the Secured Revolver Facility to RFC and GMAC Mortgage
       based on collateral values at each through the Petition Date. Between June 2008 and November 2008,
       approximately $1.07 billion in payments were made on the Secured Revolver Facility. It is unclear, though
       likely, that RFC and GMAC Mortgage were the source of the funds for these payments. In such event, in
       addition to the $2.43 billion in debt forgiveness recorded on November 30, 2008, RFC and GMAC Mortgage
       would have received additional reductions of intercompany debt owed to ResCap in the amount of $1.07
       billion.

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                          (a) Actual Fraudulent Transfer Claims

       Only two badges of fraud are present with respect to the 2008 Secured Revolver
 Transaction: (1) the transfers were made to AFI, an insider; and (2) the transfers were made at
 a time when the Examiner has concluded that ResCap, RFC, and GMAC Mortgage each:
 (a) were balance sheet insolvent; (b) had unreasonably small capital (assets); and
 (c) reasonably should have believed that it would incur debts beyond its ability to pay.697

      Several significant facts serve to counter these two badges of fraud. The most important
 of these is the Examiner’s conclusion that each of ResCap, RFC, and GMAC Mortgage
 received reasonably equivalent value in exchange for the transfers made in connection with
 the 2008 Secured Revolver Transaction (as explained below). In addition, these transactions
 were disclosed to the public in SEC filings,698 constituting evidence that the transfers and
 obligations were not concealed. Disclosure weighs against a finding of actual fraud, as does
 the absence of any other badges of fraud.699 There is no evidence that ResCap, RFC, and/or
 GMAC Mortgage: (1) retained possession or control of the property transferred; (2) were sued
 or threatened with suit prior to the transfers; (3) transferred substantially all of their assets;
 (4) absconded following the transfer; or (5) removed or concealed assets.

      The Examiner therefore concludes, based upon all the facts and circumstances
 surrounding these transfers, that it is unlikely that actual fraudulent transfer claims arising
 from the 2008 Secured Revolver Transaction would prevail.

                          (b) Constructive Fraudulent Transfer Claims

      A debtor incurring an obligation under a credit agreement will normally receive a direct
 benefit from the loan proceeds it receives as a result of the transaction. When the 2008
 Secured Revolver Facility transaction was consummated, $1.29 billion of the 2005 Term Loan
 Facility was assigned to AFI and became part of the Secured Revolver Facility.700 AFI also
 provided $2.21 billion of new funds under the Secured Revolver Facility. Although RFC and
 GMAC Mortgage were the borrowers under the Secured Revolver Facility, and the publicly
 stated reason for the facility was, in part, for working capital purposes,701 RFC and GMAC
 Mortgage did not directly receive any of the $2.21 billion of new funds. Rather, AFI sent the
 loan proceeds directly to ResCap, which in turn: (1) used approximately $458 million to repay
 697   See Section VI.E.2.
 698   See Section V.E.
 699   See Official Comm. of Unsecured Creditors of Fedders N. Am., Inc. v. Goldman Sachs Credit Partners L.P.
       (In re Fedders N. Am., Inc.), 405 B.R. 527, 545–46 (Bankr. D. Del. 2009) (“[T]he facts pled in the complaint
       show that Fedders’ dealings with Lenders were anything but concealed. Fedders’ borrowing was disclosed in
       a public filing with the SEC, as was the fact that it was seeking refinancing it ultimately obtained from the
       Lenders.”).
 700   See Master Assignment and Assumption Agreement, dated as of a date on or before June 6, 2008 among the
       Initial Lender and the Term Loan Lenders [ALLY_0043831].
 701   GMAC LLC, Current Report (Form 8-K) (June 9, 2008), at 6 (“The proceeds will be used to repay existing
       indebtedness of ResCap, to acquire certain assets, and for other working capital purposes.”).

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 the portion of the 2005 Term Loan Facility not assumed by AFI;702 (2) paid certain cash
 obligations related to the June 6, 2008 bond exchange, totaling approximately $1.29 billion703
 (the bond exchange resulted in the cancellation of $8.6 billion of tendered notes and the
 issuance of $5.7 billion of Senior and Junior Secured Notes);704 and (3) used approximately
 $457 million “to acquire other assets and for other working capital needs.”705 As a result of
 these transfers, RFC and GMAC Mortgage’s liability to third parties as guarantors of the 2005
 Term Loan and the 2007 Revolvers was released.
      “[P]ayments on an existing guarantee generally are considered to be for reasonably
 equivalent value”706 because such payments are on account of an antecedent debt.707 RFC and
 GMAC Mortgage were liable as guarantors under the 2005 Term Loan, the 2007 Revolvers,
 and ResCap’s unsecured bonds. Approximately $3.04 billion of the Secured Revolver Facility
 was used to retire or replace these guaranteed obligations.708
      In June 2008, ResCap recorded the Secured Revolver Facility in its accounting records.
 On November 30, 2008, ResCap allocated $1 billion of the Secured Revolver Facility to
 GMAC Mortgage and $1.43 billion to RFC.709 In return, each received a dollar-for-dollar
 reduction in debt owed to ResCap.710 Satisfaction of a bona fide antecedent debt is, by
 definition, for fair consideration or reasonably equivalent value.711 This holds true even where
 the antecedent debt in question is intercompany debt.712
 702 Ally Revolver Use of Funds—June 2008 [EXAM00345926].
 703 Id.; see also Residential Capital, LLC, Current Report (Form 8-K) (June 9, 2008), at 2; Residential Capital,
     LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 100.
 704 See Residential Capital, LLC, Current Report (Form 8-K) (June 12, 2008), at 1.

 705 Ally Revolver Use of Funds—June 2008 [EXAM00345926]. It is likely that GMAC Mortgage and RFC

     received some if not all of the funds used for working capital. However, a tracing of these funds is outside
     the scope of the Investigation.
 706 Official Comm. of Unsecured Creditors of R.M.L., Inc. v. Conceria Sabrina S.P.A. (In re R.M.L., Inc.), 195

     B.R. 602, 618 (Bankr. M.D. Pa. 1996).
 707 Id. at 618 (Bankr. M.D. Pa. 1996) (noting that “courts generally recognize that ‘[a] proportionate reduction in

     rights or liability constitutes an exchange of reasonably equivalent value for fraudulent transfer purposes
     under the Bankruptcy Code’”) (citations omitted).
 708 Ally Revolver Use of Funds—June 2008 [EXAM00345926].

 709 Id. As noted above, these allocations were based on the collateral values at each entity.

 710 Id.

 711 See, e.g., Pereira v. Dow Chem. Co. (In re Trace Int’l Holdings, Inc.), 301 B.R. 801, 805 (Bankr. S.D.N.Y.

     2003) (“Past consideration is good consideration. An ‘antecedent debt’ satisfies the requirement of fair
     consideration and reasonably equivalent.”) (citations omitted), vacated on other grounds, No. 04-1295, 2009
     WL 1810112 (S.D.N.Y. June 25, 2009); In re Capmark Fin. Grp. Inc., 438 B.R. 471, 518 (Bankr. D. Del.
     2010) (“Where a bona fide antecedent debt exists, a debtor’s payment on account of that creditor’s claim,
     even if it has the result of preferring that creditor over others, is not by itself a fraudulent transfer.”).
 712 Official Unsecured Creditors Comm. of Valley-Vulcan Mold Co. v. Ampco-Pittsburgh Corp. (In re Valley-

     Vulcan Mold Co.), 5 F. App’x 396, 398 (6th Cir. 2001) (“The repayment of intercompany debt was a dollar-for-
     dollar transaction that, by definition, satisfied fair consideration.”); Scharffenberger v. Phila. Health Care Trust
     (In re Allegheny Health, Educ. & Research Found.), 253 B.R. 157, 171–72 (Bankr. W.D. Pa. 2000) (concluding
     that elimination of an intercompany debt by simultaneous elimination of an intercompany receivable constituted
     reasonably equivalent value). However, not all intercompany debts are bona fide debts. For example, an
     intercompany debt that is not scrupulously recorded as a liability on a company’s financial statements may not
     be treated as a bona fide debt for purposes of determining fair consideration or reasonably equivalent value. See
     Murphy v. Meritor Sav. Bank (In re O’Day Corp.), 126 B.R. 370, 397 (Bankr. D. Mass. 1991). Here there is no
     indication that these intercompany debts should not be treated as bona fide debts. See Section VII. B–D.

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      Thus, after the 2008 Secured Revolver Transaction was consummated, RFC and GMAC
 Mortgage were indebted as borrowers on the $3.5 billion Secured Revolver Facility. Of this
 amount $1.29 billion was simply an exchange of debt on a dollar-for-dollar basis. While RFC
 and GMAC Mortgage were now borrowers rather than guarantors on the new debt, which was
 now secured rather than unsecured, as ResCap’s principal operating subsidiaries, RFC’s and
 GMAC Mortgage’s assets were the principal source of repayment in either case. In exchange
 for the $2.21 billion of proceeds, for which RFC and GMAC Mortgage became liable under
 the Secured Revolver Facility, RFC and GMAC Mortgage received: (1) releases from
 approximately $1.75 billion of guaranteed indebtedness to third parties; and (2) the offset of at
 least $2.43 billion of intercompany debt. Because RFC and GMAC Mortgage each received
 reasonably equivalent value, the Examiner concludes it is unlikely that constructive fraudulent
 transfer claims related to the 2008 Secured Revolver Transaction would prevail.713

                    (3) Other Transactions

      The following transactions were identified during the course of the Investigation as being
 potential actual or constructive fraudulent transfers: (1) June 2008 Model Home Sale;
 (2) Resort Finance Sale; (3) 2008 Bank Transaction; and the (4) 2009 Bank Transaction.

                         (a) Actual Fraudulent Transfer Analysis

      For each of these transactions the same two badges of fraud are present: (1) the transfers
 were to an insider; and (2) the transfers were made while the Debtor-transferor(s) was
 financially distressed.

      These transactions also present significant countervailing facts and circumstances that
 case law and the official commentary to the UFTA specifically note as tending to negate an
 assertion of actual fraudulent intent. The most important of these is that the Examiner has
 concluded that for each of these transactions, the Debtor-transferor(s) received reasonably
 equivalent value.714 The receipt of reasonably equivalent value is strong evidence against a




 713   The delay in the “push down” for accounting treatment from ResCap to RFC and GMAC Mortgage of the
       cash and debt forgiveness may pose a question of whether the cash and/or debt forgiveness constituted value
       received by RFC and GMAC Mortgage in exchange for the obligation incurred and property transferred. The
       documentation of the 2008 Secured Revolver Transaction contemplates that all the events were to take place
       substantially contemporaneously. See, e.g., Master Assignment and Assumption Agreement, dated on or
       before June 6, 2008 [ALLY_0043831]; Ally Revolver Use of Funds—June 2008 [EXAM00345926]. The
       Examiner concludes that the delay in completing the internal accounting for the Secured Revolver
       Transaction is immaterial to his conclusions in these circumstances.
 714   See Sections VII.F.4.h, V.F, V.A.1.

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 finding that the transaction was actually fraudulent,715 given that “adequacy of consideration”
 is one of the “most significant” badges of fraud.716

       Second, the material terms of all of these transactions were disclosed to the public in SEC
 filings.717 The June 2008 Model Home Sale was the result of an auction process718 and the
 Resort Finance Sale was completed only after significant marketing efforts were made in an
 attempt to sell these assets to an independent third party.719 These facts indicate that secrecy
 and concealment were not present with respect to any of these transactions and that, in fact,
 the June 2008 Model Home Sale and the Resort Finance Sale were both completed only after
 the proposed transactions had been exposed to the market.

       Finally, additional relevant considerations under the Minnesota UFTA and the
 Pennsylvania UFTA also tend to negate an assertion of actual fraudulent intent because there
 is no evidence that any of the Debtors: (1) retained possession or control of the relevant
 property after these transfers; (2) were sued or threatened with suit prior to the transfers;
 (3) transferred substantially all of its assets; (4) absconded following the transfer; or
 (5) removed or concealed assets.720

       Based on an evaluation of all the facts and circumstances surrounding each of these
 transfers, the Examiner concludes that it is unlikely that actual fraudulent transfer claims
 arising from these transfers would prevail.

 715   See Lippe v. Bairnco Corp., 249 F. Supp. 2d 357, 375–76 (S.D.N.Y. 2003) (noting that the plaintiff’s failure
       to show damages resulting from an alleged actual fraudulent transfer weighed against a finding of actual
       fraud and stating “[i]t is hornbook law that ‘[a] conveyance cannot be fraudulent as to creditors if the
       debtor’s solvency is not affected thereby, that is, if the conveyance does not deplete or otherwise diminish the
       value of the assets of the debtor’s estate remaining available to creditors”) (citations omitted); Geltzer v.
       Bloom (In re Silverman Laces, Inc.), 404 B.R. 345, 360 (Bankr. S.D.N.Y. 2009) (evaluating a claim under
       New Jersey’s UFTA and noting that “[a]lthough it is possible for a transfer for reasonably equivalent value to
       be avoided as long as actual intent to hinder, delay or defraud creditors is proven [a review of the UFTA’s
       badges of fraud] shows the importance of whether reasonably equivalent value was provided in exchange for
       the transfer, or whether the transfer depleted assets otherwise available for creditors”) (citing United States v.
       McCombs, 30 F.3d 310, 327–28 (2d Cir. 1994)).
 716   Liebersohn v. Zisholtz (In re Martin’s Aquarium, Inc.), 225 B.R. 868, 876 (Bankr. E.D. Pa. 1998) (“[T]he
       issues of adequacy of consideration and insolvency of the transferor . . . are ‘the most significant’ of the
       badges.”); see also Allstate Ins. Co v. Countrywide Fin. Corp., 842 F. Supp. 2d 1216, 1224 (C.D. Cal. 2012).
 717   See Sections V.A.1, V.E.3, V.F. Public disclosure of a transaction’s terms has been held to constitute
       evidence that a transfer was not concealed and such disclosure weighs against a finding of actual fraud. See
       Official Comm. of Unsecured Creditors of Fedders N. Am., Inc. v. Goldman Sachs Credit Partners L.P. (In re
       Fedders N. Am., Inc.), 405 B.R. 527, 545–46 (Bankr. D. Del. 2009) (“[T]he facts pled in the complaint show
       that Fedders’ dealings with Lenders were anything but concealed. Fedders’ borrowing was disclosed in a
       public filing with the SEC, as was the fact that it was seeking the refinancing it ultimately obtained from the
       Lenders.”).
 718   See Section V.F.
 719   See id.
 720   MINN. STAT. ANN. § 513.44(b); 12 PA. CONST. STAT. ANN. § 5104(b).

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                         (b) Constructive Fraudulent Transfer Analysis

      The transactions described above all fit into the following fact pattern: (1) they occurred
 outside of the Bankruptcy Code’s two-year reach-back period and therefore would likely be
 governed by the Minnesota UFTA (as to ResCap and RFC) or the Pennsylvania UFTA (as to
 GMAC Mortgage),721 in either case as invoked by section 544(b) of the Bankruptcy Code;
 (2) in each case, as set forth in Section VI, the relevant Debtor-transferor was suffering from
 one or more of the statutorily defined forms of financial distress at the time of the transaction;
 and (3) in each case the relevant Debtor-transferor received reasonably equivalent value in
 exchange for the transfers it made or obligations it incurred.722

      Because each of these transactions resulted in the relevant Debtor(s) receiving reasonably
 equivalent value, the Examiner concludes it is unlikely that constructive fraudulent transfer
 claims arising from any of these transactions would prevail.723

                     (4) Transactions Implicating Collapsing Or “Step Transaction” Doctrine

      As discussed in Section V.A.1, the Ally Bank Transactions consist of three separate
 transactions: (1) the November 2006 restructuring of Old GMAC Bank and GMAC
 Automotive Bank; (2) ResCap’s March 2008 and June 2008 issuance of ResCap Preferred
 Interests in exchange for debt forgiveness by AFI; and (3) AFI’s January 2009 conversion of
 the ResCap Preferred Interests and purchase of ResCap’s remaining interest in IB Finance.
 Certain parties-in-interest have argued that these three separate transactions should not be
 reviewed separately, but rather should be viewed (in some combination) as one single
 transaction pursuant to the “step transaction” doctrine. For the purposes of applying fraudulent
 transfer laws, courts may collapse parts of a complex transaction into one transaction by
 application of the “step transaction” or “collapsing” doctrine.724 Here, the Investigation has
 uncovered no evidence that the Ally Bank Transactions were “part of one integrated
 transaction” for purposes of the “collapsing” doctrine. To the contrary, as fully explained in
 Section V.A.1, each of the Ally Bank Transactions was motivated independently by separate
 721   See Section VII.F.3.
 722   See Sections V.A.1, V.F.
 723   While a close question, the Examiner concludes it is more likely than not that a constructive fraudulent
       transfer claim with respect to the June 2008 Model Home Sale would not succeed, because it is more likely
       than not that a court would find the value received by RFC from the transaction to constitute reasonable
       equivalent value based on the totality of the circumstances. See Section V.F.3.
 724   United States v. Tabor Court Realty Corp., 803 F.2d 1288, 1302–03 (3d Cir. 1986) (holding two loans
       constituted one integrated transaction for purposes of considering whether the loan was a fraudulent
       conveyance); Official Comm. of Unsecured Creditors of M. Fabrikant & Sons, Inc. v. JP Morgan Chase
       Bank, N.A. (In re M. Fabrikant & Sons, Inc.), 394 B.R. 721, 731 (Bankr. S.D.N.Y. 2008) (“Under appropriate
       circumstances, multiple transactions will be collapsed and treated as steps in a single transaction for analysis
       under the fraudulent conveyance laws.”) (citing HBE Leasing Corp. v. Frank, 48 F.3d 623, 635 (2d Cir.
       1995)); MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 934
       (S.D.N.Y. 1995) (“No single transfer would take place without the expectation that the entire transaction will
       be consummated.”).

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 business considerations. The Examiner therefore concludes that the evidence does not support
 the proposition that any or all of the Ally Bank Transactions should be collapsed for purposes
 of a fraudulent transfer analysis.

       7. Transfers Avoidable Under Section 549 Of The Bankruptcy Code

      Pursuant to section 549(a) of the Bankruptcy Code, a court may “avoid a transfer of
 property of the estate . . . that occurs after the commencement of the case . . . and . . . that is
 not authorized under this title or by the court.”725 Section 363 governs the use, sale, or lease of
 property by debtors.726 If a transaction is outside of the ordinary course of business, notice and
 a hearing are required under section 363(b) before a payment can be authorized.727
 Postpetition transactions not in the ordinary course of business, made without court approval,
 are thereby subject to avoidance under section 549.728

                   a. Background

       The Debtors filed a motion on May 14, 2012 seeking authority to continue to perform
 under the A&R Servicing Agreement.729 The motion generally discussed the A&R Servicing
 Agreement as well as the DOJ/AG Settlement.730 The motion specifically referenced borrower
 relief required by the DOJ/AG Settlement, which would include “loan modifications, such as
 principal reductions, rate modifications, and refinancing for borrowers” with respect to
 mortgage loans owned by Ally Bank.731 The motion did not explicitly mention that GMAC
 Mortgage was required to indemnify Ally Bank for losses suffered in connection with these
 loan modifications or the amount of any such indemnification.732 However, the A&R
 Settlement Agreement, which contained the indemnity provision, was attached as an exhibit to




 725   11 U.S.C. § 549(a); see, e.g., Marathon Petrol. Co., LLC v. Cohen (In re Delco Oil, Inc.), 599 F.3d 1255
       (11th Cir. 2010) (trustee avoided debtor’s unauthorized postpetition transfers of cash collateral under section
       549); Aalfs v. Wirum (In re Straightline Invs. Inc.), 525 F.3d 870, 879 (9th Cir. 2008) (finding postpetition
       transfer of accounts receivable avoidable under section 549).
 726   11 U.S.C. § 363.
 727   Id.
 728   See In re Straightline Invs. Inc., 525 F.3d at 879.
 729   Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code Sections 105(a) and 363 Authorizing
       the Debtors to Continue to Perform Under the Ally Bank Servicing Agreement in the Ordinary Course of
       Business [Docket No. 47].
 730   Id. at 7.
 731   Id.
 732   Id.

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 the motion.733 The motion also specifically stated that the Debtors were “not seeking to pay
 any prepetition claims through or pursuant to the [A&R] Servicing Agreement.”734

      The court entered an interim order on May 16, 2012 authorizing the Debtors to continue
 to perform under the A&R Servicing Agreement.735 The interim order stated only that the
 Debtors were authorized to “continue to perform under the terms of the [A&R] Servicing
 Agreement . . . .”736 The interim order did not refer to, or specifically permit, indemnity
 payments related to the loan modifications.737

      On June 13, 2012, the Debtors made a postpetition transfer of $19.9 million to Ally Bank
 pursuant to the indemnity obligation set forth in section 10.01(e) of the A&R Servicing
 Agreement. A portion of this payment, $12.9 million, related to loan modifications which
 were performed prepetition.738 Based on the analysis below, the Examiner has concluded that
 the payment was not made in the ordinary course of the Debtors’ business and was not
 authorized by the Court.

                   b. Analysis

                      (1) The Indemnity Payment Was Not Made In The Ordinary Course Of The
                          Debtors’ Business

      “The term ‘ordinary course of business’ has generally been accepted ‘to embrace the
 reasonable expectations of interested parties of the nature of transactions that the debtor would
 likely enter in the course of its normal, daily business.’”739 “[T]wo tests have emerged to


 733   See id. Ex. 3, §10.01(e). While the Debtors did not specifically reference the indemnity provision and the
       amount of indemnity payments, the Investigation did not reveal evidence that the Debtors intentionally
       withheld information.
 734   Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code Sections 105(a) and 363 Authorizing
       the Debtors to Continue to Perform Under the Ally Bank Servicing Agreement in the Ordinary Course of
       Business [Docket No. 47] at 15.
 735   Interim Order Pursuant to Sections 105(a) and 363 of the Bankruptcy Code Authorizing the Debtors to
       Continue to Perform Under the Ally Bank Servicing Agreements in the Ordinary Course of Business [Docket
       No. 90].
 736   Id. at 2.
 737   Id.
 738   See Letter from L. Nashelsky to R. Schrock (July 9, 2012), at 3 (attached to Declaration of Thomas Marano,
       Chief Executive Officer of Residential Capital, LLC, in Further Support of Debtors’ Ally Servicing Motion
       [Docket No. 793-1], Ex. 7); Statement of the Official Committee of Unsecured Creditors Regarding the
       Debtors’ Motion for an Order Authorizing the Debtors to Continue to Perform Under the Ally Bank
       Servicing Agreement in the Ordinary Course of Business [Docket No. 1280] at 6; Declaration of Thomas
       Marano, Chief Executive Officer of Residential Capital, LLC, in Further Support of Debtors’ Ally Servicing
       Motion [Docket No. 793-1] at 6.
 739   Med. Malpractice Ins. Assoc. v. Hirsch (In re Lavigne), 114 F.3d 379, 384 (2d Cir. 1997) (citations omitted).

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 determine whether a transaction is ‘ordinary.’ These tests are (1) the ‘creditor’s expectation
 test’ also known as the ‘vertical test,’ and (2) the ‘industry-wide test’ also known as the
 ‘horizontal test.’”740

       The indemnification payments made to Ally Bank were required because ResCap and
 GMAC Mortgage needed to perform loan modifications on loans owned by Ally Bank to
 satisfy the DOJ/AG Settlement. Like the $48.4 million prepetition payment discussed in
 Section VII.F.5, the postpetition indemnification payment made to Ally Bank was not similar
 to payments ResCap and GMAC Mortgage had made in the past. As the obligations to make
 such payments stem from GMAC Mortgage’s responsibilities under a one-time settlement
 with the government, the payment would not likely be within “interested parties’ reasonable
 expectations.”741 Accordingly, the payment would fail the vertical test, and would not be
 considered an ordinary course payment. Such payment could therefore only be made if
 authorized by the court after notice and a hearing.742

                      (2) The Indemnity Payment Was Not Authorized By The Court

       The interim order entered on May 16, 2012 authorized the Debtors to “continue to
 perform under the terms of the [A&R] Servicing Agreement . . . .”743 This language is broad,
 and arguably covers the $12.9 million payment. However, the Debtors’ motion seeking entry
 of the interim order explicitly stated that the Debtors were “not seeking to pay any prepetition
 claims through or pursuant to the [A&R] Servicing Agreement.”744 This straightforward
 representation clarifies any ambiguity found in the interim order regarding whether payments
 relating to prepetition obligations were authorized.

       Additionally, the indemnification obligations under the A&R Servicing Agreement were
 not conspicuously disclosed in the Debtors’ motion, and there was no mention of the amount
 of payments to be made. While it is a close question, based on the Debtors’ express
 representations in the motion and lack of disclosure, it appears more likely than not that the
 interim order did not authorize the Debtors to make payments to satisfy obligations incurred
 prepetition.


 740   Id. (citations omitted).
 741   Id. (citations omitted). The payment would also likely fail the horizontal test. While a number of other
       financial institutions in the mortgage industry were party to the DOJ/AG Settlement, the transaction at issue
       was not the “type that other similar businesses would engage in as ordinary business.” Id. at 385 (citations
       omitted). As stated, this was a one-time settlement of a unique nature.
 742   11 U.S.C. § 363.
 743   Interim Order Pursuant to Sections 105(a) and 363 of the Bankruptcy Code Authorizing the Debtors to
       Continue to Perform Under the Ally Bank Servicing Agreements in the Ordinary Course of Business [Docket
       No. 90] at 1.
 744   Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code Sections 105(a) and 363 Authorizing
       the Debtors to Continue to Perform Under the Ally Bank Servicing Agreement in the Ordinary Course of
       Business [Docket No. 47] at 15.

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                 c. Conclusion

      The Examiner concludes that the Debtors likely were required to seek authority to make
 payments based on the indemnity provisions of the A&R Servicing Agreement, which related
 to prepetition obligations as such payments were not made in the ordinary course of the
 Debtors’ business. The May 14, 2012 motion and the May 16, 2012 interim order did not
 authorize indemnification payments for obligations incurred prepetition. Accordingly, the
 Examiner concludes that, while a close question, it is more likely than not that the Debtors’
 approximately $12.9 million postpetition payment relating to obligations incurred prepetition
 may be avoided under section 549(a) of the Bankruptcy Code.745

       8. Recovery Under Bankruptcy Code Section 550

      To the extent that a transfer of a debtor’s property is avoided under Bankruptcy Code
 sections 544, 547, or 548, as discussed above, Bankruptcy Code section 550 permits a trustee
 to “recover, for the benefit of the estate, the property transferred, or, if the court so orders, the
 value of such property.”746 The purpose of section 550 is “to restore the estate to the financial
 condition that it would have enjoyed if the transfer had not occurred.”747 In seeking recovery
 under section 550, a trustee must, among other things, identify the entities from which
 recovery may be obtained.748




 745   AFI and Ally Bank urge that the indemnification obligations are administrative expenses. Statement of Ally
       Financial Inc. and Ally Bank in Support of the Stipulation and Proposed Order Reserving Rights With
       Respect to Debtors’ Motion to Approve Subservicing Agreement with Ally Bank [Docket No. 1279] at 6.
       The status of any claim that Ally Bank may have, however, likely has no bearing on whether the $12.9
       million postpetition payment is avoidable under section 549. See Sapir v. CPQ Colorchrome Corp. (In re
       Photo Promotion Assocs., Inc.) 881 F.2d 6, 10 (2d Cir. 1989) (holding that creditor guilty of an “end-run
       around § 364(c)” must, pursuant to sections 549 and 550, “first return the funds it obtained. After that, [the
       creditor] must wait in line with the other § 503(b) creditors . . . for its pro rata share”); Martino v. First Nat’l
       Bank of Harvey (In re Garofalo’s Finer Foods, Inc.), 186 B.R. 414, 435 (N.D. Ill. 1995) (requiring bank to
       disgorge payments under sections 549 and 550 despite status of claims as administrative expenses).
 746   11 U.S.C. § 550(a). The Bankruptcy Code allows a trustee to avoid both transfers and obligations in
       appropriate circumstances. See 11 U.S.C. §§ 544, 548. Section 550 addresses only the recovery of avoided
       “transfers,” not avoided “obligations.” Id. § 550(a). There is nothing to “recover” when an obligation is
       avoided because such avoidance simply decreases the claims against property in the debtor’s possession. See
       In re Asia Global Crossing, Ltd., 333 B.R. 199, 202 (Bankr. S.D.N.Y. 2005).
 747   Andrew Velez Constr., Inc. v. Consol. Edison Co. (In re Andrew Velez Constr., Inc.), 373 B.R. 262, 274
       (Bankr. S.D.N.Y. 2007) (citing Hirsch v. Gersten (In re Centennial Textiles, Inc.), 220 B.R. 165, 176 (Bankr.
       S.D.N.Y. 1998)).
 748   Pereira v. Grecogas Ltd. (In re Saba Enters., Inc.), 421 B.R. 626, 657 (Bankr. S.D.N.Y. 2009) (citing Sec.
       Investor Prot. Corp. v. Stratton Oakmont, Inc., 234 B.R. 293, 312 (Bankr. S.D.N.Y. 1999)). “The particular
       theory under which a transfer has been avoided is, for all intents and purposes, irrelevant to the liability of the
       transferee against whom the trustee claims recovery of the property.” 5 COLLIER ON BANKRUPTCY ¶ 550.01
       (Alan N. Resnick & Henry J. Sommer eds., 16th ed.) (footnote omitted).

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                a. Recovery Under Section 550(a)(1)

      To the extent that a trustee successfully avoids a transfer of an interest of the debtor in
 property, the trustee may seek recovery of such property (or its value) pursuant to Bankruptcy
 Code section 550(a)(1) from either the “initial transferee” or any “entity for whose benefit
 such transfer was made.”749 The liability of the initial transferee and the beneficiary entity is
 “coextensive.”750 Additionally, Bankruptcy Code section 550(a)(2) allows recovery from
 subsequent transferees, subject to certain limitations.751

      The distinction between initial transferees and entities for whose benefit a transfer was
 made, on the one hand, and subsequent transferees, on the other hand, is important because
 neither an initial transferee nor an entity for whose benefit a transfer was made may avail itself
 of the protections afforded to subsequent transferees under Bankruptcy Code section
 550(b).752 In other words, the Bankruptcy Code establishes strict liability under section
 550(a)(1) for initial transferees or entities for whose benefit such transfer was made.753

                     (1) Initial Transferee

      “The Bankruptcy Code does not define ‘initial transferee’ and there is no helpful
 legislative history.”754 The Second Circuit has adopted the “mere conduit” test for determining
 who is an initial transferee under Bankruptcy Code section 550, recognizing that the initial
 transferee is not necessarily “the owner of the first pair of hands to touch the property . . . .”755
 Rather, “the minimum requirement of status as a ‘transferee’ is dominion over the money or




 749   See 11 U.S.C. § 550(a)(1); Christy v. Alexander & Alexander of N.Y. Inc. (In re Finley, Kumble, Wagner,
       Heine, Underberg, Manley, Myerson & Casey), 130 F.3d 52, 56 (2d Cir. 1997); Enron Creditors Recovery
       Corp. v. J.P. Morgan Sec., Inc. (In re Enron Creditors Recovery Corp.), 407 B.R. 17, 34 (Bankr. S.D.N.Y.
       2009), rev’d on other grounds, 422 B.R. 423 (S.D.N.Y. 2009).
 750   Official Comm. of Unsecured Creditors of 360networks (USA) Inc. v. U.S. Relocation Servs., Inc. (In re
       360networks (USA) Inc.), 338 B.R. 194, 207 (Bankr. S.D.N.Y. 2005) (citation omitted).
 751   See 11 U.S.C. § 550(a)(2)–(b).
 752   Id. § 550(b); see also 5 COLLIER ON BANKRUPTCY ¶ 550.02[4][c] (Alan N. Resnick & Henry J. Sommer eds.,
       16th ed.) (footnote omitted). Section 550(b) provides that a trustee may not recover under section 550(a)(2)
       from either (1) a subsequent “transferee that takes for value, including satisfaction or securing of a present or
       antecedent debt, in good faith, and without knowledge of the voidability of the transfer avoided”; or (2) “any
       immediate or mediate good faith transferee of [that] subsequent transferee.” 11 U.S.C. § 550(b).
 753   See In re Finley, Kumble, 130 F.3d at 57; Stratton Oakmont, 234 B.R. at 312.
 754   Tese-Milner v. Moon (In re Moon), 385 B.R. 541, 552 (Bankr. S.D.N.Y. 2008) (citing Bonded Fin. Servs.,
       Inc. v. European Am. Bank, 838 F.2d 890, 893 (7th Cir. 1988)).
 755   In re Finley, Kumble, 130 F.3d at 56 (citations omitted) (noting that “[n]umerous courts have recognized the
       distinction between the initial recipient—that is, the first entity to touch the disputed funds—and the initial
       transferee under section 550”).

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 other asset, the right to put the money to one’s own purposes.”756 Accordingly, “an initial
 transferee is the [entity that] has dominion and control over the subject of the initial transfer to
 the extent that [it] may dispose of it as [it] pleases . . . .”757

                     (2) Entity For Whose Benefit A Transfer Was Made

       Unlike the initial transferee, the entity for whose benefit a transfer was made does not
 exercise dominion and control over the subject of the transfer—the benefit arises “without the
 beneficiary ever holding the money or property, precisely because someone else received
 it.”758 The archetype of the “entity for whose benefit a transfer [was] made is a guarantor” of
 the debtor.759 “Even though the guarantor does not receive any payment, the guarantor is ‘no
 longer exposed to liability on its guarantee because the underlying obligation has been
 satisfied.’”760

       “The key to pegging the entity for whose benefit a transfer was made” is a two-part
 inquiry: (1) “the entity must [have been] the intended beneficiary” of the transfer; and (2) “the
 intended benefit must have originated from the initial transfer.”761 With respect to the intent
 requirement, “showing a direct, ascertainable and quantifiable monetary benefit to the
 defendant would obviate the need to show intent.”762 Therefore, “[i]n order to establish
 liability for [an entity] for whose benefit the transfer was made, [t]he benefit must be direct,
 ascertainable and quantifiable and must correspond to, or be commensurate with, the value of
 the property that was transferred.”763

                     (3) AFI Was The Initial Transferee Or The Entity For Whose Benefit Certain
                         Transfers Were Made

      In certain of the transfers discussed in this Section, the property at issue passed through
 certain ResCap entities before ultimately being transferred to AFI or one of its affiliates. In
 such instances, AFI was the initial transferee within the meaning of section 550(a)(1) because
 either (1) the last ResCap entity to exercise dominion and control over the property transferred
 756   Id. at 57 (quoting Bonded Fin. Servs., 838 F.2d at 893).
 757   Stratton Oakmont, 234 B.R. at 313 (citations omitted).
 758   Id. at 313–14 (citing In re Finley, Kumble, 130 F.3d at 57; Bowers v. Atlanta Motor Speedway, Inc. (In re Se.
       Hotel Props Ltd. P’ship), 99 F.3d 151, 155 (4th Cir. 1996); Danning v. Miller (In re Bullion Reserve of N.
       Am.), 922 F.2d 544, 547–48 (9th Cir. 1991); Bonded Fin. Servs., 838 F.2d at 895)).
 759   Gowan v. Amaranth LLC (In re Dreier LLP), 452 B.R. 451, 466 (Bankr. S.D.N.Y. 2011) (citing Bonded Fin.
       Servs., 838 F.2d at 890).
 760   Id. (quoting Enron Creditors Recovery Corp. v. J.P. Morgan Sec., Inc (In re Enron Creditors Recovery
       Corp.), 407 B.R. 17, 32–33 (Bankr. S.D.N.Y. 2009), rev’d on other grounds, 422 B.R. 423 (S.D.N.Y. 2009)).
 761   Id. (quoting Stratton Oakmont, 234 B.R. at 314).
 762   In re Enron Creditors Recovery Corp., 407 B.R. at 34.
 763   In re Dreier LLP, 452 B.R. at 466 (alternation in original) (quoting In re Enron Creditors Recovery Corp.,
       407 B.R. at 33) (internal quotation marks omitted).

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 it directly to AFI; or (2) an intermediate ResCap entity that initially received property could be
 characterized as a “mere conduit” between the transferor ResCap entity and AFI. In certain
 other of the transfers discussed in this Section, AFI was an “entity for whose benefit such
 transfer was made” within the meaning of section 550(a)(1) because it received a direct,
 ascertainable, and quantifiable benefit commensurate with the full amount of the value
 transferred. Therefore, the Examiner concludes that, to the extent that any of transfers
 identified in this Section are avoided, such transfers are recoverable under Bankruptcy Code
 section 550(a)(1) and that it is unlikely that AFI or its affiliates would prevail in asserting any
 of the defenses available only to subsequent transferees under Bankruptcy Code section
 550(b).

                b. Recovery Limited To A Single Satisfaction

      As discussed above, under Bankruptcy Code section 550(a), to the extent a transfer is
 avoided, the trustee is permitted to recover from any of the initial transferee, an entity for
 whose benefit such transfer was made, or a subsequent transferee (subject, in the case of a
 subsequent transferee, to the limitations set forth in Bankruptcy Code section 550(b)).
 However, pursuant to section 550(d), “[t]he trustee is entitled to only a single satisfaction
 under [section 550](a).”764 Therefore, even though more than one entity may be liable with
 respect to an avoided transfer, the trustee’s remedy is limited to the recovery of the transferred
 property (or its value), and not damages.765

                c. Statute Of Limitations Governing Section 550

      Under section 550(f), an action to recover avoided transfers of property must be brought
 no later than the earlier of (1) one year after the transfer was avoided; or (2) the date the
 bankruptcy case is closed or dismissed.766 The limitations period runs from the date the
 transfer in question has been avoided, not from the date the transfer was made.767




 764   11 U.S.C. § 550(d).
 765   Andrew Velez Constr., Inc. v. Consol. Edison Co. (In re Andrew Velez Constr., Inc.), 373 B.R. 262, 274–75
       (Bankr. S.D.N.Y. 2007) (citation omitted) (“The trustee is not entitled to double recovery, or a windfall that
       would benefit the estate.”).
 766   11 U.S.C. § 550(f); Enron Corp. v. J.P. Morgan Sec. Inc., (In re Enron Corp.), 361 B.R. 36, 50 n.7 (Bankr.
       S.D.N.Y. 2006) (citation omitted).
 767   See Picard v. Madoff (In re Bernard L. Madoff Inv. Sec. LLC), 468 B.R. 620, 632 (Bankr. S.D.N.Y. 2012)
       (quoting Official Comm. of Unsecured Creditors of M. Fabrikant & Sons, Inc. v. J.P. Morgan Chase Bank,
       N.A. (In re M. Fabrikant & Sons, Inc.), 394 B.R. 721, 745 n.23 (Bankr. S.D.N.Y. 2008)) (“[W]ithout the
       judgment of avoidance, the period of limitations under § 550(f) would never start to run.”).

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